                    Case 1:20-cv-02939-TWT Document 1-1 Filed 07/14/20 Page EXHIBIT
                                                                            1 of 152 "A"




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 21623408
Notice of Service of Process                                                                            Date Processed: 06/16/2020

Primary Contact:           SOP Team nwsop@nationwide.com
                           Nationwide Mutual Insurance Company
                           Three Nationwide Plaza
                           Columbus, OH 43215

Electronic copy provided to:                   Ashley Roberts

Entity:                                       Allied Insurance Company Of America
                                              Entity ID Number 3286167
Entity Served:                                Allied Insurance Company of America
Title of Action:                              Henry's Louisiana Grill, Inc. and Henry S Uptown LLC vs. Allied Insurance
                                              Company of America
Matter Name/ID:                               Henry's Louisiana Grill, Inc. and Henry S Uptown LLC vs. Allied Insurance
                                              Company of America (10304898)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency: Case/                           Cobb County Superior Court, GA
Reference No:                                 20103304
Jurisdiction Served:                          Georgia
Date Served on CSC:                           06/15/2020
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Barnes & Thornburg LLP
                                              N/A

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
Case 1:20-cv-02939-TWT Document 1-1 Filed 07/14/20 Page 2 of 152
                                                                                           ID# 2020-0059721-CV
                                                                                           "EFILED IN OFFICE
                  SUPERIOR COURT OF COBB COUNTY                                          CLERK OF SUPERIOR COURT
                                                                                          COBB COUNTY, GEORGIA
                         STATE OF GEORGIA
                                                                                                20103304
                                                                                              LEONARD - 53
                                                                                          JUN 12, 2020 02:46 PM

                                                                                          9R6bec ca Keaton, Clerk of Superior Court
                                                                                                            Cobb County, Georgia




                       CIVIL ACTION NUMBER 20103304

                                                    $214.00 COST PAID
   Henry's Louisiana Grill, Inc.
   Henry's Uptown LLC

   PLAINTIFF
                                              1Y3
   Allied Insurance Company of America

   DEFENDANT


                              SUMMONS
   TO: ALLIED INSURANCE COMPANY OF AMERICA

   You are hereby summoned and required to file with the Clerk of said court and serve upon the
   PlaintifFs attorney, whose name and address is:

                              James J Leonard
                              Barnes & Thornburg LLP
                              3475 Piedmont Road, NE, Suite 1700
                              Atlanta, Georgia 30305

   an answer to the complaint which is herewith served upon you, within 30 days after service of
   this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
   default will be taken against you for the relief demanded 'in the complaint.

   This 12th day of June, 2020.
                                                    Clerk of Superior Court




                                                          Keaton, Clerk of Superior Court
                                                                  Cobb County, Georgia
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                                                       Page 1 of 1
      Case 1:20-cv-02939-TWT Document 1-1 Filed 07/14/20 Page 4 of 152
                                                                                       ID# 2020-0059723-CV
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                                                                                      COBB COUNTY, GEORGIA
                                                                                           20103304
DISCLOSURE STATEMENT                                                                     LEONARD - 53
CLERK OF SUPERIOR COURT                                                               JUN 12, 2020 02:46 PM

                                                                                      GA
CASE NUMBER 20103304                                                                  Rdbecca Keaton, Clark of Superior Court
                                                                                                        Cobb County, Georgia




Henry's Louisiana Grill, Inc. ; Henry's Uptown LLC
                     Plaintiff

                          Vs.

Allied Insurance Company of America '
                  Defendant


                                       TYPE OF ACTION

          o Divorce without Agreement Attached        o URESA
          o Divorce with Agreement Attached           o Name Change
          o Domestic Relations                        o Other
          cK Damages Arising out of Contract          o Recusal
          o Damages Arising out of Tort               o Adoption
          o Condemnation
          o Equity
          o Zoning — County Ordinance Violations (i.e., Injunctive Relief-Zoning)
          o Zoning Appeals (denovo)
          o Appeal, Including denovo appeal — excluding Zoning

                                  PREVIOUS RELATED CASES
Does this case involve substantially the same parties, or substantially the same subject matter, or
substantially the same factual issues, as any other case filed in this court (Whether pending
simultaneously or not)?

     (Y NO
     o YES — If yes, please fill out the following:
           1.Case #

             2. Parties

             3. Assigned Judge

             4. Is this case still pending?          o Yes    o No

             5. Brief description of similarities:




                                                     /S/ Leonard, James J
                                                                    Attorney or Party Filing Suit
               Case 1:20-cv-02939-TWT Document 1-1 Filed 07/14/20 Page 5 of 152
                                                                                           ID# 2020-0059722-CV
                                                                                            =' EFILED IN OFFICE
                        General Civil and Domestic Relations Case Filing Information FormLERK oF sUPERiOR COURT
                                                                                           COBB COUNTY, GEORGIA

                           3 Superior or q State Court of Cobb
                           q                                                                  County            20103304
                                                                                                            JUN 12, 2020 02:46 M
         For Clerk Use Only

         Date Filed 06-I2-2020                                 Case Number 20103304                          Rebecca Keaton,Cle cofsuperi Cou
                                                                                                                           CobbCounty, eorgl
                         MM-DD-YYYY

Plaintiff(s)                                                       Defendant(s)
Henry's Louisiana Grill, Inc.                                      Allied Insurance Company of America
Last           First            Middle 1.   Suffix    Prefix       Last           First         Middle 1.    Suffix      Prefix
Henry's Uptown LLC
Last           First            Middle I.   Suffix    Prefix       Last           First         Middle I.    Suffix      Prefix


Last            First           Middle 1.    Suffix   Prefix       Last           First         Middle I.    Suffix      Prefix


Last            First           Middle 1.    Suffix   Prefix       Last           First         Middle I.    Suffix      Prefix


Plaintiff's Attorney Leonard, James J                               Bar Number 446655                 Self-Represented q

                            Check one case type and, if applicable, one sub-type in one box.

        General Civil Cases                                               Domestic Relations Cases
         q       Automobile Tort                                          q      Adoption
         q       Civil Appeal                                             q      Contempt
         5z      Contract                                                        q Non-payment of child support,
         q       Contempt/Modification/Other                                     medical support, or alimony
                 Post-Judgment                                            q      Dissolution/Divorce/Separate
         q       Garnishment                                                     Maintenance/Alimony
         q       General Tort                                             q      Family Violence Petition
         q       Habeas Corpus                                            q      Modification
         q       Injunction/Mandamus/Other Writ                                  q Custody/Parenting Time/Visitation
         q       Landlord/Tenant                                          q      Paternity/Legitimation
         q       Medical Malpractice Tort                                 q      Support — IV-D
         q       Product Liability Tort                                   q      Support — Private (non-IV-D)
         q       Real Property                                            q      Other pomestic Relations
         q       Restraining Petition
         q       Other General Civil

q        Check if the action is related to another action(s) pending or previously pending in this court involving some or all
         of the same parties, subject matter, or factual issues. If so, provide a case number for each.


                  Case Number                                   Case Number

0      ; 1 hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
          redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.

q        Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

                                            Language(s) Required

q        Do you or your client need any disability accommodations? If so, please describe the accommodation request.



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      Case 1:20-cv-02939-TWT Document 1-1 Filed 07/14/20 Page 6 of 152
                                                                                   ID# 2020-0059720-CV
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                                                                                  COBB COUNTY, GEORGIA
                                                                                      20103304
                       IN THE SUPERIOR COURT OF COBB COUNTY                          LEONARD - 53
                                                                                  JUN 12, 2020 02:46 PM
                                  STATE OF GEORGIA

                                                                                   RdbecCa K~of S~Court
                                                                                           Cobb County, Georgia
HENRY'S LOUISIANA GRILL, INC. and
HENRY' S UPTOWN LLC,                                CIVIL ACTION
                                                    FILE NO.
       Plaintiffs,

V.
                                                    JURY TRIAL DEMANDED
ALLIED INSURANCE COMPANY OF
AMERICA,

       Defendant.


                                       COMPLAINT            '

       COMES NOW, HENRY'S LOUISIANA GRILL, INC. (hereinafter "Henry's LA Grill")

and HENRY'S UPTOWN LLC (hereinafter "Henry's Uptown") (collectively "Henry's" or

"Plaintiffs") and for cause of action against ALLIED INSURANCE COMPANY OF AMERICA

(hereinafter "Nationwide" or "Defendant"), would respectfully show this honorable Court and

the Jury as follows:

                         PARTIES, JURISDICTION AND VENUE

                                              1.

       Plaintiff Henry's LA Grill is a Georgia corporation headquartered at 4835 North Main

Street, Acworth, Cobb County, Georgia 30101.

                                              101

       Plaintiff Henry's Uptown is a Georgia limited liability corporation headquartered at 4835

North Main Street, Acworth, Cobb County, Georgia 30101.




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                                                3

       Defendant is an Ohio corporation with its principal place of business at One Nationwide

Plaza, Columbus, Ohio 43215. Defendant may be served through its Registered Agent at

Corporation Service Company, 40 Technology Parkway South, #300, Norcross, Georgia 30092.

                                                9

       This Court has jurisdiction of this action because the underlying claim and subject losses

occurred in Cobb County, the subject insurance policy was issued to Plaintiff in Cobb County,

and the damages sustained by Plaintiff occurred in Cobb County.

                                  FACTUAL BACKGROUND

                                                5.

       Henry's LA Grill is a Louisiana-style restaurant owned and operated by Henry and

Claudia Chandler. Mr. Henry Chandler is a well-known chef who opened the doors of Henry's

Louisiana Grill almost 20 years ago to the date of the filing of this Complaint.

                                                G'!

       Henry's Uptown is an upstairs private party and overflow space associated with Henry's

LA Grill and it has sustained losses as well.

                                                7.

       Henry's is a well-known eating establishment in Cobb County and in the greater Atlanta

and North Georgia area. Customers come from as far away as Florida and Tennessee to eat at

Henry's. Henry's received the honor of being the national "Nightline's People's Platelist

Award" winner on the ABC News Nightline television program.

                                                E.03

       As a responsible business owner, Henry's purchased a suite of insurance coverages from

Nationwide sold as a"Premier Businessowners Property Coverage" Form, Policy Number ACP


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BPFL 3047569584 (hereinafter the "Policy") (a true and correct copy of the Policy is attached

hereto as Exhibit 1 and fully incorporated by reference).

                                                 am
       On March 14, 2020, Governor Brian Kemp issued Executive Order #03.14.20.01,

declaring a Public Health State of Emergency throughout the State of Georgia. On March 16,

2020, the Georgia General Assembly, then in session, concurred with Governor Kemp's

Executive Order by a Joint Resolution.

                                                10.

       Per the above March 14, 2020 Order, the Georgia Department of Public Health

determined that COVID-19 was spreading throughout communities, requiring the

implementation of certain restrictions to limit the spread of the virus.

                                                11.

       At no time before or since the filing of this Complaint has any virus been identified at the

Henry's location.

                                                12.

       Georgia Code § 38-3-51(d)(1) vests the Governor of Georgia with the power to suspend

any regulatory statute which prescribes the procedures for conduct of state business, or the

orders, rules, or regulations of any state agency when strict compliance with any statute, order,

rule, or regulation would in any way prevent, hinder, or delay necessary action in coping with an

emergency or disaster.

                                                13.

        As a responsible business owner and in direct response to the Governor's Executive

Order 403.14.20.01, Henry's immediately closed its dining rooms for normal restaurant service.




                                                  3
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As a result of the Order, Henry's had a direct physical loss of its dining rooms, which are the

primary source of Henry's revenue.

                                                 14.

       On March 27, 2020, Plaintiffs provided notice of incident and loss to Defendant.

                                                15.

       After providing additional information and a recorded telephonic interview with

Nationwide's claims representative, Plaintiffs received an outright denial of coverage from

Nationwide. That correspondence provided, inter alia, that a"virus and bacteria exclusion"

eliminated all coverage for all losses sustained by Plaintiffs.

                                                 16.

       The above-referenced denial letter also misrepresented the Policy language by stating that

Henry's needed to have incurred a"direct physical loss or damage to Covered Property" when

the Policy actually provides that Henry's must sustain a". .. direct physical loss of or damage to

Covered Property ...." (Emphasis added.) Nationwide repeatedly misquoted the Policy and

relied upon that misquote for its coverage position.

                                                 17.

       Because there was never any virus located at, on, or in Plaintiffs' premises, the "virus and

bacteria exclusion" is inapplicable.



       The Policy provides coverage for all causes of loss whatsoever, except to the extent such

loss is expressly limited or excluded in the Policy. All exclusions are to be strictly construed

against the Defendant insurance company under Georgia law.

                                                 19.

       The Policy provides, inter alia:


                                                  rd
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 g.     Business Income

        (1)    Business Income with Ordinary Payroll Limitation

               (a)     We will pay for the actual loss of to the necessary suspension of
                       your "operations" during the "period of restoration". The
                       suspension must be caused by direct physical loss of or damage to
                       property at the described premises. The loss or damage must be
                       caused by or result from a Covered Cause of Loss. With respect to
                       loss of or damage to personal property in the open or personal
                       property in a vehicle, the described premises include the area
                       within 1,000 feet of the site at which the described premises are
                       located.

               (b)     With respect to the requirements set forth in the preceding
                       paragraph, if you occupy only part of the site at which the
                       described premises are located, your premises means:

                       (i)    The portion of the building which you rent, lease or occupy;
                              and

                       (ii)   Any area within the building or on the site at which the
                              described premises are located, if that area services, or is
                              used to gain access to, the described premises.

               (c)     We will only pay for loss of "business income" that you sustain
                       during the "period of restoration" and that occurs within the
                       number of consecutive months shown in the Declarations for
                       Business Income Actual Loss Sustained after the date of direct
                       physical loss or damage. We will only pay for the number of days
                       shown in the Declarations for Ordinary Payroll Limit following the
                       date of direct physical loss or damage.

                                        20.

 The "Additional Coverages" section further provides as follows:

 j.     Civil Authority

        When a Covered Cause of Loss causes damage to property other than property at
        the described premises, we will pay for the actual loss of Business Income you
        sustain and necessary Extra Expense caused by action of civil authority that
        prohibits access to the described premises, provided that both of the following
        apply:

        (1)    Access to the area immediately surrounding the damaged property is
               prohibited by civil authority as a result of the damage, and the described



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                premises are within that area but are not more than one mile from the
                damaged property; and

        (2)     The action of civil authority is taken in response to dangerous physical
                conditions resulting from the damage or continuation of the Covered
                Cause of Loss that caused the damage, or the action is taken to enable a
                civil authority to have unimpeded access to the damaged property.

        Civil Authority begin 72 hours after the time of the first action of civil authority
        that prohibits access to the described premises and will apply for a period of up to
        30 days after coverage begins.

        Civil Authority coverage for necessary "extra expense" will begin immediately
        after the time of the f'irst action of civil authority that prohibits access to the
        described premises and will end:

        (1)     30 days after the time of that action; or

        (2)     When your Civil Authority coverage for "business income" ends;

        whichever is later.

        The definitions of Business Income and Extra Expense contained in the Business
        Income and Extra Expense Additional Coverages also apply to this Civil
        Authority Additional Coverage. The Civil Authority Additional Coverage is not
        subject to the Limits of Insurance.

                                         21.

 The Policy further provides as follows:

 S.     Dependent Properties — Business Income

        (1)     We will pay for the actual loss of "business income" you sustain due to the
                necessary and unavoidable suspension of your "operations" during the
                "period of restoration." The suspension must be caused by direct physical
                loss of or damage to "dependent property" or "secondary dependent
                property" caused by or resulting from any Covered Cause of Loss.

                However, this Additional Coverage does not apply when the only loss at
                the premises of a Dependent Property or Secondary Dependent Property is
                loss or damage to "electronic data." If the Dependent Property or
                Secondary Dependent Property sustains loss or damage to "electronic
                data" and other property, coverage this Additional Coverage will not
                continue once the property is repaired, rebuilt or replaced.

        (2)     We will only pay for loss of "business income" that occurs within 12
                consecutive months after the date of direct physical loss or damage.


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               (3)     This Dependent Properties — Business Income Additional Coverage is not
                       subject to the Limits of Insurance.

               (4)     The "dependent property" or "secondary dependent property" must be
                       located in the coverage territory of this policy.

                                                 22.

       The Policy also provides the following exclusion:

       j.      Pollutants

               We will not pay for loss or damage caused by or resulting from the discharge,
               dispersal, seepage, migration, release or escape of "pollutants" unless the
               discharge, dispersal, seepage, migration, release or escape is itself caused by any
               of the "specified causes of loss." But if the discharge, dispersal, seepage,
               migration, release or escape of "pollutants" results in a"specified cause of loss,"
               we will pay for the loss or damage caused by that Specified cause of loss."

                                                 23.

       The Policy provides under Section E Property Loss Conditions as follows:

       3.      Duties in the Event of Loss or Damage

               a.      You must see that the following are done in the event of loss of or damage
                       to Covered Property:



                       (4)     Take all reasonable steps to protect the Covered Property from
                               further damage. If feasible, set the damaged property aside and in
                               the best possible order for examination. Also keep a record of
                               your expenses necessary to protect the Covered Property, for
                               consideration in the settlement of the claim. This will not increase
                               the Limit of Insurance. HOWEVER, we will not pay for any
                               subsequent loss or damage resulting from a cause of loss that is not
                               a Covered Cause of Loss.

                                                 24.

       Nationwide's denial of coverage is without substantial justification, intentionally

misquotes the policy provisions, and constitutes a breach of contract which has proximately

resulted in substantial damages to Plaintiffs.




                                                  7
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                         COUNT I — DECLARATORY JUDGMENT
                                              25.

        The allegations in Paragraphs 1 through 24 are fully incorporated herein by reference as

if set forth verbatim.

                                              26.

        From the Plaintiffs' standpoint, there is an actual and justiciable controversy currently

between Plaintiffs and Defendant which is subject to review and determination by this Court.

                                              27.

        Plaintiffs believe that their past and ongoing losses resulting from the civil authority

order are covered under the Nationwide Policy.



        Plaintiffs respectfully request an Order from this Court finding that their past and

ongoing business interruption losses are fully covered under the Nationwide Policy.

                           COUNT II — BREACH OF CONTRACT
                                              29.

        The allegations in Paragraphs 1 through 28 are fully incorporated herein by reference as

if set forth verbatim.

                                              all
        Henry's paid substantial insurance premiums for its "Premier Business Owner's Property

Coverage" through Nationwide, and has complied with all conditions precedent to coverage.

                                              31.

        Through its denial of all coverage, Nationwide has breached its promises to Henry's,

thereby breaching the insurance contract and proximately causing substantial damages to

Plaintiffs.



                                                 N.
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                                                   32.

          As a result of Nationwide's breach, Plaintiffs have sustained damages in an amount to be

proven to the jury at trial herein.

                                       PRAYER FOR RELIEF

          WHEREFORE, PREMISES CONSIDERED, Plaintiffs hereby request a declaratory

judgment and damages for breach of contract as set forth hereinabove, pre- and post judgment

interest as allowed by law, as well as all additional and further relief to which they may be

entitled.

                                       JURY TRIAL DEMAND

          Plaintiffs hereby demands a trial by jury on all issues so triable.



Respectfully submitted this 12th day of June, 2020.




                                                         ~
                                                  James J. Leonard
                                                  Georgia Bar No. 446655
                                                  BARNES & THORNBURG LLP
                                                  Prominence in Buckhead
                                                  3475 Piedmont Road, N.E., Suite 1700
                                                  Atlanta, Georgia 30305-2954
                                                  Telephone:    (404) 846-1693
                                                  Facsimile:    (404) 264-4033
                                                  Jim.Leonard@btlaw.com

                                                  CO UNSEL FOR PLAINTIFF
                                                  HENRY'S LOUISIANA GRILL and HENRY'S
                                                  UPTOWN LLC




DMS: 17451164.1




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              EXHIBIT I
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                                                                                              IN 74 04 0107


                     IMPORTANT FLOOD INSURANCE NOTICE
       Thank you for the opportunity to provide your important insurance protection. As your insurance
       provider, we like to keep you informed of important issues that can potentially impact your property
       assets. This letter is to remind you of the importance of considering flood insurance and the
       importance of reviewing your policies on a regular basis.

      Your Commercial Property (Premier Businessowners, and/or Commercial Property) and
      Farmowners' policy does not cover damage from floods to any property resulting directly or
      indirectly from "water." Excluded "water" losses include, but are not limited to those caused by
      flood, surface water, waves, tides, tidal waves, overflow of any body of water, or their spray, all
      whether driven by wind or not. These types of loss or damage caused by "Water" are excluded
      regardless of any other cause or event that contributes concurrently or in any sequence to the
      loss. You will need to read your policy for all of the details about excluded water losses. This is
      just a summary of the excluded water losses to highlight some important flood-related issues.

       In most communities, you can obtain flood insurance through your agent that is backed by the
       federal government's National Flood Insurance Program. In those qualifying communities; you
       can obtain flood insurance protection for your property regardless of your flood zone or flood
       risk.

      Your agent can assist you in 1) determining if your community participates in the National Flood
      Insurance Program, 2) assessing your flood risk, and 3) understanding flood policy availability. To
      learn more about flood insurance and your risk of flooding access the National Flood Insurance
      Program's consumer website at www.FloodSmart.gov.

       As you consider the risk of flooding in your area and consider your options for obtaining valuable
       protection, consider that:
      •   AII property is in a flood zone, regardless of whether an area has been defined as high risk or low
          risk.
      •   Nearly 25% of all flood claims are for properties located in lower-risk flood areas or locations
          where flooding is not expected.
      •   Floods can happen anywhere, at any time, causing anguish, destruction, and financial damage.
      •   Changing weather patterns, as well as residential and business development, may increase your
          chance of experiencing a flood.
      •   Flooding can occur as a result of clogged, overloaded, or inadequate storm drains. You don't
          have to live near a body of water to be flooded.
      •   Federal disaster assistance is often a loan and must be repaid with interest.
      •   Your commercial property and/or farmowner policies exclude loss by flooding.

      Ask your agent about obtaining flood insurance for commercial property today. Thank you for
      choosing us to meet your insurance needs. We value your business.




      IN 74 04 0107                                                                            Page 1 of 1
ACP BPFL3047569584                             INSURED COPY                                                 45 14993
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                                                                                                          IN 78 0911 15

                                 IMPORTANT INSURANCE INFORMATION
    Please read this Notice carefully. No coverage is provided by this notice nor can it be construed to replace any
    provision of your policy. You should read your policy and review your declarations page for complete information
    on the coverages you are provided. If there is any conflict between the policy and this notice, the provisions of the
    policy shall prevail.

           DATA BREACH & IDENTITY RECOVERY SERVICES
    Data Breach Services Information:
    Through a partnership with Hartford Steam Boiler, you have access to a data breach risk
    management portal called the eRiskHub®. The portal is designed to help you understand data
    information exposures, help you plan and be prepared for a data breach, and establish a
    response plan to manage the costs and minimize the effects of a data breach.
    Key features of the portal include:
      • Incident Response Plan Roadmap — suggested steps your business can take following
          data breach incident. Having an incident response plan prepared in advance of a
          breach can be useful for defense.of potential litigation.
      • Online Training Modules — ready-to-use training for your business on privacy best
          practices and Red Flag Rules.
      • Risk Management Tools- assist your business in managing data breach exposures
          including self-assessments and state breach notification laws.
      • eRisk Resources — a directory to quickly find external resources on pre and post-breach
          disciplines.
      • News Center — cyber risk stories, security and compliance blogs, security news, risk
          management events, and helpful industry links.
      • Learning Center — best practices and white papers written by leading authorities.

    To access the eRiskHubOportal:
       • Enter https://www.eriskhub.com/nationwide in your browser.
       • Complete the information, including your name and company. Your User ID and
          Password are case-sensitive.
       + Enter your assigned access code: 12116-73.
       • Enter the challenge word on the screen, and click "Submit" and follow the instructions to
          complete your profile setup.
       • You can now login to the portal.

    You also have access to a help-line to answer breach related questions. Insureds having
    questions pertaining to how to prepare for a breach, help in identifying a breach, or other
    questions pertaining to breach related best practices can call our breach preparedness help-
    line. Experienced professionals are able to provide insights to help insureds understand the
    complicated environment pertaining to breaches of personal information. The breach
    preparedness help-line is 877-800-5028.

    IN78091115                                                                                               Page 1 of 2
ACP BPFL3047569584                                 INSURED COPY                                                  45 14994
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    IN 78 0911 15

    In addition, you have the ability to purchase Data Compromise Insurance coverage and
    CyberOne Insurance coverage.

    The Data Compromise coverage covers the costs incurred by an insured to respond to a data
    breach, including expenses related to forensic information technology review, legal review,
    notification to affected individuals, services to affected individuals, public relations services. '
    Insureds will also have the ability to include Data Compromise Defense and Liability coverage
    which covers the liability from a suit brought by an individual affected by the data breach.

    CyberOne coverage protects businesses against damage to electronic data and computer
    systems from a virus or other computer attack. It also protects a business's liability to third
    parties that may have suffered damage due to security weaknesses in the business's
    computer system.

    Identity Recovery Services Information:
    Through a partnership Hartford Steam Boiler, you will have access to a Toll-Free Identity
    Recovery Help Line designed to provide education about identity theft and identity theft risks.
    The toll-free Help Line is staffed by experienced identity theft counsellors who can answer
    questions and provide useful information and resources to identity theft victims. The Identity
    Recovery Help Line number is 877-800-5028.

    In addition, you have the ability to buy Identity Recovery insurance coverage as an included
    element of Data Compromise coverage or separately, on its own. The Identity Recovery
    coverage insures against the theft of identities of the insured's key owners, officers, and
    resident family members. The coverage provides the services of an identity theft case
    manager and pays for various out-of-pocket expenses due to a covered identity theft,
    including:

        •   Legal fees for answer of civil judgments and defense of criminal charges
        •   Phone, postage, shipping fees
        •   Notary and filing fees
        •   Credit bureau reports
        •   Lost Wages and Child or Elder Care
        •   Mental Health Counseling costs (Not Available in NY)
        •   Miscellaneous Expense coverage




    Page 2 of 2                                                                            IN 78 0911 15
ACP BPFL3047569584                          INSURED COPY                                          45 14995
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                                                                                                           IN 78 30 0816

                                 IMPORTANT INSURANCE INFORMATION
    Please read this Notice carefully. No coverage is provided by this notice nor can it be construed to replace any
    provision of your policy. You should read your policy and review your declarations page for complete information
    on the coverages you are provided. If there is any conflict between the policy and this notice, the provisions of the
    policy shall prevail.

                EMPL®YMENT PRACTICES LIARILITY SERVICES
    As a member of Nationwide Insurance who has an active Employment Practices Liability Insurance policy you
    have access to a free loss prevention website and a free legal hotline to help your business reduce and/or prevent
    employment claims.
    Online Support:
    The website "Workplace Risk Solutions" is designed to help educate you about employment practices laws, help
    you understand the employment practices exposures your business may have, and provide ways that you can
    reduce your risk of having an employment claim.
    Key features of the website include:
       • Training — Web based training on: sexual harassment, preventing discrimination, and preventing wrongful
           termination and retaliation.
       • Knowledge Vault —
                o Checklists to help guide your business through certain situations it may encounter such as crisis
                     management.
                o A library of wo rkplace- related articles.
                o Tools to help you create documents such as an employment application, employee handbook,
                     policy guides in English and Spanish, performance review, and an incident form.
                o Best Practice Minutes and Tips offers steps to limit the risk for a variety of workplace employment
                     liability issues.
    To access the website:
        • Select a site administrator.
           We recommend that all managers and supervisors handling EPLI register to use this site. Ideally one
           employee should register as the site administrator, then register additional users.
        • Go to: http://www.wprsolutions.com
        • Click Register Here in the Member Login box on the left hand side of the page.
        • Enter the passcode: NI-HRhelp
        • Complete the registration form.
        • Training Notice Screen — We suggest turning off all questions on the Training Notice screen (click No).
           The system automatically assigns all training modules to every user with a site profile if you do not click no
           on the Training Notice screen.
        • You can now login to the portal.

    Questions on the website? Call a Customer Service Representative at 888-712-7667.

    Legal Hotline:
    The Jackson Lewis legal hotline provides you with employment practices legal advice from Jackson Lewis, LLP,
    one of the nation's largest and most respected employment law firms. The legal hotline can answer questions
    regarding employee family medical leave, attendance issues, the steps to take when investigating harassment
    reports or terminating employees, as well as answering a host of other employment-related questions.
    Questions for the Jackson Lewis legal hotline? Call (800)-259-5589 Monday through Friday from 9:00 am to 6:00
    pm Central Standard Time.

    IN 78 30 0816                                                                                             Page 1 oi 1
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  Nationwide®                                                                                                                 10 73001
     is on your side          ALLIED INSURANCE CO OF AMERICA
                              1100 LOCUST ST DEPT 1100                                                              RENEWAL
                              DES MOINES, IA 50391-2000


                                PREMIER BUSINESSOWNERS POLICY
                                                      PREMIER FOOD SERVICE

                                                      COMMON DECLARATIONS

              Policy Number:      ACP BPFL 3047569584

             Named Insured:       PROFESSIONAL RESTAURANT OCCUPATIONS LLC
                                  - SEE NAMED INSURED SCHEDULE
           Mailing Address:       4835 N MAIN ST STE 200
                                  ACWORTH, GA     30101-5344
               Agency:            USI INSURANCE SERVICES LLC
              Address:            ATLANTA GA     30325-0138
  Agency Phone Number:            (404)923-3700

               Policy Period: Effective From 03-01-20  To 03-01-21
                                        12:01 AM Standard Time at your principal place of business.
Form of your business entity:          CORPORATION

Description of your business:          RESTAURANT

     IN RETURN FOR THE PAYMENT OF THE PREMIUM AND SUBJECT TO ALL THE TERMS OF THIS POLICY,
                    WE AGREE TO PROVIDE THE INSURANCE STATED IN THIS POLICY.
CONTINUATION PROVISION: If we offer to continue your coverage and you or your representative do not accept,
this policy will automatically terminate on the expiration date of the current policy period stated above. Failure to
pay the required premium when due shall mean that you have not accepted our offer to continue your coverage.
This policy will terminate sooner if any portion of the current policy period premium is not paid when due.

RENEWAL POLICY NOTICE: In an effort to keep insurance premiums as low as possible, we have streamlined
your renewal policy by not including printed copies of policy forms or endorsements that have not changed from
your expiring policies, unless they include variable information that is unique to you. Refer to your prior policies for
printed copies of these forms. If you have a need for any form, they are available by request from your agent.




                                                                                         TOTAL POLICY PREMIUM $                   24,442.00

   Previous Policy Number

 ACP     BPFL 3037569584              ENTRY DATE                 12-26-19                                                      Date
                                                                                           Countersignature

These Common Policy Declarations, together with the Common Policy Conditions, Coverage Form Declarations,
Coverage Forms and any endorsements issued to form a part thereof, complete the Policy numbered above.

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                        PREMIER BUSINESSOWNERS POLICIf
                                        PREMIER FOOD SERVICE
                                      SCHEDULE OF NAMED INSUREDS                    Policy Period:
Policy Number: ACP BPFL 3047569584                                 From 03-01-20   TO 03-01-21

Named Insured:

PROFESSIONAL RESTAURANT OCCUPATIONS LLC
- PROFESSIONAL RESTAURANT OCCUPATIONS LLC - DBA
HENRY'S LOUISIANA GRILL
HENRYS UNLIMITED, INC
HENRY'S UPTOWN, LLC




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                                   ALLIED INSURANCE COMPANY OF AMERICA

    IN VVITNESS WHEREOF, the Company has caused this policy to be signed by its president and secretary and
    countersigned as may be required on the declarations page by a duly authorized representative of the company.




                                                                         4Ak

                        SECRETARY                                           PRESIDENT




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                         PREMIER BUSINESSONINERS POLICY
                                          PREMIER FOOD SERVICE
                                         PROPERTY DECLARATIONS                                    Policy Period:
Policy Number:     ACP BPFL3047569584                                                  From 03-01-20 To 03-01-21
Description of Premises Number: 001     Building Number: 001    Construction: JOISTED MASONRY
Premises Address 4835 N MAIN ST                                  ACWORTH            GA       30101-5344
Premises ID
Occupancy T        Classification: RESTAURANT - NOC - FINE DINING - WITH BAR

                     Described as: RESTAURANT

  WE PROVIDE INSURANCE ONLY FOR THOSE COVERAGES INDICATED BY A LIMIT OR BY "INCLUDED".
  The Property Coverage provided at this premises is subject to a$ 1,000 Deductible, unless otherwise stated.
COVERAGES                                                                                LIMITS OF INSURANCE
Building -                                                                                          NOT PROVIDED
Business Personal Property - Replacement cost                                                           $560,800
ADDITIONAL COVERAGES - the Coverage Form Includes other Additional Coverages not shown.
Businesslncome -ALS- 12 Months- 24 HourWaiting Period -60 Day Ordinary Payroll Limit                    INCLUDED
Extra Expense - Actual Loss Sustained (ALS) - 12 Months - 24 Hour Waiting Period                        INCLUDED
Equipment Breakdown                                                                                     INCLUDED
Automatic Increase in Insurance - Building                                                   NOT        PROVIDED
Automatic Increase in Insurance - Business Personal Property                                                 2.9%
Back Up of Sewer and Drain Water (limit shown per Building, subject to $25,000 policy aggregate)
                                                                                                          $5,000


OPTIONAL INCREASED LIMITS                                 Included Limit     Additional Limit
Account Receivable                                              $25,000                                  $25,000
Valuable Papers and Records (At the Described Premises)         $25,000                                  $25,000
Forgery and Alteration                                          $10,000                                  $10,000
Money and Securities - Inside the Premises                      $10,000                                  $10,000
                        Outside the Premises (Limited)          $10,000                                  $10,000
Outdoor Signs                                                    $2,500                                   $2,500
Outdoor Trees, Shrubs, Plants and Lawns                         $10,000                                  $10,000
Business Personal Property Away From Premises                   $15,000                                  $15,000
Business Personal Property Away From Premises - Transit         $15,000                                  $15,000
Electronic Data                                                 $10,000                                  $10,000
Interruption of Computer Operations                             $10,000                                  $10,000
Building Property of Others                                     $10,000                                  $10,000
OPTIONAL COVERAGES - Other frequently purchased coverage options.
Employee Dishonesty $50,000 Policy Occurrence                                                           INCLUDED
Ordinance or Law - 1- Loss to Undamaged Portion                                                     NOT PROVIDED
                   2- Demolition Cost and Broadened Increased Cost of Construction                  NOT PROVIDED
                   Ordinance or Law Broadened                                                       NOT PROVIDED
Food Service PLUS Endorsement (PB2002)                                                                  INCLUDED
  Spoilage From Power Outage -$500 Deductible                                                            $25,000
ADVANTAGE - Blanket Additional Limit                                                                    $100,000




PROTECTIVE SAFEGUARDS
This premise has Protective Safeguards identified by symbols below. Insurance for Fire or Burglary and Robbery
at this premise will be excluded if you do not notify us immediately if any of these safeguards are impaired.
See PB 04 30 for a description of each symbol. APPLICABLE SYMBOLS: P-8;

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                              PREMIER BUSINESSOWNERS POLICY
                                                   PREMIER FOOD SERVICE
                                 MORTGAGEE ASSIGNMENT INFORMATION                             Policy Period:
Policy Number:     ACP BPFL3047569584                                              From 03-01-20To 03-01-21
Additional Interest:            Interest Number:              Loan Number:
Interest:



Additional Interest:            Interest Number:              Loan Number:
Interest:



Additional Interest:            Interest Number:              Loan Number:
Interest:



Additional Interest:            Interest Number:              Loan Number:
I nterest:



Additional Interest:            Interest Number:              Loan Number:
I nterest:



Additional Interest:            Interest Number:              Loan Number:
I nte rest:



Additional Interest:            Interest Number:              Loan Number:
I nterest:




Additional Interest:            Interest Number:              Loan Number:
I nterest:



Additional Interest:            Interest Number:              Loan Number:
I nterest:



Additional Interest:            Interest Number:         -    Loan Number:
I nterest:




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                   PREMIER BUSINESSOWNERS POLICY
                                               PREMIER FOOD SERVICE
                                         LIABILITY DECLARATIONS                                   Policy Period:
Policy Number:     ACP BPFL 3047569584                                                From 03-01-20 To 03-01-21

LIMITS OF INSURANCE
Each Occurrence Limit of Insurance                       Per Occurrence                                $12 000, 000
Medical Payments Coverage Sub Limit                      Per Person                                         $5, 000
Tenants Property Damage Legal Liability Sub Limit        Per Covered Loss                                $300, 000
Personal and Advertising Injury                          Per Person Or Organization                    $1, 000, 000
Products — Completed Operations Aggregate                AII Occurrences                               $2, 000, 000
General Aggregate                                        AII Occurrences                               $2, 000, 000
(Other than Products — Completed Operations)

AUTOMATIC ADDITIONAL INSUREDS STATUS
The following persons or organizations are automatically insureds when you and they have agreed in a written
contract or agreement that such person or organization be added as an additional insured on your policy.
Co-Owners of Insured Premises
Controlling Interest
Grantor of Franchise or License
Lessors of Leased Equipment
Managers or Lessors of Leased Premises
Mortgagee, Assignee or Receiver
Owners or Other Interest from Whom Land has been Leased
State or Political Subdivisions - Permits Relating to Premises

PROPERTY DAMAGE DEDUCTIBLE
NONE


OPTIONAL COVERAGES
Employee Benefits - Retroactive Date 03 01 16           Each Employee              $1,000,000
     $1,000 Each Employee Ded"uctible                   Aggregate                  $2,000,000
Employment Practices Liability Insurance
Each Claim & Aggregate Limits for Damages                                             $50,000
Each Claim & Aggregate Limits-Defense Expense INCLUDED
Retroactive Date 03/01/16 Deductible $2,500
SEE ATTACHED LIABILITY DECLARATION SUPPLEMENT
Liquor Liability                              Included i n Each Occurrence Lfmit of insurance
                                                       Subject to Products -
                                                       Completed Operations Aggregate




The Liability portion of your total policy premium is an advance premium and may be subject to adjustment
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                   PREMIER BUSINESSOWNERS POLICY
                               PREMIER FOOD SERVICE
                        FORMS AND ENDORSEMENTS SUMMARY                        Policy Period:
Policy Number: ACP BPFL 3047569584                                From 03-01-20 To 03-01-21


FORM NUMBER         TITLE
LI0021       0101    NUCLEAR ENERGY LIABILITY EXCLUSION
PB0002       1114    PREMIER BUSINESSOWNERS
PB0006       1114    PREMIER BUSINESSOWNERS LIABILITY COVERAGE FORM
PB0009       1114    PREMIER BUSINESSOWNERS COMMON POLICY CONDITIONS
PB0430       0917    PROTECTIVE SAFEGUARDS
PB0498       1114    EMPLOYEE BENEFITS LIABILITY COVERAGE
PB0523       0715    CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
PB0588       0411    GEORGIA - LIMITED FUNGI OR BACTERIA COVE
PB0589       0311    EMPLOYMENT PRACTICES LIABILITY
PB1504       1114    ACCESS OR DISCLOSURE OF CONFIDENTIAL OR PERSONAL INFORMATION
PB2002       1114    FOOD SERVICE PLUS ENDORSEMENT
PB2099       0411    BUSINESSOWNERS ADVANTAGE
PB2998       0908    EXCLUSION - VIOLATION OF CONSUMER PROTECTION STATUTES
PB5805       1114    DATA COMPROMISE COVERAGE RESPONSE EXPENSES AND DEFENSE AND L
PB5807       1114    CYBERONE COVERAGE
PB5809       1114    IDENTITY RECOVERY COVERAGE
PB5910       1213    GEORGIA CHANGES - DIMINISHED VALUE OR ST
PB6303       0101    LIQUOR LIABILITY COVERAGE
PB9010       0517    GEORGIA AMENDATORY ENDROSEMENT
                                     IMPORTANT NOTICES
IN7404       0107    IMPORTANT FLOOD INSURANCE NOTICE
IN7809       1115    DATA BREACH & IDENTITY RECOVERY SERVICES
IN7830       0816    EMPLOYMENT PRACTICES LIABILITY SERVICES




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                     PREMIER BUSINESSOWNERS POLICY
                                   PREMIER FOOD SERVICE
                               LIABILITY DECLARATIONS SUPPLEMENT                        Policy Period:
Policy Number: ACP BPFL 3047569584                                   From 03-01-20      To 03-01-21

OPTIONAL COVERAGES                                                          LIMITS OF INSURANCE

Data Compromise Coverage
   Response Expense L i m i t                                                      $50,000
   Response Expense Deductible                                                      $1,000 ,
       Sublimits
          Named Malware Limit(Sec.1)                                               $50,000
          Forensic IT Review Limit                                                  $5,000
          Legal Review Limit                                                        $5,000
          PR Services Limit                                                         $5,000
   Defense and Liability Limit                                                     $50,000
   Defense and Liability Deductible                                                 $1,000
          Named Malware Limit(Sec.2)                                               $50,000
Identity Recovery Limit
   Expense Reimbursement Limit                                                     $25,000
       Sublimits
          Lost Wages/Child Elder                                                     $5,000
          Mental Health Expenses Limits                                              $1,000
          Miscellaneous Expensed Limits                                              $1,000
CyberOne Coverage
   Section 1- Full Computer Attack
   Computer Attack Limit                                                           $50,000
   Computer Attack Deductible                                                       $5,000
       Sublimits
          Data Re-Creation                                                       EXCLUDED
          Loss of Business                                                       EXCLUDED
          Public Relations                                                       EXCLUDED
   Section 2- Full Network Security 'Liability
   Network Security Liability Limit                                              EXCLUDED
   Network Security Liability Deductible                                         EXCLUDED




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                                                                                                                                           BUSINESSOWNERS
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                                           PROPERTY COVERAGE FORM
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    PB 00 02 11 14

                                PREMIER BUSINESSOWNERS
                                PROPERTY COVERAGE FORM
    Various provisions in this policy restrict coverage. Please read the entire policy carefully to determine rights,
    duties and what is and is not covered.
    Throughout this policy the words "you" and "your" refer to the Named Insureds shown in the Declarations. The
    words "we", "us" and "our" refer to the Company providing this insurance. Other words and phrases that appear in
    quotation marks have special meaning. Please refer to Section H. PROPERTY DEFINITIONS.

    A. COVERAGES                                                                            (a) Additions under construction,
       We will pay for direct physical loss of or damage                                        alterations and repairs to the
       to Covered Property at the described premises in                                         buildings or structures;
       the Declarations caused by or resulting from any                                     (b) Materials, equipment, supplies and
       Covered Cause of Loss.                                                                   temporary structures, on or within
       1. COVERED PROPERTY                                                                      1,000 feet of the described
                                                                                                 premises, used for making
            Covered Property includes Buildings as                                               additions, alterations or repairs to
            described under paragraph a. below,                                                  the buildings or structures; and
            Business Personal Property as described
            under paragraph b. below, or both, depending                               (7) Garages, storage buildings, spas,
            on whether a Limit of Insurance is shown in                                     swimming pools, fences, retaining
            the Declarations for that type of property.                                     walls or other appurtenant structures
            Regardless of whether coverage is shown in                                      usual to your business, but only if:
            the Declarations for Buildings, Business                                        (a) Coverage is not provided for such
            Personal Property, or both, there is no                                              structures under the Appurtenant
            coveragefor property described under                                                 Structures Additional Coverage;
            paragraph 2, PROPERTY NOT COVERED.                                                   and
            a. Buildings, meaning the described                                             (b) Such structures are then
                buildings and structures at the described                                        described in the Declarations.
                premises, including:                                                b. Business Personal Property located in
                (1) Completed additions;                                               or on the buildings or structures at the
                (2) Fixtures, including outdoor fixtures;                              described premises or in the open (or in a
                                                                                       vehicle) within 1,000 feet of the building
                (3) Permanently installed:                                             or structures or within 1,000 feet of the
                    (a) Machinery;                                                     premises described in the Declarations,
                    (b) Equipment; and                                                 whichever distance is greater, consisting
                                                                                       of the following:
                    (c) Tanks, including pumps;
                                                                                       (1) Personal property you own that is
                (4) Your personal property in apartments,
                                                                                            used in your business, including but
                    rooms or common areas furnished by
                                                                                            not limited to furniture, fixtures,
                    you as landlord;
                                                                                            machinery, equipment and "stock";
                (5) Personal property owned by you that
                                                                                       (2) Personal property of others that is in
                    is used to maintain or service
                                                                                            your care, custody or control, except
                    buildings or structures or the
                                                                                            as otherwise provided in Condition 5.
                    premises, including:
                                                                                            Loss Payment under Section E.
                    (a) Fire extinguishing equipment;                                       PROPERTY LOSS CONDITIONS;
                    (b) Outdoorfurniture;                                              (3) Tenant improvements and
                    (c) Floor coverings;                                                    betterments. Improvements and
                    (d) Appliances used for refrigerating,                                  betterments are fixtures, alterations,
                         ventilating, cooking, dishwashing                                  installations or additions:
                        or laundering; and                                                  (a) Made a part of the building or
                     (e) Outdoorradio ortelevision antennas                                      structure you occupy but do not
                         (including satellite dishes) and their                                  own; and
                         lead-in wiring, mast and towers;
                (6) If not covered by other insurance:
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                                                                                                                     PB 00 0211 14
                   (b) You acquired or made at your                                   (1) OutdoorSigns Coverage Extension; or
                        expense but cannot legally                                    (2) Outdoor Trees, Shrubs, Plants and
                        remove; and                                                        Lawns Coverage Extension.
              (4) Leased personal property which you                               f. Watercraft (including motors, equipment
                   have a contractual responsibility to                               and accessories) while afloat;
                   insure, unless otherwise provided for
                                                                                   g. Gasoline or diesel fuel contained in above
                   under paragraph (2) personal
                                                                                      ground or underground storage tanks;
                   property of others above.
                                                                                   h. Property that is covered under another
              (5) Exterior building glass, if you are a
                                                                                      coverage form of this or any other policy
                   tenant and no Limit of Insurance is
                                                                                      issued to the Named Insured listed on
                   shown in the Declarations for Building
                                                                                      this policy in which it is more specifically
                   property. The glass must be owned by
                                                                                      described, except for the excess of the
                   you or in your care, custody or control
                                                                                      amount due (whether you can collect it or
                   and you must be contractually
                                                                                      not) from that other insurance;
                   obligated to repair or replace it. We will
                   also pay for necessary repair or                                i. Grain, hay, straw or other crops while in
                   replacement of encasing frames,                                    the open;
                   lettering or ornamentation that is part of                      j. Accounts, bills, food stamps, other
                   the exterior glass.                                               evidences of debt, accounts receivable or
                   Regardless of the amount of the                                   "valuable papers and records"; except as
                   Deductible, the most we will deduct                               otherwise provided in this policy;
                   from any loss or damage to exterior                           k. "Computer(s)" which are permanently
                   building glass in any one occurrence is                           installed or designed to be permanently
                   listed in DEDUCTIBLES D.2.                                         installed in any aircraft, watercraft,
        2. PROPERTY NOT COVERED                                                      motortruck or other vehicle subject to
                                                                                     motor vehicle registration. This paragraph
           Covered Property does not include:
                                                                                     does not apply to computer(s) while
           a. Aircraft, automobiles, motortrucks and other                           held as "stock";
              vehicles subject to motor vehicle registration;
                                                                                 I. "Electronic data", except as provided in
           b. "Money" or "securities" except as                                      the Electronic Data or Equipment
              provided in:                                                           Breakdown Additional Coverages. This
              (1) Money and Securities Additional                                     paragraph I. does not apply to your
                   Coverage;                                                         "stock" of prepackaged sottware.
              (2) Computer Fraud And Funds Transfer                           3. COVERED CAUSES OF LOSS
                   Fraud Additional Coverage; or                                 This Coverage Form insures against direct
              (3) Employee Dishonesty under Section                              physical loss unless the loss is:
                   G. OPTIONAL COVERAGES;
                                                                                   a. Excluded in Section B. EXCLUSIONS;
           c. Contraband, or property in the course of
              illegal transportation or trade;                                     b. Limited in paragraph A.4. LIMITATIONS
                                                                                      in this section; or
           d. Land (including land on which the property
              is located), water (including water that is                          c.   Limited or excluded in Section E.
              natural, metered water that is purchased                                  PROPERTY LOSS CONDITIONS or
              from a utility company or other supplier,                                 Section F. PROPERTY GENERAL
              water that is located within a swimming                                   CONDITIONS.
              pool, and/or bulk containerized water                           4. LIMITATIONS
              which is utilized for a fire suppression                           a. We will not pay for loss of or damage to:
              system. This does not include
                                                                                    (1) Steam boilers, steam pipes, steam
              containerized water that is stock), growing
                                                                                        engines or steam turbines caused by or
              crops or lawns (other than lawns which are
                                                                                        resulting from any condition or event
              part of a vegetated roof);
                                                                                        inside such equipment. But we will pay
           e. Outdoor signs (other than signs attached                                  for loss of or damage to such
              to buildings), trees, shrubs, plants or lawns                             e ui ment caused b or resultin from
              (other than"stock"of trees, shrubs or                                     anq explosion
                                                                                             p                y or fuel withi
                                                                                                       of gases            g n the
              plants and trees, shrubs or plants which                                  furnace of any fired vessel or within the
              are part of a vegetated roof), all except as
              provided in the:
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                   flues or passages through with the                                        porcelains, if broken. This limitation
                   gases of combustion pass.                                                 does not apply to:
                   This limitation does not apply to loss or                                 (a) Glass that is part of the exterior or
                   damage provided under the Equipment                                           interior of a building or structure;
                   Breakdown Additional Coverage.                                            (b) Containers of property held for
               (2) Hot water boilers or other water                                              sale; or
                   heating equipment caused by or                                            (c) Photographic or scientific
                   resulting from any condition or event                                         instrument lenses.
                   inside such boilers or equipment,
                                                                                   c.
                                                                                   For loss or damage by theft, the following
                   other than an explosion.
                                                                                    types of property are covered only up to
                   This limitation does not apply to loss or                       the limits shown:
                   damage provided underthe Equipment
                                                                                    (1) $2,500 for furs, fur garments and
                   Breakdown Additional Coverage.
                                                                                         garments trimmed with fur.
               (3) Property that is missing, where the
                                                                                    (2) $5,000 forjewelry, watches, watch
                   only evidence of the loss or damage is
                                                                                        movements, jewels, pearls, precious
                   a shortage disclosed on taking
                                                                                        and semi-precious stones, bullion,
                   inventory, or other instances where
                                                                                        gold, silver, platinum and other
                   there is no physical evidence to show                                precious alloys or metals. This limit
                   what happened to the property. This                                  does not apply to jewelry and watches
                   limitation does not apply to Money and                               worth $250 or less per item.
                   Securities Additional Coverage.
                                                                                    (3) $2,500 for patterns, dies, molds and
               (4) Property that has been transferred to                                forms.
                   a person or to a place outside the
                   described premises on the basis of                         5. ADDITIONAL COVERAGES
                   unauthorized instructions.                                      a. Debris Removal
                   This limitation does not apply to loss                             (1) We will pay your expense to remove
                   or damage provided under the                                           debris of Covered Property and debris
                   Unauthorized Business Card Use or                                      from the property of others when such
                   Computer Fraud.                                                        debris is caused by or resulting from a
               (5) Fences, spas, outdoor swimming pools                                   Covered Cause of Loss that occurs
                   and related equipment, retaining walls,                                during the policy period. The expenses
                    pavements, bulkheads, pillars, wharves                                will be paid only if they are reported to
                    or docks caused by freezing or thawing,                               us in writing within 180 days of the
                    impact of watercraft, or by the pressure                              date of direct physical loss or damage.
                   or weight of snow, sleet, ice or water                               (2) The most we will pay under this Debris
                   whether driven by wind or not.                                           Removal Additional Coverage is 25%
               (6) The interior of any building or structure,                               of the sum of the deductible plus the
                   or to personal property in the building or                               amount that we pay for direct physical
                   structure, caused by or resulting from                                   loss or damage to the Covered
                   rain, snow, sleet, ice, sand or dust,                                    Property that has sustained loss or
                   whether driven by wind or not, unless:                                   damage.
                   (a) The building or structure first                                      This Debris Removal Additional
                        sustains damage by a Covered                                        Coverage will not increase the Limits
                        Cause of Loss to its roof or walls                                  of Insurance provided by this policy.
                        through which the rain, snow,                                        HOWEVER, this limitation does not
                        sleet, ice, sand or dust enters; or                                  apply to any additional debris removal
                   (b) The loss or damage is caused by or                                    limit provided in paragraph (4) below.
                        results from thawing of snow, sleet                             (3) This Debris Removal Additional
                        or ice on the building or structure.                                 Coverage does not apply to costs to:
            b. We will not pay for loss of or damage to                                      (a) Remove deposits of mud or earth
               the following types of property unless                                             from the grounds of the described
               caused by the "specified causes of loss"                                           premises;
               or building glass breakage:                                                   (b) Extract "pollutants" from land or
               (1) Fragile articles such as glassware,                                            water;
                    statuary, marbles, chinaware and
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                                                                                                                      PB 00 0211 14
                    (c) Remove, restore or replace                                     (2) This Fire Extinguisher Recharge
                          polluted land or water; or                                       Additional Coverage is not subject to
                    (d) Extract "pollutants" from Covered                                  the Limits of Insurance.
                          Property.                                                    (3) No deductible applies to this Fire
               (4) If:                                                                     Extinguisher Recharge Additional
                                                                                           Coverage.
                    (a) The sum of direct physical loss or
                          damage and debris removal                                 e. Collapse
                          expense exceeds the Limit of                                   The coverage provided under this Collapse
                          Insurance; or                                                  Additional Coverage applies only to an ;
                    (b) The debris removal expense                                       abrupt collapse as described and limited in
                          exceedsthe amount payable under                                paragraphs e.(1) through e.(7).
                          the 25% Debris Removal coverage                                (1) For the purpose of this Collapse
                          limitation in paragraph (2) above;                                  Additional Coverage abrupt collapse
                    we will pay up to an additional                                           means an abrupt falling down or
                    $25,000 for each location in any one                                      caving in of a building or any part of a
                    occurrence underthis Debris                                               building with the result that the
                    Removal Additional Coverage.                                              building or part of the building cannot
                                                                                              be occupied for its intended purpose.
            b. Preservation Of Property
                                                                                         (2) We will pay for direct physical loss of or
               (1) If it is necessary to move Covered
                                                                                              damage to Covered Property, caused
                    Property from the described premises
                                                                                              by abrupt collapse of a building or any
                    to preserve it from loss or damage by a
                                                                                              part of a building that is insured under
                    Covered Cause of Loss, we will pay for                                    this policy or that contains Covered
                    any direct physical loss of or damage to
                                                                                              Property insured under this policy, if
                    that property:                                                            such collapse is caused by one or
                    (a) While it is being moved or while                                      more of the following:
                          temporarily stored at another
                                                                                             (a) Building decay that is hidden from
                          premises; and
                                                                                                   view, unless the presence of such
                    (b) Only if the loss or damage occurs                                          decay is known to an insured
                          within 45 days after the property                                        prior to collapse;
                          is first. moved.
                                                                                              (b) Insect or vermin damage that is
               (2) This Preservation of Property Additional                                        hidden from view, unless the
                    Coverage will not increase the Limits of                                       presence of such decay is known
                    Insurance provided by this policy.                                             to an insured prior to collapse;
            c. Fire Department Service Charge                                                 (c) Use of de,fective material or
               (1) When the fire department is called to                                           methods in construction,
                    save or protect Covered Property from                                          remodeling or renovation if the
                    a Covered Cause of Loss, we will pay                                           abrupt collapse occurs during the
                    up to $25,000 for your liability for fire                                      course of the construction,
                    department service charges:                                                    remodeling or renovation.
                    (a) Assumed by contract or                                                (d) Use of defective materials or
                          agreement prior to loss; or                                              methods in construction,
                    (b) Required by local ordinance.                                               remodeling or renovation if the
                                                                                                   abrupt collapse occurs after the
               (2) The limit for this Fire Department                                              construction, remodeling or
                    Service Charge Additional Coverage is                                          renovation is complete, but only if
                    in addition to the Limits of Insurance.                                        the collapse is caused in part by:
               (3) No deductible applies to this Fire                                               (i) A cause of loss listed in
                    Department Service Charge
                                                                                                            ara ra h 2 a or 2 b
                    Additional Coverage.                                                                  p   g p O( ) O( ) '
                                                                                                    (ii) One or more of the "specified
            d. Fire Extinguisher Recharge
                                                                                                          causes of loss";
               (1) We will pay the expense you incur to
                                                                                                    (iii) Breakage of building glass;
                    recharge portable fire extinguishers
                    when used to combat a covered fire.                                             (iv) Weight of people or personal
                                                                                                          property; or

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                          (v) Weight of rain, snow, sleet or                                 (c) The property which collapses is not
                               ice, that collects on a roof.                                       of a kind listed in paragraph (4),
                (3) This Collapse Additional Coverage                                              regardless of whether that kind of
                     does not apply to:                                                            property is considered to be
                                                                                                   personal property or real property.
                     (a) A building or any part of a
                          building that is in danger of falling                              The coverage stated in this paragraph
                          down or caving in;                                                 (5) does not apply to personal property
                                                                                             if marring and/or scratching is the only
                     (b) A part of a building that is standing,                              damage to that personal property i
                          even if it has separated from another                              caused by collapse.
                          part of the building; or
                                                                                        (6) This Collapse Additional Coverage,
                     (c) A building that is standing or any                                  does not apply to personal property
                          part.of a building that is standing,                               that has not abruptly fallen down or
                          even if it shows evidence of                                       caved in, even if the personal
                          cracking, bulging, sagging,                                        property shows evidence of cracking,
                          bending, leaning, settling,                                        bulging, sagging, bending, leaning,
                          shrinkage or expansion.                                            settling, shrinkage or expansion.
                (4) With respect to the following property:
                                                                                        (7) This Collapse Additional Coverage
                     (a) Outdoor radio or television antennas                                will not increase the Limits of
                          (including satellite dishes) and their                             Insurance provided in this policy.
                          lead-in wiring, mast or towers;
                                                                                        Water Damage, Other Liquids, Powder
                     (b) Awnings, gutters and downspouts;                               Or Molten Material Damage
                     (c) Yard fixtures;                                                 (1) If a covered loss to which this
                     (d) Outdoor swimming pools;                                             insurance applies was caused by or
                     (e) Fences;                                                             resulted from water or other liquid,
                     (f) Bulkheads, pilings, piers,                                          powder or molten material, we will
                          wharves and docks;                                                 also pay the cost to tear out and
                                                                                             replace any part of the building or
                     (g) Beach or diving platforms or
                                                                                             structure to repair damage to the
                          appurtenances;
                                                                                             system or appliance from which the
                     (h) Retaining walls; and                                                water or other substance escapes.
                     (i) Walks, roadways and other                                           HOWEVER, we will not pay for a loss
                          paved surFaces;                                                     caused by or resulting from water or
                     if an abrupt collapse is caused by a                                    other liquid, powder or molten
                     cause of loss listed in (2)(a) through                                  material if the system or appliance in
                     (2)(d) above, we will pay for loss or                                   which the water or other substance
                     damage to that property in (a)                                          escapes from is located ofF of the
                     through (i) above only if such loss or                                  described premises.
                     damage is a direct result of abrupt                                (2) We will not pay the cost to repair any
                     collapse of a building insured under                                    defect that caused the loss or damage
                     this policy and the property is                                         except as provided in Equipment
                     Covered Property under this policy.                                     Breakdown Additional Coverage; but we
                (5) If personal property abruptly falls                                      will pay the cost to repair or replace
                     down or caves in and such collapse is                                   damaged parts of fire extinguishing
                     not the result of abrupt collapse of a                                  equipment if the damage:
                     building or any part of a building, we                                  (a) Results in discharge of any
                     will pay for loss of or damage to                                             substancefrom an automaticfire
                     Covered Property caused by such                                               protection system; or
                     collapse of personal property only if:
                                                                                             (b) Is directly caused by freezing.
                     (a) The collapse of personal property
                                                                                        (3) This Water Damage Additional
                          was caused by a Cause of Loss listed
                                                                                              Coverage will not increase the Limits
                          in (2)(a) through (2)(d) above;
                                                                                              of Insurance provided in this policy.
                     (b) The personal property which
                                                                                   g. Business Income
                          collapses.is inside a building; and
                                                                                       (1) Business Income with Ordinary
                                                                                           Payroll Limitation
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                                                                                                                      PB 00 0211 14
                    (a) We will pay for the actual loss of                                               replaced and "operations" are
                        "business income" you sustain due                                                resumed; and
                        to the necessary suspension of                                             (ii) Ends on the earlier of:
                        your "operations" during the "period
                                       „
                        of restoration. The suspension
                                                                                                         i. The date you could
                                                                                                                                       „
                        must be caused by direct physical                                                    restore your „ operations ,
                        loss of or damage to property at                                                     with reasonable speed, to
                        the described premises. The loss                                                     the level which would
                        or damage must be caused by or                                                       generate the "business
                        result from a Covered Cause of                                                       income” amount that -
                        Loss. With respect to loss of or                                                     would have existed if no
                        damage to personal property in the                                                   direct physical loss or
                        open or personal property in a                                                       damage had occurred; or
                        vehicle, the described premises                                                  ii. Sixty (60) consecutive days
                        include tfie area within 1,000 feet                                                  after the date determined in
                        of the site at which the described                                                   (2)(a)(i) above, unless a
                        premises are located.                                                                greater number of days is
                    (b) With respect to the requirements                                                     shown for Extended Business
                        set forth io the preceding                                                           Income Increased Period of
                        paragraph, if you occupy only part                                                   Indemnity in the Declarations
                        of the site at which the described                                                   at that described premises.
                        premises are located, your                                                 HOWEVER, Extended Business
                        premises means:                                                            Income does not apply to loss of
                        (i) The portion of the building                                            "business income” incurred as a
                             which you.rent, lease or                                              result of unfavorable business
                             occupy; and                                                            conditions caused by the impact
                                                                                                    of the Covered Cause of Loss in
                        (ii) Any area within the building or
                                                                                                    the area where the described
                             on the site at which the
                                                                                                    premises are located.
                             described premises are
                             located, if that area services,                                   (b) Loss of a"business income" must
                             or is used to gain access to,                                          be caused by direct physical loss
                             the described premises.                                               or damage at the described
                                                                                                   premises caused by or resulting
                    (c) We will only pay for loss of
                                                                                                   from any Covered Cause of Loss.
                        "business income" that you sustain
                         during the "period of restoration"                            (3) This Business Income Additional
                         and that occurs within the number                                 Coverage is not subject to the Limits
                         of consecutive months shown in                                    of Insurance.
                         the Declarations for Business                              h. Extra Expense
                        Income-Actual Loss Sustained                                   (1) We will pay necessary "extra
                        after the date of direct physical loss                             expense" you incur during the "period
                        or damage. We will only pay for                                    of restoration" that you would not
                        "ordinary payroll expenses" for the                                have incurred if there had been no
                        number of days shown in the                                        direct physical loss of or damage to
                        Declarations for Ordinary Payroll                                  property at the described premises.
                        Limit following the date of direct                                 The loss or damage must be caused
                        physical loss or damage.                                           by or result from a Covered Cause of
                (2) Extended Business Income                                               Loss. With respectto loss of or
                                                                                           damage to personal property in the
                     (a) If the necessary suspension of your
                                                                                           open or personal property in a
                          "operations"- produces a"business
                                                                                           vehicle, the described premises
                          income" loss.payable under this
                                                                                           include the area within 1,000 feet of
                          policy, we will pay for the actual
                                                                                           the site at which the described
                          loss of "business income" you incur
                                                                                           premises are located.
                          during the period that:
                                                                                       (2) With  respect to the requirements set
                          (i) Begins on the date property
                                                                                           forth in the preceding paragraph, if
                               exceptfinished stock is
                                                                                           you occupy only part of the site at
                               actually repaired, rebuilt or
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                      which the described premises are                                  When a Covered Cause of Loss causes
                      located, your premises means:                                     damage to property other than property at
                      (a) The portion of the building which                             the described premises, we will pay for
                           you rent, lease or occupy; and                               the actual loss of Business Income you
                                                                                        sustain and necessary Extra Expense
                      (b) Any area within the building or on                            caused by action of civil authority that
                           the site at which the described                              prohibits access to the described
                           premises are located, if that area                           premises, provided that both of the
                           services, or is used to gain access                          following apply:
                           to, the described premises.
                                                                                        (1) Access to the area immediately
                  (3) We will only pay for "extra expense"                                   surrounding the damaged property is
                      that occurs within the number of                                       prohibited by civil authority as a result
                      consecutive months shown in the                                        of the damage, and the described
                      Declarations for Extra Expense after                                   premises are within that area but are
                      the date of direct physical loss or                                    not more than one mile from the
                      damage.                                                                damaged property; and
                  (4) This Extra ExpenseAdditional                                      (2) The action of civil authority is taken in
                      Coverage is not subject to the Limits                                  response to dangerous physical
                      of Insurance.                                                          conditions resulting from the damage
            i.    Pollutant Clean Up And Removal                                             or continuation of the Covered Cause
                  (1) We will pay your expense to extract                                    of Loss that caused the damage, or
                      "pollutants" from land, water or                                       the action is taken to enable a civil
                       Covered Property at the described                                     authority to have unimpeded access
                       premises if the discharge, dispersal,                                 to the damaged property.
                      seepage, migration, release or                                    Civil Authority coverage for "business
                      escape of the "pollutants" is caused                              income" will begin 72 hours after the time
                      by or results from a Covered Cause                                of the first action of civil authority that
                      of Loss that occurs during the policy                             prohibits access to the described
                      period. The expenses will be paid                                 premises and will apply for a period of up
                      only if they are reported to us in                                to 30 days after coverage begins.
                      writing within 180 days of the date of                            Civil Authority coverage for necessary
                      direct physical loss or damage.                                   "extra expense" will begin immediately
                  (2) This Pollutant Clean Up And Removal                               after the time of the first action of civil
                      Additional Coverage does not apply to:                            authority that prohibits access to the
                      (a) Costs to test for, monitor or assess                          described premises and will end:
                           the existence, concentration or                              (1) 30 days after the time of that action; or
                           effects of "pollutants"; or                                  (2) When yourCivil Authority coverage
                      (b) Any penalties or assessments                                       for "business income" ends;
                           that may be charged against you                              whichever is later.
                           due to any statute, regulation or
                                                                                        The definitions of Business Income and
                           ordinance.
                                                                                        Extra Expense contained in the Business
                       But we will pay for testing which is                             Income and Extra ExpenseAdditional
                       performed in the course of extracting                            Coverages also apply to this Civil
                       the "pollutants" from land or water.                             Authority Additional Coverage. The Civil
                  (3) The most we. will pay for each location                           Authority Additional Coverage is not
                      under this Pollutant Clean Up And                                 subject to the Limits of Insurance.
                      Removal Additional Coverage is                                 k. Money Orders And Counterfeit Money
                       $25,000 for the sum of all such
                                                                                        (1) We will pay for loss resulting directly
                       expenses arising out of Covered
                                                                                             from your having accepted in good
                       Causes of Loss occurring during each
                                                                                             faith, in exchange for merchandise,
                       separate 12 month period of this policy.
                                                                                             "money" or services:
                  (4) The limit for this Pollutant Clean Up                                  (a) Money orders issued by any post
                      And Removal Additional Coverage is                                          ofFice, express company or bank
                      in addition to the Limits of Insurance.
                                                                                                  that are not paid upon
            j.    Civil Authority                                                                 presentation; or
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                                                                                                                       PB 00 0211 14
                      (b) "Counterfeit money" that is                                     (2) In the event of damage by a Covered
                            acquired during the regular                                        Cause of Loss to a building that is
                            course of business.                                                Covered Property, we will pay the
                  (2) The most we will pay for any loss                                        increased costs incurred to comply
                      under this Money Orders And                                              with the minimum standards of an
                      Counterfeit Money Additional                                             ordinance or law in the course of
                      Coverage is $5,000.                                                      repair, rebuilding or replacement of
                                                                                               damaged parts of that property,
                  (3) The limit for this Money Orders And
                                                                                               subject to the limitations stated in
                      Counterfeit Money Additional
                                                                                               paragraphs (3) through (8) of this
                      Coverage is in addition to the Limits
                                                                                               Increased Cost Of Construction —
                      of Insurance.
                                                                                               Damaged Property Additional
            I.    Forgery And Alteration                                                       Coverage.
                  (1) We will pay for loss resulting directly                             (3) The ordinance or law referred to in
                      from forgery or alteration of, any                                       paragraph (2) of this Increased Cost
                      check, draft, promissory note, bill of                                   Of Construction — Damaged Property
                      exchange or similar written promise                                      Additional Coverage is an ordinance
                      of payment in "money" that you or                                        or law that regulates the construction
                      your agent has issued, or that was                                       or repair of buildings or establishes
                      issued by someonewho                                                     zoning or land use requirements at
                      impersonates you or your agent.                                          the described premises, and is in
                  (2) If you are sued for refusing to pay the                                  force at the time of loss.
                      check, draft, promissory note, bill of                              (4) Underthis Increased Cost Of
                      exchangeor similar written promise                                       Construction — Damaged Property
                      of payment in "money", on the basis                                      Additional Coverage, we will not pay
                      that it has been forged or altered, and                                  any costs due to an ordinance or law
                      you have our written consent to                                          that:
                      defend against the suit, we will pay
                      for any reasonable legal expenses                                        (a) You were required to comply with
                      that you incur in that defense.                                               before the loss, even when the
                                                                                                    building was undamaged; and
                  (3) For the purpose of this coverage,
                      check includes a substitute check as                                     (b) You failed to comply with.
                      defined in the Check Clearing for the                               (5) Underthis Increased Cost Of
                      21s` Century Act, and will be treated                                    Construction— Damaged Property
                      the same as the original it replaced.                                    Additional Coverage, we will not pay for:
                  (4) The most we will pay for any loss,                                       (a) The enforcement of, or
                      including legal expenses, under this                                          compliance with, any ordinance
                      Additional Coverage is $10,000,                                               or law which requires demolition,
                      unless a higher Limit of Insurance is                                         repair, replacement,
                      shown in the Declarations.                                                    reconstruction, remodeling or
                  (5) AII losses:                                                                   remediation of property due to
                                                                                                    contamination by pollutants" or
                      (a) Caused by one, or more persons;                                           due to the presence, growth,
                      or                                                                            proliferation, spread or any
                      (b) Involving a single act or series of                                       activity of "fungi", wet rot or dry
                      related acts;                                                                 rot; or
                      is considered one occurrence.                                            (b) Any costs associated with the
               (6) The limit for this Forgery And                                                   enforcement of, or compliance
                   Alteration Additional Coverage is in                                             with, an ordinance or law which
                   addition to the Limits of Insurance.                                             requires any insured or others to
                                                                                                    test for, monitor, clean up,
            m. Increased Cost Of Construction —                                                     remove, contain, treat, detoxify or
               Damaged Property                                                                     neutralize, or in any way respond
               (1) This Additional Coverage applies only                                            to or assess the effects of
                   to buildings insured on a replacement                                            "pollutants", "fungi", wet rot or dry
                   cost basis.                                                                      rot.


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                (6) The most we will pay under this                                         If an initial "accident" causes other
                    Increased Cost Of Construction —                                        "accidents", all will be considered one
                    Damaged Property Additional                                             "accident". AII "accidents" that are the
                    Coverage, for each described                                            result of the same event will be
                    building insured under this Coverage                                    considered one "accident".
                    Form, is $25,000.                                                   (2) If a dollar deductible is shown in the
                   The limit for this Increased Cost Of                                     declarations for this Equipment
                   Construction — Damaged Property                                          Breakdown Additional Coverage, we
                   Additional Coverage is in addition to                                    will first subtract the applicable
                   the Limits of Insurance.                                                 deductible amount from any loss we
               (7) With respect to this Increased Cost                                      would otherwise pay. We will then
                    Of Construction — Damaged Property                                      pay the amount of loss in excess of
                   Additional Coverage:                                                     the applicable deductible up to the
                                                                                             applicable limit for this coverage.
                   (a) We will not pay any costs:
                                                                                            If no dollar deductible is shown for
                        (i) Until the property is actually
                                                                                            Equipment Breakdown Additional
                              repaired or replaced, at the
                                                                                            Coverage, the Property Deductible
                             same described premises or
                                                                                            shown in the Declarations applies.
                             another premises; and
                                                                                        (3) The following coverages also apply to
                        (ii) Unless the repairs or
                                                                                            loss caused by or resulting from an
                              replacement are made as
                                                                                            "accident" to "covered equipment".
                              soon as reasonably possible
                                                                                             These coverages do not provide
                              after the loss or damage, not
                                                                                             additional amounts of insurance.
                              to exceed two years. We may
                              extend this period in writing                                 (a) Expediting Expenses
                              during the two years.                                              With respect to your damaged
                    (b) If the building is repaired or                                           Covered Property, we will pay, up
                        replaced at the same described                                           to $50,000, the reasonable extra
                        premises, or if you elect to rebuild                                     cost to:
                        at another premises, the most we                                          (i) Make temporary repairs; and
                        will pay for the Increased Cost of                                       (ii) Expedite permanent repairs
                        Construction is the increased cost                                             or replacement.
                        of construction at the same
                                                                                             (b) Hazardous Substances
                        described premises.
                                                                                                 We will pay for the additional cost
                   (c) If the ordinance or law requires
                                                                                                 to repair or replace Covered
                        relocation to another premises,
                                                                                                 Property because of
                        the most we will pay for the
                                                                                                 contamination by a „hazardous
                        Increased Cost of Construction is                                        substance". This includes the
                        the increased cost of construction                                       additional expenses to clean up
                        at the new premises for a building                                       or dispose of such property.
                        of like, kind and quality and of the
                        same size and use.                                                        This does not include
                                                                                                  contamination of "perishable
               (8) This Increased Cost Of Construction —                                          goods" by refrigerant, including but
                    Damaged PropertyAdditional Coverage                                           not limited to ammonia, which is
                    is not subject to the terms of the                                            addressed in (3)(c)(ii) below.
                    Ordinance or Law Exclusion, to the
                    extent that such exclusion would conflict                                     Additional costs mean those
                    with the provisions of this Increased                                         beyond what would have been
                    Cost Of Construction — Damaged                                                required had no "hazardous
                    PropertyAdditional Coverage.                                                  substance" been involved.
            n. Equipment Breakdown                                                                The most we will pay for loss,
                                                                                                  damage or expense under this
                (1) We will pay for direct physical loss of                                       coverage, including actual loss of
                    or damage to Covered Property                                                "business income" you sustain
                    caused by or resulting from an                                               and necessary extra expense
                    "accident" to "covered equipment".                                           you incur is $50,000.

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                                                                                                                       PB 00 0211 14
                     (c) Perishable Goods                                                                refrigeration, heating, natural
                         (i) We will, pay for physical                                                   gas, compressed air, water or
                               damage to "perishable                                                     steam, internet access,
                               goods" due to spoilage.                                                   telecommunicationsservices,
                                                                                                         wide area networks or data
                         (ii) We will also pay for physical
                                                                                                         transmission. The equipment
                               damage to "perishable goods"
                                                                                                         must meet the definition of
                               due to contamination from the
                                                                                                         "covered equipment" except
                               release of refrigerant, including
                                                                                                         that it is not Covered Property.
                               but not limited to ammonia.
                                                                                                   (ii)  Service    Interruption coverage
                         (iii) We will also pay necessary
                                                                                                         will not apply unless the failure
                               expenses you incur to reduce
                                                                                                         or disruption of service exceeds
                               the amount of loss under this
                                                                                                         24 hours immediately following
                               coverage. We will pay for
                                                                                                         the accident .
                               such expensesto the extent
                               that they do not exceed the                                         (iii) The most we will pay for loss,
                               amount of loss that otherwise                                             damage or expense underthis
                               would have been payable                                                   coverage is the limit that applies
                               underthis coverage.                                                       to Business Income, Extra
                                                                                                         Expense or Perishable Goods.
                         (iv) If you are unable to replace the
                               "perishable goods" before its                                   (e) Electronic Data Restoration
                               anticipated sale, the amount of                                     We will pay for your reasonable
                               our payment will be determined                                      and necessary cost to research,
                               on the basis of the sales price of                                  replace and restore lost
                               the "perishable goods" at the                                       "electronic data".
                               time of the "accident", less                                        The most we will pay for loss or
                               discounts and expenses you                                          expense under this coverage,
                               otherwise would have had.                                           including actual loss of "business
                               Otherwise our payment will be                                       income" you sustain and
                               determined in accordance with                                       necessary "extra expense" you
                               Condition 5. Loss Payment                                           incur, is $50,000.
                               under Section E. PROPERTY                                       (fl Environmental, Safety and
                               LOSS CONDITIONS.
                                                                                                   Efficiency Improvements
                         The most we will pay for loss,
                                                                                                   The following provision does not
                         damage or expenses under this
                                                                                                   apply to property insured on an
                         coverage is $50,000.
                                                                                                   "actual cash value" basis.
                     (d) Service Interruption
                                                                                                   If "covered equipment" requires
                         (i) The insurance provided under                                          replacement due to loss or damage
                             the Business Income                                                   caused by or resulting from an
                             Additional Coverage, the Extra                                        "accident", we will pay your
                             Expense Additional Coverage                                           additional cost to replace with
                             and for (c) Perishable Goods in                                       equipment that is better for the
                             this Equipment Breakdown                                              environment, more effcient or safer
                             Additional Coverage, is                                               than the equipment being replaced.
                             extended to apply to y.our loss,                                      HOWEVER, we will not pay more
                             damage or expense caused by                                           underthis additional coverage
                             the interruption of utility                                           than 125% of what the cost would
                             services. The interruption must                                       have been to repair or replace with
                             resultfrom an "accident"to                                            like kind and quality.
                             equipment, including overhead
                                                                                                   This provision does not increase
                             transmission lines, that is
                                                                                                   any of the applicable limits.
                             owned by a utility, landlord, a
                             landlord's utility or other                                  (4) Additional Exclusions
                             supplier who provides you with                                    (a) We will not pay under this
                             any; of the following services:                                       Equipment Breakdown Additional
                             electrical power, waste                                               Coverage for loss, damage or
                             disposal, air conditioning,
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                        expense caused by or resulting                                         located. Once suspended in this
                        from:                                                                  way, your insurance can be
                        (i) Any defect, programming error,                                     reinstated only by written notice of
                             programming limitation,                                           reinstatementfrom us.
                             "compitter" virus, malicious                                 (b) Jurisdictional Inspections
                             code, loss of data, loss of                                       If "covered equipment" under this
                             access, loss of use, loss of                                      Equipment Breakdown Additional
                             functionality or other condition                                  Coverage requires inspection to
                             within "electronic data". But if                                  comply with state or municipal boiler
                             an "accident"'results, we will                                    and pressurevessel regulations, we
                             pay for the resulting loss,                                       agree to perForm such inspection on
                             damage or expense; or                                             your behalf. We do not warrant that
                        (ii) Any of the following tests:                                       conditions are safe or healthful.
                             i. A hydrostatic, pneumatic                              (6) The most we will pay for loss,
                                 or gas pressure test of any                              damage or expense under this
                                 boiler or pressure vessel;                               Equipment Breakdown Additional
                                 or .                                                     Coverage arising from any one
                             ii. An electrical insulation                                 "accident" is the applicable Limit of
                                 breakdown test of any type                               Insurance shown in the Declarations.
                                 of electrical equipment.                                 This Equipment Breakdown Additional
                    (b) With respect to (d) Service                                       Coverage will not increase the Limits of
                        Interruption coverage, we will not                                Insurance provided by this policy.
                        pay for an "accident" caused by or                         o. Arson Reward for Conviction
                        resulting from: fire; lightning;                              (1) In the event that a covered fire loss was
                        windstorm or hail; explosion                                      the result of an act of arson, we will pay
                        (except for steam or centrifugal                                  a reward to anyone, other than paid
                        explosion); smoke; aircraft or                                    investigators, who gives legal authorities
                        vehicles; riot or civil commotion;                                information that leads to the conviction
                        vandalism; •sprinkler leakage;                                    of anyone who committed such arson.
                        falling objects; weight of snow, ice
                                                                                      (2) We will pay up t0 10 percent Of the
                        or sleet; freezing; collapse; flood;                              amount of the insured fire loss or
                        or earth movement.                                                $10,000, whichever is less. This
                     c
                    ()  Exclusion   B.1.h. Fun9i, Wet Rot Or                              payment is the most we will pay in
                        Dry Rot does not apply to spoilage                                any one occurrence, regardless of the
                        of personal property that is                                      number of persons providing
                        "perishable goods," to the extent                                 information or convicted of arson.
                        that spoilage is covered under (c)                            (3) The limit for this Arson Reward for
                        Perishable Goods coverage.                                        Conviction Additional Coverage is in
                    (d) We will not pay under this                                        addition to the Limits of Insurance.
                        Equipment Breakdown Additional                                (4) No deductible applies to this Arson
                        Coverage for any loss or damage                                   Reward for Conviction Additional
                        to animals. ; .                                                   Coverage.
                (5) Additional Conditions                                          p. Money And Securities
                    (a) Suspension                                                    (1) We will pay for loss of "money" and
                        Whenever "covered equipment" is                                   "securities" used in your business while
                        found to be in,'or exposed to a                                   at a bank or savings institution, within
                        dangerous condition, any of our                                   your living quarters or the living quarters
                        represeritatives may immediately                                  of your partners or any employee
                        suspend the insurance against loss                                (including a temporary or leased
                        from an "accident" to that "covered                               employee) having use and custody of
                        equipment". This can be done by                                   the property, at the described premises,
                        mailing or delivering a written notice                            or in transit by direct route between any
                        of suspension to: your.address as                                 of these places, resulting directly from:
                        shown in the Declarations, or at the                              (a) Theft, meaning any act of stealing;
                        address where tfie equipment is

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                                                                                                                     PB 00 0211 14
                     (b) Disappearance; or                                         q. Appurtenant Structures
                     (c) Destruction.                                                 (1) We will pay for direct physical loss, of or
                (2) In addition to the Limitations and                                    damage to any separate garages,
                     Exclusions applicable to property                                    storage buildings, swimming pools,
                     coverage, we will not pay for loss:                                  spas, fences, retaining walls and other
                                                                                          appurtenant structures usual to your
                     (a) Resulting from accounting or
                                                                                          business at the described premises in
                          arithmetical errors or omissions;
                                                                                          the Declarations caused by or resulting
                     (b) Due to the giving or surrendering                                from any Covered Cause of Loss.
                          of property in any eXchange or
                                                                                      (2) The most we will pay for loss or damage
                          purchase;
                                                                                          under this Appurtenant Structures
                     (c) Of'propertycontained in any                                      Additional Coverage in any one
                          "money"-operated device unless the                              occurrence is 10% of the Building Lirriit
                          amount of "money" deposited in it is                            of Insurance shown in the Declarations
                          recorded by a continuous recording                              for that described building.
                          instrument in the device; or
                                                                                          HOWEVER, if the value of any one
                     (d) From an unattended motor vehicle.                                garage, storage building, swimming
                     (e) That is covered underthe                                         pool, spa, fence, retaining wall or
                          Unauthorized Business Card Use                                  other appurtenant structure exceeds
                          or Computer Fraud And Funds                                     $50,000, this Appurtenant Structures
                          Transfer Fraud Additional                                       Additional Coverage does not apply
                          Coverages.        !                                             to that structure. The value of the
                (3) The most we will pay under this Money                                 property covered under this
                     and SecuritiesAdditional Coveragefor                                 Appurtenant Structures Additional
                     loss in any one occurrence is:                                       Coverage will be determined at
                                                                                          replacement cost without deduction
                     (a) Inside the Premises, $10,000 for                                 for depreciation. If the "Actual Cash
                          "money" and "securities" while:                                 Value — Buildings" option applies to
                          (i) In or.on the described                                      Buildings, as shown in the
                               premises; or                                               Declarations, we will determine the
                          (ii) Withih a bank or savings                                   value of property covered under this
                               institution;                                               Appurtenant Structures Additional
                                                                                          Coverage at "actual cash value".
                          unless a higherLimit of Insurance
                          for "money" and "securities" inside                             Section E. PROPERTY LOSS
                          the premises is shown in the                                    CONDITIONS, paragraph 5.e.(1)(b)
                          Declarations; and                                               under Loss Payment does not apply
                     (b) Outside the Premises (Limited —                                  in determining if property is covered
                          loss from ari unattended motor                                  underthis Appurtenant Structures
                          vehicle is excluded), $10,000for                                Additional Coverage. AII Loss
                          "money" and "securities" while                                  Payment provisions are otherwise
                          anywhere else, unless a higher                                  applicable for loss or damage
                          Limit of Insurancefor "money" and                               covered by this Additional Coverage.
                          "securities" outside the premises is                        (3) The limit for this Appurtenant
                          shown in the Declarations.                                      Structures Additional Coverage is in
                                                                                          addition to the Limits of Insurance.
                (4) AII loss:
                                                                                   r. Back Up Of Sewer Or Drain Water
                     (a) Caused by one or more persons; or
                                                                                      Damage
                     (b) Involving a single act or series of
                          related acts;                                               (1) For the purpose of this Back Up Of
                                                                                          Sewer Or Drain Water Damage
                     is considered one'occurrence.                                        Additional Coverage the following
                (5) You must keep records of all "money"                                  definition is added;
                     and "securities" so we can verify the                                "Flood" means a general and
                     amount of any loss or damage.                                         temporary condition of partial or
                (6) The limit for this. Money and                                          complete inundation of normally dry
                     Securities Additional Coverage is in                                 land areas from:
                     addition to the Limits of I'nsurance.
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                     (a) The unusual and rapid                                          (6) The Debris Removal Additional
                         accumulation or runoff.of surface                                  Coverage does not apply to this Back
                         waters from any source;                                            Up Of Sewer Or Drain Water Damage
                     (b) The overflow of inland or tidal                                    Additional Coverage.
                         waters; or                                                 s. Dependent Properties — Business
                     (c) Waves, tides or tidal waves.                                   Income
                (2) We will pay for loss of or damage to                                (1) We will pay for the actual loss of
                    Covered Property caused by water that                                   "business income" you sustain due to `
                    backs up or overflows from a sewer or                                   the necessary and unavoidable
                    drain pipe, sump purnp well or similar                                  suspension of your "operations"
                    device designed to prevent overFlow,                                    during the "period of restoration". The
                    seepage or leakage of subsurface water.                                 suspension must be caused by direct
                                                                                            physical loss of or damage to
                    HOWEVER, we will not pay for loss or
                     damage that results from:                                              "dependentproperty" or "secondary
                                                                                            dependent property" caused by or
                    (a) Sewer back=up or sump pump                                          resulting from any Covered Cause of
                         overflow that occurs during the                                    Loss.
                         period beginnirig 10 days before
                                                                                            However, this Additional Coverage
                         and ending 10 days after a"flood"
                         on the described premises;                                         does not apply when the only loss at
                                                                                            the premises of a Dependent
                    (b) An insured's failure to keep a sump                                 Property or Secondary Dependent
                         pump or it's related equipment in                                  Property is loss or damage to
                         properworking condition;                                           "electronic data." If the Dependent
                    (c) An insured's failure to perform the                                 Property or Secondary Dependent
                         routine maintenance or repair                                      Property sustains loss or damage to
                         necessary to keep a sewer or drain                                 "electronic data" and other property,
                         pipe free from obstructions; or                                    coverage underthis Additional
                    (d) Sump pump failure which is caused                                   Coverage will not continue once the
                         by or results from failure of power,                               property is repaired, rebuilt or
                         unless this policy is endorsed to                                  replaced.
                         cover power failure affecting the                              (2) We will only pay for loss of "business
                         described premises.                                                income" that occurs within 12
                    (e) Damage that is caused by the                                        consecutive months after the date of
                         breaking apart or cracking of a                                    direct physical loss or damage.
                         water or sewer pipe that is located                            (3) This Dependent Properties — Business
                         off of the described premises.                                     IncomeAdditional Coverage is not
                (3) The most we will pay for loss or                                        subject to the Limits of Insurance.
                    damage underthis coverage is:.                                      (4) The "dependent property" or "secondary
                    (a) $5,000 per building;, or                                            dependent property" must be located in
                    (b) $25,000 in anjr one policy period,                                  the coverage territory of this policy.
                         regardless of the riumber of losses;                       t. Limited Coverage for Fungi, Wet Rot
                    unless a higher Limit of Insurancefor                               Or Dry Rot
                    Back Up Of Sewer Or Drain Water                                     (1) The coverage described in
                    Damage is shown 'in the Declarations.                                   paragraphst.(2) and t.(6) only applies
                (4) The limit of insurance that applies to                                  when the "fungi", wet rot or dry rot are
                     coverage underthis.Back Up Of Sewer                                    the result of a"specified cause of loss"
                     Or Drain Water Damage Additional                                       other than fire or lightning that occurs
                     Coverage includes any loss arising from                                during the policy period and only if all
                     debris removal expense, Business                                       reasonable means were used to save
                     Incorrie Additional Coverage and Extra                                 and preserve the property from further
                     Expense Additional Coverage.                                           damage at the time of and after that
                                                                                            occurrence.
                (5) The limit for this Back Up Of Sewer
                    Or Drain. Water Damage Additional                                   (2) We will pay for loss or damage by
                    Coverage is in addition to the Limits                                   "fungi", wet rot or dry rot. As used in
                    of Insurance.
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                                                                                                                       PB 00 0211 14
                     this Limited Coverage, the term loss                                      loss will be subject to the terms of this
                     or damage means:                                                          limited coverage.
                     (a) Direct physical loss or damage to                             (5) The terms of this Limited Coverage
                          Covered Property caused by                                       do not increase or reduce the
                          "fungi", wet rot or dry rot, ,                                   coverage provided under the Water
                          including the cost of removal of                                 Damage, Other Liquids, Powder Or
                          the "fungi", wet rot or dry rot;                                 Molten Material Damage or Collapse
                     (b) The cost to tear out and replace                                  Additional Coverages.
                          any part of the building or other                            (6) The following applies only if Business
                          property as needed to gain                                       Income and/or Extra Expense
                          access to the "fungi", wet rot or                                Coverage applies to the described
                          dry rot; and                                                     premises and only if the suspension
                    (c) The cost of testing performed                                      of "operations" satisfies all the terms
                         after removal, repair, replacement                                and conditions of the applicable
                         or restoration of the damaged                                     Business Income and/or Extra
                         property is completed, provided                                   ExpenseAdditional Coverage.
                         there is a rea.son to believe that                                (a) If the loss which resulted in
                         "fungi", wet rot or dry rot are                                        "fungi", wet rot or dry rot does not
                         present.                                                               in itself necessitate a suspension
                (3) The coverage described under this                                           of "operations", but such
                    Limited Coverage is limited to                                              suspension is necessary due to
                    $15,000. Regardless of the number of                                        loss or damage to property
                    claims, this limit is the most we will                                      caused by "fungi", wet rot or dry
                    pay for the total of all loss or damage                                     rot, then our payment underthe
                    arising out of all occurrences of                                           Business Income and/or Extra
                    "specified causes of loss" (other than                                      Expense is limited to the amount
                    fire or lightning) which take place in a                                    of loss and/or expense sustained
                    12-month period (starting with the                                          in a period of not more than 30
                    beginning of the present annual                                             days. The days need not be
                    policy period). With respect to a                                           consecutive.
                    particular occurrence of loss which                                    (b) If a covered suspension of
                    results in "fungi", wet rot or dry rot, we                                  "operations" was caused by loss
                    will not pay more 4han the total of                                         or damage other than "fungi", wet
                    $15,000 even if the "fungi", wet rot or                                     rot or dry rot, but remediation of
                    dry rot continues to be present or                                          "fungi", wet rot or dry rot prolongs
                    active, or recurs, in a later policy                                        the "period of restoration", we will
                    period.                                                                     pay for loss and/or expense
                (4) The coverageprovided underthis                                              sustained during the delay
                    Limited Coverage does not increase                                          (regardless of when such a delay
                    the applicable Limit of Insurance on                                        occurs during the "period of
                    any Covered Property. If a particular                                       restoration"), but such coverage
                    occurrence results in loss or damage                                        is limited to 30 days. The days
                    by "fungi", wet rot or dry rot, and other                                   need not be consecutive.
                    loss or damage,'we will not pay more,                           u. Building Property of Others
                    for the total of all loss or damage,
                    than the applicable Limit of Insurance                             (1) If you occupy a described premises
                    on the affected Covered Property.                                      as a tenant, and a written lease or
                                                                                           rental agreement for that premises
                    If there is covered loss or damage to                                  requires you to pay for loss of or
                    Covered Property; not caused by                                        damage to a part of building property
                    "fungi", wet rot or dry rot, loss                                      you do not own, we will pay for direct
                    payment will not be limited by the                                     physical loss of or damage to that
                    terms of this Limited Coverage,                                        part of building property, other than
                    except to the extent that "fungi", wet                                 exterior glass, caused by a Covered
                    rot or dry rot causes an increase in                                   Cause of Loss.
                    the loss. Any such increase in the
                                                                                       (2) The valuation of property covered
                                                                                           under this Additional Coveragewill be
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                   determined in accordance with the                                        (b) Loss directly related to the use of
                   building valuation option (e.g. Actual                                        any computer to fraudulently
                   Cash Value or Replacement Cost)                                               cause a transfer of covered
                   shown on the policy declarations, or                                          property from inside the
                   at the amount for which the tenant is                                         described premises to a person
                   liable under contract, whichever is                                           (other than a messenger) or
                   less.                                                                        place outside those premises.
               (3) The most we will pay for any loss or                                (2) The most we will pay under this
                   damage under this Building Property                                      Computer Fraud And Funds Transfer
                   of Others Additional Coverage is                                        Fraud Additional Coverage for loss in
                   $10,000, unless a higher limit is                                       any one occurrence is $10,000.
                   shown in the Declarations or the                                    (3) AII loss:
                   property is covered under another
                                                                                           (a) Caused by one or more persons;
                   coverage form of this or all other
                                                                                                 or
                   collectible insurance. HOWEVER if a
                   higher limit is described in the                                        (b) Involving a single act or series of
                   Covered Property Declarations or the                                          related acts;
                   property is covered under another                                       is considered one occurrence.
                   coverage form of this or any other                                  (4) The limit for this Computer Fraud and
                   specifically scheduled property, that                                   Funds Transfer Fraud Additional
                   coverage amount will be in excess of                                     Coverage is in addition to the Limits
                   the Building Property of Others                                         of Insurance.
                   Additional Coverage limit, up the
                   applicable limit.of insurance.                              6. COVERAGE EXTENSIONS
               (4) The limit for this Building Property of                        Except as otherwise provided, the following
                    Others Additional Coverage is in                              Extensions apply to property located in or on
                   addition to the Limits of Insurance.                           the described building in the Declarations or
                                                                                  in the open (or in a vehicle) within 1,000 feet
            v. Unauthorized Business Card Use                                     of the described premises.
               (1) We will pay for the legal obligation                           In addition to the Limits of Insurance, you may
                    you have because of the theft or                              extend the insurance provided by this policy
                    unauthorized use of your business                             as follows.
                    credit, debit or charge cards issued to
                    you or registered in your name or the                         a. Newly Acquired or Constructed
                                                                                       Property
                    name of your business.
                                                                                       (1) Buildings
               (2) The most we will pay under this
                   Unauthorized Business Card Use                                          If this policy covers Buildings, you
                   Additional Coverage for loss in any                                     may extend that insurance to apply
                   one occurrence is $10,000.                                              to:
               (3) AII loss:                                                               (a) Your new buildings while being
                                                                                                 built on the described premises;
                   (a) Caused by one or more persons; or
                                                                                                 and
                   (b) Involving a single act or series of
                        related acts;                                                      (b) Buildings you acquire at premises
                                                                                                 other than the one described,
                   is considered one occurrence.                                                 intended for:
               (4) The limit for this Unauthorized Business                                      (i) Similar use as the described
                   Card Use Additional Coverage is in                                                 building in the Declarations;
                   addition to the Limits of Insurance.                                               or
            w. Computer Fraud And 'Funds Transfer                                                (ii) Use as a warehouse.
               Fraud
                                                                                            The most we will pay for loss or
               (1) We will pay for:                                                         damage under this Buildings
                     (a) Loss resulting from "fraudulent                                    Coverage Extension is $1,000,000 at
                         instruction" directing a financial                                 each building.
                         institution to transfer, pay or                               (2) Business Personal Property
                         deliver "money" or "securities"
                         from your "transfer account"; or

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                                                                                                                     PB 00 0211 14
                    If this policy covers Business                                          (a) The actual loss of "business
                    Personal Property, you may extend                                           income" you sustain, as provided for
                    that insuranceto apply to:                                                  and described under the Business
                    (a) Business Personal Property,                                              Income Additional Coverage; or
                          including such property that you                                  (b) $100,000.
                          newly acquire, other than at fairs                            (3) This insurance will end the earlier of:
                          or exhibitions, at any premises
                                                                                            (a) This policy expires;
                          you acquire;
                                                                                            (b) 180 days after you acquire the
                    (b) Business Personal Property,
                                                                                                 property; or
                          including such property that you
                          newly acquire, located at your newly                              (c) You report values to us.
                          constructed or acquired buildings at                          We will charge you any additional premium
                         the described premises; or                                     from the date you acquire the property.
                    (c) Business Personal Property that                            c.   Personal Property OfP-premises
                          you newly acquire, located at the                             (1) You may extend the insurance
                          described premis es.                                              provided by this policy to apply to
                    This Extension does not apply to                                        your Covered Property while it is in
                    personal property that you temporarily                                   the course of transit or at a premises
                    acquire in the course of installing or                                  you do not own, lease or operate.
                    performing work on such property or                                 (2) Transit under this Coverage
                    your wholesale activities.                                              Extension means the shipment of
                    The most we will pay for loss or                                        Covered Property that:
                    damage under this Business Personal                                     (a)      Begins at a point of shipment
                    Property Coverage Extension is                                                   to a specific destination;
                    $500,000 at each building.
                                                                                             (b)     Includes both loading and
                (3) Period Of Coverage                                                               unloading of Covered
                    With respect to insurance on or at                                               Property;
                    each newly acquired or constructed                                      (c)      Includes ordinary reasonable
                    property, coverage will end when any                                             and necessary stops,
                    of the following first occurs:                                                   interruptions, delays or
                    (a) This policy expires;                                                         transfers incidental to the
                    (b) 180 days after you acquire the                                               route and method of
                          property or begin construction of                                          shipment, including rest
                          that part of the building that would                                       periods taken by the driver
                          qualify as covered property; or                                            (s); and
                    (c) You report values to us.                                            (d)      Ends upon acceptance of
                                                                                                     Covered Property by or on
                    We will charge you additional premium
                                                                                                     behalf of a consignee at the
                    for values reported from the date you
                                                                                                     specified destination.
                    acquire the property orbegin
                    construction of that part of the building                           (3) Covered Property underthis
                    that would qualify as covered property.                                 Coverage Extension does not
                                                                                            include:
            rol Newly Acquired Property - Business
                Income                                                                      (a)      "Money" and "Securities";
                (1) You may extend the insurance that                                       (b)      "Valuable papers and
                    applies to Business Income Additional                                            records";
                    Coverages to apply to property at any                                   (c)      Accounts Receivable;
                    premises you newly acquire, other                                       (d)      "Computer(s)" and "Electronic
                    than temporary premises such as fairs                                            data", other than "Stock", and
                    or exhibitions, whether attended
                                                                                            (e)      Tools and equipment of a
                    regularly or not.
                                                                                                     mobile nature which are used
                (2) The most we will pay for loss under                                              in your business, otherthan
                    this Newly Acquired Property -                                                   "Stock".
                    Business Income Coverage
                    Extension is the lesser of:

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               The most we will pay for loss or damage                                   personal effects owned by you, your
               underthis Personal Property Off-                                          officers, your partners or "members", your
               premises Coverage Extension is $15,000.                                   "managers" or your employees.
            d. Outdoor Trees, Shrubs, Plants, and                                        HOWEVER, personal effects does not
               Lawns                                                                     include:
               (1) You may extend the insurance                                          (1) Tools or equipment used in your
                   provided by this policy to apply to                                        business; or
                   your outdoortrees, shrubs, plants                                     (2) "Money", "securities" or jewelry.
                   and lawns (otherthan "stock"),
                                                                                         AND this Business Personal Property
                   including debris removal expense,
                                                                                         Coverage Extension does not apply to:
                   caused by or resulting from any of the
                   folloVuing Causes of Loss:                                                 (a) Property while it is in the course
                                                                                                  of transit or at a premises you do
                   Fire; Lightning; Explosion; Aircraft or
                                                                                                  not own, lease or operate
                   vehicles; Riot or civil commotion;
                   Vandalism; or Theft.                                                       (b) Property in storage away from the
                                                                                                  described premises.
               (2) The most we will pay for loss or
                   damage under this Outdoor Trees,                                      The most we will pay for loss or damage
                   Shrubs, Plants, and Lawns Coverage                                    under this Personal Effects Coverage
                   Extension is $10,000 in any one                                       Extension is $10,000 in any one
                   occurrence, unless a higher limit for                                 occurrence, but not more than $2,500 for
                   outdoortrees, shrubs; plants, and                                     the personal effects of any one individual.
                   lawns is shown in the'Declarations,                              g. Valuable Papers And Records
                   but not more than $2,500 for any one                                (1) You may extend the insurance provided
                   tree, shrub or plant.                                                   by this policy to apply to direct physical
                   Subject to all aforementioned terms                                     loss or damage to "valuable papers and
                   and limitations of coverage, this                                        records" that you own, or that are in
                   Coverage Extension includes the                                         your care, custody or control, caused by
                   expense of removing from the                                            or resulting from a Covered Cause of
                   described premises the debris of                                        Loss. This Valuable Papers And
                   trees, shrubs and plants which are                                      Records Coverage Extension includes
                   the property of others, except in the                                   the cost to research, replace or restore
                   situation in which you are a tenant                                     the lost information on "valuable papers
                   and such property is owned by the                                       and records" for which duplicates do not
                   landlord of the described premises.                                      exist.
               (3) The Debris Removal Additional                                       (2) This Valuable Papers And Records
                   Coverage does, not apply to this                                         Coverage Extension does not apply to:
                    OutdoorTrees, Shrubs, Plants, and                                      (a) Property held as samples or for
                   Lawns Coverage Extension.                                                     delivery after sale;
            e. Outdoor Signs                                                               (b) Property in storage away from the
               (1) You may extend the insurance                                                  described premises.
                   provided by this policy to apply to                                 (3) The most we will pay under this
                   your outdoor signs, including debris                                    Valuable Papers And Records
                   removal expense.                                                         Coverage Extension for loss of or
               (2) The most we will pa,y for loss or                                        damage to "valuable papers and
                   damage under this Outdoor Signs                                          records", in any one occurrence at
                   Coverage Extension is $2,500 in any                                      the described building is $25,000,
                   one occurrence, unless a higher limit                                   unless a higher Limit of Insurancefor
                   for outdoor signs is shown in:the                                        "valuable papers and records" is
                   Declarations.                                                            shown in the Declarations.
               (3) The Debris Removal Additional                                           For "valuable papers and records" not
                   Coverage does not apply to this                                          at the described premises, the most
                    Outdoor Signs Coverage Extension.                                       we will pay is $25,000.
            f.    Personal Effects                                                     (4) Loss or damage to "valuable papers
                  You may extend the insurance that applies                                 and records" will be valued at the cost
                  to Business Personal Property to apply to                                 of restoration or replacement of the

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                   lost or damaged information. Tb the                                 (3) Section B. EXCLUSIONS of this
                   extent that the contents of the                                          Coverage Form does not apply to this
                   "valuable papers and records" are not                                    Accounts Receivable Coverage
                   restored, the "valuable.papers and                                       Extension except for:
                   records" will be valued at the cost of                                   (a) Paragraph B.1.c., Governmental
                   replacementwith blank'materialsof                                            Action;
                   substantially identical type.                                            (b) Paragraph B.1.d., Nuclear Hazard;
               (5) Section B. EXCLUSIONS of this                                            (c) Paragraph B.1.f., War And
                   Coverage Form does not apply to this                                         Military Action;
                   Valuable Papers And Records
                                                                                            (d) Paragraph B.2.f., Dishonesty;
                   Coverage Extension eiccept for:
                                                                                            (e) Paragraph B.2.g., False Pretense;
                   (a)' Paragraph B.1.c., Governmental
                        Action;                                                             (f) Paragraph B.3.; and
                   (b) Paragraph B.1:d., Nuclear Hazard;                                    (g) Paragraph B.6., Accounts
                                                                                                Receivable Exclusion.
                   (c) Paragraph B.1.f., War And
                        Military Action;                                          i.   Salespersons Samples
                   (d) Paragraph B.2.f., Dishonesty;                                   (1) You may extend the insurance that
                                                                                            applies to Business Personal
                   (e) Paragraph B.2.g., False Pretense;
                                                                                            Property to apply to salespersons
                   (f) Paragraph B.2.m.(2), Errors Or                                       samples while away from the
                        Omissions; and                                                      described premises.
                   (g) Paragraph B.3.                                                  (2) The most we will pay under this
            h. Accounts Receivable                                                          Salespersons Samples Coverage
               (1) You may extend the insurance                                             Extension for loss or damage in any
                   provided by this policy to apply to                                      one occurrence is $10,000.
                   your records of accounts receivable.                           j.   Business Income and Extra Expense —
                   We will pay:                                                        Increased Period of Restoration Due to
                   (a) AII amounts due from your                                       Ordinance or Law
                        customers that you are unable to                               If a Covered Cause of Loss occurs to
                        collect;                                                       property at the described premises,
                   (b) Interest charges on, any loan                                   coverage is extended to include the
                        required to offset amo.unts you                                amount of actual and necessary loss you
                        are unable to collect pending our                              sustain during the "period of restoration"
                        payment of these amounts;                                      of "operations" caused by or resulting
                   (c) Collection expenses'in excess of                                from the enforcement of, or compliance
                        your normal collection expenses                                with, any ordinance or law that:
                        that are made necessary by loss                                (1) Regulates the construction or repair
                        or damage; and .                                                    of any property;
                   (d) Other reasonable expenses that                                  (2) Requires the tearing down of parts of
                        you incur to re-establish your                                      any property not damaged by a
                        records of accounts receivable;                                     Covered Cause of Loss; and
                   that result from direct physical loss or                            (3) Is in force at the time of loss.
                   damage by any Covered Cause of                                      HOWEVER, coverage is not extended
                   Loss to your records of accounts                                    underthis Business Income and Extra
                   receivable.                                                         Expense—Increased Period of Restoration
               (2) The most we will pay under this                                     Due to Ordinance or Law Extension to
                   Accounts Receivable Coverage                                        include loss caused by or resulting from
                   Extension for loss or damage in any one                             the enforcement of or compliance with any
                    occurrence at the described building is                            ordinance or law which requires any
                    $25,000, unless a higher Limit of                                  insured or others to test for, monitor, clean
                    Insurancefor accounts receivable is                                up, remove, contain, treat, detoxify or
                    shown in the Declarations.                                         neutralize, or in any way respond to, or
                   For records of accounts receivable                                  assess the effects of "pollutants".
                    not at the described premises, the
                    most we will pay is $25,000.

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                 k. Removal Permit                                                               amount, then the balance is available
                                                                                                 for subsequent loss or damage
                     If Covered Personal Property is removed
                                                                                                 sustained in, but not after, that policy
                     to a new premise that is described in the-
                                                                                                 year. With respect to an occurrence
                     Declarations, you may extend this
                                                                                                 which begins in one policy year and
                     insurance to include that Covered
                     Personal Property at each premise during                                    continues or results in additional loss
                     the removal. Coverage at each premises                                      or damage in a subsequent policy year
                     will apply in the proportion that the value at                              (s), all loss or damage is deemed to be
                     each premises bears to the value of all                                     sustained in the policy year in which
                     Covered Personal Property being                                             the occurrence began.
                     removed. This permit applies up to 30                                   (4) This Additional Coverage does not
                     days after the date Covered Personal                                        apply to your "stock" of prepackaged
                     Property is first removed at the previous                                   software, or to "electronic data" which
                     premises; after that, this Removal Permit                                   is integrated in and operates or
                     Coverage Extension does not apply at the                                    controls a building's elevator, lighting,
                     previous premises.                                                          heating, ventilation, air conditioning or
                 I. Electronic Data                                                              security system.
                     (1) You may extend the insurance                                        (5) This Electronic Data Coverage
                         provided by this policy to apply to the                                 Extension does not apply to losses
                         cost to replace or restore "electronic                                  covered underthe Equipment
                         data" which has been destroyed or                                       Breakdown Additional Coverage.
                         corrupted by a Covered Cause of                                 m. Interruption of Computer Operations
                         Loss, a "computer" virus, harmful                                   (1) You may extend the insurance that
                         code or similar instruction introduced                                  applies to Business Income and Extra
                         into or enacted on a"computer"                                          Expense Additional Coverages to apply
                         system (including "electronic data") or                                 to a suspension of "operations".caused
                         a network to which it is connected,                                     by an interruption in "computer"
                         designed to damage or destroy any                                       operations due to destruction or
                         part of the system or disrupt its                                       corruption of "electronic data" due to
                         normal operation. But there is no                                       "specified causes of loss", Collapse or a
                         coverage for loss or damage'caused                                      "computer" virus, harmful code or similar
                         by or resulting from manipulation of a                                  instruction introduced into or enacted on
                         "computel" system (including                                            a "computer" system (including
                         "electronic data") by any employee,                                     "electronic data") or a network to which
                         including a temporary or leased                                         it is connected, designed to damage or
                         employee, or by an entity retained by                                   destroy any part of the system or disrupt
                         you, or for you, to inspect, design,                                    its normal operation. But there is no
                         install, modify, maintain, repair or                                    coveragefor an interruption related to
                         replace that system.                                                    manipulation of a "computer" system
                     (2) To the extent that "electronic data" is                                 (including "electronic data") by any
                         not replaced or restored, the loss will                                 employee, including a temporary or
                         be valued at the cost of replacement                                    leased employee, or by an entity
                         of the media on which the "electronic                                   retained by you, or for you, to inspect,
                         data" was stored, with blank media of                                   design, install, modify, maintain, repair
                         substantially identical type.                                           or replace that system.
                     (3) The most we will pay under this                                     (2) The most we will pay under this
                         Electronic Data Coverage Extension                                      Interruption of Computer Operations
                         for all loss or damage sustained in any                                 Coverage Extension for all loss
                         one policy year, regardless of the                                      sustained and expense incurred in any
                         numberof occurrences.of loss or                                         one policy year, regardless of the
                         damage or the number of buildings,                                      number of interruptions or the number of
                         locations, or "computer" systems                                        buildings, locations or "computel"
                         involved, is $10,000, unless a higher                                   systems involved, is $10,000 unless a
                         Limit of Insurance is shown in the                                      higher Limit of Insurance is shown in the
                         Declarations. If loss payment on the                                    Declarations. If loss payment relating to
                         first occurrence does not exhaust this                                  the first interruption does not exhaust

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                    this amount, then the balance is                                concurrently or in any sequence to the loss.
                    available for loss or expense sustained                         These exclusions apply whether or not the
                    or incurred as a result of subsequent                           loss event results in widespread damage or
                    interruptions in that policy year. A                            affects a substantial area.
                    balance remaining at the end of a policy                        a. Ordinance Or Law
                    year does not increase the amount of
                    insurance in the next policy year. With                             The enforcement of, or compliance with,
                    respect to any interruption which begins                            any ordinance or law:
                    in one policy year and continues or                                  (1) Regulating the construction, use or
                    results in additional loss or expense in a                               repair of any property; or
                    subsequentpolicy year(s), all loss and                               (2) Requiring the tearing down of any
                    expense is deemed to be sustained or                                     property, including the cost of
                    incurred in the policy year in which the                                 removing its debris; or
                    interruption began.
                                                                                         (3) Requiring the removal or disposal of
               (3) This Interruption of Computer
                                                                                             "pollutants".
                    Operations Coverage Extension does
                    not apply to loss sustained or                                       This Ordinance Or Law Exclusion applies
                    expense incurred after the end of the                                whetherthe loss resultsfrom:
                    "period of restoration", even if the                                 (1) An ordinance or law that is enforced
                    amount of insurance stated in (2)                                        even if the property has not been
                    above has not been exhausted.                                            damaged; or
               (4) Coverage for Business Income does                                     (2) The increased costs incurred to comply
                    not apply when a suspension of                                           with an ordinance or law in the course
                    "operations" is caused by destruction                                    of construction, repair, renovation,
                    or corruption of "electronic data", or                                   remodeling or demolition of property or
                    any loss or damage to "electronic                                        removal of its debris, following a
                    data", except as provided under                                          physical loss to that property.
                    paragraphs (1) through (3) of this                                   Earth Movement
                    Interruption of Computer Operations
                    Coverage Extension.                                                  (1) Earthquake, including tremors and
                                                                                             aftershocks and any earth sinking, rising
               (5) Coverage for Extra Expense does not                                       or shifting related to such event;
                    apply when action is taken to avoid or
                    minimize a suspension of "operations"                                (2) Landslide, including any earth sinking,
                    caused by destruction or corruption of                                    rising or shifting related to such event;
                    "electronic data", or any loss or                                    (3) Mine subsidence, meaning subsidence
                    damage to "electronic data", except as                                   of a man-made mine, whether or not
                    provided under paragraphs (1) through                                    mining activity has ceased;
                    (3) of this Interruption of Computer                                 (4) Earth sinking (other than sinkhole
                    Operations Coverage Extension.                                           collapse), rising or shifting including
               (6) This Additional Coverage does not                                         soil conditions which cause settling,
                    apply when loss or damage to                                             cracking or other disarrangement of
                    "electronic data" involves only                                          foundations or other parts of realty.
                    "electronic data" which is integrated in                                 Soil conditions include contraction,
                    and operates or controls a building's                                    expansion, freezing, thawing, erosion,
                    elevator, lighting, heating, ventilation,                                improperly compacted soil and the
                    air conditioning or security system.                                     action of water under the ground
               (7) This Interruption of Computer                                             surface.
                    Operations Coverage Extension does                                       But if Earth Movement, as described in
                    not apply to losses covered under the                                    (1) through (4) above, results in fire or
                    Equipment Breakdown Additional                                           explosion, we will pay for the loss or
                    Coverage.                                                                damage caused by that fire or
    B. EXCLUSIONS                                                                            explosion.
       1. We will not pay for loss or damage caused                                      (5) Volcanic eruption, explosion or
           directly or indirectly by any of the following.                                   effusion. But if volcanic eruption,
           Such loss or damage is excluded regardless                                        explosion or effusion results in fire,
           of any other cause or event that contributes                                      building glass breakage or volcanic

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                  action, we will pay for the loss or                                 the described premises, however caused,
                  damage caused by that fire, building                                if the failure occurs away from the
                  glass breakage or volcanic action.                                  described premises.
                  Volcanic action means direct loss or                                Failure of any utility service includes lack
                  damage resulting from the eruption of                               of sufficient capacity and reduction in
                  a volcano when the loss or damage is                                supply.
                  caused by:                                                          Loss or damage caused by a surge of
                  (a) Airborne volcanic blast or                                      power is also excluded, if the surge would
                       airborne shock waves;                                          not have occurred but for an event
                  (b) Ash, dust, or particulate matter; or                            causing a failure of power.
                  (c) Lava flow.                                                      But if the failure or surge of power, or the
                                                                                      failure of communication, water or other
                  With respect to coverage for volcanic
                                                                                      utility service results in a Covered Cause
                  action as set forth in 5(a), 5(b) and
                                                                                      of Loss, we will pay for the loss or damage
                  5(c), all volcanic eruptions that occur
                                                                                      caused by that Covered Cause of Loss.
                  within any 168-hour period will
                  constitute a single occurrence.                                     Communication services include but are
                                                                                      not limited to service relating to Internet
                  Volcanic action does not include the
                                                                                      access or access to any electronic,
                  cost to remove ash; dust or
                                                                                      cellular or satellite network.
                  particulate matter that does not cause
                  direct physical loss of or damage to                                This exclusion does not apply to loss or
                  Covered Property.                                                   damage provided underthe Equipment
                                                                                      Breakdown Additional Coverage.
                  This exclusion applies regardless of
                  whether any of the above, in                                     f. War And Military Action
                  Paragraphs (1) through (5), is caused                               (1) War, including undeclared or civil war;
                  by an act of nature or is otherwise                                 (2) Warlike action by a military force,
                  caused. An example of a situation to                                      including action in hindering or
                  which the `otherwise caused'                                              defending against an actual or
                  exclusion would apply are acts such                                       expected attack, by any government,
                  as road construction, using tools such                                    sovereign or other authority using
                  as jack hammers and causing ground                                        military personnel or other agents; or
                  vibrations in close proximity to the
                                                                                      (3) Insurrection, rebellion, revolution,
                  insured's building resulting in damage                                    usurped power, or action taken by
                  to the building's structure and                                           governmental authority in hindering or
                  foundation.                                                               defending against any of these.
            c. Governmental Action                                                 g. Water
               Seizure or destruction of property by                                  (1) Flood, surfacewater, waves
               order of governmental authority.                                             (including tidal wave and tsunami),
               But we will pay for loss or damage                                           tides, tidal water, overflow of any
               caused by or resulting from acts of                                          body of water, or spray from any of
               destruction ordered by governmental                                          these, all whether or not driven by
               authority and taken at the time of a fire to                                 wind (including storm surge);
               prevent its spread, if the fire would be                               (2) Mudslide or mudflow;
               covered under this policy. .
                                                                                      (3) Water that backs up or overFlows or is
            d. Nuclear Hazard                                                               otherwise discharged from a sewer,
               Nuclear reaction or radiation, or radioactive                                drain pipe, sump, sump pump or
               contamination, including but not limited to                                  related equipment, except as
               radon gas, however caused.                                                   provided underthe Back Up Of
               But if nuclear reaction or radiation, or                                     Sewer Or Drain Water Damage
               radioactive contamination, results in fire,                                  Additional Coverage;
               we will pay for the loss or damage caused                              (4) Water underthe ground surface
               by that fire.                                                                pressing on, or flowing or seeping
            e. Utility Services                                                             through:
               The failure of power, communication,                                         (a) Foundations, walls, floors or
               water or other utility service supplied to                                        paved surFaces;
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                                                                                                                        PB 00 0211 14
                    (b) Basements, whether paved or                                    the loss or damage caused by that
                         not; or                                                       "specified cause of loss".
                    (c) Doors, windows or other                                        This exclusion does not apply:
                         openings; or                                                  (1) When "fungi", wet rot or dry rot result
                (5) Waterborne material carried or                                          from fire or lightning; or
                    otherwise moved by any of the water                                (2) To the extent that coverage is
                    referred to in paragraph (1), (3) or (4),                               provided in the Limited Coverage For
                    or material carried or otherwise                                        Fungi, Wet Rot Or Dry Rot Additional
                    moved by mudslide or mudflow.                                           Coverage, with respect to loss or
                (6) Water that overflows from any                                           damage by a cause of loss other than
                    plumbing fixture because the water is                                   fire or lightning.
                    unable to enter into an attached drain                         i. Virus Or Bacteria
                    pipe, or water that is unable to enter
                                                                                       (1) Any virus, bacterium or other
                    into a drain pipe through any interior
                                                                                            microorganism that induces or is
                    or exterior drain, drain strainer, catch
                                                                                            capable of inducing physical distress,
                    basin, roof drain, scupper, or similar
                                                                                            illness or disease.
                    device designed to channel water
                    from a plumbing fixture, roof, floor or                             (2) However, the exclusion in paragraph
                    other surface area.                                                     (1) does not apply to loss or damage
                                                                                            caused by or resulting from "fungi",
                (7) Discharge or leakage of water or
                                                                                            wet rot or dry rot. Such loss or damage
                    waterborne material as the direct
                                                                                            is addressed in Exclusion h.;
                    result of the breaking apart or
                    cracking of a water or sewer pipe that                             (3) With respect to any loss or damage
                    is located off of the described                                         subject to the exclusion in paragraph
                    premises and is part of a municipal                                     (1), such exclusion supersedes any
                    water supply system or municipal                                        exclusion relating to "pollutants".
                    sanitary sewer system.                                      2. We will not pay for loss or damage caused by
                This exclusion applies regardless of                               or resulting from any of the following:
                whether any of the above, in paragraphs                            a. Electrical Apparatus
                (1) through (7), is caused by an act of                                   Artificially generated electrical, magnetic or
                nature or is otherwise caused. An                                         electromagnetic energy that damages,
                example of a situation to which this                                      disturbs, disrupts or otherwise interferes
                exclusion applies is the situation where a                                with any:
                dam, levee, seawall or other boundary or
                                                                                          (1) Electrical or electronic wire, device,
                containment system fails in whole or in
                                                                                               appliance, system or network; or
                part, for any reason, to contain the water.
                                                                                          (2)  Device,    appliance, system or network
                HOWEVER, if electrical "covered
                                                                                                utilizing cellular or satellite technology.
                equipment" requires drying out because
                of the above, we will pay for the direct                                  For the purpose of this exclusion,
                expenses of such drying out subject to                                    electrical, magnetic or electromagnetic
                the applicable Limit of Insdrance and                                     energy includes but is not limited to:
                deductiblefor Building or Business                                        (1) Electrical current, including arcing;
                Personal Property, whichever applies.                                     (2) Electrical charge produced or
                But if any of the above paragraphs (1)                                        conducted by a magnetic or
                through (5), results in fire, explosion or                                    electromagneticfield;
                sprinkler leakage, we will pay for the loss                               (3) Pulse of electromagnetic energy; or
                or damage caused by that fire, explosion
                or sprinkler leakage.                                                     (4) Electromagnetic waves or microwaves.
                                                                                          But if fire results, we will pay for the loss
                                                                                          or damage caused by fire.
                    h. Fungi, Wet Rot Or Dry Rot
                                                                                        This Electrical Apparatus exclusion does
                Presence, growth, proliferation, spread or                              not apply to the coverage provided under
                any activity of "fungi", wet rot or dry rot.                            the Equipment Breakdown Additional
                But if "fungi',', wet rot or dry rot result in a                        Coverage.
                "specified cause of loss", we will pay for                           b. Consequential Losses

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                 Delay, loss of use or loss of 'market.                                and records", this exclusion does not apply
            c.   Smoke, Vapor, Gas                                                     to carriers for hire.
               Smoke, vapor or gas from agricultural                                   This exclusion does not apply to coverage
               smudging or industrial operations.                                      that is provided under the Employee
                                                                                       Dishonesty Optional Coverage.
            d. Steam Apparatus
                                                                                    g. False Pretense
               Explosion of steam boilers, steam pipes,
               steam engines or steam turbines owned                                   Voluntary parting with any property by
               or leased by you, or operated under your                                you or anyone else to whom you have
               control. But if explosion of steam boilers,                             entrusted the property if induced to do so
               steam pipes, steam engines or steam                                     by any fraudulent scheme, trick, device or
               turbines results in fire or combustion                                  false pretense.
               explosion, we will pay for the loss or                               h. Exposed Property
               damage caused by that fire or                                           Rain, snow, ice or sleet to personal
               combustion explosion. We will also pay                                  property in the open.
               for loss or damage caused by or resulting
                                                                                    i. Collapse
               from the explosion of gases or fuel within
               the furnace of any fired vessel or within                                 (1) Collapse, including any of the
               the flues or passages through which the                                       following conditions of property or any
               gases of combustion pass.                                                     part of the property:
               This Steam Apparatus exclusion does not                                       (a) An abrupt falling down or caving
               apply to the coverage provided under the                                           in;
               Equipment Breakdown Additional                                                (b) Loss of structural integrity, including
               Coverage.                                                                          separation of parts of the property
            e Frozen Plumbing                                                                     or property in danger of falling
            . Water, other liquids, powder or molten                                              down or caving in; or
               material that leaks or flows from                                             (c) Any cracking, bulging, sagging,
               plumbing, heating, air conditioning or                                             bending, leaning, settling,
               other equipment (except fire protective                                            shrinkage or expansion as such
               systems) caused by or resulting from                                               condition relates to paragraph
               freezing, unless:                                                                  i.(1)(a) or i.(1)(b).
               (1) You do your best to maintain heat in                                  But if collapse results in a Covered Cause
                    the building or structure; or                                        of Loss at the described premises, we will
                                                                                         pay for the loss or damage caused by
               (2) You drain the equipment and shut off the
                                                                                         that Covered Cause of Loss.
                    supply if the heat is not maintained.
                                                                                         (2) This Exclusion i., does not apply:
            f. Dishonesty
                                                                                             (a) To the extent that coverage is
               Dishonest or criminal acts by you, anyone
                                                                                                  provided under the Collapse
               else with an interest in the property, or
                                                                                                 Additional Coverage; or
               any of your or their partners, "members",
               ofecers, "managers", employees                                                (b) To collapse caused by one or
               (including leased employees),, directors,                                         more of the following:
               trustees, authorized representatives or                                              (i) The "specified causes of
               anyone to whom you entrust the property                                                    loss";
               for any purpose:                                                                     (ii) Breakage of building glass;
               (1) Acting alone or in collusion with                                                (iii) Weight of rain that collects on
                    others; or                                                                            a roof; or
               (2) Whether or not occurring during the                                          (iv) Weight of people or personal
                    hours of employment.                                                             property.
                 This exclusion does not apply to acts of                           j.   Pollutants
                 destruction by your employees (including
                 leased employees); but theft by                                         We will not pay for loss or damage
                 employees is not covered.                                               caused by or resulting from the
                                                                                         discharge, dispersal, seepage, migration,
                 With respect to Covered Property, including                             release or escape of "pollutants" unless
                 accounts receivable and "valuable papers                                the discharge, dispersal, seepage,

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                  migration, release or escape is itself                                   (1) Programming, processing or storing
                  caused by any of the "specified causes of                                    data, as described under "electronic
                  loss". But if the discharge, dispersal,                                      data" or in any "computer" operations;
                  seepage, migration, release or escape of                                     or
                  "pollutants" results in a "specified cause                               (2) Processing or copying "valuable
                  of loss", we will pay for the loss or                                        papers and records".
                  damage caused by that "specified cause
                                                                                         However, we will pay for direct physical
                  of loss".
                                                                                         loss or damage caused by resulting fire or
            k.    Neglect                                                                explosion if these causes of loss would'
                  Neglect of an insured to use all ,                                     be covered by this coverage form.
                  reasonable means to save and preserve                                  This exclusion does not apply to coverage
                  property from further damage at and after                              that is provided underthe Employee
                  the time of loss.                                                      Dishonesty Optional Coverage.
            I.    Other Types Of Loss                                                 n. Installation, Testing, Repair
                  (1) Wear and tear;                                                     Errors or deficiency in design, installation,
                  (2) Rust or other corrosion, decay,                                    testing, maintenance, modification or repair
                       deterioration, hidden or latent defect or                         of your "computer" system including
                      any quality in property that causes it to                          "electronic data".
                       damage or destroy itself;                                         However, we will pay for direct physical
                  (3) Smog;                                                              loss or damage caused by resulting fire or
                  (4) Settling, cracking, shrinking or                                   explosion if these causes of loss would
                      expansion;                                                         be covered by this coverage form.
                  (5) Nesting or infestation, or discharge or                            This exclusion does not apply to coverage
                      release of waste products or                                       that is provided underthe Employee
                      secretions, by insects, birds, rodents                             Dishonesty Optional Coverage.
                      or other animals;                                               o. Electrical Disturbance
                  (6) Mechanical breakdown, including                                    Electrical or magnetic injury, disturbance or
                      rupture or bursting caused by                                      erasure of "electronic data", except as
                      centrifugal force, except.as provided                              provided underthe Equipment Breakdown
                      underthe EquipmentBreakdown                                        or Electronic Data Additional Coverages.
                      Additional Coverages.                                              However, we will pay for direct loss or
                  (7) The following causes of loss to                                    damage caused by lightning.
                      personal property:                                              p. Leakage or Seepage
                      (a) Dampness or dryness of                                         Constant or repeated seepage or leakage of
                           atmosphere;                                                   water or steam, or the presence or
                      (b) Changes in or extremes of                                      condensation of humidity, moisture or vapor,
                           temperature;                                                  whether continuous or intermittent from any:
                      (c) Marring or scratching; or                                      (1) Heating, air conditioning or
                      (d) .Growth of tree, shrub oi- plant                                    refrigerating system;
                           roots causing physical damage to                             (2) Domestic appliance; or
                           any underground property,                                    (3) Plumbing system, including from or
                           property foundations, roadways,                                   around any shower stall or other
                           walks, patios or other paved                                      shower bath installation, bathtub or
                           surfaces.                                                         other plumbing fixture.
                  But if an excluded cause of loss that is                       3. We will not pay for loss or damage caused by
                  listed in paragraphs (1) through (7) above                        or resulting from any of the following B.3.a.
                  results in a"specified cause of loss",                            through B.3.c. But if an excluded cause of
                  "accident" or building glass breakage, we                         loss that is listed in B.3.a. through B.3.c.
                  will pay for the loss or damage caused by                         results in a Covered Cause of Loss, we will
                  that "specified cause of loss", "accident"                        pay for the loss or damage caused by that
                  or building glass breakage.                                       Covered Cause of Loss.
                       m. Errors Or Omissions. .                                    a. Weather Conditions
                  Errors or omissions in:

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               Weather conditions. But this exclusion                                           rebuilding, repair or replacement
               only applies if weather conditions                                               by strikers or other persons; or
               contribute in any way with a cause or                                        (b) Suspension, lapse or cancellation
               event excluded in paragraph B.I. above                                           of any license, lease or contract.
               to produce the loss or damage.                                                   But if the suspension, lapse or
            b. Acts Or Decisions                                                                cancellation is directly caused by
              Acts or decisions, including the failure to                                       the suspension of "operations", we
              act or decide, of any person, group,                                              will cover such loss that affects
              organization or governmental body.                                                your Business Income during the
                                                                                                "period of restoration" and any
           c. Negligent Work                                                                    extension of the "period of
              Faulty, inadequate or defective:                                                  restoration" in accordancewith the
              (1) Planning, zoning, development,                                                terms of the Extended Business
                    surveying, siting;                                                          Income Additional Coverage.
              (2) Design, specifications, workmanship,                                  (2) Any other consequential loss.
                    work methods, repair, construction,                             b. With respectto this exclusion, suspension
                    renovation, remodeling, grading,                                    means:
                    compaction, failure to protect the                                  (1) The partial slowdown or complete
                    property;                                                               cessation of your business activities;
              (3) Materials used in repair, construction,                                   and
                    renovation or remodeling; or                                     (2) That a part or all of the described
              (4) Maintenance;                                                             premises is rendered untenantable, if
              of part or all of any property on or off the                                 coveragefor Business Income applies.
              described premises.                                              6. Accounts Receivable Exclusion
        4. Additional Exclusion                                                   The following additional exclusion applies to the
           The following applies only to the property                             Accounts Receivable Coverage Extension:
           specified in this Additional Exclusion.                                We will not pay for:
           Loss Or Damage To Products                                             a. Loss or damage caused by or resulting
            We will not pay for loss or damage to any                                from alteration, falsification, concealment
            merchandise, goods or other product caused                               or destruction of records of accounts
            by or resulting from error or omission by any                            receivable done to conceal the wrongful
            person or entity (including those having                                 giving, taking or withholding of "money",
            possession under an arrangement where work                               "securities" or other property.
            or a portion of the work is outsourced) in any                           This exclusion applies only to the extent of
            stage of the development, production or use of                           the wrongful giving, taking or withholding.
            the product, including planning, testing,                           b. Loss or damage caused by or resulting
            processing, packaging, installation,                                     from bookkeeping, accounting or billing
            maintenance or repair. This exclusion applies                             errors or omissions.
            to any effect that compromises the form,                            c. Any loss or damage that requires any
            substance or quality of the product. But if such                          audit of records or any inventory
            error or omission results in a Covered Cause                              computation to prove its factual existence.
            of Loss, we will pay for the loss or damage
            caused by that Covered Cause of Loss.                         C. LIMITS OF INSURANCE
        5. Business Income And Extra Expense                                 1. The most we will pay for loss or damage in
            Exclusions                                                          any one occurrence is the applicable Limits of
                                                                                Insurance shown in the Declarations, except
            a. We will not pay for:                                             as otherwise provided in this Section.
                (1) Any "extra expense", or increase of                      2. The limits applicable to Additional Coverages
                    "business income" loss, caused by or                        are in addition to the Limits of Insuranceonly
                    resulting from:                                             if so indicated in that Section of this Coverage
                    (a) Delay in rebuilding, repairing or                       Form.
                        replacing the property or                            3. The limits applicable to the Coverage
                        resuming "operations", due to                           Extensions are in addition to the Limits of
                        interference at the location of the                     Insurance.

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        4. Building Limit — Automatic Increase                                          Business Personal Property limit,
           a. The Limit of Insurance for Buildings will                                 divided by 365.
               automatically increase by the annual                                Example:
               percentageshown in the Declarations.                                If: The applicable limit is $150,000; and
           b. The amount of increase is calculated as                                   The annual percentage increase is
               follows:                                                                 3%; and
               (1) Multiply the Building limit that applied                             The number of days since the
                    on the most recent of the policy                                    beginning of the policy year (or lasti
                    inception date, the policy'ariniversary                             policy change) is 146;
                    date, or any other policy change
                    amending the Building limit, times                                  Then the amount of increase is
                                                                                        $150,000 x .03 x (146 / 365) = $1,800.
               (2) The percentageof annual increase
                    shown in the Declarations, expressed as                   c. The Automatic Increase percentagefor
                    a decimal (example: 8% is .08), times                          Business Personal Property will be the
                                                                                   average annual Index shown in the
               (3) The number of days since the                                    Declarations. This percentage may
                    beginning of the current policy year,                          change at each renewal date.
                    or the effective date of the most
                    recent policy change amending the                              In no event will the Limit of Insurance be
                    Building limit, divided by 365.                                reduced unless you specifically request
                                                                                   us to do so.
               Example:
                                                                           6. Business Personal Property Limit —
               If: The applicable Building limit is                           Seasonal Increase
                    $100,000. The annual percentage
                    increase is 8%. The number of days                        a. Subject to paragraph 6.b., the Limit of
                    since the beginning of the policy year                         Insurancefor Business Personal Property
                    (or last policy change) is 146.                                is automatically increased by 45% to
                                                                                   provide for seasonal variations.
               The amount of increase is
                                                                              b. The increase described in paragraph 6.a
               $100,000 x .08 x (146 / 365) = $3,200.                              will apply only if the Limit of Insurance
           c. The Automatic Increase percentage for .                              shown for Business Pei-sonal Property in
               Buildings will be the percentage shown in                           the Declarations is at least 100% of your
               the Declarations. This percentage may                               average monthly values during the lesser
               change at each renewal date, unless a                               of:
               different percentage is selected by you.                            (1) The 12 months immediately
           Business Personal Property Limit —                                           preceding the date the loss or
           Automatic Increase                                                           damage occurs; or
           a. The Limit of Insurance for Business                                  (2) The period of time you have been in
               Personal Property will automatically .                                   business as of the date the loss or
               increase by the annual percentage shown                                  damage occurs.
               in the Declarations.                                    D. DEDUCTIBLES
           b. The amount of increase is calculated as                      1. We will not pay for loss or damage in any one
              follows:                                                        occurrence until the amount of loss or damage
               (1) Multiply the Limit of Insurancethat                        exceeds the Deductible shown in the
                    applied on the most recent of the policy                  Declarations. We will then pay the amount of
                    inception date, the policy renewal date,                  loss or damage in excess of the Deductible up
                    or any other policy change amending the                   to the applicable Limit of Insurance.
                    Limit of Insurance, times                              2. With respect to the exterior building glass of
              (2) The percentageof increase shown in                          the location identified in the Declarations, the
                    the Declarations, expressed as a                          most we will deduct from any loss or damage
                    decimal (example: 2% is .02), times                       to the exterior building glass in any one
              (3) The number of days since the                                occurrence is $250. The exterior building
                    beginning of the current policy year,                     glass deductible of $250 will be utilized for
                    or since the effective date of the most                   any loss or damage to the exterior building
                    recent policy change amending the                         glass regardless of the deductible amount for
                                                                              the scheduled property shown in the policy
                                                                              Declarations.
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           But this $250 deductible will not increase the                          be made by a judge of a court having
           property deductible shown in the Declarations                           jurisdiction. The appraisers will state separately
           for the scheduled property. This $250                                   the value of property and the amount of loss. If
           deductible is in addition to all other                                  they fail to agree, they will submit their
           deductibles.                                                            differences to the umpire. A decision agreed to
        Example:                                                                   by any two will be binding. Each party will:
        If: The amounts of loss to the damaged property                          a. Pay its chosen appraiser; and
             are $50,000 (building) and $1,000 (exterior                         b. Bear the other expenses of the appraisal
             building glass.) The actual limit of insurance                           and umpire equally.
             on the damaged property is $200,000 and the                         If there is an appraisal, we will still retain our
             property deductible shown in the policy                             right to deny the claim.
             declarations is $1,000.
                                                                              3. Duties In The Event Of Loss Or Damage
            Based on the example information and the
                                                                                 a. You must see that the following are done
            coverage language, the most we will pay for
                                                                                      in the event of loss of or damage to
            this claim is as follows:
                                                                                      Covered Property:
                                                                                      (1) Notify the police if a law may have
            Exterior Glass: $1,000 (loss amount) - $250                                    been broken.
            (exterior glass deductible) = $750 (amount
                                                                                      (2) Give us prompt notice of the loss or
            paid for loss).                                                                damage. Include a description of the
                                                                                           property involved.
            Building: $50,000 (loss amount) - $750                                      (3) As soon as possible, give us a
            (remaining deductible amount after the                                          description of how, when and where
            exterior glass deductible) = $49,250 (amount                                    the loss or damage occurred.
            paid for loss).                                                             (4) Take all reasonable steps to protect the
                                                                                            Covered Property from further damage.
          The most we will pay for this loss is $50,000                                     If feasible, set the damaged property
          ($49,250 +$750). The portion of the total loss                                    aside and in the best possible order for
          that is not covered due to the application of                                     examination. Also keep a record of
          each deductible documented above is $1,000                                        your expenses necessary to protect the
          ($750 + $250).                                                                    Covered Property, for consideration in
                                                                                            the settlement of the claim. This will not
          No deductible applies to the following
                                                                                            increase the Limit of Insurance.
          Additional Coverages:
          a. Fire Department Service Charge;                                                HOWEVER, we will not pay for any
                                                                                            subsequent loss or damage resulting
          b. Fire Extinguisher Recharge;                                                    from a cause of loss that is not a
          c. Business Income;                                                               Covered Cause of Loss.
          d. Extra. Expense;                                                            (5) At our request, give us complete
          e. Civil Authority; and                                                           inventories of the damaged and
                                                                                            undamaged property. Include
          f. Arson Reward for Conviction.
                                                                                            quantities, costs, values, amount of
    E. PROPERTY LOSS CONDITIONS                                                             loss claimed and a detailed
       1. Abandonment                                                                       description of each item.
          There can be no abandonment of any                                            (6) As often as may be reasonably
          property to us.                                                                   required, permit us to inspect the
       2. Appraisal                                                                         damaged property and examine your
                                                                                            books and records, including financial
          If we and you disagree on the amount of loss,
                                                                                            records and tax returns.
          either may make written demand for an
          appraisal of the loss. In this event, each party                                  Also permit us to take samples of
          will select a competent and impartial appraiser                                   damaged and undamaged property
          after receiving a written request from the other,                                 for inspection, testing and analysis,
          and will advise the other party of the name of                                    and permit us to make copies from
          such appraiserwithin 20 days. The two                                             your books and records.
          appraisers will select an umpire. If appraisers                               (7) Send us a signed, sworn proof of loss
          cannot agree, either may request that selection                                   containing the information we request

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                                                                                                                    PB 00 02 11 14
                    to investigate the claim. You must do                          d. We will not pay you more than your
                    this within 60 days after our request.                            financial interest in the Covered Property.
                    We will supply you with the necessary                          e. Except as provided in (2) through (9)
                    forms.                                                            below, we will determine the value of
                (8) Cooperate with us in the investigation                            Covered Property as follows:
                    or settlement of the claim.                                       (1) At replacement cost without deduction
                (9) Resume all or part of your                                            for depreciation, subject to the following:
                    "operations" as quickly as possible.                                  (a) We will pay the cost to repair or
            b. We may examine any insured or their                                             replace, after application of the
               employee under oath, while not in the                                           deductible and without deduction
               presence of any other insured or                                                for depreciation, but not more
               employee, at such times as may be                                               than the least of the following
               reasonably required, about any matter                                           amounts, subject to E.5.b. above:
               relating to this insurance or the claim,                                        (i) The Limit of Insurance under
               including an insured's books and records.                                             this policy that applies to the
               At our option and expense, any                                                        lost or damaged property;
               examination under oath may be video or                                          (ii) The cost to replace, on the
               audio taped as well as being recorded by                                              same premises, the lost or
               stenographic record. If a written transcript                                          damaged property with other
               is prepared of the testimony, then at our                                             property:
               request your answers under oath must be                                               i. Of comparable material
               signed under penalty of perjury.                                                           and quality; and
            Legal Action Against Us                                                                  ii. Used for the same
           No one may bring a legal action against us                                                     purpose; or
           underthis insurance unless:                                                         (iii) The amount that you actually
           a. There has been full compliance with all of                                             spend that is necessary to
                the terms of this insurance; and                                                     repair or replace the lost or
           b. The action is brought within 1 year after                                              damaged property.
                the date on which the direct physical loss                                     If a building is rebuilt at a new
                or damage occurred.                                                            premises, the cost is limited to
        5. Loss Payment                                                                        the cost which would have been
                                                                                               incurred had the building been
           In the event of loss or damage covered by                                           built at the original premises.
           this policy:
                                                                                          (b) You may make a claim for loss or
           a. At our option, we will either:                                                   damage covered by this insurance
                (1) Pay the value of lost or damaged                                           on an "actual cash value" basis
                     property as described in e. below;                                        instead of on a replacement cost
                (2) Pay the cost of repairing or replacing                                     basis. In the event you elect to
                     the lost or damaged property;                                             have loss or damage settled on an
                (3) Take all or any part of the property at                                    "actual cash value" basis, you may
                     an agreed or appraised value; or                                          still make a claim on a replacement
                                                                                               cost basis if you notify us of your
                (4) Repair, rebuild or replace the
                                                                                               intent to do so within 180 days after
                     property with other property of like
                                                                                               the loss or damage.
                     kind and quality, subject to b. below.
                                                                                             (c) We will not pay on a replacement
           b. The cost to repair, rebuild or replace does
                                                                                                 cost basis for any loss or damage:
                not include the increased cost attributable
                to enforcement of, or compliance with, any                                       (i) Until the lost or damaged
                ordinance or law regulating the                                                       property is actually repaired
                construction, use or repair of any property.                                          or replaced; and
           c. We will give notice of our intentions within                                       (ii) Unless the repairs or
                30 days after we receive the sworn proof                                              replacement are made as
                of loss, provided you have complied with                                              soon as reasonably possible
                all of the conditions set forth in paragraph                                          after the loss or damage.
                3. above.                                                                    However, if your loss qualifies for
                                                                                             payment on a replacement cost basis
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                    and the cost of repair or replacement                                              improvements to the
                    is $2,500 or less, we will pay the cost                                            expiration of the lease.
                    to repair or replace, after application of                                    If your lease contains a renewal
                    the deductible and without deduction                                          option, the expiration of the
                    for depreciation.                                                             renewal option period will replace
                (2) If the "Actual Cash Value — Buildings"                                        the expiration of the lease in this
                    option applies, as shown in the                                               procedure.
                    Declarations, paragraph (1) above                                        (c) Nothing if others pay for repairs
                    does not apply to Buildings. Instead,                                         or replacement.
                    we will determine the value of
                                                                                         (6) Applicable only to Money and
                    Buildings at "actual cash value".
                                                                                             Securities Additional Coverage, and
                (3) The following property at "actual cash                                   Employee Dishonesty Optional
                    value":                                                                  Coverage:
                    (a) Used or second-hand                                                  (a) "Money" at its face value and in
                         merchandise held in storage or                                           general circulation; and
                         for sale;
                                                                                             (b) "Securities" at their value at the
                    (b) Property of others, other than                                            close of business on the day the
                         leased personal property you                                             loss is discovered.
                         have a contractual responsibility
                                                                                         (7) Applicable only to Accounts Receivable:
                         to insure, but this property is not
                         covered for more than the amount                                    (a) If you cannot accurately establish
                         for which you are liable, plus the                                       the amount of accounts receivable
                         cost of labor, materials or services                                     outstanding as of the time of loss
                         furnished or arranged by you on                                          or damage, the following method
                         personal property of others;                                             will be used:
                    (c) Household contents, except                                                (i) Determine the total of the
                         personal property in apartments                                               average monthly amounts of
                         or rooms furnished by you as                                                  accounts receivable for the 12
                         landlord;                                                                     months immediately preceding
                                                                                                       the month in which the loss or
                    (d) Manuscripts; and
                                                                                                       damage occurs; and
                    (e) Works of art, antiques or rare
                                                                                                  (ii) Adjust that total for any
                         articles, including but not limited
                                                                                                       normal fluctuations in the
                         to etchings, pictures, statuary,
                                                                                                       amount of accounts
                         marble, bronzes, porcelain and
                                                                                                       receivable for the month in
                         bric-a-brac.
                                                                                                       which the loss or damage
                (4) Glass at the cost of replacement with                                              occurred or for any
                    safety glazing material if required by                                             demonstrated variance from
                    law.                                                                               the average for that month.
                (5) Tenants' Improvements and                                                (b) The following will be deducted
                    Betterments at:                                                               from the total amount of accounts
                    (a) Replacement cost if you make                                              receivable, howeverthat amount
                         repairs promptly.                                                        is established:
                    (b) A proportion of your original cost                                         (i) The amount of the accounts
                         if you do not make repairs                                                    for which there is no loss or
                         promptly. We will determine the                                               damage;
                         proportionate value as follows:                                            (ii) The amount of the accounts
                         (i) Multiply the original cost by                                               that you are able to
                              the number of days from the                                                reestablish or collect;
                              loss or damage to the                                                  iu An amount to allow for
                              expiration of the lease; and                                          () probable bad debts that you
                        (ii) Divide the amount determined                                                are normally unable to
                             in (i) above by the number of                                               collect; and
                             days from the installation of                                          (iv) AII unearned interest and
                                                                                                         service charges.

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                                                                                                                      PB 00 0211 14
                (8) "Stock" you have sold but not delivered                                             ii.
                                                                                                          any "extra expense" that is
                    at the selling price less expenses you                                                paid for by other insurance,
                    otherwise would have had.                                                   (ii) all necessary expenses that
                (9) Business Income and Extra Expense:                                               reduce the "business income"
                    (a) We will determine the amount of a                                            loss that otherwise would
                         "business income" loss based on:                                            have been incurred.
                         (i) the net income of your                                 f. Our payment for loss of or damage to
                               business before the direct                              property of others will only be for the
                               physical loss or damage                                 account of the owners of the property. We
                                occurred;                                              may adjust losses with the owners of lost
                                                                                       or damaged property if other than you. If
                         (ii) the likely net income of your                            we pay the owners, such payments will
                               business if no physical loss                            satisfy your claims against us for the
                                or damage occurred, but not                            owners' property. We will not pay the
                                including any likely increase                          owners more than their financial interest
                                in net income attributable to                          in the Covered Property.
                                an increase in the volume of
                                business as a result of                             g. We may elect to defend you against suits
                                favorable business conditions                          arising from claims of owners of property.
                                caused by the impact of the                            We will do this at our expense.
                                Covered Cause of Loss on                          h. We will pay for covered loss or damage
                                customers or on other                                  within 30 days after we receive the sworn
                                businesses;                                            proof of loss, provided you have complied
                         (iii) the operating expenses,                                 with all of the terms of this policy; and
                                including payroll expenses,                                 (1) We have reached agreementwith
                                necessary to resume                                              you on the amount of loss; or
                                "operations" with the same                                  (2) An appraisal award has been made.
                                quality of service that existed
                                                                                  i. A party wall is a wall that separates and is
                               just before the direct physical
                                                                                       common to adjoining buildings that are
                               loss or damage; and
                                                                                       owned by different parties. In settling
                         (iv) other relevant sources of                                covered losses involving a party wall, we
                                information, including;                                will pay a proportion of the loss to the party
                                i. financial records and                               wall based on your interest in the wall in
                                     accounting procedures;                            proportion to the interest of the owner of
                                ii. bills, invoices and other                          the adjoining building. However, if you elect
                                     vouchers; and                                     to repair or replace your building and the
                                                                                       owner of the adjoining building elects not to
                                iii. deeds, liens and contracts.
                                                                                       repair or replace that building, we will pay
                    (b) We will determine the amount of                                you the full value of the loss to the party
                         "extra expense" based on:                                     wall, subject to all applicable policy
                         (i) all expenses that exceed the                               provisions including Limits of Insurance and
                             normal operating expenses                                 all other provisions of this Loss Payment
                             that would have been incurred                              Condition. Our payment underthe
                             by "operations" during the                                 provisions of this paragraph does not alter
                             "period of restoratiori" if no                            any right of subrogation we may have
                             direct physical loss or damage                            against any entity, including the owner or
                             occurred. The following will be                            insurer of the adjoining building, and does
                             deducted from the total of such                            not alter the terms of the Transfer Of Rights
                             expenses:                                                 Of RecoveryAgainst Others To Us
                             i. the remaining salvage value                             Condition in this policy.
                                  of any property boughtfor                    6. Recovered Property
                                  temporary use during the                        If either ou or we recover an ro ert after
                                  "period of restoration", once                   loss settylement, that party musty pgive
                                                                                                                         p the
                                                                                                                             y other
                                   operations are resumed;                        prompt notice. At your option, you may retain
                                  and                                             the property. But then you must return to us
                                                                                  the amount we paid to you for the property.

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           We will pay recovery expenses and the                               b. Vacancy Provisions
           expensesto repairthe recovered property,                                  If the building where loss or damage
           subject to the Limit of Insurance.                                        occurs has been vacant for more than 60
           HOWEVER if, at the time of loss, the amount of                            consecutive days before that loss or
           loss or damage to your property exceeded our                              damage occurs:
           Limit of Insurance and your property in excess                            (1) We will not pay for any loss or damage
           of the Limit of Insurancewas turned over to us,                                caused by any of the following even if
           you retain your rights to recovery on such                                     they are Covered Causes of Loss:
           uninsured property. We will return to you a
                                                                                          (a) Vandalism;
           portion of any recovery on that property based
           upon the proportion of the loss in excess of our                               (b) Sprinkler leakage, unless you
           Limit of Insurance bears to the total loss.                                        have protected the system
                                                                                              against freezing;
        7. Resumption Of Operations
                                                                                          (c) Building glass breakage;
           We will reduce the amount of your:
                                                                                          (d) Water damage, including damage
           a. Loss payable under Business Income
                                                                                              that is caused by or resulting from
                Additional Coverage, other than "extra
                                                                                              freezing;
                expense", to the extent you can resume
                your "operations", in whole or in part, by                                (e) Theft; or
                using damaged or undamaged property                                       (f) Attempted theft.
                (including merchandise or stock) at the                              (2) With respect to Covered Causes of Loss
                described premises or elsewhere.                                          other than those listed in paragraphs
           b. Loss payable under Extra Expense                                            (1)(a) through (1)(f) above, we will
                Additional Coverage to the extent you can                                 reduce the amount we would otherwise
                return "operations" to normal and                                         pay for the loss or damage by 15%.
                discontinue such "extra expense".                        F. PROPERTY GENERAL CONDITIONS
        8. Vacancy                                                          The following conditions apply in addition to the
           a. Description Of Terms                                          COMMON POLICY CONDITIONS..
                (1) As used in this Vacancy Condition,                      1. Control Of Property
                     the term building and the term vacant                     If any person other than you has control of
                     have the meanings set forth in (1)(a)                     your property after a loss, a breach of these
                     and (1)(b) below:                                         conditions by such a person, beyond your
                     (a) When this policy is issued to a                       direction or control, will not be considered a
                         tenant, and with respect to that                      breach of these conditions by you, and it will
                         tenant's interest in Covered                          not affect this insurance.
                         Property, building means the unit                       The breach of any condition of this Coverage
                         or suite rented or leased to the                        Form, other than the Concealment,
                         tenant. Such building is vacant                         Misrepresentation or Fraud Common Policy
                         when it does not contain enough                         Condition, at any one or more locations will
                         business personal property to                           not affect coverage at any locations where, at
                         conduct customary operations.                           the time of loss or damage, the breach of
                     (b) When this policy is issued to the                       condition did not exist.
                         owner or general lessee of a                         2. Mortgageholders
                         building, building means the
                                                                                 a. The term mortgageholder includes trustee.
                         entire building. Such building is
                         vacant unless at least 31 % of its                      b. We will pay for covered loss of or damage
                         total square footage is:                                    to buildings or structures to each
                                                                                      mortgageholdershown in the
                         (i) Rented to a lessee or sub-
                                                                                      Declarations in their order of precedence,
                              lessee and used by the lessee
                                                                                      as interests may appear.
                              or sub-lessee to conduct its
                              customary operations; and/or                       c. The mortgageholder has the right to
                                                                                      receive loss payment even if the
                        (ii) Used by the building owner to
                                                                                      mortgageholder has started foreclosure or
                             conduct customary operations.
                                                                                      similar action on the building or structure.
                (2) Buildings under construction or
                                                                                 d. If we deny your claim because of your acts
                    renovation are not considered vacant.                             or because you have failed to comply with
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                                                                                                                     PB 00 0211 14
                the terms of this policy, the mortgageholder                         (1) During the policy period shown in the
                will still have the right to receive loss                                 Declarations; and
                payment if the mortgageholder:                                       (2) Within the coverage territory or, with
                (1) Pays any premium due underthis                                        respectto property in transit, while it is
                     policy at our request if you have failed                             between points in the coverageterritory.
                     to do so;                                                   b. The coverage territory is:
               (2) Submits a signed, sworn proof of loss                             (1) The United States ofAmerica (including
                    within 60 days after receiving notice                                 its territories and possessions);
                    from us of your failure to do so; and                            (2) Puerto Rico; and
               (3) Has notified us of any change in                                  (3) Canada.
                    ownership, occupancy or substantial                  G. OPTIONAL COVERAGES
                    change in risk known to the
                    mortgageholder.                                         If shown as applicable in the Declarations, the
                                                                            following Optional Coverages also apply. These
               AII of the terms of this policy will then                    Optional Coverages are subject to the terms and
               apply directly to the mortgageholder.                        conditions applicable to property coverage in this
            e. If we pay the mortgageholderfor any loss                     policy, except as provided below.
               or damage and deny payment to you                            1. Employee Dishonesty Optional Coverage
               because of your acts or because you
               have failed to comply with the terms of                           a. We will pay for:
               this policy:                                                          (1) Direct loss of or damageto Business
                                                                                          Personal Property and "money" and
               (1) The mortgageholder's rights underthe
                    mortgage will be transferred to us to                                 "secu rities";
                    the extent of the amount we pay; and                             (2) The legal obligation you have because
                                                                                          of the theft or unauthorized use of your
               (2) The mortgageholder's right to recover
                                                                                          business credit, debit or charge cards
                    the full amount of the mortgageholder's
                                                                                          issued to you or registered in your
                    claim will not be impaired.
                                                                                          name or the name of your business;
               At our option, we may pay to the                                      (3) Loss resulting from "fraudulent
               mortgageholderthe whole principal on                                       instruction" directing a financial
               the mortgage plus any accrued interest.                                    institution to transfer, pay or deliver
               In this event, your mortgage and note will                                 "money" or "securities" from your
               be transferred to us and you will pay your                                 "transfer account"; or
               remaining mortgage debt to us.
                                                                                     (4) Loss directly related to the use of any
               If we cancel this policy, we will give written                             computer to fraudulently cause a
               notice to the mortgageholder at least:                                     transfer of covered property from
               (1) 10 days before the effective date of                                   inside the described premises to a
                    cancellation if we cancel for your                                    person (other than a messenger) or
                    nonpaymentof premium; or                                              place outside those premises; .
               (2) 30 days before the effective date of                              resulting from dishonest acts committed by
                    cancellation if we cancel for any other                          any of your employees acting alone or in
                    reason.                                                          collusion with other persons (except you,
            g. If we elect not to renew this policy, we will                         your partner or an officer of a closely held
               give written notice to the mortgageholder                             corporation) with the manifest intent to:
               at least 10 days before the expiration                                (1) Cause you to sustain loss or damage;
               date of this policy.                                                       and also
                                                                                     (2) Obtain financial benefit (other than
        3. No Benefit To Bailee                                                           salaries, commissions, fees, bonuses,
                                                                                          promotions, awards, profit sharing,
           No person or organization, other than you,
                                                                                          pensions or other employee benefits
           having custody of Covered Property will
                                                                                          earned in the normal course of
           benefit from this insurance.
                                                                                          employment) for:
        4. Policy Period, Coverage Territory                                              (a) Any employee; or
           Under this form:                                                               (b) Any other person or organization.
           a. We cover loss or damage commencing:                                b. We will not pay for loss or damage:

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               (1) Resulting from any dishonest or                                     of any dishonest act committed by that
                    criminal act that you, any of your                                 employee before or after being hired by you.
                    partners, "members" or any officer of                          g. We will pay only for covered loss or
                    a closely held corporation commit                                  damage sustained during the policy
                    whether acting alone or in collusion                               period and discovered no later than one
                    with other persons.                                                year from the end of the policy period.
               (2) Resulting from any dishonest act                                h. If you (or any predecessor in interest)
                    committed by any of your employees                                 sustained loss or damage during the period
                    (except as provided in paragraph a.),                              of any prior insurance that you could have
                    "managers" or directors:                                           recovered underthat insurance exceptthat
                    (a) Whether acting alone or in                                     the time within which to discover loss or
                          collusion with other persons; or                             damage had expired, we will pay for it under
                    (b) While performing services for you                              this Optional Coverage, provided:
                          or otherwise.                                                (1) This Optional Coverage became
               (3) The only proof of which as to its                                        effective at the time of cancellation or
                    existence or amount is:                                                 termination of the prior insurance; and
                    (a) An inventory computation; or                                   (2) The loss or damage would have been
                                                                                            covered by this Optional Coverage
                    (b) A profit and loss computation.
                                                                                            had it been in effect when the acts or
            c. The most we will pay for loss or damage                                      events causing the loss or damage
               in any one occurrence is the Limit of                                        were committed or occurred.
               Insurancefor Employee Dishonesty
                                                                                   i. The insurance under paragraph h. above
               shown in the Declarations.                                              is part of, not in addition to, the Limit of
               AII loss or damage:                                                     Insurance applying to this Optional
               (1) Caused by one or more persons; or                                   Coverage and is limited to the lesser of
               (2) Involving a single act or series of acts;                           the amount recoverable under:
               is considered one occurrence.                                           (1) This Optional Coverage as of its
                                                                                            effective date; or
               If any loss is covered:
                                                                                       (2) The prior insurance had it remained
               (1) Partly by this insurance; and                                            in effect.
               (2) Partly by any prior cancelled or
                                                                                   j. With respect to the Employee Dishonesty
                    terminated insurance that we or any
                                                                                       Optional Coverage in paragraph G.1.,
                    affiliate had issued to you or any
                                                                                       employee means:
                    predecessorin interest;
                                                                                       (1) Any natural person:
               the most we will pay is the larger of the
                                                                                            (a) While in your service or for 30
               amount recoverable under this insurance
                                                                                                 days after termination of service;
               or the prior insurance.
                                                                                            (b) Who you compensate directly by
               We will pay only for loss or damage you                                           salary, wages or commissions; and
               sustain through acts committed or events
                                                                                            (c) Who you have the right to direct
               occurring during the policy period.
                                                                                                 and control while performing
               Regardless of the number of years this
                                                                                                 services for you;
               policy remains in force or the number of
               premiums paid and regardless that                                       (2) Any natural person who is furnished
               previous policies were in effect, whether                                    temporarily to you:
               issued by us, any affiliated company or                                      (a) To substitute for a permanent
               any other company, this coverage shall                                            employee as defined in paragraph
               not be cumulative from year to year or                                            (1) above, who is on leave; or
               period to period.                                                            (b) To meet seasonal or short-term
               This Employee Dishonesty Optional                                                 workload conditions;
               Coverage is cancelled as to any employee                                (3) Any natural person who is leased to
               immediately upon discovery by:                                               you under a written agreement
               (1) You; or                                                                  between you and a labor leasing firm,
               (2) Any of your partners, "members",                                         to perform duties related to the
                    "managers", officers or directors not                                   conduct of your business, but does
                    in collusion with the employee;                                         not mean a temporary employee as
                                                                                            defined in paragraph (2) above;
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                                                                                                                      PB 00 0211 14
                (4) Any natural person who is a former                                        (f) But if the damage is not covered
                    employee, director, partner,                                                  underthis policy, and such
                    "member", "manager", representative                                           damage is the subject of the
                    or trustee retained as a consultant                                           ordinance or law, then there is no
                    while performing services for you; or                                         coverage underthis Ordinance or
                (5) Any natural person who is a guest                                             Law Optional Coverage even if
                    student or intern pursuing studies or                                         the building has also sustained
                    duties, excluding, however, any such                                          covered direct physical damage.
                    person while having care and custody                               (3) In the situation described in a.(2)(b)
                    of property outside any building you                                    above, we will not pay the full amount
                    occupy in conducting your business.                                     of loss otherwise payable underthe
                But employee does not mean:                                                 terms of this Ordinance or Law
                                                                                            Optional Coverage. Instead, we will
                (1) Any agent, broker, factor, commission
                                                                                            pay a proportion of such loss;
                    merchant, consignee, independent
                                                                                            meaning the proportion that the
                    contractor or representative of the
                                                                                            covered direct physical damage bears
                    same general character; or
                                                                                            to the total direct physical damage.
                (2) Any "manager", director or trustee
                                                                                            (Section f. of this Ordinance or Law
                    except while performing acts coming
                                                                                            Optional Coverage provides an
                    within the usual duties of an employee.
                                                                                            example of this procedure.)
        2. Ordinance or Law Optional Coverages
                                                                                            HOWEVER, if the covered direct
            a. The Coverage(s) provided by this                                             physical damage alone would have
                Ordinance or Law Optional Coverage                                          resulted in enforcementof, or
                apply only if both paragraphs a.(1) and                                     compliance with, the ordinance or law,
                a.(2) are satisfied and are then subject to                                 then we will pay the full amount of loss
                the qualifications set forth in a.(3).                                      otherwise payable underterms of this
                (1) The ordinance or law:                                                   Ordinance or Law Optional Coverage.
                    (a) Regulates the demolition,                                   b. Coverage 1- Loss to the Undamaged
                         construction or repair of buildings,                          Portion of Building
                         or establishes zoning or land use                             When the Declarations show that
                         requirements at the described                                 Ordinance or Law - Coverage 1 applies at
                         premises; and                                                 a described building and if a Covered
                    (b) Is in force at the time of loss.                               Cause of Loss occurs to covered Building
                    But this Ordinance or Law Optional                                 property, we will pay for the loss in value
                    Coverage applies only in response to                               of the undamaged portion of the building
                    the minimum requirements of the                                    as a consequenceof enforcement of or
                    ordinance or law. Losses and costs                                 compliance with an ordinance or law that
                    incurred in complying with                                         requires demolition of undamaged parts of
                    recommended actions or standards                                   the same building.
                    that exceed actual requirements are                                This Coverage 1 of Ordinance or Law
                    not covered.                                                       Optional Coverage is included within the
                (2) The building sustains direct physical                              Limit of Insurance shown in the
                    damage:                                                            Declarations as applicable to the covered
                                                                                       Building property. This portion of the
                    (a) That is covered under this policy
                                                                                       Ordinance or Law Optional Coverage
                         and such damage results in
                                                                                       does not increase the Limit of Insurance.
                         enforcement of, or compliance
                         with, the ordinance or law; or                             c. Coverage 2- Demolition Cost and
                                                                                       Broadened Increased Cost of
                    (b) That is covered underthis policy
                                                                                       Construction
                         and direct physical damage that
                         is not covered under this policy,                             When the Declarations show that
                         and the building damage in its                                 Ordinance or Law - Coverage 2 applies at
                         entirety results in enforcement of,                            a described building and if a Covered
                         or compliance with, the ordinance                              Cause of Loss occurs to covered Building
                         or law.                                                       property:


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                (1) We will pay the cost to demolish and                                (2) With respect to this Ordinance or Law
                    clear the site of undamaged parts of                                    Optional Coverage, we will not pay for:
                    the same building, as a consequence                                     (a) Enforcement of, or compliance
                    of enforcement of, or compliance with,                                      with, any ordinance or law which
                    an ordinance or law that requires                                            requires the demolition, repair,
                    demolition of such undamaged                                                 replacement, reconstruction,
                    property; and                                                                remodeling or remediation of
                (2) We will pay the increased cost to                                            property due to contamination by
                    repair or reconstruct damaged                                               "pollutants" or due to the
                    portions of the building; and/or                                            presence, growth, proliferatiol ,
                    reconstruct or remodel undamaged                                            spread of any activity of "fungi",
                    portions of that building; whether or                                       wet or dry rot or bacteria; or
                    not demolition is required                                              (b) The costs associated with the
                    when the increased cost is a                                                enforcement of or compliance
                    consequenceof enforcement or                                                with any ordinance, law, rule, or
                    compliance with the minimum                                                 regulation which requires any
                    requirements of the ordinance or law.                                       insured or others to test for,
                                                                                                monitor, clean up, remove,
                                                                                                contain, treat, detoxify, or
                HOWEVER, we will not       paY for the                                          neutralize, or in any way respond
                increased costs to reconstruct or remodel                                       to, or assess the effects of
                undamaged portions of that Building                                             "pollutants", "fungi", wet or dry rot
                property:                                                                       or bacteria.
                (a) unless the restored or remodeled                                    (3) Under this Ordinance or Law Optional
                     property is intended for similar                                       Coverage, we will not pay for loss due
                     occupancy as the current property,                                     to any ordinance or law that:
                     unless such occupancy is not                                           (a) You were required to comply with
                     permitted by zoning or land use                                            before the loss, even if the
                     ordinance or law; or                                                       building was undamaged; and
                (b) if the building is not repaired,                                        (b) You failed to comply with.
                     reconstructed or remodeled.
                                                                                        (4) Loss Payment
                Paragraph e. of 5. Loss Payment under
                Section E. PROPERTY LOSS                                                    (a) When Coverage 1 applies, loss
                CONDITIONS does not apply.                                                      payment for that building,
                                                                                                including damaged and
                The most we will pay for the total of all                                       undamaged portions, will be
                covered losses under this Coverage 2 of                                         determined as follows:
                Ordinance or Law Optional Coverage,in
                any one occurrence is the Limit of                                              (i) If the property is repaired or
                Insuranceshown in the Declarations.                                                  replaced, on the same or
                                                                                                     another premises, we will not
                The $25,000 Limit of Insurance for                                                   pay more than the lesser of:
                Increased Cost of Construction —
                Damaged Property Additional Coverage                                                 i. The amount you actually
                remains available for damaged property                                                   spend to repair, rebuild or
                and is separate from the Limit of                                                        reconstruct the building,
                Insurance shown in the Declarations for                                                  but not for more than the
                Ordinance or Law Optional Coverage 2.                                                    amount it would cost to
                                                                                                         restore the building on
               This portion of the Ordinance or Law
                                                                                                         the same described
               Optional Coverage is in addition to the
                                                                                                         premises and to the
               Limits of Insurance.
                                                                                                         same height, floor area,
            d. Additional Terms and Conditions of                                                        style and comparable
               Ordinance or Law                                                                          quality of the original
                (1) The terms of this Ordinance or Law                                                   property insured; or
                    Optional Coverage apply separately                                               ii. The Limit of Insurance
                    to each building to which this Optional                                              applicable to the covered
                    Coverage applies.                                                                    Building property.

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                         (ii) If the property is not repaired                                        increased cost of construction
                               or replaced, we will not pay                                          at the new premises.
                               more than the lesser of:                              e. This Ordinance or Law Optional Coverage
                               i. The "actual cash value"                               is not subject to the terms of the
                                    of the building at the time                         Ordinance or Law Exclusion, to the extent
                                    of loss; or                                         that such exclusion would conflict with the
                              ii. The Limit of Insurance                                provisions of this Optional Coverage.
                                  applicable to the covered                          f. Example of Proportionate Loss Payment for
                                  Building property.                                    Ordinance or Law Coverage Losses '
                     (b) When Coverage 2 applies, the                                   (procedure as set forth in Section a.(3) of
                         most we will pay for the total of all                          this Ordinance or Law Optional Coverage).
                         covered losses for Demolition                                  Assume:
                         Cost and Broadened Increased                                     •    Wind is a Covered Cause of Loss.
                         Cost of Construction is the Limit                                     Flood is an excluded Cause of Loss;
                         of Insurance for Coverage 2.
                                                                                          •    The building has a value of $200,000;
                         Subject to this Limit of Insurance,
                         the following loss payment                                       •    Total direct physical damage to
                         provisions apply:                                                     building: $100,000;
                         (i) For Demolition Cost, we will                                 •    The ordinance or law in this
                              not pay more than the                                            jurisdiction is enforced when building
                              amount you actually spend to                                     damage equals or exceeds 50% of
                              demolish and clear the site of                                   the building's value;
                              the described building.                                     •    Portion of direct physical damage that
                         (ii) With respect to Broadened                                        is covered (caused by wind):
                                Increased Cost of                                              $30,000;
                                Construction:                                             •    Portion of direct physical damage that
                                i. We will not pay for the                                     is not covered (caused by flood):
                                     increased cost of                                         $70,000; and
                                     construction until the                               •    Loss under Ordinance or Law
                                     property is actually                                      Coverage 2 of this endorsement:
                                     repaired or replaced, at                                  $60,000.
                                     the same or another
                                                                                          Step 1: Determine the proportion that the
                                     premises; and
                                                                                          covered direct physical damage bears to
                                ii. Unless the repairs or                                 the total direct physical damage.
                                     replacement are made                                 $30,000 divided by $100,000 = .30
                                     as soon as reasonably
                                     possible after the loss or                           Step 2: Apply that proportion to the
                                     damage, not to exceed                                Ordinance or Law loss.
                                     two years. We may                                    $60,000 x .30 = $18,000
                                     extend this period in                                In this example, the most we will pay
                                     writing during the two                               underthis endorsement for the Coverage
                                     years.                                               2 loss is $18,000, subject to the
                         (iii) If the building is repaired or                             applicable Limit of Insurance and any
                                replaced at the same                                      other applicable provisions.
                                described premises, or if you                             NOTE: The same procedureapplies to
                                elect to rebuild at another                               losses under Coverage 1 of this
                                premises, the most we will                                endorsement.
                                pay under Coverage 2 is the
                                increased cost of
                                construction at the same
                                described premises.
                         (iv) If the ordinance or law
                                requires relocation to another
                                premises, the most we will
                                pay under Coverage 2 is the

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       3. Optional Amendment of Coverage -                                     3. "Business Income" means the:
           Exclude Theft                                                          a. Net Income (Net Profit or Loss before
           When "— Excluding Theft" is stated in the                                  income taxes) that would have been
           Declarations after Business Personal                                       earned or incurred if no physical loss or
           Property coverage, then under:                                             damage had occurred, but not including
           a. Paragraph 3. of Section B.                                              any Net Income that would likely have
                EXCLUSIONS, the following exclusion is                                been earned as a result of an increase in
                added:                                                                the volume of business due to favorable
                                                                                      business conditions caused by the impact
                Theft: Theft or attempted theft resulting in                          of the Covered Cause of Loss on
                loss of or damage to Business Personal                                customers or on other businesses; plus
                P roperty.
                                                                                  b. Necessary continuing normal operating
           b. The Money and Securities Additional                                     expenses incurred, while "operations" are
                Coverage, paragraph (1)(a) is deleted.                                suspended, including payroll.
    H. PROPERTY DEFINITIONS                                                    4. "Computer" means:
       The terms "you", "your", "we", "us", "our" and                             a. Programmable electronic equipment that
       "insured" are defined in the Preamble of this                                  is used to store, retrieve and process
       Coverage Form. The following words or phrases,                                 data; and
       which appear in quotation marks throughout this
                                                                                  b. Associated peripheral equipment that
       Coverage Form and any of its endorsements, are                                 provides communication, including input
       defined as follows:                                                            and outputfunctions such as printing and
       1. "Accident" means a fortuitous event that                                    auxiliary functions such as data
           causes direct physical damage to "covered                                  transmission.
           equipment". The event must be one of the                               "Computer" includes those used to operate
           following:                                                             production type machinery or equipment.
           a. Mechanical breakdown, including rupture                          5. "Counterfeit money" means an imitation of
                or bursting caused by centrifugal force;                          "money" that is intended to deceive and to be
           b. Artificially generated electrical, magnetic                         taken as genuine.
                or electromagnetic energy, including                           6. "Covered equipment" means, Covered
                electric arcing, that damages, disturbs,                          Property:
                disrupts or otherwise interferes with any
                                                                                  a. That generates, transmits or utilizes energy,
                electrical or electronic wire, device,
                                                                                      including electronic communications and
                appliance, system or network;
                                                                                      data processing equipment; or
           c. Explosion of steam boilers, steam pipes,
                                                                                  b. Which, during normal usage, operates
                steam engines or steam turbines owned                                 under vacuum or pressure, other than the
                or leased by you, or operated under your                              weight of its contents.
                control;
                                                                                  None of the following is "covered equipment":
           d. Loss of or damage to steam boilers,
                steam pipes, steam engines or steam                               a. Structure, foundation, cabinet, compartment
                turbines caused by or resulting from any                              or air supported structure or building;
                condition or event inside such equipment;                         b. Insulating or refractory material;
                or                                                                c. Sewer piping, underground vessels or
           e. Loss or damage to hot water boilers or                                  piping, piping forming a part of a sprinkler
                other water heating equipment caused by                               system or water piping other than boiler
                or resulting from any condition or event                              feedwater piping, boiler condensate return
               inside such boilers or equipment.                                      piping or water piping forming a part of a
                                                                                      refrigerating or air conditioning system;
        2. "Actual Cash Ualue" means the cost to repair
           or replace Covered Property, at the time of                            d. Dragline, excavation or construction
           loss or damage, whether that property has                                  equipment;
           sustained partial or total loss or damage, with                        e. Equipment manufactured by you for sale;
           material of like kind and quality, subject to a                            or
           deduction for deterioration, depreciation and                          f. Vehicle, aircraft or floating vessel or any
           obsolescence.                                                              equipment mounted on such vehicle,
                                                                                      aircraft or floating vessel. However, any
                                                                                      property that is stationary, permanently

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                                                                                                                     PB 00 0211 14
                installed at a covered location and that                           b. To minimize the suspension of business if
                receives electrical power from an external                            you cannot continue "operations".
                power supplier will not be considered a                            c. To:
                vehicle, aircraft or floating vessel.
                                                                                      (1) Repair or replace any property; or
        7. "Dependent property" means property
                                                                                      (2) Research, replace or restore the lost
           owned or operated by others, not including
                                                                                           information on damaged "valuable
           any described premises, on whom you
                                                                                           papers and records";
           depend on to:
                                                                                      to the extent it reduces the amount of loss
           a. Deliver materials or services to you, or to
                                                                                      that otherwise would have been payable
                others for your account. Sefvices does
                                                                                      under the Extra Expense Additional
                not include water supply services, water
                                                                                      Coverage or the Business Income
                removal services, steam, fuel,
                                                                                      Additional Coverage.
                communication, or power supply services.
           b. Purchase your products or services.
           c. Manufacture products for delivery to your                       10 "Fraudulent instruction" means:
                customers under contract of sale.                                 a. An electronic, telegraphic, cable, teletype,
           d. Attract customers to your business. But                                 telefacsimile or telephone instruction
                this does not include firms in the business                           which purports to have been transmitted
                of promoting or advertising your business.                            by you, but which was in fact fraudulently
                                                                                      transmitted by someone else without your
           The "Dependent property" must be located in                                knowledge or consent;
           the coverage territory of this policy.
                                                                                  b. A written instruction (other than those
           However, "Dependent property" does not                                      described in Paragraph A.5.k.) issued by
           mean any property owned or operated by                                      you, which was forged or altered by
           others on whom you depend on to provide                                     someone other than you without your
           internet services; web hosting services;                                    knowledge or consent or which purports
           internet hosting services; space on any                                     to have been issued by you, but was in
           server, computer, computer system, or other
                                                                                      fact fraudulently issued without your
           similar equipment; web pages; social media
                                                                                      knowledge or consent; or
           or networking services; or similar services.
                                                                                  c. An electronic, telegraphic, cable, teletype,
        8. "Electronic data" means information, facts
                                                                                       telefacsimile, telephone or written
           or "computer" programs stored as or on,
                                                                                       instruction initially received by you which
           created or used on, or transmitted to or from
                                                                                       purports to have been transmitted by an
           "computer" software (including systems and
                                                                                       employee but which was in fact
           applications software), on hard or floppy
                                                                                       fraudulently transmitted by someone else
           disks, CD-ROMs, tapes, drives, cells, data
                                                                                       without your or the employee's knowledge
           processing devices or any other repositories
                                                                                       or consent.
           of "computer' software which are used with
           electronically controlled equipment. The term                      11. "Fungi" means any type or form of fungus,
           "computer" programs, referred to in the                                including mold or mildew, and any
           foregoing description of electronic data,                              mycotoxins, spores, scents or by-products
           means a set of related electronic instructions                         produced or released by fungi.
           which direct the operations and functions of a                     12. "Hazardous substance" means any
           "computer" or device connected to it, which                            substance other than ammonia that has been
           enable the "computer" or device to receive,                            declared to be hazardous to health by a
           process, store, retrieve or send data.                                 governmental agency.
           "Extra Expense" means expense incurred:                            13. "Manager" means a person serving in a
           a. To avoid or minimize the suspension of                              directorial capacity for a limited liability
                business and to continue "operations":                            company.
                (1) At the described premises; or                             14. "Member" means an owner of a limited
                (2) At replacement premises or at                                 liability company represented by its
                    temporary locations, including                                membership interest, who also may serve as
                    relocation expenses and costs to                              a"manager".
                    equip and operate the replacement or                      15. "Money" means:
                    temporary locations.


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            a. Currency, coins and bank notes whether                                        (a) Regulates the construction, use
               or not in current use and having a face                                            or repair, or requires the tearing
                value; and                                                                        down of any property; or
            b. Travelers checks, register checks and                                         (b) Requires any insured or others to
               money orders held for sale to the public.                                          test for, monitor, clean up,
        16. "Operations" mean your business activities                                            remove, contain, treat, detoxify or
            occurring at the described premises.                                                  neutralize, or in any way respond
                                                                                                  to or assess the effects of
        17 "Ordinary payroll expenses" mean payroll
                                                                                                  "pollutants".
            expenses for all your employees except:
                                                                                        (3) The expiration date of this policy will
            a. Officers;
                                                                                             not cut short the "period of
            b. Executives;                                                                   restoration".
            c. Department Managers;                                                 b. For Business Income and Extra Expense
            d. Employees under contract; and                                            — Increased Period of Restoration Due to
            e. Additional Exemptions shown in the                                       Ordinance or Law Additional Coverage:
               Declarations as:                                                         (1) The period of time that:
                (1) Job Classifications; or                                                  (a) Begins:
               (2) Employees.                                                                     (i) At the time of direct physical
            Ordinary payroll expenses include:                                                         loss or damage for Business
                                                                                                       Income Additional Coverage;
            a. Payroll;
                                                                                                       or
            b. Employee benefits, if directly related to
                payroll;                                                                          (ii) Immediately after the time of
                                                                                                       direct physical loss or
            c. FICA payments you pay;                                                                  damage for Extra Expense
            d. Union dues you pay; and                                                                 Additional Coverage:
            e. Workers' compensation premiums.                                                    Caused by or resulting from any
        18. "Period of restoration" means:                                                        Covered Cause of Loss at the
                                                                                                  described premises; and
            a. For other than the Dependent Properties
                Additional Coverage and Business                                             (b) Ends on the earlier of:
                Income and Extra Expense — Increased                                              (i) The date when the property
                Period of Restoration Due to Ordinance                                                  at the described premises
                or Law Additional Coverage:                                                             should be repaired, rebuilt or
                (1) The period of time that:                                                            replaced with reasonable
                                                                                                        speed and similar quality; or
                     (a) Begins the number of hours
                         shown in the Declarations after                                          (ii) The date when business is
                         the time of direct physical loss or                                            resumed at a new permanent
                         damage caused by or resulting                                                  location.
                         from any Covered Cause of Loss                                 (2) "Period of restoration" includes any
                         at the described premises; and                                      increased period required to repair or
                     (b) Ends on the earlier of:                                             reconstruct the property to conform
                                                                                             with the minimum standards or any
                         (i) The date when the property                                      ordinance or law, in force at the time
                              at the described premises                                      of loss, that regulates the
                              should be repaired, rebuilt or                                 construction or repair, or requires the
                              replaced with reasonable                                       tearing down of any property.
                              speed and similar quality; or
                                                                                         (3) The expiration date of this policy will
                          (ii) The date when business is                                     not cut short the "period of
                               resumed at a new permanent                                    restoration".
                               location.
                                                                                    c.   For Dependent Properties Additional
                (2) "Period of restoration" does not                                     Coverage:
                     include any increased period required
                     due to the enforcement of, or                                       (1) The period of time that:
                     compliance with, any ordinance or                                       (a) Begins:
                     law that:

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                                                                                                                     PB 00 0211 14
                         24 hours after the time of direct                       (b) Accepts materials or services from a
                         physical loss or damage for                                  Dependent property, which in turn
                         Business Income Additional                                   accepts your materials or services.
                         Coverage caused by or resulting                         A road, bridge, tunnel, waterway, airfield,
                         from any Covered Cause of Loss                          pipeline or any other similar area or structure
                         at the premises of the "dependent                       is not a Secondary dependent property.
                         property"; and                                          Any property which delivers any of the
                     (b) Ends on the earlier of:                                 following services is not a Secondary
            (i) The date when the property at the                                dependent property with respect to such
                 premises of the "dependent property"                            services:
                 should be repaired, rebuilt or replaced                                  (i)     Water supply services;
                 with reasonable speed and similar quality;                               (ii)    Wastewater removal
                 or                                                                               services;
            (ii) The date when your business is resumed                                   (iii)   Communication supply
                 at a permanent new location                                                      services; or
                 (2) "Period of restoration" does not                                     (iv)    Power supply services.
                     include any increased period required                       The Secondary dependent property must be
                      due to the enforcement of, or                              located in the coverage territory of this policy:
                      compliance with, any ordinance or
                                                                                 However, "Secondary Dependent Property"
                      law that:
                                                                                 does not mean any property owned or
                      (a) Regulates the construction, use                        operated by others on whom you depend on
                          or repair, or requires the tearing                     to provide internet services; web hosting
                          down of any property; or                               services; internet hosting services; space on
                     (b) Requires any insured or others to                       any server, computer, computer system, or
                          test for, monitor, clean up,                           other similar equipment; web pages; social
                          remove, contain, treat, detoxify or                    media or networking services; or similar
                          neutralize, or in any way respond                      services.
                          to or assess the effects of                         22 "Securities" mean negotiable and non-
                          "pollutants".                                          negotiable instruments or contracts
                 (3) The expiration date of this policy will                     representing either "money" or other property
                     not cut short the "period of                                and includes:
                     restoration".                                               a. Tokens, tickets, revenue and other
        19. "Perishable goods" mean personal property                                 stamps (whether represented by actual
            maintained under controlled conditions for its                            stamps or unused value in a meter)
            preservation, and susceptible to loss or                                  whether or not in current use; and
            damage if the controlled conditions change.                             b. Evidences of debt issued in connection
        20. "Pollutants" mean any solid, liquid, gaseous                                with credit or charge cards, which cards
            or thermal irritant or contaminant, including but                           are not issued by you;
            not limited to smoke, vapor, soot, fumes, acids,                        but does not inciude "money" or lottery tickets
            alkalis, petroleum products and their                                   held for sale.
            derivatives, chemicals and waste. Such irritants
            or contaminants are "pollutants" whether or not
            they have any function in your business,                           23. "Specified Causes of Loss" means the
            operations, premises, sites or locations.                              following:
            Waste includes but is not limited to materials                         Fire; lightning; explosion, windstorm or hail;
            to be recycled, reconditioned or reclaimed                             smoke; aircraft or vehicles; riot or civil
            and livestock, poultry or other animal                                 commotion; vandalism; leakage from fire
            excrement.                                                             extinguishing equipment; sinkhole collapse;
                                                                                   volcanic action; falling objects; weight of
        21. "Secondary dependent property" means
                                                                                   snow, ice or sleet; water damage.
            an entity which is not owned or operated by a
            Dependent property and which;                                           a. Sinkhole collapse means the sudden
                                                                                        sinking or collapse of land into
            (a) Delivers materials or services to a
                                                                                        underground empty spaces created by the
                 dependent property, which in turn are
                                                                                        action of water on limestone or dolomite.
                 used by the Dependent property in
                                                                                        This cause of loss does not include:
                 providing materials or services to you; or
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                 (1) The cost of filling sinkholes; or                          26. "Valuable papers and records" mean
                 (2) Sinking or collapse of land into man-                          inscribed, printed, or written:
                      made undergroundcavities.                                     a. Documents;
            b. Falling objects does not include loss of or                          b. Manuscripts; and
                 damage to:                                                         c. Records;
                 (1) Personal property in the open; or                              including abstracts, books, deeds, drawings,
                 (2) The interior of a building or structure,                       films, maps or mortgages.
                      or property inside a building or                              HOWEVER, "valuable papers and records"
                      structure, unless the roof or an outside                      does not mean "money" or "securities".
                      wall of the building or structure is first
                      damaged by a falling object.
            c. Water damage means accidental
                 discharge or leakage of water or steam
                 as the direct result of the breaking apart
                 or cracking of any part of a system or
                 appliance (other than a sump system
                 including its related equipment and parts)
                 containing water or steam.
                 HOWEVER, the following is not
                 considered water damage;
                 (1) Damage from constant or repeated
                      seepage or leakage of water or steam
                      that is either located on the described
                      premises or off of the described
                      premises over a period of weeks,
                      months or years from any part of a
                      system or appliance containing water
                      or steam. and;
                 (2) Discharge or leakage of water or
                      waterborne material as the direct
                      result of the breaking apart or
                      cracking of a water or sewer pipe that
                      is located off of the described
                      premises and is part of a municipal
                      water supply system or municipal
                      sanitary sewer system.
        24. "Stock" means merchandise held in storage
            or for sale, raw materials and in-process or
            finished goods, including supplies used in
            their packing or shipping.
        25. "Transfer account" means an account
            maintained by you at a financial institution from
            which you can initiate the transfer, payment or
            delivery of "money" and "securities":
            a. By means of electronic, telegraphic,
                 cable, teletype, telefacsimile or telephone
                 instructions communicated directly
                 through an electronic funds transfer
                 system; or
            b. By means of written instructions (other
                 than those described in Paragraph A.5.k.)
                 establishing the conditions underwhich
                 such transfers are to be initiated by such
                 financial institution through an electronic
                 funds transfer system.
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                                                                                                                                                  BUSINESSOWNERS
                                                                                                                                                      PB 00 06 11 14

                                               PREMIER BUSINESSOWNERS
                                               LIABILITY COVERAGE FORM
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                                PREMIER BUSINESSOWNERS
                                LIABILITY COVERAGE FORM
    Various provisions in this policy restrict coverage. Please read the entire policy carefully to determine rights,
    duties and what is and is not covered.
    Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations, and any
    other person or organization qualifying as a Named Insured underthis policy. The words "we", "us" and "our" refer
    to the Company-providing this insurance. The word "insured" means any person or organization qualifying as i
    such under Section II. WHO IS AN INSURED. Other words and phrases that appear in quotation marks have
    special meaning. Please refer to Section V. DEFINITIONS.                                                                     ~

    I. COVERAGES                                                                       (2) The "bodily injury" or "property
                                                                                           damage" occurs during the policy
    A. COVERAGE A— BODILY INJURY AND
                                                                                           period; and
        PROPERTY DAMAGE LIABILITY
                                                                                       (3) Priorto the policyperiod, no insured
        1. INSURING AGREEMENT
                                                                                           listed underParagraph1. of Section II.
                We will pay those sums up to the                                           WHO IS AN INSURED and no
                applicable Limit of Insurancethat the                                      "employee"authorizedby you to give
                insured becomes legally obligated to pay                                   or receive notice of an "occurrence"or
                as damages because of "bodily injury" or                                   claim, knew that the "bodilyinjury" or
                "property damage" to which this                                            "propertydamage"had occurred, in
                insurance applies. We will have the right                                  whole or in part. If such a listed insured
                and duty to defend the insured against                                     or authorized"employee"knew, priorto
                any "suit" seeking those damages for                                       the policy period, that the "bodilyinjury"
                which there is coverage under this policy.                                 or "propertydamage"occurred, then
                HOWEVER, we will have'no duty to                                           any continuation,changeor resumption
                defend the insured against any "suit"                                      of such "bod ily injury" or "property
                seeking damages for "bodily injury" or                                     damage"during or afterthe policy
                "property damage" to which this                                            periodwill be deemedto havebeen
                insurance does not apply.                                                  known priorto the policy period.
                We may, at our sole discretion,                                     c. "Bodily injury" or "property damage"
                investigate any "occurrence" and settle                                which occurs during the policy period and
                any claim or °suit" that may result. But:                              was not, prior to the policy period, known
                (1) The amount we will pay for damages                                 to have occurred by any insured listed
                     is limited as described in Section III.                           under Paragraph 1. of Section II. WHO IS
                     LIMITS OF INSURANCE; and                                          AN INSURED or any "employee"
                                                                                       authorized by you to give or receive
                (2) Our right and duty to defend end                                   notice of an "occurrence" or claim,
                    when we have used up the applicable                                includes any continuation, change or
                    limit of insurance in the payment of                               resumption of that "bodily injury" or
                    judgments or settlements under                                     "property damage" after the end of the
                    COVERAGES A or B or medical                                        policy period.
                    expenses under COVERAGE C.
                                                                                    d. "Bodily injury" or "property damage" will
                No other obligation or liability to pay sums                           be deemed to have been known to have
                or perform acts or services is covered                                 occurred at the earliest time when any
                unless explicitly provided for under                                   insured listed under Paragraph 1. of
                SUPPLEMENTARY PAYMENTS —                                               Section II. WHO IS AN INSURED or any
                COVERAGES A AND B.                                                     "employee" authorized by you to give or
                This insurance applies to "bodily injury"                              receive notice of an "occurrence" or
                and "property damage" only if:                                         claim:
                (1) The "bodily injury" or "property                                   (1) Reports all, or any part, of the "bodily
                    damage" is caused by an                                                injury" or "property damage" to us or
                    "occurrence" that takes place in the                                   any other insurer;
                    "coverage territory"; and

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                                                                                                                      PB 00 06 11 14
              (2) Receives a written or verbal demand                                          has also been assumed in the
                   or claim for damages because of the                                         same "insured contract"; and
                   "bodily injury" or "property damage";                                   (b) Such attorney fees and litigation
                   or                                                                          expenses are for defense of that
              (3) Becomes aware by any other means                                             party against a civil or alternative
                   that "bodily injury" or "property                                           dispute resolution proceeding in
                   damage" has occurred or has begun to                                        which damages to which this
                   occu r.                                                                     insurance applies are alleged.
           e. Damages because of "bodily injury"                                   c.   Liquor Liability
              include damages claimed by any person                                     "Bodily injury" or "property damage" for
              or organization for care, loss of services                                which any insured may be held liable by
              or death resulting at any time from the                                   reason of:
              "bodily injury".
                                                                                        (1) Causing or contributing to the
        2. EXCLUSIONS                                                                        intoxication of any person;
            This insurance, including any duty we have to                               (2) The furnishing of alcoholic beverages
            defend "suits", does not apply to:                                               to a person under the legal drinking
            a. Expected Or Intended Injury                                                   age or under the influence of alcohol;
                "Bodily injury" or "property damage"                                         or
                which is expected or intended by the                                    (3) Any statute, ordinance or regulation
                insured.                                                                     relating to the sale, gift, distribution or
                This exclusion applies even if the resulting                                 use of alcoholic beverages.
                "bodily injury" or "property damage":                                   This exclusion applies even if the claims
                (1) Is of a different kind, quality or degree                           allege negligence or other wrongdoing in:
                    than initially expected or intended; or                             (a) The supervision, hiring, employment,
                (2) Is sustained by a different person, entity,                              training or monitoring of others by an
                    real property, or personal property than                                 insured; or
                    that initially expected or intended.
                                                                                        (b) Providing or failing to provide
                HOWEVER, this exclusion does not
                apply to "bodily injury" resulting from the                                  transportation with respect to any
                use of reasonable force to protect                                           person that may be under the
                persons or property.                                                         influence of alcohol;
            b. Contractual Liability                                                    if the "occurrence" which caused the
                "Bodily injury" or "property damage" for which                          "bodily injury" or "property damage",
                the insured is obligated to pay damages by                              involved that which is described in
                reason of the assumption of liability in a                              Paragraph (1), (2) or (3) above.
                contract or agreement. This exclusion does                              This exclusion applies only if you:
                not apply to liability for damages:                                     (1) Manufacture, sell or distribute
                (1) That the insured would have in the                                       alcoholic beverages;
                    absence of the contract or                                          (2) Serve or furnish alcoholic beverages
                    agreement; or                                                            for a charge whether or not such
                (2) Assumed in a contract or agreement                                       activity:
                    that is an "insured contract", provided
                    the "bodily injury" or "property damage"                                 (a) Requires a license; or
                    occurs subsequentto the execution of                                     (b) Is for the purpose of financial gain
                    the contract or agreement. Solely for                                         or livelihood; -or
                    the purposes of liability assumed in an                             (3) Serve or furnish alcoholic beverages
                    "insured contract", reasonable attorney                                  without a charge, if a license is
                    fees and necessary litigation expenses                                   required for such activity.
                    incurred by or for a party other than an
                                                                                         For the purposes of this exclusion,
                    insured are deemed to be damages
                    because of "bodily injury" or "property                              permitting a person to bring alcoholic
                    damage", provided:                                                   beverages on your premises, for
                                                                                         consumption on your premises, whether
                     (a) Liability to such party for, or for                             or not a fee is charged or a license is
                         the cost of, that party's defense                               required for such activity, is not by itself


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               considered the business of selling,                                       This exclusion does not apply to liability
               serving or furnishing alcoholic beverages.                                assumed by the insured under an
            d. Laws                                                                      "insured contract".
               Any liability or legal obligation of any                             f.   Pollution
               insured with respect to "bodily injury" or                                (1) "Bodily injury" or "property damage"
               "property damage" arising out of any of                                        arising out of the actual, alleged or
               the following:                                                                 threatened discharge, dispersal,
               (1) Any federal, state, county, municipal                                      seepage, migration, release or
                   or local law, ordinance, order,                                            escape of "pollutants":
                    directive or regulation barring                                           (a) At or from any premises, site or
                    discrimination, including but not                                              location which is or was at any
                    limited to those based on race, color,                                         time owned or occupied by, or
                    national origin, ancestry, citizenship,                                        rented or loaned to, any insured.
                    gender, sexual orientation, marital                                            HOWEVER, this subparagraph
                    status, religion or religious belief, age,                                     does not apply to:
                    economic status, income, medical
                    condition, pregnancy, parenthood or                                            (i) "Bodily injury" if sustained
                    mental or physical disability;                                                       within a building and caused
                                                                                                         by smoke, fumes, vaporor
               (2) Any workers' compensation,                                                            soot produced by or
                    unemploymentcompensation,                                                            originating from equipment
                    disability benefits law, or any other                                                that is used to heat, cool or
                    statutory benefits law;
                                                                                                         dehumidify that building, or
               (3)  The  Mi9 rant and Seasonal                                                           equipmentthat is used to
                    Agricultural Worker Protection Act;                                                  heat water for personal use,
               (4) Any state, federal or governmental                                                    by the building's occupants or
                    antitrust statute or regulation, including                                            their guests;
                    but not limited to the Racketeer                                               (ii) "Bodily injury" or "property
                    Influenced and Corrupt Organizations                                                 damage" for which you may
                    Act (RICO), the Securities Act of 1933,                                              be held liable, if you are a
                    the Securities Exchange Act of 1934,                                                 contractor and the owner or
                    or any state Blue Sky law;                                                           lessee of such premises, site
               (5) The Employees' Retirement Income                                                      or location has been added to
                    Security Act (E.R.I.S.A.) of 1974; or.                                               your policy as an additional
               (6) Any other similar statutes, ordinances,                                               insured with respect to your
                   orders, directives or regulations.                                                    ongoing operations
                                                                                                         performed for that additional
            e. Employer's Liability
                                                                                                         insured at that premises, site
                "Bodily injury" to:                                                                      or location and such
                (1) An "employee" of the insured arising                                                 premises, site or location is
                    out of and in the course of:                                                         not and never was owned or
                    (a) Employment by the insured; or                                                    occupied by, or rented or
                                                                                                         loaned to, any insured, other
                    (b) Performing duties related to the                                                 than that additional insured;
                         conduct of the insured's                                                        or
                         business; or
                                                                                                   (iii) "Bodily injury" or "property
                (2) The spouse, child, parent, brother or                                                 damage arising out of heat,
                    sister of that "employee" as a                                                       smoke orfumes from a
                    consequenceof Paragraph (1) above.
                                                                                                           hostile fire ,
                This exclusion applies:                                                       (b) At or from any premises, site or
                (1) Whether the insured may be liable as an                                        location which is or was at any
                    employer or in any other capacity; and                                         time used by or for any insured or
                (2) To any obligation to share damages                                             others for the handling, storage,
                    with or repay someone else who must                                            disposal, processing or treatment
                    pay damages because of the injury.                                             of waste;



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                     (c) Which are or were at any time                                                  connection with operations
                         transported, handled, stored,                                                   being performed by you or on
                         treated, disposed of, or                                                       your behalf by a contractor or
                         processed as waste by or for any                                                subcontractor; or
                         insured or any person or                                                 (iii) "Bodily injury" or "property
                         organization for whom you may                                                   damage" arising out of heat,
                         be legally responsible; or                                                     smoke or fumes from a
                     (d) At or from any premises, site or                                               "hostile fire".
                         location on which any insured or                                    (e) At or from any premises, site or
                         any contractors or subcontractors                                        location on which any insured or
                         working directly or indirectly on                                        any contractors or subcontractors
                         any insured's behalf are                                                 working directly or indirectly on
                         performing operations if the                                             any insured's behalf are
                          pollutants are brought on or to                                         performing operations if the
                         the premises, site or location in                                        operations are to test for, monitor,
                         connection with such operations                                          clean up, remove, contain, treat,
                         by such insured, contractor or                                           detoxify or neutralize, or in any
                         subcontractor.                                                           way respond to, or assess the
                         HOWEVER, this subparagraph                                               effects of, "pollutants".
                         does not apply to:                                              (2) Any loss, cost or expense arising out
                         (i) "Bodily injury" or "property                                    of any:
                             damage" arising out of the .                                    (a) Request, demand, order or
                             escape of fuels, lubricants or                                       statutory or regulatory
                             other operating fluids which                                         requirement that any insured or
                             are needed to perform the                                            others test for, monitor, clean up,
                             normal electrical, hydraulic or                                      remove, contain, treat, detoxify or
                             mechanical functions                                                 neutralize, or in any way respond
                             necessary for the operation                                          to, or assess the effects of,
                             of "mobile equipment" or its                                         "pollutants"; or
                             parts, if such fuels, lubricants                                (b) Claim or "suit" by or on behalf of
                             or other operating fluids                                            a governmental authority for
                             escape from a vehicle part                                           damages because of testing for,
                             designed to hold, store or                                           monitoring, cleaning up,
                             receive them. This exception                                         removing, containing, treating,
                             does not apply if the "bodily                                        detoxifying or neutralizing, or in
                             injury" or "property damage"
                                                                                                  any way responding to, or
                             arises out of the intentional
                                                                                                  assessing the effects of,
                             discharge, dispersal or
                                                                                                  "pollutants".
                             release of the fuels,
                             lubricants or other operating                                   HOWEVER, thisparagra ph does not
                             fluids, or if such fuels,                                       apply to liability for damages because
                             lubricants or other operating                                   of "property damage" that the insured
                             fluids are brought on or to the                                 would have in the absence of such
                             premises, site or location with                                  request, demand, order or statutory
                             the intent that they be                                          or regulatory requirement, or such
                             discharged, dispersed or                                         claim or "suit" by or on behalf of a
                             released as part of the                                          governmental authority.
                             operations being performed                             g. Aircraft, Auto Or Watercraft
                             by such insured, contractor or                               "Bodily injury" or "property damage"
                             subcontractor;                                               arising out of the ownership,
                         (ii) "Bodily injury" or "property                                maintenance, use or entrustment to
                              damage" sustained within a                                  others of any aircraft, "auto" or watercraft
                              building and caused by the                                  owned or operated by or rented or loaned
                              release of gases, fumes or                                  to any insured. Use includes operation
                              vapors from materials                                       and "loading or unloading".
                              brought into that building in

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                This exclusion applies even if the claims                                     prepared for, any prearranged racing,
                allege negligence or other wrongdoing in                                      speed, demolition, or stunting activity.
                the supervision, hiring, employment,                                i.   War
                training or monitoring of others by an
                insured, if the "occurrence" which caused                                "Bodily injury" or "property damage",
                the "bodily injury" or "property damage"                                 however caused, arising, directly or
                involved the ownership, maintenance,                                     indirectly, out of:
                use or entrustment to others of any                                      (1) War, including undeclared or civil
                aircraft, "auto" or watercraft that is owned                                  war;
                or operated by or rented or loaned to any                                (2) Warlike action by a military force,
                insured.                                                                      including action in hindering or
                HOWEVER, this exclusion does not apply                                        defending against an actual or
                to:                                                                           expected attack, by any government,
                                                                                              sovereign or other authority using
                (1) A watercraft while ashore on
                                                                                              military personnel or other agents; or
                     premises you own or rent;
                                                                                         (3) Insurrection, rebellion, revolution,
                (2) A watercraft you do not own that is:                                      usurped power, or action taken by
                     (a) Less than 26 feet long; and                                          government authority in hindering or
                     (b) Not being used to carry persons                                      defending against any of these.
                          or property for a charge;                                      Damage To Property
                (3) Parking an "auto" on, or on the ways                                 "Property damage" to:
                     next to, premises you own or rent,                                  (1) Property you own, rent, or occupy;
                     provided the "auto" is not owned by or                              (2) Premises you sell, give away or
                     rented or loaned to you or the insured;                                  abandon, if the "property damage"
                (4) Liability assumed under any "insured                                      arises out of any part of those premises;
                     contract" for the ownership,                                        (3) Property loaned to you;
                     maintenance or use of aircraft or                                   (4) Personal property in the care,
                     watercraft; or                                                           custody or control of the insured;
                (5) "Bodily injury" or "property damage"                                 (5) That particular part of real property on
                     arising out of:                                                          which you or any contractors or
                     (a) The operation of machinery or                                        subcontractors working directly or
                          equipment that is attached to, or                                   indirectly on your behalf are performing
                          part of, a land vehicle that would                                  operations, if the "property damage"
                          qualify under the definition of                                     arises out of those operations; or
                          "mobile equipment" if it were not                              (6) That particular part of any property
                          subject to a compulsory or                                          that must be restored, repaired or
                          financial responsibility law or                                     replaced because "your work" was
                          other motor vehicle insurance or                                    incorrectly performed on it.
                          motor vehicle registration law                                 Other than damage by the Covered Causes
                          where it is licensed or principally                            of Loss provided under Tenants Property
                          garaged; or                                                    Damage Legal Liability, paragraphs (1), (3)
                     (b) The operation of any of the                                     and (4) of this exclusion do not apply to
                          equipment listed in Paragraph                                  "property damage" to premises, including
                          f.(2) or f.(3) of the definition of                            the contents of such premises, rented to
                          "mobile equipment".                                            you for a period of 7 or fewer consecutive
                                                                                         days. A separate limit of insurance applies
                Mobile Equipment
                                                                                         to Tenants Property Damage Legal Liability
                "Bodily injury" or "property damage"                                     as described in Section III. LIMITS OF
                arising out of:                                                          INSURANCE.
                (1) The transportation of "mobile                                        Paragraph (2) of this exclusion does not
                     equipment" by an "auto" owned or                                    apply if the premises are "your work" and
                     operated by or rented or loaned to                                  were never occupied, rented or held for
                     any insured; or                                                     rental by you.
                (2) The use of "mobile equipment" in, or                                 Paragraphs (3), (4), (5) and (6) of this
                     while in practice for, or while being                                exclusion do not apply to liability
                                                                                         assumed under a sidetrack agreement.

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                                                                                                                    PB 00 06 11 14
               Paragraph (6) of this exclusion does,not                            p. Bodily Injury To Any Insured
               apply to "property damage" included in                                 "Bodily injury" to:
               the "prod u cts-completed operations
                                                                                      (1) Any insured, except "volunteer
               hazard".
                                                                                          workers"; or
            k. Damage To Your Product
                                                                                      (2) Any insured wheneverthe ultimate
               "Property damage" to "your product",                                       benefits of any indemnification will
               arising out of it or any part of it.                                       accrue directly or indirectly to any
            I. Damage To Your Work                                                        insured or the heirs of any insured.
               "Property damage" to "your work" arising                            q. Damage To Named Insured's Property
               out of it or any part of it and included in                             Any claim or "suit" for "property damage"
               the "prod ucts-comp leted operations                                    by you or on your behalf against any
               hazard".                                                                other person or organization that is also a
               HOWEVER, this exclusion does not apply                                  Named Insured underthis policy.
               if the damaged work, or the work out of                             r. Abuse or Molestation
               which the damage arises, was performed
                                                                                       "Bodily injury" or "property damage"
               on your behalf by a subcontractor.
                                                                                       arising out of:
            m. Damage To Impaired Property Or
               Property Not Physically Injured                                         (1) The actual or threatened abuse or
                                                                                            molestation by anyone of any person
               "Property damage" to "impaired property"                                     while in the care, custody or control of
               or property that has not been physically                                     any insured, or
               injured, arising out of:
                                                                                       (2) The negligent:
               (1) A defect, deficiency, inadequacy or
                    dangerous condition in "your product"                                   (a) Employment;
                    or "yourwork"; or                                                       (b) Investigation;
               (2) A delay or failure by you or anyone                                      (c) Supervision;
                    acting on your behalf to perform a                                      (d) Reporting to the proper
                    contract or agreement in accordance                                         authorities, or failure to so report;
                    with its terms.                                                             or
               This exclusion does not apply to the loss                                    (e) Retention;
               of use of other property arising out of                                      of a person for whom any insured is
               sudden and accidental physical injury to                                     or ever was legally responsible and
               "your product" or "your work" after it has                                   whose conduct would be excluded by
               been put to its intended use.                                                Paragraph (1) above.
            n. Recall Of Products, Work Or Impaired                                s. Asbestos, Electromagnetic, Lead or
               Property                                                                Radon
               Damages claimed for any loss, cost or                                   "Bodily injury" or "property damage"
               expense incurred by you or others for the                               arising out of:
               loss of use, withdrawal, recall, inspection,
                                                                                       (1) Asbestos including but not limited to
               repair, replacement, adjustment, removal
                                                                                            any injury or damage related to, arising
               or disposal of:
                                                                                            or alleged to have arisen out of any
               (1) "Your product";                                                          use, exposure, existence, detection,
               (2) "Yourwork"; or                                                           removal, elimination, avoidance, act,
               (3) "Impaired property";                                                     error, omission, failure to disclose or
                                                                                            warn of the presence of asbestos or
               if such product, work, or property is
                                                                                            any other duty involving asbestos;
               withdrawn or recalled from the market or
               from use by any person or organization                                    (2) Electromagnetic emissions or
               because of a known or suspected defect,                                       radiation including but not limited to
               deficiency, inadequacy or dangerous                                           any injury or damage related to,
               condition in it.                                                              arising or alleged to have arisen out
                                                                                             of any use, exposure, existence,
            o. Personal And Advertising Injury
                                                                                             detection, removal, elimination,
               "Bodily injury" arising out of "personal and                                  avoidance, act, error, omission,
               advertising injury".                                                          failure to disclose or warn of the

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                      presence of electromagnetic                                       (3) To any obligation to share damages
                      emissions or radiation or any other                                    with or repay someone else who must
                      duty involving electromagnetic                                         pay damages because of the injury.
                      emissions or radiation;                                        u. Fiduciary Responsibility
                  (3) Lead including but not limited to any                             "Bodily injury" or "property damage"
                      injury or damage related to, arising or                           arising out of the ownership, maintenance
                      alleged to have arisen out of any use,                            or use, including all related operations, of
                      exposure, existence, detection,                                   property in relation to which you or any
                      removal, elimination, avoidance, act,                             insured is acting in any fiduciary or
                      error, omission, failure to disclose or                           representative capacity. This exclusion
                      warn of the presence of lead or any                               does not apply if you are; a trust, as
                      other duty involving lead; or                                     described in Section II. WHO IS AN
                  (4) Radon or any other radioactive                                    INSURED.
                      emissions, manmade or natural,                                 v. Professional Services
                      including but not limited to any injury
                                                                                        °Bodily injury" or "property damage" that
                      or damage related to, arising or
                                                                                        arises out of or is a result of the rendering
                      alleged to have arisen out of any use,
                                                                                        of, or failure to render, any professional
                      exposure, existence, detection,
                                                                                        service, treatment, advice or instruction.
                      removal, elimination, avoidance, act,
                                                                                        This exclusion includes, but is not limited
                      error, omission, failure to disclose or
                                                                                        to, any:
                      warn of the presence of radon or any
                      other radioactive emissions or any                                (1) Legal, accounting, insurance, real
                      other duty involving radon or other                                    estate, financial, advertising or
                      radioactive emissions.                                                 consulting service, advice or instruction;
            t.    Employment Practices                                                  (2) Preparing, approving, or failing to
                                                                                             prepare or approve maps, drawings,
                  "Bodily injury" to:                                                        opinions, reports, surveys, change
                  (1) A person arising out of any:                                           orders, designs or specifications;
                      (a) Refusal to employ that person;                                (3) Supervisory, inspection, engineering,
                      (b) Termination of that person's                                       or architectural service, advice or
                           employment; or                                                    instruction;
                      (c) Employment-related practices,                                 (4) Medical, surgical, psychiatric,
                           policies, acts or omissions, such                                 chiropractic, chiropody,
                           as coercion, demotion,                                            physiotherapy, osteopathy,
                           evaluation, reassignment,                                         acupuncture, dental, x-ray, nursing or
                           discipline, defamation,                                           any other health service, treatment,
                           harassment, humiliation or                                        advice or instruction;
                           discrimination directed at that                               (5) Any psychological therapy or any other
                           person; or                                                        counseling or mental health service,
                  (2) The spouse, child, parent, brother or                                  treatment, advice or instruction;
                      sister of that person as a                                         (6) Any service, treatment, advice or
                      consequenceof "bodily injury" to that                                  instruction for the purpose of
                      person at whom any of the                                              appearance or skin enhancement,
                      employment-related practices                                           hair removal or replacement or
                      described in Paragraphs (a), (b), or                                   personal grooming, including but not
                      (c) above is directed.                                                 limited to cosmetology, tonsorial,
                  This exclusion applies:                                                    tattooing, tanning or massage;
                                                                                         (7) Optometry or optical or hearing aid
                  (1) Whether the injury-causing event
                                                                                             service, treatment, advice or
                      described in Paragraphs (a), (b) or (c)
                                                                                             instruction, including the prescribing,
                      above occurs before employment,
                                                                                             preparation, fitting, demonstration or
                      during employment or after
                                                                                             distribution of ophthalmic lenses and
                      employment of that person;
                                                                                             similar products or hearing aid devices;
                  (2) Whetherthe insured may be liable as                                (g) Ear or other body piercing service,
                      an employer or in any other capacity;
                                                                                             treatment, advice or instruction; or
                      and

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                                                                                                                     PB 00 0611 14
                (9) Service, treatment, advice or                                     Damages arising out of the loss of, loss of
                     instruction in the practice of pharmacy.                         use of, damage to, corruption of, inability
                (10)Electronic data processing, computer                              to access, or inability to manipulate
                     consulting or computer programming                               electronic data.
                     services, advice or instruction.                                 As used in this exclusion, electronic data
                This exclusion applies even if the claims                             means information, facts or computer
                allege negligerice or other wrongdoing in                             programs stored as or on, created or
                the supervision, hiring, employment,                                  used on, or transmitted to or from
                training or monitoring of others by an                                computer software (including systems ~
                insured, if the "occurrence" which caused                             and applications software), on hard or
                the "bodily injury" or "property damage"                              floppy disks, CD-ROMs, tapes, drives,
                involved the rendering or failure to render                           cells, data processing devices or any ,
                of any professional service.                                          other repositories of computer software
                                                                                      which are used with electronically
            w. Testing, Evaluating or Consulting
                                                                                      controlled equipment. The term computer
                "Bodily injury" or "property damage"                                  programs, referred to in the foregoing
                arising out of:                                                       description of electronic data, means a
                (1) An error, omission, defect or                                     set of related electronic instructions which
                     deficiency:                                                      direct the operations and functions of a
                     (a) In any test performed, or any                                computer or device connected to it, which
                          evaluation, consultation or advice                          enable the computer or device to receive,
                          given by or on behalf of you or                             process, store, retrieve or send data.
                          any insured; or                                             However, this exclusion does not apply to
                     (b) In experimental data or the                                  liability for damages because of "bodily
                          insured's interpretation of that                            injury".
                          data.
                                                                               3. TENANTS PROPERTY DAMAGE LEGAL
                (2) The reporting of or reliance upon any                          LIABILITY
                     such test, evaluation, consultation or
                     advice.                                                       Certain Exclusions Not Applicable
            x. Recording And Distribution Of Material                               Exclusions c. through n., p., q., r., t., u., v. and
                Or Information In Violation Of Law                                  w. do not apply to "property damage" to
                                                                                    premises while rented to you or temporarily
                "Bodily injury" or "property damage"                                occupied by you with permission of the owner, if
                arising directly or indirectly out of any                           such "property damage" arises out of a Covered
                action or omission that violates or is                              Cause Of Loss provided underthe
                alleged to violate:                                                 BUSINESSOWNERS PROPERTY COVERAGE
                (1) The Telephone Consumer Protection                               FORM. A separate limit of insurance, called
                     Act (TCPA), including any amendment                            Tenants Property Damage Legal Liability Limit,
                     of or addition to such law;                                    applies to this coverage as described in Section
                (2) The CAN-SPAM Act of 2003,                                       III. LIMITS OF INSURANCE.
                     including any amendment of or
                     addition to such law;                                B. COVERAGE B— PERSONAL AND
                (3) The Fair Credit Reporting Act                             ADVERTISING INJURY LIABILITY
                     (FCRA), and any amendment of or                          1. INSURING AGREEMENT
                     addition to such law, including the                            a. We will pay those sums up to the
                      Fair and Accurate Credit Transaction                              applicable Limit of Insurance that the
                     Act (FACTA); or                                                    insured becomes legally obligated to pay
                (4) Any federal, state or local statute,                                as damages because of "personal and
                     ordinance or regulation, other than the                            advertising injury" to which this insurance
                     TCPA, CAN-SPAM Act of 2003 or                                      applies. We will have the right and duty to
                     FCRA and their amendments and                                      defend the insured against any "suit"
                     additions, that addresses, prohibits or                            seeking those damages for which there is
                     limits the printing, dissemination,                                coverage under this policy.
                     disposal, collecting, recording, sending,                          HOWEVER, we will have no duty to
                     transmitting, communicating or                                     defend the insured against any "suit"
                     distribution of material or information.                           seeking damages for "personal and
            y. Electronic Data
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                advertising injury" to which this insurance                              For which the insured has assumed liability
                does not apply.                                                          in a contract or agreement. HOWEVER,
                We may, at our sole discretion,                                          this exclusion does not apply to liability for
                investigate any offense and settle any                                   damages that the insured would have in the
                claim or "suit" that may result. But:                                    absence of the contract or agreement.
                (1) The amount we will pay for damages                              f.   Breach of Contract
                      is limited as described in Section III.                          Arising out of a breach of contract, except
                     LIMITS OF INSURANCE; and                                          an implied contract to use another's
                (2) Our right and duty to defend end                                   advertising idea in your "advertisement".
                     when we have used up the applicable                            g. Quality Or Performance Of Goods —
                      limit of insurance in the payment of                             Failure To Conform To Statements
                      judgments or settlements under                                   Arising out of the failure of goods,
                      COVERAGES A or B or medical                                      products or services to conform with any
                      expenses under COVERAGE C.                                       statement of quality or perFormance made
                No other obligation or liability to pay sums                           in your "advertisement".
                or perform acts or services is covered                              h. Wrong Description Of Price
                unless explicitly provided for under
                                                                                       Arising out of the wrong description of the
                SUPPLEMENTARY PAYMENTS —
                                                                                       price of goods, products or services
                COVERAGES A AND B.
                                                                                       stated in your "advertisement".
            b. This insurance applies to "personal and
                                                                                    i. Infringement Of Copyright, Patent,
                advertising injury" caused by an offense
                                                                                       Trademark Or Trade Secret
                arising out of your business but only if the
                offense was committed in the "coverage                                 Arising out of the infringement of copyright,
                territory" during the policy period.                                   patent, trademark, trade secret or other
                                                                                       intellectual property rights. Under this
            EXCLUSIONS
                                                                                       exclusion, such other intellectual property
            This insurance, including any duty we have to                              rights do not include the use of another's
            defend "suits", does not apply to personal and                             advertising idea in your "advertisement."
            advertising injury:
                                                                                       HOWEVER, this exclusion does not apply
            a. Knowing ViolationOf RightsOf Another                                    to infringement, in your "advertisement",
                Caused by or at the direction of the insured                           of copyright, trade dress or slogan.
                with the knowledge that the act would                               j. Insureds In Media And Internet Type
                violate the rights of another and would                                Business
                inflict "personal and advertising injury".
                                                                                       Committed by an insured whose business is:
            b. Material Published With Knowledge Of
                                                                                         (1) Advertising, broadcasting, publishing
                Falsity
                                                                                              or telecasting.
                Arising out of oral or written publication of
                                                                                         (2) Designing or determining content of
                material, if done by or at the direction of
                                                                                              web-sites for others; or
                the insured with knowledge of its falsity.
                                                                                         (3) An Internet search, access, content
            c. Material Pu blis hed Prior To PolicyPeriod                                     or service provider.
               Arising out of oral or written publication of                             HOWEVER, this exclusion does not apply
               material whose first publication took place                               to Paragraphs a., b. and c. of the
               before the beginning of the policy period.                                definition of "personal and advertising
            d. Criminal Act                                                              injury" under Section V. DEFINITIONS.
               Arising out of a criminal act committed by                           k.    ElectronicChatroomsOr Bulletin Boards
               or at the direction of any insured or a
                                                                                         Arising out of an electronic chatroom or
               criminal act committed by another for
                                                                                         bulletin board the insured hosts, owns or
               which any insured is held to be
                                                                                         over which the insured exercises control.
               vicariously liable.
                                                                                    I.   Unauthorized Use Of Another's Name
               HOWEVER, this exclusion does not apply
                                                                                         Or Product
               to "personal injury" resulting from the use
               of reasonable force to protect persons or                                 Arising out of the unauthorized use of
               property.                                                                 another's name or product in your e-mail
                                                                                         address, domain name or metatags, or
            e. Contractual Liability

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                                                                                                                     PB 00 0611 14
               any other similar tactics to mislead                                    (4) Any federal, state or local statute,
               another's potential customers.                                              ordinanceor regulation, otherthan the
            m. Pollution                                                                   TCPA, CAN-SPAM Act of 2003 or
                                                                                           FCRA and their amendments and
               Arising out of the actual, alleged or
                                                                                           additions, that addresses, prohibits or
               threatened discharge, dispersal,
                                                                                           limits the printing, dissemination,
               seepage, migration, release or escape of                                    disposal, collecting, recording, sending,
               "pollutants" at any time.                                                   transmitting, communicating or
            n. Pollution-Related                                                           distribution of material or information.
               With respect to any loss, cost or expense                            q. Laws
               arising out of any:
                                                                                       Any liability or legal obligation of any
               (1) Request, demand or order that any                                   insured arising out of any of the following:
                    insured or others test for, monitor, clean
                                                                                       (1) Anyfederal, state, county, municipal
                    up, remove, contain, treat, detoxify or
                                                                                           or local law, ordinance, order,
                    neutralize, or in any way respond to, or
                                                                                           directive or regulation barring
                    assess the effects of, "pollutants"; or
                                                                                           discrimination, including but not
               (2) Claim or "suit" by or on behalf of a                                    limited to those based on race, color,
                    governmental authority for damages                                     national origin, ancestry, citizenship,
                    because of testing for, monitoring,                                    gender, sexual orientation, marital
                    cleaning up, removing, containing,                                     status, parenthood, religion or
                    treating, detoxifying or neutralizing, or                              religious belief, age, economic status,
                    in any way responding to, or                                           income, medical condition, pregnancy,
                    assessing the effects of, "pollutants".                                or mental or physical disability;
            o. War                                                                     (2) Any workers' compensation,
               However caused, arising, directly or                                        unemployment compensation,
               indirectly, out of:                                                         disability benefits law, or any other
               (1) War, including undeclared or civil                                      statutory benefits law;
                    war;                                                               (3) The Migrant and Seasonal
               (2) Warlike action by a military force,                                     Agricultural Worker Protection Act;
                    including action in hindering or                                   (4) Any state, federal or governmental
                    defending against an actual or                                         antitrust statute or regulation, including
                    expected attack, by any government,                                     but not limited to the Racketeer
                    sovereign or other authority using                                      Influenced and Corrupt Organizations
                    military personnel or other agents; or                                 Act (RICO), the Securities Act of 1933,
                (3) Insurrection, rebellion, revolution,                                    the Securities ExchangeAct of 1934,
                    usurped power, or action taken by                                       or any state Blue Sky law;
                    government authority in hindering or                               (5) The Employees' Retirement Income
                    defending against any of these.                                        Security Act (E.R.I.S.A.) of 1974; or
                Recording and Distribution Of Material                                 (6) Any other similar statutes, ordinances,
                In Violation Of Law                                                         orders, directives or regulations;
                Arising directly or indirectly out of any                           r. Abuse or Molestation
                action or omission that violates or is                                 Arising out of:
                alleged to violate:                                                    (1) The actual or threatened abuse or
                (1) The Telephone Consumer Protection                                       molestation by anyone of any person
                    Act (TCPA), including any amendment                                     while in the care, custody or control of
                    of or addition to such law;                                             any insured, or
                (2) The CAN-SPAM Act of 2003,                                          (2) The negligent:
                    including any amendment of or
                                                                                            (a) Employment;
                    addition to such law;
                                                                                            (b) Investigation;
                (3) The Fair Credit Reporting Act
                    (FCRA), and any amendmentof or                                          (c) Supervision;
                    addition to such law, including the                                     (d) Reporting to the proper
                    Fair and Accurate Credit Transaction                                         authorities, or failure to so report;
                    Act (FACTA); or                                                              or

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                      (e) Retention;                                                         existence, detection, removal,
                      of a person for whom any insured is                                    elimination, avoidance, act, error,
                      or ever was legally responsible and                                    omission, failure to disclose or warn of
                      whose conduct would be excluded by                                     the presence of electromagnetic
                      Paragraph (1) above;                                                   emissions or radiation or any other duty
                                                                                             involving electromagnetic emissions or
            s.    Employment Practices
                                                                                             radiation;
                  To:                                                                    (3) Lead including but not limited to any
                  (1) A person arising out of any:                                           injury or damage related to, arising or
                      (a) Refusal to employ that person;                                     alleged to have arisen out of any use,
                      (b) Termination of that person's                                        exposure, existence, detection,
                            employment; or                                                    removal, elimination, avoidance, act,
                                                                                              error, omission, failure to disclose or
                      (c) Employment-related practices,                                       warn of the presence of lead or any
                            policies, acts or omissions, such                                 other duty involving lead; or
                            as coercion, demotion,
                            evaluation, reassignment,                                    (4) Radon or any other radioactive
                            discipline, defamation,                                           emissions, manmade or natural,
                            harassment, humiliation or                                        including but not limited to any injury
                            discrimination directed at that                                   or damage related to, arising or
                            person; or                                                        alleged to have arisen out of any use,
                                                                                              exposure, existence, detection,
                  (2) The spouse, child, parent, brother or
                                                                                              removal, elimination, avoidance, act,
                      sister of that person as a
                                                                                              error, omission, failure to disclose or
                      consequenceof "personal and
                                                                                              warn of the presence of radon or any
                      advertising injury to that person at
                                                                                              other radioactive emissions or any
                      whom any of the employment-related
                                                                                              other duty involving radon or other
                       practices described in Paragraphs
                                                                                              radioactive emissions;
                       (a), (b), or (c) above is directed.
                                                                                      u. Fiduciary Responsibility
                  This exclusion applies:
                                                                                         That arises out of the ownership,
                  (1) Whether the injury-causing event
                                                                                         maintenance or use, including all related
                      described in Paragraphs (a), (b) or (c)
                                                                                         operations, of property in relation to which
                      above occurs before employment,
                                                                                         you or any insured is acting in any
                      during employment or after
                                                                                         fiduciary or representative capacity This
                      employmentof that person;
                                                                                         exclusion does not apply if you are; a
                  (2) Whether the insured may be liable as                               trust, as described in Section II. WHO IS
                      an employer or in any other capacity;                              AN INSURED.;
                      and
                                                                                      v. Professional Services
                  (3) To any obligation to share damages
                                                                                         That arises out of or is a result of the
                      with or repay someone else who must
                                                                                         rendering of, or failure to render, any
                      pay damages because of the injury;
                                                                                         professional service, treatment, advice or
            t.    Asbestos, Electromagnetic, Lead or                                     instruction. This exclusion includes, but is
                  Radon                                                                  not limited to any:
                  Arising out of:                                                        (1) Legal, accounting, insurance, real
                  (1) Asbestos including but not limited to                                   estate, financial, advertising or
                       any injury or damage related to, arising                               consulting service, advice or
                       or alleged to have arisen out of any                                    instruction;
                       use, exposure, existence, detection,                                (2) Preparing, approving, or failing to
                       removal, elimination, avoidance, act,                                    prepare or approve maps, drawings,
                       error, omission, failure to disclose or                                 opinions, reports, surveys, change
                       warn of the presence of asbestos or                                     orders, designs or specifications;
                       any other duty involving asbestos;                                  (3) Supervisory, inspection, engineering,
                  (2) Electromagnetic emissions or radiation                                   or architectural service, advice or
                       including but not limited to any injury or                               instruction;
                       damage related to, arising or alleged to                            (4) Medical, surgical, psychiatric,
                       have arisen out of any use, exposure,                                   chiropractic, chiropody,

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                                                                                                                     PB 00 0611 14
                    physiotherapy, osteopathy,                                 1. INSURING AGREEMENT
                    acupuncture, dental, x-ray, nursing or                        a. We will pay medical expenses as
                    any other health service, treatment,                              described below for "bodily injury" caused
                    advice or instruction;                                            by an accident:
                (5) Any psychological therapy or any                                  (1) On premises you own or rent;
                    other counseling or mental health
                                                                                      (2) On ways next to premises you own or
                    service, treatment, advice or
                                                                                          rent; or
                    instruction;
                                                                                      (3) Because of your operations;
               (6) Any service, treatment, advice or
                    instruction for the purpose of                                    provided that:
                    appearanceor skin enhancement,                                    (1) The accident takes place in the
                    hair removal or replacement or                                         "coverage territory" and during the
                    personal grooming, including but not                                   policy period;
                    limited to cosmetology, tonsorial,                                (2) The expenses are incurred and
                    tattooing, tanning or massage.                                         reported to us within one year of the
               (7) Optometry or optical or hearing aid                                     date of the accident; and
                    service, treatment, advice or                                     (3) The injured person submits to
                    instruction, including the prescribing,                                examination, at our expense, by
                    preparation, fitting, demonstration or                                 physicians of our choice as often as
                    distribution of ophthalmic lenses and                                  we reasonably require.
                    similar products or hearing aid                               b. We will make these payments regardless
                    devices;
                                                                                      of fault. These payments will not exceed
               (8) Ear or other body piercing service,                                the applicable limit of insurance. We will
                     treatment, advice or instruction; or                             pay reasonable expensesfor:
               (9) Service, treatment, advice or                                      (1) First aid administered at the time of
                    instruction in the practice of                                         an accident;
                    pharmacy; or                                                      (2) Necessary medical, surgical, x-ray
               (10)Electronic data processing, computer                                    and dental services, including
                    consulting or computer programming                                     prosthetic devices; and
                    services, advice or instruction.                                  (3) Necessary ambulance, hospital,
               This exclusion applies even if the claims                                   professional nursing and funeral
               allege negligence or other wrongdoing in                                    services.
               the supervision, hiring, employment,                            2. EXCLUSIONS
               training or monitoring of others by an
               insured, if the offense which caused the                           We will not pay expenses for "bodily injury":
               "personal and advertising injury" involved                         a. Any Insured
               the rendering or failure to render of any                              To any insured, except "volunteer
               professional service.                                                  workers".
            w. Testing, Evaluation or Consulting                                  b. Hired Person
               Arising out of:                                                        To a person hired to do work for or on
               (1) An error, omission, defect or                                      behalf of any insured or a tenant of any
                     deficiency:                                                      insured.
                    (a) In any test performed, or any                             c. Injury On Normally Occupied Premises
                          evaluation, consultation or advice                          To a person injured on that part of
                          given by or on behalf of you or                             premises you own or rent that the person
                          any insured; or                                             normally occupies.
                     (b) In experimental data or the                              d. Workers Compensation And Similar
                          insured's interpretation ofthat                             Laws
                          data.                                                       To a person, whether or not an
               (2) The reporting of or reliance upon any                               employee of any insured, if benefits for
                     such test, evaluation, consultation or                           the bodily injury are payable or must be
                     advice.                                                          provided under a workers' compensation
                                                                                      or disability benefits law or a similar law.
    C. COVERAGE C— MEDICAL PAYMENTS

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            e. Athletic Activities                                                  a party to the "suit", we will defend that
               To a person injured while practicing,                                indemnitee if all of the following conditions are
               instructing or participating in any physical                         met:
               exercises or games, sports or athletic                               a. The "suit" against the indemnitee seeks
               contests.                                                                damages for which the insured has
            f. Prod u cts-Completed Operations                                          assumed the liability of the indemnitee in
               Hazard                                                                   a contract or agreement that is an
                                                                                        "insured contract";
               Included within the "products-completed
               operations hazard".                                                  b. This insurance applies to such liability
                                                                                        assumed by the insured;
            g. Coverage A Exclusions
                                                                                    c. The obligation to defend, or the cost of
               Excluded under COVERAGE A.                                               the defense of, that indemnitee, has also
    D. SUPPLEMENTARY PAYMENTS —                                                         been assumed by the insured in the same
       COVERAGES A AND B                                                                "insured contract";
       1. We will pay, with respect to any claim we                                 d. The allegations in the "suit" and the
          investigate or settle, or any "suit" against an                               information we know about the
          insured we defend:                                                            "occurrence" are such that no conflict
          a. AII expenses we incur.                                                     appears to exist between the interests of
                                                                                        the insured and the interests of the
          b. Up to $250 for cost of bail bonds required                                 indemnitee;
              because of accidents or traffic law
              violations arising out of the use of any                              e. The indemnitee and the insured ask us to
              vehicle to which the Bodily Injury Liability                              conduct and control the defense of that
              Coverage applies. We do not have to                                       indemnitee against such "suit" and agree
              furnish these bonds.                                                      that we can assign the same counsel to
                                                                                        defend the insured and the indemnitee;
          c. The cost of bonds to release                                               and
              attachments, but only for bond amounts
              within the applicable limit of insurance.                             f. The indemnitee:
              We do not have to furnish these bonds.                                    (1) Agrees in writing to:
          d. AII reasonable expenses incurred by the                                         (a) Cooperate with us in the
               insured at our requestto assist us in the                                         investigation, settlement or
              investigation or defense of the claim or                                           defense of the "suit";
              "suit", including actual loss of earnings up                                   (b) Immediately send us copies of
              to $250 a day because of time off from                                             any demands, notices,
              work.                                                                              summonses or legal papers
          e. AII court costs taxed against the insured in                                        received in connection with the
              the "suit". HOWEVER, these payments do                                             "suit";
              not include attorneys' fees or attorneys'                                      (c) Notify any other insurer whose
              expensestaxed againstthe insured.                                                  coverage is available to the
          f. Prejudgment interest awarded against the                                            indemnitee; and
              insured on that part of the judgment we                                        (d) Cooperate with us with respect to
              pay. If we make an offer to pay the                                                coordinating other applicable
              applicable limit of insurance, we will not                                         insurance available to the
              pay any prejudgment interest based on                                              indemnitee; and
              that period of time after the offer.                                      (2) Provides us with written authorization
          g. AII interest on the full amount of any                                          to:
              judgmentthat accrues after entry of the                                        (a) Obtain records and other
              judgment and before we have paid,                                                  information related to the "suit";
              offered to pay, or deposited in court the                                          and
              part of the judgment that is within the
                                                                                             (b) Conduct and control the defense
              applicable limit of insurance.
                                                                                                 of the indemnitee in such "suit".
          These payments will not reduce the limits of
                                                                                    So long as the above conditions are met,
          insurance.
                                                                                    attorneys' fees incurred by us in the defense
       2. If we defend an insured against a"suit" and                               of that indemnitee, necessary litigation
          an indemnitee of the insured is also named as                             expenses incurred by us and necessary
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                                                                                                                     PB 00 06 11 14
            litigation expenses incurred by the indemnitee                              partnership, joint venture or limited liability
            at our request will be paid as Supplementary                                company) or your managers (if you are a
            Payments. Notwithstanding the provisions of                                 limited liability company), but only for acts
            Paragraph 2.b.(2) of Section I. COVERAGE,                                   within the scope of their employment by
            A. COVERAGE A— BODILY INJURY AND                                            you or while performing duties related to
            PROPERTY DAMAGE LIABILITY, such                                             the conduct of your business.
            payments will not be deemed to be damages                                   HOWEVER, none of these "employees"
            for "bodily injury" and "property damage" and                               or "volunteer workers" is an insured for:
            will not reduce the limits of insurance.
                                                                                        (1) "Bodily injury" or "personal and
            Our obligation to defend an insured's                                            advertising injury":
            indemnitee and to pay for attorneys' fees and
                                                                                             (a) To you, to your partners or
            necessary litigation expenses as
                                                                                                 members (if you are a partnership
            Supplementary Payments ends when:                                                    orjoint venture), to your members
            a. We have used up the applicable limit of                                           (if you are a limited liability
                  insurance in the payment of judgments or                                       company), or to a co-"employee"
                  settlements; or                                                                while in the course of his or her
            b. The conditions set forth above, or the                                            employment or perForming duties
                  terms of the agreement described in                                            related to the conduct of your
                  Paragraph f. above, are no longer met.                                         business, or to your other
                                                                                                 "volunteer workers" while
    II. WHO IS AN INSURED                                                                        performing duties related to the
        1. If you are:                                                                           conduct of your business;
           a. An individual, you and your spouse are                                         (b) To the spouse, child, parent,
                insureds, but only with respect to the                                           brother or sister of that co-
                conduct of a business of which you are                                           "employee" or "volunteer workel"
                the sole owner.                                                                  as a consequenceof Paragraph
           b. A partnership orjoint venture, you are an                                          (1)(a) above;
                insured. Your members, your partners, and                                    (c) For which there is any obligation
                their spouses are also insureds, but only                                        to share damages with or repay
                with respect to the conduct of your business.                                    someone else who must pay
           c. A limited liability company, you are an                                            damages because of the injury
                insured. Your members are also insureds,                                         described in Paragraphs (1)(a) or
                but only with respect to the conduct of                                          (b) above; or
                your business. Your managers are                                             (d) Arising out of his or her providing
                insureds, but only with respectto their                                           or failing to provide professional
                duties as your managers.                                                          health care services.
           d. A trust, you are an insured. Your trustee                                 (2) "Property damage" to property:
                or co-trustees are also insureds, but only                                   (a) Owned, occupied or used by; or
                with respect to their duties as a trustee in
                connection with your property, operations                                    (b) Rented to, in the care, custody or
                and activities.                                                                   control of, or over which physical
                                                                                                  control is being exercised for any
           e. An organization otherthan a partnership,                                            purpose by;
                joint venture or limited liability company,
                                                                                             you, any of your "employees",
                you are an insured. Your "executive
                officers" and directors are insureds, but                                    "volunteer workers", any partner or
                only with respect to their duties as your                                    member (if you are a partnership or
                officers or directors. Your stockholders                                     joint venture), or any member (if you
                are also insureds, but only with respect to                                  are a limited liability company).
                their liability as stockholders.                                   b. Any person (other than your "employee"
        2. Each of the following is also an insured:                                  or "volunteer workel"), or any
                                                                                      organization while acting as your real
           a. Your "volunteer workers" only while                                     estate manager.
                perForming duties related to the conduct of
                your business, or your "employees", other                          c. Any person or organization having proper
                than either your "executive officers" (if you                         temporary custody of your property if you
                are an organization other than a                                      die, but only:

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    PB 00 06 11 1.4
                 (1) With respect to liability arising out of                          HOWEVER, their status as additional
                      the maintenance or use of that                                   insured under this policy ends when you
                      property; and                                                    cease to co-own such premises with that
                 (2) Until your legal representative has                               person or organization.
                      been appointed.                                               b. Controlling Interest
            d. Your legal representative if you die, but                               Any person or organization that has a
                 only with respect to duties as such. That                             controlling interest in you is an additional
                 representativewill have all your rights                               insured, but only with respect to liability
                 and duties underthis policy.                                          arising out of:                            I
        3. Any organization you newly acquire or form,                                 (1) Their financial control of you; or I
            other than a partnership, joint venture or                                 (2) Their ownership, maintenance or ;
            limited liability company, and over which you                                    control of premises you lease or
            maintain ownership or majority interest, will                                   occupy;
            qualify as a Named Insured if there is no other
                                                                                       subject to the following additional
            similar insurance available to that
                                                                                       exclusion:
            organization.
                                                                                       This insurance, including any duty we
            HOWEVER:
                                                                                       have to defend "suits", does not apply to
            a. Coverage underthis provision is afforded                                structural alterations, new construction or
                 only until the 90th day after you acquire                             demolition operations performed by or for
                 or form the organization or the end of the                            such person or organization.
                  policy period, whichever is earlier;                                 HOWEVER, their status as additional
            b. COVERAGE A does not apply to "bodily                                    insured under this policy ends when they
                 injury" or "property damage" that occurred                            cease to have such controlling interest in
                  before you acquired or formed the                                    you.
                 organization; and
                                                                                    c. Grantor of Franchise or License
            c. COVERAGE B does not apply to                                            Any person or organization that has
                 "personal and advertising injury" arising                             granted you a franchise or license by
                  out of an offense committed before you
                                                                                       written contract or agreement is an
                  acquired or formed the organization.
                                                                                       additional insured, but only with respect
        4. No person or organization is an insured with                                to their liability as the grantor of a
            respect to the conduct of any current or past                              franchise or license to you.
            partnership, joint venture or limited liability                            HOWEVER, their status as additional
            companythat is not shown as a Named                                        insured under this policy ends when their
            Insured in the Declarations.                                               contract or agreement with you granting
        5. Automatic Additional Insureds                                               the franchise or license ends.
            Any of the following persons or organizations                           d. Lessors of Leased Equipment
             are automatically insureds when you and
                                                                                       Any person or organization from whom
             such person or organization have agreed in a                              you lease equipment by written contract
             written contract or agreementthat such                                    or agreement is an additional insured, but
             person or organization be added as an                                     only with respect to liability for "bodily
             additional insured on your policy providing                               injury", "property damage" or "personal
             general liability coverage.                                               and advertising injury" caused, in whole
            HOWEVER, the irisurance afforded to any of                                 or in part, by your maintenance, operation
            the following additional insureds only applies                             or use of the equipment leased to you by
            to the extent permitted by law and will not be                             that person or organization, subject to the
            broader than that which you are required by                                following additional exclusion:
            the contract or agreement to provide for any                               This insurance, including any duty we
            of the following additional insureds.                                       have to defend "suits", does not apply to
             a. Co-Owners of,lnsured Premises                                          "bodily injury" or "property damage"
                  Any person or organization with whom                                  arising out of, in whole or in part, or results
                  you co-own a premises insured underthis                               from, in whole of in part, the active
                  policy is an additional insured, but only                             negligence of such person or
                  with respect to their liability as the co-                            organization.
                  owner of such premises.

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                                                                                                                      PB 00 06 11 14
               HOWEVER, their status as additional                                         HOWEVER, their status as additional
               insured under this policy ends when their                                   insured under this policy ends when you
               contract or agreement with you for such                                     cease to lease that land.
               leased equipment ends.                                                      State or Political Subdivisions -
            e. Managers or Lessors of Leased                                               Permits Relating to Premises
               Premises                                                                    Any state or political subdivision which
                  Any person or organization from whom                                     has issued a permit in connection with
                  you lease premises is an additional                                      premises insured by this policy which you
                  insured, but only with respect to their                                  own, rent, or control is an additional
                  liability arising out of your use of that part                           insured, but only with respect to the
                  of the premises leased to you, subject to                                following hazards:
                  the following additional exclusion:                                      (1) The existence, maintenance, repair,
                  This insurance, including any duty we                                         construction, erection, or removal of
                  have to defend "suits", does not apply to                                     advertising signs, awnings, canopies,
                  structural alterations, new construction or                                   cellar entrances, coal holes,
                  demolition operations performed by or for                                     driveways, manholes, marquees,
                  such person or organization.                                                  hoistaway openings, sidewalk vaults,
                  HOWEVER, their status as additional                                           street banners, or decoration and
                  insured under this policy ends when you                                       similar exposures;
                  cease to be a tenant of such premises.                                   (2) The construction, erection, or removal
            f.    Mortgagee, Assignee or Receiver                                               of elevators; or
                  Any person or organization who has                                       (3) The ownership, maintenance, or use
                  status as mortgagee, assignee or                                              of any elevators covered by this
                  receiver of your property is an additional                                    insurance.
                  insured, but only with respect to their                                  HOWEVER, their status as additional
                  liability as mortgagee, assignee or                                      insured under this policy ends when the
                  receiver arising out of your ownership,                                  permit ends.
                  maintenance, or use of such premises,                     III. LIMITS OF INSURANCE AND DEDUCTIBLE
                  subject to the following additional
                  exclusion:                                                     1. The Limits of Insurance shown in the
                                                                                     Declarations and the rules below fix the most
                  This insurance, including any duty we                              we will pay regardless of the number of:
                  have to defend "suits", does not apply to
                  structural alterations, new construction or                        a. Insureds;
                  demolition operations performed by or for                          b. Claims made or "suits" brought; or
                  such person or organization.                                       c. Persons or organizations making claims
               HOWEVER, their status as additional                                        or bringing "suits".
               insured under this policy ends when their                         2. General Aggregate Limit of Insurance
               status as mortgagee, assignee or                                      (Other than Products-Completed Operations)
               receiver ends.                                                        The General Aggregate Limit is the most we
            g. Owners or Other Interest from Whom                                    will pay for the sum of:
               Land has been Leased                                                  a. Medical expenses under COVERAGE C;
               Any person or organization from whom you                              b. Damages under COVERAGE A, except
               lease premises is an additional insured, but                               damages because of "bodily injury" or
               only with respect to their liability arising out                           "property damage" included in the
               of your maintenance or use of that part of                                 "products-completed operations hazard";
               the land leased to you, subject to the                                     and
               following additional exclusion:
                                                                                     c. Damages under COVERAGE B.
                  This insurance, including any duty we
                  have to defend "suits", does not apply to                          The General Aggregate Limit applies
                  structural alterations, new construction or                        separately to each of your described
                  demolition operations performed by or for                          premises. For the purposes of this provision,
                  such person or organization.                                       premises means involving the same or
                                                                                     connecting lots, or premises whose
                                                                                     connection is interrupted only by a public


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            street, roadway or waterway, or railroad right-                         If a deductible amount is shown in the Liability
            of-way.                                                                 Declarations, the following provisions apply:
         3. Products-Completed Operations                                           a. If a deductible amount for Property Damage
            Aggregate Limit of Insurance                                                 is shown in the Liability Declarations, any
            The Products-Completed Operations                                            obligation by us underthis policyto pay
            Aggregate Limit is the most we will pay under                                sums on your behalf because of "property
            COVERAGE A for damages because of                                            damage", applies only to sums in excess of
            "bodily injury" and "property damage"                                        the deductible amount shown in the
            included in the "products-completed                                          Declarations for any one "occurrence". ,
            operations hazard".                                                     b. If a deductible amount for Car Wash
        4. Personal and Advertising Injury Limit of                                      Property Damage is shown in the Liability
            Insurance                                                                    Declarations, any obligation by us under this
                                                                                         policy to pay sums on your behalf because
           Subject to paragraph 2. above, the Personal
                                                                                         of "property damage", applies only to sums
           and Advertising Injury Limit is the most we will
                                                                                         in excess of the deductible amount shown in
           pay under COVERAGE B for the sum of all
                                                                                         the Declarations for any one claim.
           damages because of all "personal and
           advertising injury" sustained by any one                                 c. If we pay all or any part of a deductible to
           person or organization.                                                       settle any claim or "suit", upon notification
                                                                                         of such payment by us, you shall
        5. Each Occurrence Limit of Insurance
                                                                                         promptly reimburse us for the amount of
           Subject to paragraph 2. or 3. above,                                          the deductible that has been paid by us.
           whicheverapplies, the Each Occurrence Limit
           is the most we will pay for the sum of:                        IV. LIABILITY CONDITIONS
           a. Damages under COVERAGE A; and                                    The following conditions apply in addition to the
           b. Medical expenses under COVERAGE C                                COMMON POLICY CONDITIONS.
           because of all "bodily injury" and."property                        1. Bankruptcy
           damage" arising out of any one "occurrence".                           Bankruptcy or insolvency of the insured or of
        6. Tenants Property Damage Legal Liability                                the insured's estate will not relieve us of our
           Limit of Insurance                                                     obligations under this policy.
           Subject to paragraph 5. above, the Tenants                          2. Duties In The Event Of Occurrence,
           Property Damage Legal Liability Limit is the                           OfFense, Claim Or Suit
           most we will pay under COVERAGE A for                                  a. You and any insured must see to it that
           damages because of all "property damage" to                                we are notified as soon as practicable of
           premises, while rented to you or temporarily                               an "occurrence" or an offense that may
           occupied by you with permission of the                                     result in a claim. To the extent possible,
           owner, arising out of any one "occurrence".                               notice should include:
        7. Medical Payments Limit of Insurance                                        (1) How, when and where the
           Subject to paragraph 5. above, the Medical                                     "occurrence" or offense took place;
           Payments Limit is the most we will pay under                               (2) The names and addresses of any
           COVERAGE C for all medical expenses                                            injured persons and witnesses; and
           because of "bodily injury" sustained by any                                 (3) The nature and location of any injury
           one person.                                                                      or damage arising out of the
        8. The Limits of Insurance of this policy apply                                     "occurrence" or ofFense.
           separately to each consecutive arinual period                            b. If a claim is made or "suit" is brought
           and to any remaining period of less than 12                                 against any insured, you must:
           months, starting with the beginning of the policy
                                                                                         (1) Immediately record the specifics of
           period shown in the Declarations, unless the                                      the claim or „ suit„ and the date
           policy period is extended after issuance for an                                   received; and
           additional period of less than 12 months. In that
           case, the additional period will be deemed part                               (2) Notify us as soon as practicable.
           of the last preceding period for purposes of                                  You must see to it that we receive written
           determining the Limits of Insurance.                                          notice of the claim or "suit” as soon as
        9. Property Damage Deductible                                                    practicable.
                                                                                    c.   You and any other involved insured must:


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                                                                                                                    PB 00 06 11 14
                (1) Immediately send us copies of any                               in this policy to the first Named Insured, this
                    demands, notices, summonses or                                  insurance applies:
                    legal papers received in connection                             a. As if each Named Insured were the only
                    with the claim or "suit";                                            Named Insured; and
                (2) Authorize us to obtain records and                              b. Separately to each insured againstwhom
                    other information;                                                   claim is made or "suit" is brought.
                (3) Cooperate with us in the investigation                V. DEFINITIONS
                     or settlement of the claim or defense
                     againstthe "suit";                                        The terms "you", "your", "we", "us", "our" and
                (4) . Assist us, upon our request, in the                      "insured" are defined in the Preamble of this
                      enforcement of any right against any                     Coverage Form. The following words or phrases,
                      person or organization that may be                       which appear in quotation marks throughoutthis
                      liable to the insured because of injury                  Coverage Form and any of its endorsements, are
                      or damageto which this insurance                         defined as follows:
                      may also apply; and                                      1. "Advertisement" means a notice that is
                (5) Agree to be examined under oath,                               broadcast or published to the general public
                      while not in the presence of any other                       or specific market segments about your
                      insured and at such times as may be                          goods, products or services for the purpose of
                      reasonably required, about any                               attracting customers or supporters. For the
                      matter relating to this insurance or the                     purposes of this definition:
                      claim or "suit". At our option and                           a. Notices that are published include
                      expense, any examination under oath                               material placed on the Internet or on
                      may be video or audio taped as well                               similar electronic means of
                      as being recorded by stenographic                                 communication; and
                      record. In the event of an                                   b. Regarding websites, only that part of a
                      examination, an insured's answers                                 web-site that is about your goods,
                      must be signed.                                                   products or services for the purposes of
           d. No insured will, except at that insured's                                 attracting customers or supporters is
                own cost, voluntarily make a payment,                                   considered an advertisement.
                assume any obligation, or incur any                            2. "Auto" means:
                expense, other than for first aid, without
                                                                                   a. A land motor vehicle, trailer or semitrailer
                our consent.
                                                                                        designed for travel on public roads,
        3. Legal Action Against Us                                                      including any attached machinery or
           No person or organization has a right under                                  equipment; or
           this policy:                                                            b. Any other land vehicle that is subject to a
           a. To join us as a party or otherwise bring us                               compulsory or financial responsibility law
                into a"suit" asking for damages from an                                 or other motor vehicle insurance or motor
                insured; or                                                             vehicle registration law where it is
           b. To sue us on this policy unless all of its                                licensed or principally garaged.
                terms have been fully complied with.                               HOWEVER, "auto" does not include "mobile
           A person or organization may sue us to                                   equipment".
           recover on an agreed settlement or on a final                       3. "Bodily injury" means bodily injury, sickness
           judgment against an insured; but we will not                             or disease sustained by a person, including
           be liable for damages that are not payable                               death resulting from any of these at any time.
           under the terms of this policy or that are in                       4. "Coverage territory" means:
           excess of the applicable limit of insurance. An
                                                                                    a. The United States of America (including
           agreed settlement means a settlement and
                                                                                        its territories and possessions), Puerto
           release of liability signed by us, the insured
                                                                                        Rico and Canada;
           and the claimant or the claimant's legal
           representative.                                                          b. International waters or airspace, but only
                                                                                        if the injury or damage occurs in the
        4. Separation Of Insureds
                                                                                        course of travel or transportation between
           Exceptwith respectto the Limits of Insurance,                                any places included in paragraph a.
           and any rights or duties specifically assigned                               above; or


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              c.   AII other parts of the world if the injury or                    c. Any easement or license agreement, except
                   damage arises out of:                                                in connection with construction or demolition
                   (1) Goods or products made or sold by                                operations on or within 50 feet of a railroad;
                        you in the territory described in                           d. An obligation, as required by ordinance,
                        paragraph a. above; or                                          to indemnify a municipality, eXcept in
                   (2) The activities of a person whose                                 connection with work for a municipality;
                        home is in the territory described in                       e. An elevator maintenance agreement;
                        paragraph a. above, but is away for a                       f. That part of any other contract or agreement
                        short time on your business; or                                 pertaining to your business (including an
                   (3) "Personal and advertising injury"                                indemnification of a municipality in
                        offenses that take place through the                            connection with work performed for a
                        Internet or similar electronic means of                         municipality) under which you assume the
                        communication;                                                  tort liability of another party to pay for "bodily
                                                                                        injury" or "property damage" to a third
              provided the insured's responsibility to pay                              person or organization. Tort liability means a
              damages is determined in a"suit" on the                                   liability that would be imposed by law in the
              merits, in the territory described in paragraph                           absence of any contract or agreement.
              a. above or in a settlement we agree to.
                                                                                        Paragraph f. does not include that part of
        5.    "Employee" includes a "leased worker".                                    any contract or agreement:
              "Employee" does not include a "temporary
                                                                                        (1) That indemnifies a railroad for "bodily
              worker".
                                                                                              injury" or "property damage" arising
        6.    "Executive officer" means a person holding                                      out of construction or demolition
              any of the officer positions created by your                                    operations, within 50 feet of any
              charter, constitution, by-laws or any other                                     railroad property and affecting any
              similar governing document.                                                     railroad bridge or trestle, tracks, road-
        7.   "Hostile fire" means one which becomes                                           beds, tunnel, underpass or crossing;
              uncontrollable or breaks out from where it                                (2) That indemnifies an architect,
              was intended to be.                                                             engineeror surveyorfor injury or
        8.    "Impaired property" means tangible                                              damage arising out of:
              property, other than "your product" or "your                                    (a) Preparing, approving, or failing to
              work", that cannot be used or is less useful                                         prepare or approve, maps, shop
              because:                                                                             drawings, opinions, reports,
              a. It incorporates "your product" or "your                                           surveys, field orders, change
                   work" that is known or thought to be                                            orders or drawings and
                   defective, deficient, inadequate or                                             specifications; or
                   dangerous; or                                                              (b) Giving directions or instructions,
              b. You have failed to fulfill the terms of a                                         or failing to give them, if that is
                   contract or agreement;                                                          the primary cause of the injury or
              if such property can be restored to use by:                                          damage; or
              a. The repair, replacement, adjustment or                                 (3) Underwhich the insured, if an architect,
                   removal of "your product" or "yourwork"; or                                engineer or surveyor, assumes liability
                                                                                              for an injury or damage arising out of the
              b. Your fulfilling the terms of the contract or
                                                                                              insured's rendering or failure to render
                   agreement.
                                                                                              professional services, including those
        9.    "Insured contract" means:                                                       listed in paragraph (2) above and
              a. A contract for a lease of premises.                                          supervisory, inspection, architectural or
                   HOWEVER, that portion of the contract for a                                engineering activities.
                   lease of premises that indemnifies any                        10 "Leased worker" means a person leased to
                   person or organization for damage by fire to                     you by a labor leasing firm under an
                   premises while rented to you or temporarily                      agreement between you and the labor leasing
                   occupied by you with permission of the                           firm, to perform duties related to the conduct
                   owner is not an "insured contract";                              of your business. "Leased worker" does not
              b. A sidetrack agreement;                                             include a "temporary worker".
                                                                                 11 "Loading or unloading" means the handling
                                                                                    of property:

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                                                                                                                    PB 00 0611 14
            a. After it is moved from the place where it is                              (1) Equipment designed primarily for:
                 accepted for movement into or onto an                                       (a) Snow removal;
                 aircraft, watercraft or "auto";
                                                                                             (b) Road maintenance, but not
            b. While it is in or on an aircraft, watercraft                                      construction or resurfacing; or
                 or "auto"; or
                                                                                             (c) Street cleaning;
            c. While it is being moved from an aircraft,
                                                                                        (2) Air compressors, pumps and
                 watercraft or "auto" to the place where it
                 is finally delivered;                                                       generators, including spraying,
                                                                                             welding, building cleaning,
            but "loading or unloading" does not include                                      geophysical exploration, lighting and
            the movement of property by means of a                                           well servicing equipment; and        '
            mechanical device, other than a hand truck,
                                                                                        (3) Cherry pickers and similar devices;
            that is not attached to the aircraft, watercraft
                                                                                             mounted on automobile or truck chassis
            or "auto".
                                                                                             and used to raise or lower workers.
        12. "Mobile equipment" means any of the
            following types of land vehicles, including any                        HOWEVER, "mobile equipment" does not
            attached machinery or equipment:                                       include land vehicles that are subject to a
                                                                                   compulsory or financial responsibility law or
            a. Bulldozers, forklifts, farm machinery, farm                         other motor vehicle insurance or motor
                 implements and other vehicles designed                            vehicle registration law where they are
                 for use or used principally off public                            licensed or principally garaged. Land vehicles
                 roads. This includes motorized golf carts,                        subject to a compulsory or financial
                 snowmobiles, and other land vehicles                              responsibility law or other motor vehicle
                 designed for recreational use;                                    insurance law or motor vehicle registration
            b. Vehicles maintained for use solely on or                            law are considered "autos".
                 next to premises you own or rent;                             13. "Occurrence" means an accident, including
            c. Vehicles, otherthan snowmobiles, that                               continuousor repeated exposureto substantially
                 travel on crawler treads;                                         the same general harmful conditions.
            d. Vehicles, whether self-propelled or not,                        14. "Personal and advertising injury" means
                 maintained primarily to provide mobility to                       injury, including consequential "bodily injury",
                 permanently mounted:                                              arising out of one or more of the following
                 (1) Powercranes, shovels, loaders,                                offenses:
                       diggers or drills; or                                       a. False arrest, detention or imprisonment;
                 (2) Road construction or resurfacing                                   Malicious prosecution;
                       equipment such as graders, scrapers                         c. The wrongful eviction from, wrongful entry
                       or rollers;                                                      into, or invasion of the right of private
            e. Vehicles not described in paragraphs a.,                                 occupancyof a room, dwelling or
                 b., c. or d. above that are not self-                                  premises that a person occupies,
                 propelled and are maintained primarily to                              committed by or on behalf of its owner,
                 provide mobility to permanently attached                               landlord or lessor;
                 equipment of the following types:                                 d. Oral or written publication, in any manner,
                 (1) Air compressors, pumps and                                         of material that slanders or libels a person
                       generators, including spraying,                                  or organization or disparages a person's or
                      welding, building cleaning,                                       organization's goods, products or services;
                      geophysical exploration, lighting and                        e. Oral or written publication, in any manner,
                      well servicing equipment; or                                      of material that violates a person's right of
                 (2) Cherry pickers and similar devices                                 privacy;
                       used to raise or lower workers;                             f. The use of another's advertising idea in
            f. Vehicles not described in paragraphs a.,                                 your "advertisement"; or
                 b., c. or d. above maintained primarily for                       g. Infringing upon another's copyright, trade
                 purposes other than the transportation of                              dress or slogan in your "advertisement".
                 persons or cargo.
                                                                               15. "Pollutants" mean any solid, liquid, gaseous
                 HOWEVER, self-propelled vehicles with                             or thermal irritant or contaminant, including
                 the following types of permanently                                but not limited to smoke, vapor, soot, fumes,
                 attached equipment are not "mobile                                acids, alkalis, petroleum products and their
                 equipment" but will be considered "autos":

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            derivatives, chemicals and waste. Such                                         unloading" of that vehicle by any
            irritants or contaminants are "pollutants"                                     insured; or
            whether or not they have any function in your                             (2) The existence of tools, uninstalled
            business, operations, premises, sites or                                       equipment or abandoned or unused
            locations.                                                                     materials.
            Waste includes but is not limited to materials                    17. "Property damage" means:
            to be recycled, reconditioned or reclaimed and
                                                                                  a. Physical injury to tangible property,
            livestock, poultry or other animal excrement.
                                                                                      including all resulting loss of use of that
        16. "Products-completed operations hazard":                                   property. AII such loss of use shall be
            a. Includes all "bodily injury" and "property                             deemed to occur at the time of the
               damage" occurring away from premises                                   physical injury that caused it; or
               you own or rent and arising out of "your                           b. Loss of use of tangible property that is not
               product" or "your work" except:                                        physically injured. AII such loss of use
               (1) Products that are still in your physical                           shall be deemed to occur at the time of
                    possession; or                                                    the "occurrence"that caused it.
               (2) Work that has not yet been                                     For the purposes of this insurance, electronic
                    completed or abandoned.                                       data is not tangible property.
                    HOWEVER, "your work" will be                                  As used in this definition, electronic data
                    deemed completed at the earliest of                           means information, facts or programs stored
                    the following times:                                          as, created or used on, or transmitted to or
                    (a) When all of the work called for in                        from computer software, including systems
                        your contract has been                                    and applications software, hard or floppy
                        completed.                                                disks, CD-ROMs, tapes, drives, cells, data
                                                                                  processing devices or any other media which
                    (b) When all of the work to be done                           are used with electronically controlled
                        at the job site has been                                  equipment.
                         completed if your contract calls
                         for work at more than one job                        18. "Suit" means a civil proceeding in which
                         site.                                                    damages because of "bodily injury", "property
                                                                                  damage" or "personal and advertising injury"
                    (c) When that part of the work done                           to which this insurance applies are alleged.
                        at a job site has been put to its                         "Suit" includes:
                        intended use by any person or
                        organization otherthan another                            a. An arbitration proceeding in which such
                                                                                      damages are claimed and to which the
                        contractor or subcontractor
                        working on the same project.                                  insured must submit or does submit with
                                                                                      our consent; or
                    Work that may need service,
                    maintenance, correction, repair or                            b. Any other alternative dispute resolution
                    replacement, but which is otherwise                               proceeding in which such damages are
                                                                                      claimed and to which the insured submits
                    complete, will be treated as completed.
                                                                                      with our consent.
               HOWEVER, if your business includes the
                                                                              19. "Temporary worker" means a person who is
               selling, handling or distribution of "your
                                                                                  furnished to you to substitute for a permanent
               product" for consumption on premises
               you own or rent, all "bodily injury" and                           "employee" on leave or to meet seasonal or
               "property damage" that arises out of "your                         short-term workload conditions.
               products" is included if the "bodily injury"                   20. "Volunteer worker" means a person who is
               or "property damage" occurs after you                              not your "employee", and who donates his or
               have relinquished possession of those                              her work and acts at the direction of and
               products.                                                          within the scope of duties determined by you,
                                                                                  and is not paid a fee, salary or other
            b. Does not include "bodily injury" or
                                                                                  compensation by you or anyone else for their
                "property damage" arising out of:
                                                                                  work performed for you.
                (1) The transportation of property, unless
                                                                              21. "Your product":
                    the injury or damage arises out of a
                     condition in or on a vehicle not owned                       a. Means:
                     or operated by you, and that condition                           (1) Any goods or products, other than
                     was created by the "loading or                                        real property, manufactured, sold,

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                                                                                                                      PB 00 06 11 14

               handled, distributed or disposed of by:                             c.Does not include vending machines or
                    (a) You;                                                         other property rented to or located for the
                                                                                     use of others but not sold.
                   '(b) Others trading under your name;
                        or                                                    22. "Your work":
                    (c) A person or organization whose                             a. Means:
                        business or assets you have                                    (1) Work or operations performed by you
                        acquired; and                                                      or on your behalf; and            i
               (2) Containers (other than vehicles),                                  .(2) Materials, parts or equipment
                    materials, parts or equipment                                          furnished in connection with such
                    furnished in connection with such                                      work or operations.
                    goods or products.                                             b. Includes:                              ~
            b. Includes:                                                               (1) Warranties or representations made
                (1) Warranties or representations made                                        at any time with respect to the fitness,
                    at any time with respect to the fitness,                                quality, durability, performance or use
                    quality, durability, performance or use                                 of "your work"; and
                    of "your product"; and                                              (2) The providing of or failure to provide
                (2) The providing of or failure to provide                                  warnings or instructions.
                    warnings or instructions.



                 AII terms and conditions of this policy apply unless modified by this endorsement.




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      EFFECTIVE DATE: 12:01 AM Standard Time,                                                                  INTERLINE
           (at your principal place of business)                                                           LI 00 21 (01-01)

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                             NUCLEAR ENERGY LIABILITY EXCLUSION
                                                       (BROAD FORM)

      AII Coverage Parts included in this policy that provide Liability Coverage are subject to the following exclusion.

      A.   This insurance does not apply:                                         1) Is at any "nuclear facility" owned
                                                                                       by, or operated by or on behalf of,
           1.   Under any Liability Coverage, to "bodily in-                           an "insured"; or
                jury" or "property damage":
                                                                                  2) Has been discharged or dispersed
                     Wth respect to which an insured under                            therefrom;
                     the policy is also an insured under a
                     nuclear energy liability policy issued                  b.   The "nuclear material" is contained in
                     by Nuclear Energy Liability Insurance                        "spent fuel" or "waste" at any time
                     Association, Mutual Atomic Energy Li-                        possessed, handled, used, processed,
                     ability Underwriters, Nuclear Insurance                      stored, transported or disposed of, by
                     Association of Canada or any of their                        or on behalf of an insured; or
                     successors, or would be an insured
                                                                             c.   The "bodily injury" or "property dam-
                     under any such policy but for its termi-                     age" arises out of the furnishing by an
                     nation upon exhaustion of its limit of                       insured of services, materials, parts or
                     liability; or                                                equipment in connection with the plan-
                b. Resulting from the "hazardous proper-                          ning, construction, maintenance, oper-
                                                                                  ation or use of any "nuclear facility",
                    ties" of "nuclear material" and with re-
                                                                                  but if such facility is located within the
                    spect to which:
                                                                                  United States of America, its territories
                     1) Any person or organization is re-                         or possessions or Canada, this exclu-
                        quired to maintain financial pro-                         sion c. applies only to "property dam-
                                                                                  age" to such "nuclear facility" and any
                        tection pursuant to the Atomic
                                                                                  property thereat.
                        Energy Act of 1954, or any law
                        amendatory thereof; or                     B. As used in this endorsement:
                     2)   The insured is, or had this policy            1.   "Hazardous properties" includes radioac-
                          not been issued would be, entitled                 tive, toxic or explosive properties.
                          to indemnity from the United
                          States of America, or any agency             2.    "Nuclear materiaP' means "source mate-
                          thereof, under any agreement en-                   rial", "special nuclear material" or "by-
                          tered intb by the United States of                 product material".
                          America, or any agency thereof,
                                                                        3.   "Source materiaP', "special nuclear mate-
                          with any person or organization.
                                                                             rial", and "by-product materiaP' have the
           2.   Under any Medical Payments coverage, to                      meanings given them in the Atomic Energy
                                                                             Act of 1954 or in any law ', amendatory
                expenses incurred with respect to "bodily
                                                                             thereof.
                injury" resulting from the "hazardous prop-
                erties" of "nuclear material" and arising out          4.    "Spent fueP' means any fuel element or fuel
                of the operation of a"nuclear facility" by                   component, solid or liquid, which has been
                any person or organization.                                  used or exposed to radiation in a"nuclear
                                                                             reactor".
           3.   Under any Liability Coverage, to "bodily in-
                jury" or "property damage" resulting from               5.   "Waste" means any waste material:
                "hazardous properties" of "nuclear mate-
                rial", if:                                                   a. Containing "by-product material" other
                                                                                 than the tailings or wastes produced
                a. The "nuclear material":                                       by the extraction or concentration of

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                                                                                                     LI 00 21 (01-01)

              uranium or thorium from any ore proc-                        "special nuclear material" if at any
              essed primarily for its "source mate-                        time the total amount of such material
              rial" content; and                                           in the custody of the "insured" at the
                                                                           premises where such equipment or
         b. Resulting from the operation by any                            device is located consists of or con-
             person or organization of any "nuclear                        tains more than 25 grams of plutonium
             facility" included under the first two                        or uranium 233 or any combination
             paragraphs of the definition of "nuclear                      thereof, or more than 250 grams of
             faci I ity".                                                  uranium 235;
    6.   "Nuclear facility" means:                                     d. Any structure, basin, excavation,
                                                                            premises or place prepared or used for
         a.   Any "nuclear reactor";
                                                                           the storage or disposal of "waste";
         b.   Any equipment or device designed or
                                                                       and includes the site on which any of the
              used for:
                                                                       foregoing is located, all operations con-
              1)     Separating the isotopes of ura-                   ducted on such site and all premises used
                     nium or plutonium;                                for such operations.

              2)     Processing or utilizing "spent               7.   "Nuclear reactor" means any apparatus
                     fuel"; or                                         designed or used to sustain nuclear fission
                                                                       in a self-supporting chain reaction or to
              3)     Handling, processing or packaging                 contain a critical mass of fissionable mate-
                     "waste";                                          rial.
         c.   Any equipment or device used for the                8.   "Property damage" includes all forms of ra-
              processing, fabricating or alloying of                   dioactive contamination of property.


                AII terms and conditions of this policy apply unless modified by this endorsement.


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                                                                                                                     BUSINESSOWNERS
                                                                                                                         PB 00 0911 14


                                PREMIER BUSINESSOWNERS
                               COMMON POLICY CONDITIONS
    Various provisions in this policy restrict coverage. Please read the entire policy carefully to determine rights,
    duties and what is and is not covered.
    Throughout this policy the words "you" and "your" refer to the Named Insureds shown in the Declarations. The
    words "we", "us" and "our" refer to the Company providing this insurance.
    AII coverages of this policy are subject to the following conditions.                                                          '

    A. CANCELLATION                                                                        (4) Fixed and salvageable items have
       1. The first Named Insured shown in the                                                 been or are being removed from the
          Declarations may cancel this policy by mailing                                       building and are not being replaced.
          or delivering to us advance written notice of                                        This does not apply to such removal
          cancellation.                                                                        that is necessary or incidental to any
                                                                                               renovation or remodeling.
       2. We may cancel this policy by mailing or
          delivering to the first Named Insured written                                    (5) Failure to:
          notice of cancellation at least:                                                     (a) Furnish necessary heat, water,
          a. Five (5) days before the effective date of                                             sewer service or electricity for 30
               cancellation if any one of the following                                             consecutive days or more, except
               conditions exists at any building that is                                            during a period of seasonal
               Covered Property in this policy;                                                     unoccupancy;or
               (1) The building has been vacant or                                             (b) Pay property taxes that are owing
                   unoccupied 60 or more consecutive                                                and have been outstanding for
                   days. This does not apply to:                                                    more than one year following the
                                                                                                    date due, except that this
                   (a) Seasonal unoccupancy; or
                                                                                                    provision will not apply where you
                   (b) Buildings in the course of                                                   are in a bona fide dispute with the
                       construction, renovation or                                                  taxing authority regarding
                       addition.                                                                    payment of such taxes.
                    Buildings with 65% or more of the                                b. Ten (10) days before the effective date of
                    rental units or floor area vacant or                                   cancellation if we cancel for nonpayment
                    unoccupied are considered                                              of premium.
                    unoccupied under this provision.
                                                                                     c. Thirty (30) days before the effective date
                (2) After damage by a Covered Cause of                                     of cancellation if we cancel for any other
                    Loss, permanent repairs to the                                         reason.
                    building:
                                                                                3.   We will mail or deliver our notice to the first
                    (a) Have not started, and                                        Named Insured's last mailing address known
                    (b) Have not been contracted for,                                to us.
                    within 30 days of initial payment of                       4.    Notice of cancellation will state the effective
                    loss.                                                            date of cancellation. The policy period will end
                (3) The building has:                                                on that date.
                    (a) An outstanding order to vacate;                         5.   If this policy is cancelled, we will send the first
                                                                                     Named Insured any premium refund due. If
                    (b) An outstanding demolition order;
                                                                                     we cancel, the refund will be pro rata. If the
                         or
                                                                                     first Named Insured cancels, the refund may
                    (c) Been declared unsafe by                                      be less than pro rata. The cancellation will be
                         governmental authority.                                     effective even if we have not made or offered
                                                                                     a refund.
                                                                                6.   If notice is mailed, proof of mailing will be
                                                                                     sufficient proof of notice.

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    PB 00 09 11 14
    B. CHANGES                                                                3. Paragraphs 1. and 2. of this condition apply
        1. This policy contains all the agreements                                 not only to us, but also to any rating, advisory,
            between you and us concerning the insurance                            rate service or similar organization which
            afforded.                                                              makes insurance inspections, surveys,
                                                                                   reports or recommendations.
        2. The first Named Insured shown in the
            Declarations is authorized to make changes                        4. Paragraph 2. of this condition does not apply
            in the terms of this policy with our consent.                          to any inspections, surveys, reports or
                                                                                   recommendationswe may make relative to
        3. This policy's terms can be amended or
                                                                                   certification, under state or municipal statutes,
            waived only by endorsement issued by us
                                                                                   ordinances or regulations, of boilers, pressure
            and made a part of this policy.
                                                                                   vessels or elevators.
    C. CONCEALMENT, MISREPRESENTATION OR
                                                                           F. INSURANCE UNDER TWO OR MORE
        FRAUD
                                                                              COVERAGES OF THIS POLICY
        1. This policy is void in its entirety in any case of
                                                                              If two or more of this policy's coverages apply to
            fraud, at any time, by you or your
                                                                              the same injury, loss or damage, we will not pay
            representative as it relates to this policy.
                                                                              more than the actual amount of the injury, loss or
        2. This policy is also void if you, your authorized                   damage, up to the highest applicable Limit of
            representative or any other insured, at any                       Insurance under any one coverage.
            time, conceal or misrepresent any material
                                                                           G. LIBERALIZATION
            fact, or violate any material warranty,
            concerning:                                                       If we adopt any revision that would broaden the
                                                                              coverage underthis policy without additional
          a. This policy, including your application for
                                                                              premium within 60 days prior to or during the
             this policy;
                                                                              policy period, the broadened coverage will
          b. The Covered Property;                                            immediately apply to this policy.
          c. Your interest in the Covered Property; or                     H. OTHERINSURANCE
          d. A claim underthis policy.                                        1. Under any property coverage provided by this
       3. We also have the right to rescind this policy                            policy, if there is other insurance covering the
          based upon any other grounds provided by law                             same loss or damage, we will pay only for the
    D. EXAMINATION OF YOUR BOOKS AND                                               amount of covered loss or damage in excess
       RECORDS                                                                     of the amount due from that other insurance,
                                                                                   whether you can collect on it or not. But we
       We may examine and audit your books and                                     will not pay more than the applicable Limit of
       records as they relate to this policy or to any claim                       Insurance.
       arising under this policy at any time during the
       policy period and up to three years afterward.                         2. Under any liability coverage provided by this
                                                                                   policy,
    E. INSPECTIONS AND SURVEYS
                                                                                   a. If, for injury or loss we cover, there is
       1. We have the right to:                                                         other valid and collectible insurance
            a. Make inspections and surveys at any                                      available to any insured under another
               time;                                                                    policy:
            b. Give you reports on the conditions we                                    (1) Issued by another insurer, or if there
               find; and                                                                     is self insurance or similar risk
            c. Recommend changes.                                                            retention that applies to a loss
                                                                                             covered by this policy, then this
            We are not obligated to make any inspections,
                                                                                             insurance provided by us shall be
            surveys, reports or recommendations and any
                                                                                             excess over such other insurance; or
            such actions we do undertake relate only to
            insurability and the premiums to be charged.                                   (2) Issued by us or any of our affiliate
            We do not make safety inspections. We do not                                       companies, that applies to a loss
            undertake to perform the duty of any person or                                     covered by this policy, then only the
            organization to provide for the health or safety                                   highest applicable Limit of Insurance
            of workers or the public. And we do not                                            shall apply to such loss. This
            warrant that conditions:                                                           condition does not apply to any policy
            a. Are safe or healthful; or                                                       issued by us that is designed to
                                                                                               provide Excess or Umbrella liability
            b. Comply with laws, regulations, codes or                                         insurance.
                standards.

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                                                                                                                    PB 00 0911 14
            b. This insurance, if applicable, is also                                  If any of the other insurance does not
                excess, whetherthat other insurance is                                 permit contribution by equal shares, we
                primary, excess, contingent or provided                                will contribute by limits. Under this
                on any other basis:                                                    method, each insurer's share is based on
                (1) Over any applicable property insurance                             the ratio of its applicable limit of insurance
                     or other insurance that insures for                               to the total applicable limits of insurance
                     direct physical loss or damage;                                   of all insurers.
                (2) Over any valid and collectible                       I. , PREMIUMS
                     insurance available to you covering                      1. The first Named Insured shown in the
                     liability for damages arising out of the                     Declarations:
                     premises or operations for which you                         a. Is responsible for the payment of all
                     have been added as an additional                                  premiums; and
                     insured; or
                                                                                  b. Will be the payee for any return premiums
                (3) If the loss arises out of the                                      we pay.
                     maintenance or use of aircraft,
                                                                              2. The premium shown in the Declarations was
                     "autos" or watercraft to the extent not
                                                                                  computed based on rates in effect at the time
                     subject to Exclusion g. under Section
                                                                                  the policy was issued. On each renewal of
                     I. COVERAGES, COVERAGE A —
                                                                                  this policy, we will compute the premium in
                     BODILY INJURY AND PROPERTY
                                                                                  accordancewith our rates and rules then in
                     DAMAGE LIABILITY of the Liability
                                                                                  effect.
                     Coverage Form.
                                                                              3. Undeclared exposures or changes in your
            c. When this insurance is excess, we will                             business operation and acquisition or use of
                have no duty underthe liability coverage                          locations may occur during the policy period
                provided by this policy to defend any                             that are not shown in the Declarations. If so,
                insured against any claim or "suit" that                          we may require an additional premium. That
                any other insurer has a duty to defend. If                        premium will be determined in accordance
                no other insurer defends, we will
                                                                                  with our rates and rules in effect at the
                undertake to do so, but we will be entitled
                                                                                  inception of such policy.
                to any insured's rights against all those
                other insurers.                                               PREMIUM AUDIT
                When this insurance is excess over other                      1. We have the right but are not obligated to
                insurance, we will pay only our share of                          audit this policy. The first Named Insured
                the amount of the Ioss, if any, that                              must keep records of the information we need
                exceeds the sum of:                                               for premium computation, and send us copies
                                                                                  of those records at such times as we may
                (1) The total amount that all such other
                                                                                  request.
                     insurance would pay for the loss in
                     the absence of this insurance; and                       2. If we do audit your policy, at the close of that
                                                                                  audit period, we will compute the earned
                (2) The total of all deductible and self-                         premium for that period and the final premium
                     insured amounts under all that other                         due based upon your actual exposures.
                     Insurance.
                                                                              3. We will send notice to the first Named Insured
                We will share the remaining loss, if any,                         after the audit has been completed. The due
                with any other insurancethat is not                               date for audit and retrospective premiums is
                described in this provision and was not                           the date shown as the due date on the bill. If
                bought specifically to apply in excess of                         the sum of the advance and audit premiums
                the Limits of Insurance shown in the                              paid for the policy period is greaterthan the
                Declarations of this policy.                                      earned premium, we will return the excess to
            d. Method Of Sharing                                                  thefirst Named Insured.
                If all of the other insurance permits
                contribution by equal shares, we will
                follow this method also. Under this
                approach each insurer contributes equal
                amounts until it has paid its applicable
                limit of insurance or none of the loss
                remains, whichever comes first.


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    K. TRANSFER OF RIGHTS OF RECOVERY                                           2. Applicable to Businessowners Liability
       AGAINST OTHERS TO US                                                         Coverage:
       1. Applicable to Businessowners Property                                     If the insured has rights to recover all or part
          Coverage:                                                                 of any paymentwe have made underthis
          If any person or organization to or for whom                              policy, those rights are transferred to us. The
          we make payment under this policy has rights                              insured must do nothing after loss to impair
          to recover damages from another, those                                    them. At our request, the insured will bring
          rights are transferred to us to the extent of our                         "suit" or transfer those rights to us and help
          payment. That person or organization must                                 us enforce them. This condition does not '
          do everything necessaryto secure our rights                               apply to Medical Payments Coverage.
          and must do nothing after loss to impair them.                            HOWEVER, in the event of any payment ,
          But you may waive your rights against                                     under this policy, we waive our right of
          another party in writing:                                                 recovery or subrogation against any person or
          a. Prior to a loss to your Covered Property.                              organization with respect to which you have
                                                                                    waived your right of recovery or subrogation
          b. After a loss to your Covered Property only                             in writing and prior to a loss.
               if, at time of loss, that party is one of the
               following:                                                       TRANSFER OF YOUR RIGHTS AND DUTIES
                                                                                UNDER THIS POLICY
               (1) Someone insured by this insurance;
                                                                                1. Your rights and duties under this policy may
               (2) A business firm:                                                 not be transferred without our written consent
                     (a) Owned or controlled by you; or                             except in the case of death of an individual
                     (b) That owns or controls you; or                              Named Insured.
               (3) Your tenant, but only with our written                       2. If you die, your rights and duties will be
                     consent.                                                       transferred to your legal representative but
                                                                                    only while acting within the scope of duties as
            You may also accept the usual bills of lading
                                                                                    your legal representative. Until your legal
            or shipping receipts limiting the liability of
                                                                                    representative is appointed, anyone having
            carriers.
                                                                                    proper temporary custody of your property will
            This will not restrict your insurance.                                  have your rights and duties but only with
                                                                                    respect to that property.


                  AII terms and conditions of this policy apply unless modified by this endorsement.




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                                                                                                             BUSINESSOWNERS
                                                                                                                 PB 04 30 0516

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                   PROTECTIVE SAFEGUARDS
    This endorsement modifies insurance provided underthe following:

        PREMIER BUSINESSOWNERS PROPERTY COVERAGE FORM
                                                               NOTICE
       YOU RISK THE LOSS OF CERTAIN INSURANCE COVERAGE AT PREMISES DESIGNATED IN THE
      DECLARATIONS IF YOU FAIL TO MAINTAIN ANY OF THE APPLICABLE PROTECTIVE SAFEGUARDS,
                  LISTED BY SYMBOL IN THE DECLARATIONS FOR EACH PREMISES.
       TO AVOID POTENTIAL LOSS OF COVERAGE YOU MUST REPORT ANY PROTECTIVE SAFEGUARD
                     SUSPENSION OR DISABLEMENT BY CALLING 1-866-322-3214
         Your acceptance of this policy in the payment of premium when due constitutes your understanding and
     acknowledgementthat you risk the loss of certain insurance at the premises designated if you fail to maintain the
             protective safeguard and your acceptance and agreement with the terms of this endorsement.

                                                            SCHEDULE
    Prem. / Bldg. No. Description of P-9 Protective Safeguard:




    A. CONDITION. As a condition of this insurance,                             c. Add or modify any cooking equipment
       you are required to maintain the applicable                                   and operate it prior to adding or
       protective devices or services for fire, denoted by                           extending any Fire Suppression System
       symbols P-1, P-2, P-3, P-4, P-5, P-8, or P-9; or                              that is required by code to protect it.
       for burglary and robbery, denoted by symbols P-6                         If part of an Automatic Sprinkler System is
       or P-7), as designated at each premises by                               shut off due to breakage, leakage, freezing
       symbol in the Declarations.                                              conditions or opening of sprinkler heads,
    B. EXCLUSIONS. Under Section B. EXCLUSIONS,                                 notification to us will not be necessary if you
       the following exclusions are added:                                      can restore full protection within 48 hours.
       1. FIRE PROTECTIVE SAFEGUARDS                                         2. BURGLARY AND ROBBERY
            We will not pay for loss or damages caused by                       PROTECTIVE SAFEGUARDS
            or resulting from fire if, prior to the fire, you:                  We will not pay for loss or damage caused by
            a. Knew or should have known of any                                 or resulting from breaking-in or theft if, prior
                 suspension or impairment in any                                to the breaking-in or theft, you:
                 protective safeguard as designated at                          a. Knew or should have known of any
                 each premises by symbol in the                                      suspension or impairment in any
                 Declarations and failed to notify us of                             protective safeguard designated at each
                 that fact; or                                                       premises by symbol in the Declarations
            b. Failed to maintain any protective                                     and failed to notify us of that fact; or
                 safeguard as designated at each                                b. Failed to maintain any protective
                 premises by symbol in the Declarations                              safeguard designated at each premises
                 and over which you have control, in                                 by symbol in the Declarations and over
                 complete working order; or                                          which you had control, in complete
                                                                                     working order.


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    PB 04 30 05 16
    C. PROTECTIVE SAFEGUARD SYMBOLS. The                                  "P-4" Service Contract with a privately owned fire
       protective safeguardsto which this endorsement                            department providing fire protection service
       applies are identified in the Declarations by the                         to the described premises.
       following symbols:                                                 "P-5" Watchman Service based on contractwith a
       "P-1" AutomaticSprinklerSystem, including                                 privately owned security company providing
                related supervisory services. Automatic                          premises protection services to the
                Sprinkler System means:                                          described premises.
                a. Any automatic fire protective or                       "P-6" Local Burglar Alarm protecting the entire
                     extinguishing system, including                             building which in the event of an
                    connected:                                                   unauthorized or attempted entry at the j
                    1) Sprinklers and discharge                                  described premises, triggers a loud
                          nozzles;                                               sounding gong or siren, or a visual device,
                                                                                 on the outside of the building.
                     2) Ducts, pipes, valves and fittings;
                                                                          "P-7" CentralStationBurglarAlarmprotectingthe
                     3) Tanks, their component parts
                                                                                 entire building which, in the event of an
                          and supports; and
                                                                                 unauthorized or attempted entry at the
                    4) Pumps and private fire                                    described premises, will automatically
                          protection mains.                                      transmit an alarm signal to an outside
                     When supplied from an automatic                             Central Station or police station.
                     fire protective system:                              "P-8" Fire Suppression System, including
                     1) Nonautomatic fire protective                             related supervisory services. Fire
                          systems; and                                           Suppression System means any automatic
                     2) Hydrants, standpipes and                                 fire protective or extinguishing system
                          outlets.                                               designed to protect cooking equipment (i.e.
                                                                                 cooking surfaces, deep fat fryers, grease
    "P-2" Automatic Fire Alarm, protecting the entire                            ducts and hoods) including connected:
            building, that is:
                                                                                 a. Sprinklers and discharge nozzles;
            a. Connected to a central station; or
                                                                                 b. Ducts, pipes, valves and fittings; and
            b. Reporting to a public or private fire
                alarm station.                                                   c. Tanks, their component parts and
                                                                                      supports.
    "P-3" Security Service, with a recording system
            or watch clock, making hourly rounds                          "P-9" The protective system described in the
            covering the entire building, when the                               Schedule of this endorsement.
            premises are not in actual operation.


                  AII terms and conditions of this policy apply unless modified by this endorsement.




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                                                                                                                     BUSINESSOWNERS
                                                                                                                         PB 04 9811 14

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                EMPLOYEE BENEFITS LIABILITY COVERAGE
                          THIS ENDORSEMENT PROVIDES CLAIMS — MADE COVERAGE.
                            PLEASE READ THE ENTIRE ENDORSEMENT CAREFULLY.


    This endorsement modifies insurance provided under the following:

        PREMIER BUSINESSOWNERS LIABILITY COVERAGE FORM
        PREMIER BUSINESSOWNERS COMMON POLICY CONDITIONS


    A. The following is added to Section I. COVERAGES:                                       Date, if any, shown in the
                                                                                             Declarations nor after the end of the
        Coverage — Employee Benefits Liability
                                                                                             policy period; and
        1. INSURING AGREEMENT
                                                                                        (3) A"claim" for damages, because of
            a. We will pay those sums that the insured                                       an act, error or omission, is first
                becomes legally obligated to pay as                                          made against any insured, in
                damages because of any act, error or                                         accordancewith paragraph c.
                omission, of the insured, or of any other                                    below, during the policy period or an
                person for whose acts the insured is                                         Extended Reporting Period we
                legally liable, to which this insurance                                      provide under paragraph F. of this
                applies. We will have the right and duty                                     endorsement.
                to defend the insured against any "suit"                            c. A"claim" seeking damages will be
                seeking those damages.                                                  deemed to have been made at the
                HOWEVER, we will have no duty to                                        earlier of the following times:
                 defend the insured against any "suit"                                  (1) When notice of such "claim" is
                 seeking damages to which this                                               received and recorded by any
                 insurance does not apply. We may, at                                        insured or by us, whichever comes
                 our discretion, investigate any report of                                   first; or
                 an act, error or omission and settle any
                 "claim" or "suit" that may result. But:                                (2) When we make settlement in
                                                                                             accordancewith paragraph 1.a.
                (1) The amount we will pay for                                               above.
                      damages is limited as described in
                      paragraph E. of this endorsement;                                 A"claim" received and recorded by the
                                                                                        insured within 365 days after the end of
                      and
                                                                                        the policy period will be considered to
                (2) Our right and duty to defend ends                                   have been received within the policy
                      when we have used up the                                          period, if no subsequent policy is
                      applicable Limit of Insurance in the                              availableto coverthe claim.
                      payment of judgments or
                      settlements.                                                  d. AII "claims" for damages made by an
                                                                                        "employee" because of any act, error or
                No other obligation or liability to pay                                 omission, or a series of related acts,
                 sums or perform acts or services is                                    errors or omissions, including damages
                 covered unless explicitly provided for                                 claimed by such "employee's"
                 under Supplementary Payments.                                          dependents and beneficiaries, will be
            b. This insurance applies to damages only if:                               deemed to have been made at the time
                (1) The act, error or omission, is                                      the first of those "claims" is made
                      negligently committed in the                                      against any insured.
                      "administration" of your "employee
                      benefit program";
                 (2) The act, error or omission, did not
                      take place before the Retroactive

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        2. EXCLUSIONS                                                              h. Available Benefits
           This insurance, including any duty we have                                    Any "claim" for benefits to the extent that
           to defend "claims", does not apply to:                                       such benefits are available, with
           a. Dishonest, Fraudulent, Criminal Or                                         reasonable effort and cooperation of the
               Malicious Act                                                             insured, from the applicable funds
                                                                                         accrued or other collectible insurance.
               Damages arising out of any intentional,
               dishonest, fraudulent, criminal or                                  i, Taxes, Fines Or Penalties
               malicious act, error or omission,                                         Taxes, fines or penalties, including i
               committed by any insured, including the                                   those imposed under the Internal
               willful or reckless violation of any statute.                             Revenue Code or any similar state or!
           b. Bodily Injury, Property Damage, Or                                         local law.                              ;
               Personal And Advertising Injury                                     j. Employment-Related Practices
               "Bodily injury", "property damage" or                                    Damages arising out of wrongful
               "personal and advertising injury".                                        termination of employment,
           c. Failure To Perform A Contract                                              discrimination, or other employment- '
                                                                                         related practices.
               Damages arising out of failure of
               performance of contract by any insurer.                     B. For the purposes of the coverage provided by
                                                                              this endorsement:
           d. InsufPiciency Of Funds
                                                                              1. AII references to SUPPLEMENTARY
               Damages arising out of an insufficiency                             PAYMENTS — COVERAGES A AND B are
               of funds to meet any obligations under
                                                                                   replaced by SUPPLEMENTARY
               any plan included in the "employee
                                                                                   PAYMENTS — COVERAGES A, B AND
               benefit program".
                                                                                   EMPLOYEE BENEFITS LIABILITY.
           e. Inadequacy Of Performance Of
                                                                              2, Paragraphs 1.b. and 2. of the
               Investment/Advice Given With
                                                                                   SUPPLEMENTARY PAYMENTS provision
               Respect To Participation
                                                                                   do not apply.
               Any "claim" based upon:
                                                                           C. For the purposes of the coverage provided by
               (1) Failure of any investment to perform;                      this endorsement, paragraphs 2. and 3. of
               (2) Errors in providing information on                         Section II. WHO IS AN INSURED are replaced
                    past performance of investment                            by the following:
                    vehicles; or                                              2. Each of the following is also an insured:
               (3) Advice given to any person with                                 a. Each of your "employees" who is or was
                    respect to that person's decision to                                 authorized to administer your "employee
                    participate or not to participate in                                 benefit program".
                    any plan included in the "employee                             b. Any persons, organizations or
                    benefit program .                                                    "employees" having proper temporary
           f. Workers' Compensation And Similar                                          authorization to administer your
               Laws                                                                      "employee benefit program" if you die,
               Any "claim" arising out of your failure to                                 but only until your legal representative is
               comply with the mandatory provisions of                                    appointed.
               any workers' compensation,                                           c. Your legal representative if you die, but
               unemployment compensation insurance,                                      only with respect to duties as such. That
               social security or disability benefits law                                representativewill have all your rights
               or any similar law.                                                       and duties underthis Endorsement.
           g. ERISA                                                           3. Any organization you newly acquire or form,
               Damages for which any insured is liable                              other than a partnership, joint venture or
               because of liability imposed on a                                    limited liability company, and over which you
               fiduciary by the Employee Retirement                                 maintain ownership or majority interest, will
               Income Security Act of 1974, as now or                               qualify as a Named Insured if no other
               hereafter amended, or by any similar                                 similar insurance applies to that
               federal, state or local laws.                                        organization.




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                                                                                                                      PB 04 9811 14

             HOWEVER:                                                              the policy to which this endorsement is
                                                                                   attached, unless the policy period is extended
             a. Coverage underthis provision is afforded                           after issuance for an additional period of less
                 only until the 90th day after you acquire                         than 12 months. In that case, the additional
                 or form the organization or the end of the                        period will be deemed part of the last
                 policy period, whichever is earlier.                              preceding period for purposes of determining
             b. Coverage underthis provision does not                              the Limits of Insurance.
                 apply to any act, error or omission that                     2. DEDUCTIBLE
                 was committed before you acquired or
                 formed the organization.                                          a. Our obligation to pay damages on
                                                                                       behalf of the insured applies only to the
    D. For the purposes of the coverage provided by                                    amount of damages in excess of the
        this endorsement, Section III. LIMITS OF                                       deductible amount stated in the
        INSURANCE AND DEDUCTIBLE is replaced by                                        Declarations as applicable to Each
        the following:                                                                 Employee. The limits of insurance shall
        1. LIIVIITS OF INSURANCE                                                       not be reduced by the amount of this
             a. The Limits Of Insurance shown in the                                   deductible.
                 Declarations and the rules below fix the                          b. The deductible amount stated in the
                 most we will pay regardless of the                                    Declarations applies to all damages
                 numberof:                                                             sustained by any one "employee",
                 (1) Insureds;                                                         including such "employee's" dependents
                 (2) "Claims" made or "suits" brought;                                 and beneficiaries, because of all acts,
                                                                                       errors or omissions to which this
                 (3) Persons or organizations making                                   insurance applies.
                      "claims" or bringing "suits";
                                                                                   c. The terms of this insurance, including
                 (4) Acts, errors or omissions; or                                     those with respect to:
                 (5) Benefits included in your "employee                               (1) Our right and duty to defend any
                      benefit program".                                                     "suits" seeking those damages; and
             b. The Aggregate Limit is the most we will                                (2) Your duties, and the duties of any
                 pay for all damages because of acts,                                        other involved insured, in the event of
                 errors or omissions negligently                                             an act, error or omission, or "claim"
                 committed in the "administration" or your
                                                                                        apply irrespective of the application of
                 "employee benefit program".
                                                                                        the deductible amount.
             c. Subject to the Aggregate Limit, the Each
                 Employee Limit is the most we will pay for                        d. We may pay any part or all of the
                 all damages sustained by any one                                       deductible amount to effect settlement
                                                                                        of any "claim" or "suit" and, upon
                 "employee", including damages sustained
                                                                                        notification of the action taken, you shall
                  by such "employee's" dependents and
                                                                                        promptly reimburse us for such part of
                  beneficiaries, as a result of:
                                                                                        the deductible amount as we have paid.
                 (1) An act, error or omission; or
                                                                           E. For the purposes of the coverage provided by
                 (2) A series of related acts, errors or                      this endorsement, Condition 2. of Section IV.
                      omissions                                               LIABILITY CONDITIONS is replaced by the
                negligently committed in the                                  following:
                "administration" of your "employee                            2. Duties In The Event Of An Act, Error Or
                benefit program".                                                  Omission, Or "Claim" Or "Suit"
                HOWEVER, the amount paid under this                                 a. You must see to it that we are notified
                endorsement shall not exceed, and will                                  as soon as practicable of an act, error or
                be subject to, the limits and restrictions                              omission that may result in a"claim". To
                that apply to the payment of benefits in                                the extent possible, notice should
                any plan included in the "employee                                      include:
                benefit program .
                                                                                        (1) What the act, error or omission was
            The Limits of Insurance of this endorsement                                      and when it occurred; and
            apply separately to each consecutive annual
            period and to any remaining period of less                                  (2) The names and addresses of
            than 12 months, starting with the beginning of                                   anyone who may suffer damages as
            the policy period shown in the Declarations of                                   a result of the act, error or omission.

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            b. If a"claim" is made or "suit" is brought                               to "claims" for acts, errors or omissions that
                against any insured, you must:                                        were first committed before the end of the
                (1) Immediately record the specifics of                               policy period but not before the Retroactive
                     the "claim" or "suit" and the date                               Date, if any, shown in the Declaration. Once
                     received; and                                                    in effect, the Extended Reporting Period
                                                                                      may not be canceled.
                (2) Notify us as soon as practicable.
                                                                                    An Extended Reporting Period of unlimited
                You must see to it that we receive
                                                                                    duration is available, but only by an
                written notice of the "claim" or "suit" as
                                                                                    endorsement and for an extra charge.
                soon as practicable.
                                                                                    You must give us a written request for the
           c. You and any other involved insured
                                                                                    endorsement within 60 days after the end of
                must:
                                                                                    the policy period. The Extended Reporting
                (1) Immediately send us copies of any                               Period will not go into effect unless you pay
                     demands, notices, summonses or                                 the additional premium promptly when due.
                     legal papers received in connection
                                                                                    We will determine the additional premium in
                     with the "claim" or "suit";
                                                                                    accordancewith our rules and rates. In
                (2) Authorize us to obtain records and                              doing so, we may take into accountthe
                     other information;                                             following:
                (3) Cooperate with us in the                                        a. The "employee benefit programs"
                     investigation or settlement of the                                  insured;
                     "claim" or defense against the "suit";
                                                                                    b. Previous types and amounts of
                     and
                                                                                         insurance;
                (4) Assist us, upon our request, in the
                                                                                    c. Limits of insurance available underthis
                     enforcement of any right against any
                                                                                         endorsement for future payment of
                     person or organization that may be
                                                                                         damages; and
                     liable to the insured because of an
                     act, error or omission to which this                           d. Other related factors.
                     insurance may also apply.                                      The additional premium will not exceed
            d. No insured will, except at that insured's                            200% of the annual premium for this
                own cost, voluntarily make a payment,                               endorsement.
                assume any obligation or incur any                                  The Extended Reporting Period
                expense without our consent.                                        endorsement applicable to this coverage
    F. For the purposes of the coverage provided by                                 shall set forth the terms, not inconsistent
       this endorsement, the following Extended                                     with this Section, applicable to the Extended
       Reporting Period provisions are added, or, if this                           Reporting Period, including a provision to
       endorsement is attached to a claims-made                                     the effect that the insurance afforded for
                                                                                    "claims" first received during such period is
       Coverage Part, replaces any similar Section in
                                                                                    excess over any other valid and collectible
       that Coverage Part:
                                                                                    insurance available under policies in force
       Extended Reporting Period                                                    after the Extended Reporting Period starts.
       1. You will have the right to purchase an                                 4. If the Extended Reporting Period is in effect,
            Extended Reporting Period, as described                                 we will provide an Extended Reporting Period
            below, if:                                                              Aggregate Limit of Insurancedescribed
            a. This endorsement is canceled or not                                   below, but only for claims first received and
                renewed; or                                                          recorded during the Extended Reporting
            b. We renew or replace this endorsement                                  Period.
                with insurance that:                                                The Extended Reporting Period Aggregate
                (1) Has a Retroactive Date later than                               Limit Of Insurancewill be equal to the dollar
                      the date shown in the Declarations;                           amount shown in the Declaration under
                      or                                                            Limits of Insurance.
                (2) Does not apply to an act, error or                                Paragraph E.1.b. of this endorsementwill be
                      omission on a claims-made basis.                                amended accordingly. The Each Employee
       2. The Extended Reporting Period does not                                      Limit shown in the Declarations will then
            extend the policy period or change the                                    continue to apply as set forth in paragraph
            scope of coverage provided. It applies only                               E.1.c.

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                                                                                                                      PB 04 9811 14
    G. For the purposes of the coverage provided by                                     civil leave; tuition assistance plans;
       this endorsement, the following definitions are                                  transportation and health club subsidies;
       added to Section V. DEFINITIONS:                                                and
       1. "Administration" means:                                                  e. Any other similar benefits added thereto
           a. Providing information to "employees",                                    by endorsement.
                including their dependents and                             H. For the purposes of the coverage provided by
                beneficiaries, with respect to eligibility                    this endorsement, Definitions 5. and 18. in
                for or scope of "employee benefit                             Section V. DEFINITIONS are replaced by the'
                programs";                                                    following:
           b. Handling records in connection with the                         5. "Employee" means a person actively
                "employee benefit program"; or                                     employed, formerly employed, on leave of
           c. EfFecting, continuing or terminating any                             absence or disabled, or retired. "Employee"
                "employee's" participation in any benefit                          includes a"leased worker". "Employee"
                included in the "employee benefit                                  does not include a"temporary worker".
                program".                                                     18. "Suit" means a civil proceeding in which
           HOWEVER, "administration" does not                                      damages because of an act, error or
           include handling payroll deductions.                                    omission to which this insurance applies are
                                                                                   alleged. "Suit" includes:
        2. "Cafeteria plans" means plans authorized
           by applicable law to allow employees to                                 a. An arbitration proceeding in which such
           elect to pay for certain benefits with pre-tax                               damages are claimed and to which the
           dollars.                                                                     insured must submit or does submit with
                                                                                        our consent; or
        3. "Claim" means any demand, or "suit", made
           by an "employee" or an "employee's"                                     b. Any other alternative dispute resolution
           dependents and beneficiaries, for damages                                   proceeding in which such damages are
           as the result of an act, error or omission.                                  claimed and to which the insured
                                                                                        submits with our consent.
        4. "Employee benefit program" means a
           program providing some or all of the                            I. For the purposes of the coverage provided by
           following benefits to "employees", whether                         this endorsement, in the PREMIER
           provided through a"cafeteria plan" or                              BUSINESSOWNERS COMMON POLICY
           otherwise:                                                         CONDITIONS, under Condition H. OTHER
                                                                              INSURANCE, paragraph 2. is replaced by the
           a. Group life insurance; group accident or                         following:
                health insurance; dental, vision and
                 hearing plans; and flexible spending                         2. OTHER INSURANCE
                accounts; provided that no one other                                 If other valid and collectible insurance is
                than an "employee" may subscribe to                                  available to the insured for a loss we cover
                such benefits and such benefits are                                  underthis endorsement, our obligations are
                made generally available to those                                    limited as follows:
                "employees" who satisfy the plan's                                   a. Primary Insurance
                eligibility requirements;
                                                                                          This insurance is primary except when
           b. Profit sharin9 P lans, emPloYee savin9s                                     b. below applies. If this insurance is
                plans, employee stock ownership plans,                                    primary, our obligations are not affected
                 pension plans and stock subscription                                     unless any of the other insurance is also
                 plans, provided that no one other than                                   primary. Then, we will share with all that
                 an "employee" may subscribe to such                                      other insurance by the method
                 benefits and such benefits are made                                      described in c. below.
                 generally available to all "employees"                              b. Excess Insurance
                 who are eligible underthe plan for such
                                                                                        This insurance is excess over any of the
                 benefits;
                                                                                        other insurance, whether primary,
           c. Unemployment insurance, social                                            excess, contingent or on any other basis
                security benefits, workers' compensation                                that is effective prior to the beginning of
                and disability benefits;                                                the policy period shown in the
           d. Vacation plans, including buy and sell                                    Declarations and that applies to an act,
                 programs; leave of absence programs,                                   error or omission on other than a claims-
                including military, maternity, family, and                              made basis, if:

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                (1) No Retroactive Date is shown in the                                      We will share the remaining loss, if any,
                    Declarations for this insurance; or                                      with any other insurancethat is not
                (2) The other insurance has a policy                                         described in this Excess Insurance
                    period that continues after the                                          provision and was not bought
                    Retroactive Date shown in the                                            specifically to apply in excess of the
                    Declarations for this insurance.                                         Limits of Insurance shown in the
                                                                                             Declarations.
                  When this insurance is excess, we will
                  have no duty to defend the insured                                    c.   Method Of Sharing
                  against any "suit" if any other insurer                                    If all of the other insurance permits
                  has a duty to defend the insured against                                   contribution by equal shares, we will
                  that "suit". If no other insurer defends,                                  follow this method also. Underthis
                  we will undertake to do so, but we will                                    approach each insurer contributes equal
                  be entitled to the insured's rights against                                amounts until it has paid its applicable
                  all those other insurers.                                                  limit of insurance or none of the loss
                  When this insurance is excess over                                         remains, whichevercomes first.
                  other insurance, we will pay only our                                      If any of the other insurance does not
                  share of the amount of the loss, if any,                                   permit contribution by equal shares, we
                  that exceeds the sum of the total                                          will contribute by limits. Under this
                  amount that all such other insurance                                       method, each insurer's share is based
                  would pay for the loss in absence of this                                  on the ratio of its applicable limits of
                  insurance; and the total of all deductible                                 insurance of all insurers.
                  and self-insured amounts under all that
                  other insurance.


                  AII terms and conditions of this policy apply unless modified by this endorsement.




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                                                                                                              BUSINESSOWNERS
                                                                                                                  PB 05 23 0715

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          CAP ON LOSSES FROM CERTIFIED
                               ACTS OF TERRORISM
    This endorsement modifies insurance provided under the following:

    PREMIER BUSINESSOWNERS PROPERTY COVERAGE FORM
    PREMIER BUSINESSOWNERS LIABILITY COVERAGE FORM


    The following provisions are added to the                               If aggregate insured losses attributable to terrorist
    Businessowners Policy and apply to Property and                         acts certified under the Terrorism Risk Insurance
    Liability Coverages:                                                    Act exceed $100 billion in a calendar year and we
                                                                            have met our insurer deductible under the
    A. CAP ON CERTIFIED TERRORISM LOSSES
                                                                            Terrorism Risk Insurance Act, we shall not be
       "Certified act of terrorism" means an act that is                    liable for the payment of any portion of the amount
       certified by the Secretary of the Treasury, in                       of such losses that exceeds $100 billion, and in
       accordance with the provisions of the federal                        such case insured losses up to that amount are
       Terrorism Risk Insurance Act, to be an act of                        subject to pro rata allocation in accordance with
       terrorism pursuant to such Act. The criteria                         procedures established by the Secretary of the
       contained in the Terrorism Risk Insurance Act for                    Treasury.
       a"certified act of terrorism" include the following:              B. The terms and limitations of any terrorism
       1. The act resulted in insured losses in excess of                  exclusion, or the inapplicability or omission of a
          $5 million in the aggregate, attributable to all                 terrorism exclusion, do not serve to create
          types of insurance subject to the Terrorism                      coverage for loss or injury or damage that is
          Risk Insurance Act; and                                          otherwise excluded under this Policy.
       2. The act is a violent act or an act that is
          dangerous to human life, property or
          infrastructure and is committed by an individual
          or individuals as part of an effort to coerce the
          civilian population of the United States or to
          influence the policy or affect the conduct of the
          United States Government by coercion.




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                                                                                                                       BUSINESSOWNERS
                                                                                                                           PB 05 88 0411

          THIS ENDORSEIMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       GEORGIA - LIMITED FUNGI OR BACTERIA COVERAGE
    This endorsement modifies insurance provided under the following:

        PREMIER BUSINESSOWNERS LIABILITY COVERAGE FORM

    A. AMENDMENTS TO THE LIABILITY                                                   the effects of, "fungi" or bacteria, by any
        COVERAGE FORM                                                                insured or by any other person or entity.
        1. In Section I. COVERAGES, COVERAGE A-                               3. Coverage provided by this insurance for
             BODILY INJURY AND PROPERTY DAMAGE                                   "property damage", arising out of a"fungi or
             LIABILITY, under paragraph 2. EXCLUSIONS,                           bacteria incident", is subject to the Fungi And
             the following exclusion is added:                                   Bacteria Property Damage Aggregate Limit as
                                                                                 described in Paragraph 4. of this endorsement.
             This insurance, including any duty we have
             to defend "suits", does not apply to:                            4. The following are added to Section III. LIMITS
                                                                                 OF INSURANCE AND DEDUCTIBLE:
             Fungi or Bacteria Bodily Injury
                                                                                 1. The Fungi And Bacteria Property Damage
             "Bodily Injury" arising out of:                                         Aggregate Limit of $50,000 is the most we
             a. A"fungi or bacteria incident"; or                                    will pay for all "property damage" arising
             b. Any loss, cost or expense arising out of                             out of a"fungi or bacteria incident".
                 the abating, testing for, monitoring,                           2. Paragraphs 5. Each Occurrence Limit of
                 cleaning up, removing, containing,                                  Insurance and 6. Tenants Property Damage
                 treating, detoxifying, neutralizing,                                Legal Liability Limit of Insurance continue to
                 remediating or disposing of, or in any                              apply to "property damage" arising out of a
                 way responding to, or assessing the                                 "fungi or bacteria incident" but only if, and to
                 effects of, "fungi" or bacteria, by any                             the extent that, limits are available under the
                 insured or by any other person or entity.                           Fungi And Bacteria Liability Aggregate Limit.
             HOWEVER, this exclusion does not apply to                   B. ADDITIONAL DEFINITIONS
             any "fungi" or bacteria that are, are on, or are               The following definitions are added to the
             contained in, "your product" intended for                      LIABILITY COVERAGE FORM, under Section V.
             human or animal consumption.                                   DEFINITIONS.:
        2. In Section I. COVERAGES, COVERAGE B—                             1. "Fungi" means any type or form of fungus,
             PERSONAL AND ADVERTISING INJURY                                   including mold or mildew, and any mycotoxins,
             LIABILITY, under paragraph 2. EXCLUSIONS,                         spores, scents or byproducts produced or
             the following exclusions are added:                               released by fungi.
             This insurance, including any duty we have                     2. "Fungi or bacteria incident" means an
             to defend "suits", does not apply to:                             incident which would not have occurred, in
            Fungi or Bacteria                                                  whole or in part, but for the actual, alleged or
            "Personal and advertising injury" which would                      threatened inhalation of, ingestion of, contact
            not have occurred, in whole or in part, but for:                   with, exposureto, existence of, or presence
                                                                               of, any "fungi" or bacteria on or within a
            a. a"fungi or bacteria incident"; or
                                                                               building or structure, including its contents,
            b. Any loss, cost or expenses arising out of                       regardless of whether any other cause, event,
                the testing for, monitoring, cleaning up,                      material or product contributed concurrently or
                removing, containing, treating, detoxifying,                   in any sequenceto such injury or damage.
                neutralizing, remediating or disposing of,
                or in any way responding to, or assessing


                 AII terms and conditions of this policy apply unless modified by this endorsement.


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                                                                                                                      BUSINESSOWNERS
                                                                                                                          PB 05 89 0311

            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             EMPLOYMENT PRACTICES LIABILITY INSURANCE
          THIS INSURANCE PROVIDES CLAIMS MADE AND REPORTED COVERAGE. DEFENSE COSTS APPLY
         AGAINST THE LIMITS OF INSURANCE AND ARE SUBJECT TO THE DEDUCTIBLE. PLEASE READ THIS
            COVERAGE FORM CAREFULLY TO DETERMINE RIGHTS, DUTIES, COVERAGE AND COVERAGE
                                            RESTRICTIONS.
    IF WE HAVE ISSUED THIS COVERAGE FORM BASED UPON YOUR APPLICATION FOR THIS INSURANCE,
            WE HAVE DONE SO BASED UPON INFORMATION ON THAT APPLICATION, WHICH IS A
                   REPRESENTATION OF THE CORRECTNESS OF THE INFORMATION.
    WE HAVE NO DUTY TO PROVIDE COVERAGE UNLESS THERE HAS BEEN FULL COMPLIANCE WITH ALL
          THE CONDITIONS, SECTION V AND ANY OTHER APPLICABLE COVERAGE CONDITIONS.
    Throughout this Coverage form, the words "you" and "your" refer to the Named Insured shown in the Declarations
    and any other person or organization qualifying as a Named Insured under this Coverage. The words "we", "us"
    and "our" refer to the Company providing this insurance. The word "insured" means any person or organization
    qualifying as such under Section II — WHO IS AN INSURED.

    I.    COVERAGE                                                                              (a) After the Retroactive Date, if
          In consideration of the payment of premium and                                                  shown in the Declarations;
          subject to the Limits of Insurance shown in the                                           and
          Declarations and all the definitions, exclusions,                                     (b) Before the end of the policy
          terms and conditions of this insuranceform, we                                            period; and
          agree with you as follows:                                                        (4) A"claim" is both:
          1. Insuring Agreement                                                                 (a) First made against any insured,
              a. We will pay on behalf of the insured for                                           in accordance with paragraph c.
                   "damages" in excess of the Deductible                                            below, during the policy period
                   arising out of any "wrongful acts" to                                            or any,Extended Reporting
                   which this insurance applies.                                                    Period we provide underSection
                   We have no obligation underthis                                                  VI. EXTENDED REPORTING
                   insuranceto make paymentsor perform                                              PERIODS; and
                   acts or services except as provided for                                      (b) Reported to us either (i) during
                   in this paragraph and in paragraph 2.                                            the policy period or within thirty
                   below.                                                                           (30) days thereafter; or (ii) with
              b. This insurance applies to such                                                     respect to any "claim" first made
                   "damages" only if:                                                               during any Extended Reporting
                                                                                                    Period we provide under Section
                   (1) The "damages" result from "claims"                                           VI. EXTENDED REPORTING
                        made by:                                                                    PERIODS, during such
                        (a) "Employees";                                                            Extended Reporting Period.
                      (b) "Leased workers";
                      (c) "Temporaryworkers";
                      (d) Former "employees"; or
                      (e) Applicants for employment by
                          you;
                  (2) The "wrongful acts" take place in the
                      "coverage territory";
                  (3) Such "wrongful acts" occurred:


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           c. A"claim" will be deemed to have been                                       (1) The insured refuses to consent to
               made at the earlier of the following                                            any settlementwe recommend; and
               times:                                                                    (2) Such recommended settlement is
               (1) When notice of such "claim" is                                              acceptable to the claimant.
                    received and recorded by you or by                                    After such refusal, our liability under this
                    us, whichever comes first; or                                         Coveragefor such "claim" shall not
               (2) When we make settlement in                                             exceed the amount we would have paid
                    accordancewith paragraph2.b.(2)                                       for "damages" and "defense expense'! if
                    below.                                                                the insured had consentedto our
                                                                                          settlement recommendation. The
           d. AII "claims" by one or more claimants for                                   insured shall thereafter be responsible
               "damages" based on or arising out of:
                                                                                          for the negotiation and defense of that
               (1) One "wrongful act"; or                                                 "claim" at their own cost and without our
               (2) An "interrelated" series of "wrongful                                  involvement.
                    acts";                                                           d. Our right and duty to defend such
               by one or more insureds shall be                                           "claims" ends when we have used up
               deemed to be one "claim" and to have                                       the Limit of Insurance available, as
               been made at the time the first of those                                   provided under Section III . LIMITS OF
               "claims" is made against any insured.                                      INSURANCE. This applies both to
           e. Each payment we make for "damages"                                          "claims" pending at that time and any
               o'r "defense expense" reduces the                                          that may be made.
               Amount of Insurance available, as                                     e. (1) When we control defense of a
               provided under Section III. LIMITS OF                                      "claim", we will pay associated "defense
               INSURANCE.                                                                 expense" and choose a counsel of our
        2. Defense of Claims, Administrative                                              choice from the panel of attorneys we
           Hearings & Settlement Authority                                                have selected to deal with "wrongful
                                                                                          acts" "claims".
           Subject to the limits of insurance, deductible,
           conditions, exclusions, definitions; and other                                 If you give us a specific written request
           terms of this Coverage:                                                        at the time a"claim" is first made:
           a. We have the right and duty to defend                                        (a) You or any involved insured may
               "claims" againstthe insured seeking                                             select one of our panel of wrongful
               "damages" to which this insurance                                               act attorneys; or
               applies and to pay for related, "defense                                   (b) You or such insured may ask us to
               expense."                                                                       consider the approval of a defense
                                                                                               attorney of your or that insured's
               However, we have no duty to:
                                                                                               choice who is not on our panel.
               (1) Defend "claims" againstthe insured
                    seeking "damages"; or                                                 We will then use the attorney selected in
                                                                                          (a) above, or considerthe request in (b)
               (2) Pay for related "defense expense",                                     above, if we deem it appropriate to
               when this insurance does not apply.                                        engage counsel for such "claim".
           b. We may, at our sole discretion:                                        (2) If by mutual agreement or court order
                (1) Investigate any "wrongful act" that                                   the insured assumes control of the
                     may result in "damages"; and                                         defense before the applicable Limit of
                (2) Settle any"claim" which may result,                                   Insurance is used up, the insured will be
                     provided:                                                            allowed to select defense counsel and
                                                                                          we will reimburse the insured for
                     (a) We have the insured's written                                    reasonable "defense expense". You and
                         consent to settle; and                                           any involved insured must:
                     (b) The settlement is within the                                     (a) Continue to comply with Section V.
                         applicable Limit of Insurance                                         CONDITIONS, 4. Duties in Event of
                         available.                                                            "Wrongful Acts" or "Claims".
           c. Our liability will be limited as described
                below if:

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                                                                                                               BUSINESSOWNERS
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                (b) Direct defense counsel to:                                            proceeding which was initiated against
                                                                                          any insured; or
                     (1) Furnish us with the additional
                         information we request to                                        (2) Facts and circumstances which
                         evaluate the "wrongful acts" or                                  would cause a reasonable person to
                         "claim"; and                                                     believe a"claim" would be made and
                                                                                          which were known to any insured;
                     (2) Cooperate with any counsel we
                         may select to monitor or                                         prior to the effective date of the earlier
                         associate in the defense of the                                  of:
                         "wrongful acts" or "claim".                                      (i) The first Coverage of this type that
           If we defend any insured under a reservation                                        we issued to you of which this
           of rights, both such insured's counsel and                                          Coveragewas an uninterrupted
           our counsel will be required to maintain                                            renewal of this type of coverage; or
           records pertinent to "defense expenses".                                       (ii) This Coverage.
           These records will be used to determine the                              b.    Facts alleged or contained in any "claim"
           allocation of any "defense expenses" for                                       or "suit" which has been reported, or in
           which you or any insured may be solely                                         any circumstances of which notice has
           responsible, including defense of an                                           been given, under any policy of which
           allegation not covered by this insurance.                                      this coverage is a renewal or
           We will notify you in writing when the                                         replacement or which it may succeed in
           applicable limit of insurance has been used                                    time;
           up by the payment of judgments,                                           c.   Loss of any benefit conferred or loss of
           settlements or "defense expense". We will                                      any obligation imposed under an
           also initiate and cooperate in the transfer of                                 express contract of employment.
           defense of any "claim" to an appropriate
                                                                                     d.   Any obligation to pay "damages" by
           insured for whom the duty to defend has
                                                                                          reason of the assumption of liability in
           ended by reason of Section I. COVERAGE                                         any contract or agreement.
           paragraph 2.d. above.
                                                                                          However, this exclusion does not apply
           f. Upon notice to us and with our prior                                        to liability for "damages" that the insured
                approval, the first Named Insured is                                      would have in the absence of the
                authorized to act on behalf of all                                        contract or agreement.
                insureds with respect to the payment of
                "damages" in settlement of any                                       e.   Liability arising under any of the
                Administrative Hearing or other non-                                      following laws:
                judicial proceeding before the Federal                                    (1) Any workers compensation,
                Equal Employment Opportunity                                                    disability benefits or unemployment
                Commission, or any similar Federal,                                             compensation law, or any similar
                state or local body or commission. This                                         law.
                authorization is limited to the sum of:                                         However, this exclusion shall not
                (1) "Damages" covered by this                                                   applyto any "claim" based upon,
                     Coverage; and                                                              arising from or in consequenceof
                (2) "Defense expenses", as defined in                                           any actual or alleged retaliatory
                     paragraph 5.d. in Section VII.                                             treatment of the claimant by the
                     DEFINITIONS;                                                               insured on account of the claimant's
                                                                                                exercise of rights pursuantto any
                in a total amount not to exceed two                                             such law;
                times the amount of the Deductible
                stated in the Declarations.                                               (2) Employees' Retirement Income
                                                                                                Security Act of 1974, Public Law 93-
        3. Exclusions                                                                           406, (ERISA) as now or hereafter
           This insurance does not apply to "claims"                                            amended, or any similar state or
           based on, arising out of, or in anyway                                               other governmental law. This
           involving:                                                                           includes
           a. (1) "Wrongful acts" which were the
                subject of any demand, suit or other


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                                                                                                                  BUSINESSOWNERS
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                      (a) Fiduciary liability;                                                   shown in items e.(1) and e.(3)
                                                                                                 above.
                      (b) Liability arising out of the
                           administration of any employee                             f.    Oral or written publication of material, if
                           benefit plan; and                                                such material:
                      (c) Any other liability under any                                     (1) Was published by or at the direction
                           such laws;                                                           of the insured with knowledge of the
                                                                                                 material's falsity; or
                (3) 'The Fair Labor Standards Act, or
                      any state or common law wage or                                       (2) Was first published before the
                      hour law, including, but not limited to                                    Retroactive Date, if any, shown in
                      laws governing minimum wages,                                              the Declarations.
                      hours worked, overtime                                          g.    Dishonest, criminal or fraudulent acts of
                      compensation and including any                                        the insured.
                      recordkeeping and reporting related                             h.    The willful failure by the insured or with
                      thereto.                                                              the insured's consent to comply with any
                      This exclusion includes actions or                                    law or any governmental or
                      claims brought by or on behalf of                                     administrative order or regulation
                      individuals or agencies seeking                                       relating to "employment practices".
                      wages, fines, penalties, taxes,                                       Willful, as used in this exclusion h.,
                      disgorgement or other affirmative                                     means acting with intentional or reckless
                      relief or compensation.                                               disregard for such employment related
                      This exclusion does not include                                       laws, orders or regulations.
                      claims based on the Equal Pay Act                                     The enforcement of this exclusion
                      or retaliation related to Equal Pay                                   against any insured shall not be imputed
                      Act claims;                                                           to any other insured.
                (4) The National Labor Relations Act;                                 i.    "Bodily injury".
                (5) The Worker Adjustment and                                         j.    "Employment practices" which occur
                      Retraining Notification Act (Public                                   when or after:
                      Law 100-379);
                                                                                            (1) You file for or are placed in any
                (6) The Consolidated Omnibus Budget                                              bankruptcy, receivership, liquidation
                      Reconciliation Act of 1985; or                                             or reorganization proceeding; or
                (7) The Occupational Safety and Health                                      (2) Any other business entity acquires
                      Act.                                                                       an ownership interest in you, which
            This exclusion e. (1) —(7) also applies to:                                          is greater than fifty percent.
                (i) Any rules or regulations                                          k.   Costs of complyingwith physical
                      promulgated under any of the                                          modifications to your premises or any
                      foregoing and amendments thereto,                                     changes to your usual business
                (ii) Any similar provisions of any federal,                                 operations as mandated by the
                      state or local law,                                                   Americans with Disabilities Act of 1990
                                                                                            including any amendment thereto, or any
                (iii) That part of any "damages" awarded
                                                                                            similar federal, state or local law.
                      for the cost or replacement of any
                      insurance benefits due or alleged to                                  This exclusion also applies to any
                      be due to any current or former                                       "claim" based upon, arising from or in
                      "employee", and                                                       consequence of any actual or alleged
                                                                                            retaliatory treatment of the claimant by
                (iv) Any "claim" based upon, arising
                                                                                            the insured on account of the claimant's
                      from or in consequenceof any
                                                                                            exercise of rights pursuant to any such
                      actual or alleged retaliatory
                                                                                            law described in this item k.
                      treatment of the claimant by the
                      insured on account of the claimant's
                      exercise of rights pursuantto any
                      such law described in this item e.
                      This provision e.(iv) does not apply
                      to the specific retaliation exceptions

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                                                                                                                BUSINESSOWNERS
                                                                                                                       PB 05 89 03 11
            I.  Lockout, strike, picket line, related                           4. Any organization you newly acquire or form,
                worker replacements or other similar                                  other than a partnership or joint venture, and
                 actions resulting from labor disputes or                             over which you maintain ownership or
                 labor negotiations.                                                  majority interest, will qualify as a Named
                                                                                      Insured if there is no other similar insurance
                This exclusion also applies to any
                                                                                      availableto that organization. However:
                "claim" based upon, arising from or in
                consequenceof any actual or alleged                                   a. You must provide us notice of such
                retaliatory treatment of the claimant by                                   acquisition or formation within 30 days of
                the insured on account of the claimant's                                   the effective date of your acquisition or
                exercise of rights pursuantto labor                                        formation;
                disputes or labor negotiations.                                       b. Coverage under this provision is
            m. Any class action suit involving more than                                   afforded only until the 90th day after you
                 one franchisee of the same franchisor.                                    acquire or form the organization or the
                                                                                           end of the policy period, whichever is
    II. WHO IS AN INSURED                                                                  earlier;
        1. For purposes of this insurance coverage, if                                c. Coverage does not apply to any
            you are designated in the Declarations as:                                     "wrongful acts" that occurred before you
            a. An individual, you and your spouse are                                      acquired or formed the organization; and
                 insureds, but onlywith respectto the                                 d. You must pay us any additional premium
                 conduct of a business of which you are                                    due as a condition precedentto the
                 the sole owner.                                                           enforceability of this additional extension
            b. A partnership or joint venture, you are an                                  of coverage.
                 insured. Your current or former                                      This paragraph does not apply to any
                 members, your partners, and their                                         organization after it is shown in the
                 spouses are also insureds, but only with                                  Declarations.
                 respect to the conduct of your business.
                                                                                 No person or organization is an insured with
            c. A limited liability company, you are an                           respect to the conduct of any current or past
                 insured. Your current or former                                 partnership, joint venture or limited liability
                 members are also insureds, but only                             company that is not shown as a Named Insured
                 with respectto the conduct of your                              in the Declarations.
                 business. Your current or former
                 managers are insureds, but only with                      III. LIMITS OF INSURANCE
                 respectto their duties as your                                  1. The Amount of Insurance stated as
                 managers.                                                            Aggregate Limit on the Coverage
            d. An organization other than a partnership                               Declarations is the most we will pay for the
                 orjoint venture, you are an insured. Your                            sum of:
                  current or former directors are insureds,                           a. "Damages" for all "claims" arising out of
                  but only with respect to their duties as                                 any actual or alleged "wrongful acts"
                  your directors.                                                          covered by this insurance; and
        2. Yourcurrent orformer "employees"are also                                    b. "Defense expense" for all "claims"
            insureds, but only for acts within the scope                                   seeking "damages" payable under
            of their employment by you or while                                            paragraph a. above.
            performing duties related to the conduct of                               Each payment we make for such "damages"
            your business.                                                             or "defense expenses" reduces the
        3. Any heirs, executors, administrators,                                       Aggregate Limit by the amount of the
            assignees or legal representativesof any                                   payment.
            individual insured in subparagraphs 1. and 2.                              This reduced limit will then be the Amount of
            above, in the event of the death, bankruptcy                               Insurance available for further "damages"
            or incapacity of such insured, shall be                                    and "defense expenses" under this
            insureds, but only to the extent this                                      Coverage.
            insurancewould have been availableto such
            insured but for their death, bankruptcy or
            incapacity.


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                                                                                                            BUSINESSOWNERS
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        2. Subject to paragraph 1. above, the Amount                               any "defense expense" incurred by us in
            of Insurance stated as the Each "Claim"                                connection with that "claim".
            Limit of Insurance is the most we will pay in                       4. The terms of this insurance apply
            excess of the Deductible as further                                    irrespective of the application of the
            described in Section IV. DEDUCTIBLE for                                deductible, including those with respect to:
            the sum of:                                                            a. Our right and duty to defend any "claims"
            a. "Damages":                                                               seeking those "damages"; and
                 (1) For injury arising from "wrongful                             b. Your and any involved insured's dutie's in
                     acts" covered by this insurance; and                               the event of a "claim".
                 (2) Arising out of one "claim"; and                            5. We may pay any part or all of the deductible
            b. "Defense expense" associated with that                              to effect settlement of any "claim" and, upon
                 specific "claim" in item 2.a. immediately                         notification of the action taken, you shall
                 preceding.                                                        promptly reimburse us for such part of the
                                                                                   deductible as we may have paid for
        3. In addition to the payments for "damages"
                                                                                   "damages" or "defense expense".
            and "defense expense" in paragraphs 1. and
            2. above, we will also pay all interest on the                      6. The application of the deductible does not
            full amount of anyjudgment that accrues                                 reduce the applicable Limits of Insurance.
            after entry of the judgment and before we                     V. CONDITIONS
            have paid, offered to pay, or deposited in
                                                                                1. Bankruptcy
            court the amount available for the judgment
            underthe provisions of paragraphs 1. and 2.                            Subject to exclusion j.(1), the bankruptcy or
            above.                                                                 insolvency of the insured or of the insured's
                                                                                   estate will not relieve us of our obligations
        The Limits of Insurance of this Coverage apply                             underthis insurance.
        separatelyto each consecutiveannual period
        and to any remaining period of less than 12                             2. Cancellation
        months, starting with the beginning of the policy                          The policy shall terminate at the earliest of
        period shown in the Declarations, unless the                               the following:
        policy period is extended after issuance for an                            a. The effective date of cancellation stated
        additional period of less than 12 months. In that                               in a written notice of cancellation from us
        case, the additional period will be deemed part of                              to you if the policy is cancelled for failure
        the last preceding period for purposes of                                       to pay a premium when due provided
        determining the Limits of Insurance.                                            such notice is mailed to you at least ten
    IV. DEDUCTIBLE                                                                      (10) days prior to the effective date of
                                                                                        cancellation. The mailing of such notice
        1. A deductible applies to all "damages" for
                                                                                        shall be sufficient notice and the
           injury arising from "wrongful acts" and any
                                                                                        effective date of cancellation stated in
           "defense expense" however caused.
                                                                                        the notice shall become the end of the
        2. Our obligation to pay "damages" and                                          "policy period". Any earned premium
           "defense expense" on behalf of any insured                                   shall be computed in accordancewith
           applies only to the sum of the amount of                                     the customary short rate table and
           "damages" and "defense expense" for any                                      procedure;
           one "claim" which are in excess of the
                                                                                   b. The effective date of cancellation stated
           deductible amount stated in the
                                                                                        in a written notice of termination from us
           Declarations.
                                                                                        to you if the policy is cancelled for any
        3. Your obligation is to pay the deductible                                     reason otherthan nonpaymentof
           applicableto each "claim" made againstthis                                   premium, provided such notice is mailed
           insurance. That deductible applies to the                                    to you at least sixty (60) days prior to the
           sum of all "damages" because of injury                                       effective date of cancellation. The
           arising from "wrongful acts" paid for any one                                mailing of such notice shall be sufficient
           "claim" and applicable "defense expense"                                     notice and the effective date of
           associated therewith. If there should be no                                  cancellation stated in the notice shall
           "damages" paid for a"claim", you are still                                   become the end of the "policy period".
           obligated to pay the applicable deductible for                               Any earned premium shall be computed
                                                                                        pro rata;
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            c. Upon receipt by us of the policy                                      b. If a"claim" is received by any insured:
                surrendered by you. Any earned                                          (1) You must immediately record the
                premium shall be computed in                                                 specifics of the "claim" and the date
                accordancewith the customaryshort                                            received;
                rate table and procedure;
                                                                                        (2) You and any other involved insured
            d. Upon transmittal to us of written notice                                      must see to it that we receive written
                of termination from you stating when                                         notice of the "claim", as soon as
                thereafter such termination shall be                                         practicable, but in any event we
                effective. Any earned premium shall be                                       must receive notice either:
                computed in accordancewith the
                customary short rate table and                                               (a) During the policy period or within
                procedure; or                                                                    thirty (30) days thereafter; or
            e. Upon expiration of the Policy Period as                                       (b) With respect to any "claim" first
                set forth in the Declarations.                                                   made during any Extended
                                                                                                 Reporting Period we provide
            Changes                                                                              under Section VI. EXTENDED
            This Coverage contains all agreements                                                REPORTING PERIODS, during
            between you and us concerning the                                                    such Extended Reporting
            insuranceafforded. The first Named Insured                                           Period.
            shown in the Declarations is authorized to                                       As a condition precedentfor
            make changes in the terms of this Coverage                                       coverage under this insurance,
            with our consent. This Coverage's terms can                                      notice of a"claim" must include the
            be amended or waived only by endorsement                                         detailed information required in
            issued by us and made a part of this                                             paragraphs4.a.(1), (2) and (3); and
            Coverage.
                                                                                         (3) You and any other involved insured
        4. Duties in the Event of "Wrongful Acts" or                                         must:
           "Claims"                                                                          (a) Immediately send us copies of
           a. You must see to it that we are notified as                                         any demands, notices,
               soon as practicable of any specific                                               summonses or legal papers
               "wrongful acts" which you believe may                                             received in connection with the
               result in an actual "claim". Your belief                                          "claim";
               must be reasonablycertain as the result                                       (b) Authorize us to obtain records
               of specific allegations made by a                                                 and other information;
               potential claimant or such potential
               claimant's representative, or as the                                          (c) Cooperate with us in the
               result of specifically identifiable injury                                        investigation, settlement or
               sustained by a potential claimant.                                                defense of the "claim"; and
               Notices of "wrongful acts" should include                                     (d) Assist us, upon our request, in
               the following detailed information:                                               the enforcement of any right
               (1) How, when and where such                                                      against any person or
                   "wrongful acts" took place;                                                   organization, which may be
                                                                                                 liable to the insured because of
               (2) The names and addresses of any                                                injury or damage to which this
                   potential claimants and witnesses;                                            insurance may also apply.
                   and
               (3) The nature of any injury arising out
                   of such "wrongful acts".
               Notice of such "wrongful acts" is not
               notice of a"claim", but preserves any
               insured's rights to future coveragefor
               subsequent"claims" arising out of such
               "wrongful acts" as described in the Basic
               Extended Reporting Period of Section
               VI. EXTENDED REPORTING
               PERIODS.

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                                                                                                               BUSINESSOWNERS
                                                                                                                      PB 05 89 0311
           c. No insureds will, except at their own                                  for "damages" that are not payable under the
                cost, voluntarily make a payment,                                    terms of this Coverage or that are in excess
                assume any obligation, or incur any                                  of the applicable limit of insurance. An
                expense without our consent, other than                              agreed settlement means a settlement and
                those specific payments authorized in                                release of liability signed by us, the insured
                Section I. COVERAGE, under paragraph                                 and the claimant or the claimant's legal
                2.f. of DEFENSE OF CLAIMS,                                           representative.
                ADMINISTRATIVE HEARINGS &                                        8. Other Insurance
                SETTLEMENT AUTHORITY.                                                If other valid and collectible insurance is
        5. Examination of Your Books and Records                                     available to the insured for "damages" or
           We may examine and audit your books and                                   "defense expense" we cover under this
           records as they relate to this insurance at                               Coverage, our obligations are limited as
           any time during the policy period and up to                               follows:
           three years thereafter.                                                   a. As this insurance is primary insurance,
        6. Inspections and Surveys                                                        our obligations are not affected unless
                                                                                          any of the other insurance is also
           We have the right but are not obligated to:
                                                                                          primary. Then, we will share with all that
           a. Make inspections and surveys at any                                         other insurance by the method
                time;                                                                     described in b. below.
           b. Give you reports on the employment                                     b. If all of the other insurance permits
                conditionswe find; and                                                    contribution by equal shares, we will
           c. Recommend procedures, guidelines and                                        follow this method also.
                changes.                                                                  Under this method, each insurer
           Any inspections, surveys, reports or                                           contributes equal amounts until it has
           recommendations relate only to insurability                                    paid its applicable limit of insurance or
           and the premiums to be charged. We do not                                      none of the loss remains, whichever
           undertake to perform the duty of any person                                    comes first.
           or organization to provide for the health or                                   If any of the other insurance does not
           safety of, or lawful practices towards your                                    permit contribution by equal shares, we
           workers or the public. We do not warrant                                       will contribute by limits.
           that conditions:
                                                                                          Under this method, each insurer's share
           (i) Are safe or healthful; or                                                  is based on the ratio of its applicable
           (ii) Comply with laws, regulations, codes or                                   limit of insurance to the total applicable
                standards as they relate to the purpose                                   limits of insurance of all insurers.
                of this or any other insurance.                                  9. Payment of Premiums and Deductibles
           This condition applies not only to us, but also                           Amounts
           to any rating, advisory, rate service or similar                          a. We will compute all premiums for this
           organization,which makes insurance                                             insurance in accordancewith our rules
           inspections, surveys, reports or                                               and rates; and
           recommendations on our behalf.
                                                                                     b. The first Named Insured shown in the
        7. Legal Action Against Us                                                        Declarations is responsible for the
           No person or organization has a right under                                    paymentof all premiums and
           this Coverage:                                                                 deductibles due and will be the payeefor
           a. To join us as a party or otherwise bring                                    any return premiums we pay.
                us into a "claim" seeking "damages"                              10. Representations
                from any insured; or                                                 By accepting this Coverage you agree:
           b. To sue us on this Coverage unless all of                               a. The statements in the Application are
                its terms have been fully complied with.                                  accurate and complete;
           Any person or organization may sue us to                                  b. Those statements are the basis of this
           recover on an agreed settlement or on a                                        endorsement and are to be considered
           final judgment against an insured obtained                                     as incorporated into and constituing a
           after an actual trial, but we will not be liable                               part of the Policy;

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            c. Those statements are material to the                        Vi. EXTENDED REPORTING PERIODS
                  acceptance of the risk assumed by the                        1. We will provide Extended Reporting Periods,
                  company; and                                                     as described below, if:
            d. Since we have issued this endorsement                               a. This Coverage is cancelled or not
                  in reliance upon your representations,                                renewed; or
                  this insurance is voidable if any material
                                                                                   b. We renew or replace this Coverage with
                  fact or circumstance relating to the
                                                                                        insurance that:
                  subject of this insurance is omitted or
                  misrepresented in yourapplication.                                    (1) Has a Retroactive Date later than
                                                                                             the date shown in the Declarations;
            Coverage provided elsewhere in this policy
                                                                                             or
            for unintentional errors or omissions do not
            apply to an application for or coverage                                     (2) Does not apply on a claims-made
            provided by this endorsement.                                                    basis.
        11. Separation Of Insureds                                             2. Extended Reporting Periods do not extend
                                                                                   the policy period or change the scope of
            Except with respect to the Limits of
                                                                                   coverage provided. They apply only to
            Insurance, and any rights or duties
                                                                                   "claims" as the result of "wrongful acts"
            specifically assigned in this Coverage to the
                                                                                   committed after the Retroactive Date, if any,
            first Named Insured, this insurance applies:
                                                                                   shown in the Declarations and before the
            a. As if each Named Insured were the only                              end of the policy period. Once in effect,
                  Named Insured; and                                               Extended Reporting Periods may not be
            b. Separatelyto each insured against                                   cancelled.
                  whom "claim" is made.                                        3. Extended Reporting Periods do not reinstate
        12. Sole Agent                                                             or increase the Limits of Insurance.
            The first Named Insured is authorized to act                       4. A Basic Extended Reporting Period is
            on behalf of all insureds as respects the                              automatically provided without additional
            giving or receiving of notice of cancellation                          charge. This period starts with the end of the
            or nonrenewal, receiving premium refunds,                              policy period and lasts for:
            requesting any Supplemental Extended                                   a. Five years with respect to "claims"
            Reporting Period and agreeing to any                                        arising out of "wrongful acts" which had
            changes in this Coverage.                                                   been properly reported to us before the
        13. Transfer Of Rights Of Recovery Against                                      end of the policy period in accordance
            Others To Us                                                                with Section V. CONDITIONS, under
                                                                                        paragraph 4.a. of Duties in the Event of
            If the insured has rights to recover all or part
                                                                                        "Wrongful Acts" or "Claims"; and
            of any paymentwe have made underthis
            insurance, those rights are transferred to us.                         b. Sixty-days with respect to "claims"
            The insured must do nothing after loss to                                   arising from "wrongful acts" not
            impair them. At our request, the insured will                               previously reported to us.
            sue those responsible or transfer those                                The Basic Extended Reporting Period does
            rights to us and help us enforce them.                                 not apply to "claims" that are covered under
        14. Transfer of Your Rights and Duties Under                               any subsequentinsuranceyou purchase, or
            This Coverage                                                          that would be covered but for exhaustion of
                                                                                   the amount of insurance applicable to such
            Your rights and duties underthis Coverage                              claims.
            may not be transferred without our written
            consent.                                                           5. A Supplemental Extended Reporting Period
                                                                                   is available, but only by endorsementand for
        15. When We Do Not Renew                                                   an extra charge. This supplemental period
            If we decide not to renew this insurance, we                           starts when the Basic Extended Reporting
            will mail or deliverto the first Named Insured                         Period setforth in paragraph4.b. above
            shown in the Declarations written notice of                            ends. You must give us a written requestfor
            the nonrenewal not less than 30 days before                            the endorsement, and its length, within 30
            the expiration date. If notice is mailed, proof                        days after the end of the policy period. The
            of mailing will be sufficient proof of notice.                         Supplemental Extended Reporting Period
                                                                                   will not go into effect unless you paythe
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              additional premium when due. We will                                 finding will take place, when either is the
              determine the additional premium in                                  result of any "wrongful act" to which this
              accordancewith our rules and rates. In                               insurance applies. This includes:
              doing so, we may take into account the                               (i) An arbitration proceeding in which such
              following:                                                                 "damages" are claimed and to which the
              a. The exposures insured;                                                  insured submits with our consent;
              b. Previous types and amounts of                                     (ii) Any other alternative dispute resolution
                   insurance;                                                            proceeding in which such "damages"are
              c. Limits of Insurance available under this                                claimed and to which the insured
                   Coverage for future payment of                                        submits with our consent; or
                   "damages" or "defense expense"; and                             (iii) Any administrative proceedings as
              d. Other related factors.                                                  established underfederal, state or local
                                                                                         laws applicableto "wrongful acts"
              The additional premium will not exceed                                     covered underthis insurance.
              200% of the annual premium for this
              Coverage.                                                         3. "Coverage territory" means:
         6. The Supplemental Extended Reporting                                    a. The United States of America (including
              Period Endorsementwe issue shall set forth                                 its territories and possessions) and
              the terms, not inconsistent with this VI.                                  Puerto Rico; or
              EXTENDED REPORTING PERIODS,                                          b. Anywhere in the world with respect to
              including a provision to the effect that the                               the activities of a person whose place of
              insurance afforded for "claims" first received                             employment is in the territory described
              during such period is excess over any other                                in paragraph 3.a. above, while he or she
              valid and collectible insurance available                                  is away for a short time on your
              under policies in force after the                                          business, provided that the insured's
              Supplemental Extended Reporting Period                                     responsibility to pay "damages" is
              begins.                                                                    determined in a suit on the merits (or
    VII. DEFINITIONS                                                                     any type of civil proceeding described
         The following words or phrases, which appear in                                 underthe definition of "claim") in and
         quotation marks throughoutthis Coverage Form                                    underthe substantive law of the United
         and any of its endorsements, are defined as                                     States of America (including its
         follows:                                                                        territories and possessions) or Puerto
                                                                                         Rico.
        1. "Bodily injury" means physical injury to the
                                                                                4. "Damages" means monetary amounts to
           body, sickness or disease sustained by a
                                                                                   which this insurance applies and which the
           person as the result of direct physical injury
                                                                                   insured is legally obligated to pay as
           to the body, including death resulting from
                                                                                   judgments or awards, or as settlements to
           any of these at any time. "Bodily injury" does
                                                                                   which we have agreed in writing.
           not include mental anguish that results from
           a "wrongful act".                                                       "Damages" include:
        2. "Claim" means written or oral notice                                    a. "Pre judgment interest" awarded against
           presented by:                                                                 the insured on that part of thejudgment
                                                                                         we pay;
           a. Any "employee," "leased worker,"
                "temporaryworker," former "employee"                               b. Any portion of a judgment or award, to
                or applicant for employment by you; or                                   the extent allowed by law, that
                                                                                         represents a multiple of the
           b. The EEOC or any other federal, state or                                    compensatoryamounts, punitiveor
                local administrative or regulatory agency                                exemplary damages; and
                on behalf of a person described in
                paragraph 2.a. above,                                              c. Statutory attorney fees.
           alleging that the insured is responsiblefor                             "Damages" do not include:
           "damages" as a result of injury arising out of                          (1) Civil, criminal, administrative or other
           any "wrongful act".                                                           fines or penalties;
           "Claim" includes any civil proceeding in
           which either "damages" are alleged or fact

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             (2) Equitable relief, injunctive relief,                                 c. A "temporary worker".
                 declarative relief or any other relief or                            However, "employee"does not includeany:
                 recovery other than money; or
                                                                                         (1) Independentcontractor;
             (3) Judgments or awards because of acts
                                                                                         (2) Any employees of any independent
                 deemed uninsurable by law.
                                                                                         contractorwhile acting within the scope
        5. "Defense expense" means payments                                              of their employment; or
           allocated to a specific "claim" for its
                                                                                         (3) Any "leased worker".
           investigation, settlement, or defense,
           including:                                                            7. "Employment Practices" means any
                                                                                     remedy which is sought by any of your:
           a. Attorney fees and all other litigation
                expenses.                                                            a. "Employees";
           b. The cost of bonds to appeal a judgment                                 b. "Leased workers";
                or award in any "claim" we defend. We                                c. Former "employees"; or
                do not have to furnish these bonds.                                  d. Applicants for employment by you,
           c. The cost of bonds to release                                           under any civil employment law whether
                attachments, but only for bond amounts                               federal, state or local and whether arising
                within the Amount of Insurance                                       out of statutory or common law, because of
                available. We do not have to furnish                                 any of the following actual or alleged
                these bonds.                                                         practices:
           d. Reasonable expenses incurred by the                                    (1) Wrongful refusal to employ a qualified
                insured at our requestto assist us in the                                applicant for employment;
                investigation or defense of any "claim",
                                                                                     (2) Wrongful failure to promote;
                including actual loss of earnings up to
                $250 a day because of time off from                                  (3) Wrongful deprivation of career
                work.                                                                    opportunity;
           e. AII court costs taxed against the insured                              (4) Wrongful demotion, evaluation,
                in the "claim". However, these                                           reassignment or discipline;
                payments do not include attorney's fees                              (5) Wrongful termination of employment,
                or attorney's expenses taxed against the                                 including constructive discharge;
                insured.                                                             (6) Employment related misrepresentation;
           "Defense expense" does not include:                                       (7) Harassment, coercion, discrimination or
           (1) Salaries and expenses of our employees                                    humiliation as a consequenceof race,
                or your "employee", other than:                                          color, creed, national origin, marital
                (a) That portion of our employed                                         status, medical condition, gender, age,
                     attorneys' fees, salaries and                                       physical appearance, physical and/or
                     expenses allocated to a specific                                    mental impairments, pregnancy, sexual
                     "claim" for the defense of the                                      orientation or sexual preference or any
                     insured; or                                                         other protected class or characteristic
                                                                                         established by any applicable federal,
                (b) The expenses described in
                                                                                         state or local statute; or
                     paragraph d. above; or
                                                                                     (8) Oral or written publication of material
           (2) Interest on the full amount of any
                                                                                         that:
                judgment that accrues after entry of the
                judgment and before we have paid,                                        (a) Slanders;
                offered to pay, or deposited in court the                                (b) Defames or libels; or
                amount available for the judgment under                                  (c) Violates or invades a right of
                the provisions of Section III. LIMITS OF                                       privacy.
                INSURANCE.
                                                                                 8. "Interrelated" means having as a common
        6. "Employee" means:                                                         nexus any fact, circumstance, situation,
           a. A person employed by you for wages or                                  event, transaction, cause or series of related
                salary;                                                              facts, circumstances, situations, events,
           b. A person who is a current or former                                    transactions or causes.
                member of your board of directors; or

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        9. "Leased worker" means a person leased to                           11. "Temporary worker" means a person who
            you by a labor leasing firm under an                                  is furnished to you to substitute for a
            agreement between you and the labor                                   permanent "employee" on leave or to meet
            leasing firm to perform duties related to the                         seasonal or short-term workload conditions.
            conduct of your business. "Leased worker"
                                                                              12. "Wrongful Acts" means "employment
            does not include a"temporary worker".
                                                                                  practices".
        10. "Pre judgment interest" means interest
            added to a settlement, verdict, award or
            judgment based on the amount of time prior
            to the settlement, verdict, award or
            judgment, whether or not made part of the
            settlement, verdict, award orjudgment.




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                                                                                                                      BUSINESSOWNERS
                                                                                                                          PB 15 0411 14

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            EXCLUSION - ACCESS OR DISCLOSURE OF
          CONFIDENTIAL OR PERSONAL INFORMATION AND
             DATA-RELATED LIABILITY - WITH LIMITED
                   BODILY INJURY EXCEPTION
     This endorsement modifies insurance provided underthe following:

       PREMIER BUSINESSOWNERS LIABILITY COVERAGE FORM

     A. In Section I. COVERAGES, COVERAGE A—                                   software which are used with electronically
        BODILY INJURY AND PROPERTY DAMAGE                                      controlled equipment. The term computer
        LIABILITY under Paragraph 2. EXCLUSIONS, the                           programs, referred to in the foregoing description
         following exclusion is added:                                         of electronic data, means a set of related
        This insurance, including any duty we have to                          electronic instructions which direct the operations
         defend "suits", does not apply to:                                    and functions of a computer or device connected
         Access Or Disclosure Of Confidential Or                               to it, which enable the computer or device to
         Personal Information And Data-related                                 receive, process, store, retrieve or send data.
        Liability                                                           B In Section 1. COVERAGES, COVERAGE B—
        1. Damages, other than damages because of                             PERSONAL AND ADVERTISING INJURY
             "personal and advertising injury", arising out of                LIABILITY under Paragraph 2. EXCLUSIONS, the
             any access to or disclosure of any person's or                   following exclusion is added:
             organization's confidential or personal                          This insurance, including any duty we have to
             information, including patents, trade secrets,                   defend "suits", does not apply to:
             processing methods, customer lists, financial
             information, credit card information, health                     Access Or Disclosure Of Confidential Or
             information or any other type of nonpublic                       Personal Information And Data-related
             information; or                                                  Liability
                                                                              "Personal and advertising injury" arising out of
        2. Damages arising out of the loss of, loss of use
                                                                              any access to or disclosure of any person's or
            of, damage to, corruption of, inability to
                                                                              organization's confidential or personal
           access, or inability to manipulate electronic
                                                                              information, including patents, trade secrets,
            data.
                                                                              processing methods, customer lists, financial
        This exclusion applies even if damages are                            information, credit card information, health
        claimed for notification costs, credit monitoring                     information or any other type of nonpublic
        expenses, forensic expenses, public relations                         information.
        expenses or any other loss, cost or expense                           This exclusion applies even if damages are
        incurred by you or others arising out of that which
                                                                              claimed for notification costs, credit monitoring
        is described in Paragraph 1. or 2. above.
                                                                              expenses, forensic expenses, public relations
        However, unless Paragraph 1. above applies, this                      expenses or any other loss, cost or expense
        exclusion does not apply to damages because of                        incurred by you or others arising out of any
        "bodily injury".                                                      access to or disclosure of any person's or
        As used in this exclusion, electronic data means                      organization's      confidential    or     personal
        information, facts or computer programs stored as                     information.
        or on, created or used on, or transmitted to or
        from computer software (including systems and
        applications software), on hard or floppy disks,
        CD-ROMs, tapes, drives, cells, data processing
        devices or any other repositories of computer


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                                                                                             BUSINESSOWNERS
                                                                                                 PB 20 0211 14

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        FOOD SERVICE PLUS ENDORSEMENT
    This endorsement modifies insurance provided under the following:

        PREMIER BUSINESSOWNERS PROPERTY COVERAGE FORM

                                                          SCHEDULE
    Coverage Description                                                  Limit of Insurance     Deductible
        Credit Card Forgery                                                      $5,000             $500
        Credit Card Slip Theit, Disappearance or Destruction                    $5,000              $500
        Automatic Extinguishing System Protecting Cooking Equipment
            Recharge Expenses .                                                 $5,000              $500
            Clean-up Expenses (Accidental Discharge)                            $5,000              $500
            Loss of Income from Discharge                                       $5,000              $500
        Food Contamination — Loss of Income            Per Described Premises $10,000 `      24 hour wait
                                                       Annual Policy Aggregate $50,000 `
                            — Restoration Expenses                             $10,000              $500
                            — Additional Advertising Expense                    $5,000              $500
                            — Inoculation Expense Reimbursement                 $5,000              $500
        Spoilage from Power Outage                                             $10,000 "            $500
    * If a higher limit was purchased for Food Contamination — Loss of Income or Spoilage from Power Outage, the
       limit for such coverage would be shown in the Declarations — however the Deductible remains unchanged.
    A. OPERATION OF THIS ENDORSEMENT                                      (2) The following exclusion is added:
       This Food Service PLUS Endorsement provides                            We will not pay for loss arising from
       the coverage described herein only at your                             any credit, debit or charge card
       covered restaurant premises. Restaurant                                transaction if you have not complied
       includes, but is not limited to, the following styles                  fully with the provisions, conditions
       of service under which you prepare and serve                           or other terms of the card issuer.
       food to the public: fine dining, family, buffet, fast
                                                                          (3) In Section A. COVERAGES, under
       food, pizza parlor, bagel shop, deli, sandwich
                                                                              2. PROPERTY NOT COVERED,
       shop, micro brewery or ice cream shop.
                                                                              item b. does not apply to this Credit
    B. The following is added to the PROPERTY                                 Card Forgery Additional Coverage.
       COVERAGEFORM:
                                                                          (4) We will not pay for loss or damage in
       1. Under Section A. COVERAGES, the                                     any one occurrence until the amount
            following is added to 5. ADDITIONAL                               of loss or damage exceeds the
            COVERAGES:                                                        Deductible shown in the Schedule of
            a. Credit Card Forgery                                            this endorsement. We will then pay
                 (1) We will pay for loss involving written                   the amount of loss or damage in
                     instruments required in conjunction                      excess of the Deductible up to the
                     with your customers' credit, debit or                    applicable Limit of Insurance shown
                     charge card resulting directly from                      in the Schedule of this endorsement.
                     forgery or alteration of such written                (5) AII loss caused by any person or in
                     instruments by your customers.                           which that person is involved,
                                                                              whether the loss involves one or
                                                                              more instruments, is considered one
                                                                              occurrence.
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            b. Credit Card Slip Theft, Disappearance                  (2) Clean up Expenses
               or Destruction                                              We will pay your necessary
               (1) We will pay for loss of written                         expenses to clean up a described
                    instruments required in conjunction                    premises after an accidental
                    with any credit, debit, or charge card                 discharge of an automatic
                    at the described premises resulting                    extinguishing system that protects
                    directly from theft meaning any act                    cooking equipment. The cleanup '
                    of stealing, disappearance or                          expenses must relate directly to
                    destruction.                                           such discharge.
               (2) In addition to the LIMITATIONS and                 (3) Lost Income from Discharge
                    EXCLUSIONS applicable to                               We will also pay for actual loss of
                    property coverage, we will not pay                     Business Income you sustain due to
                    for loss:                                              a suspension of your normal
                    (a) Resulting from accounting or                       business "operations" during the
                          arithmetical errors or omissions;                period of time normally required to
                          or                                               clean up and recharge your
                    (b) Due to the giving or                               automatic extinguishing system as a
                          surrendering of property in any                  result of its accidental discharge at
                          exchange or purchase.                            the described premises.
               (3) In Section A. COVERAGES, under                     We will not pay for loss or damage in any
                    2. PROPERTY NOT COVERED,                          one occurrence separately for each of
                    item b. does not apply to this Credit             these Automatic Extinguishing System
                    Card Slip Theft, Disappearance or                 Protecting Cooking Equipment Additional
                    Destruction Additional Coverage.                  Coverages until the amount of loss or
                                                                      damage exceeds the applicable
               (4) We will not pay for loss or damage                 Deductible shown in the Schedule of this
                    in any one occurrence until the                   endorsement. We will then pay the
                    amount of loss or damage exceeds                  amount of loss or damage in excess of
                    the Deductible shown in the                       the Deductible up to the applicable Limit
                     Schedule of this endorsement. We                 of Insurance shown in the Schedule of
                     will then pay the amount of loss ar              this endorsement for that coverage.
                     damage in excess of the Deductible
                     up to the applicable Limit of                 d. Food Contamination
                    Insurance shown in the Schedule of                 (1) Loss of Income. If your covered
                    this endorsement.                                      restaurant premises are affected as a
               (5) You must keep records of all written                    direct result of an "announcement" of
                    instruments so we can verify the                       "food contamination", we will pay the
                     amount of any loss or damage.                         loss of "business income" you sustain
                                                                           due to the necessary suspension of
               (6) AII loss:                                               your "operations". This coverage will
                    (a) Caused by one or more                              begin 24 hours after the date of the
                          persons; or                                      "announcement" and ends on the date
                    (b) Involving a single act or series                   when "business income" is restored to
                          of related acts;                                 95% of the level of the corresponding
                    is considered one occurrence.                          period in the year prior to the
                                                                           "announcement", in any event not to
            c. Automatic Extinguishing System                              exceed 12 months.
               Protecting Cooking Equipment
                                                                           The most we will pay for your loss of
               (1) Recharge Expenses                                       "business income" is the Per
                     We will pay your necessary                            Described Premises Limit of
                     expenses to recharge an automatic                      Insurance shown in the Schedule of
                     extinguishing system that protects                     this endorsement, subject to the
                     cooking equipment when                                 Annual Policy Aggregate shown in
                     discharged as designed or if                           the Schedule of this endorsement.
                     discharged accidentally.
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                     HOWEVER, if a limit of insurance is                    HOWEVER, this coverage does
                     shown at a premises described in                       not apply to you, your employees
                     the Property Declarations for Food                     (including temporary or leased
                     Contamination — Loss of Income,                        employees) or, unless they are
                     that limit replaces the Food                           an affected patron, members of
                     Contamination — Loss of Income                         either's household.
                     limit of insurance shown in the                   (d) Limits and Deductibles.
                     Schedule of this endorsement for                       Separately as regards to
                     that described premises.                               paragraphs (a), (b) and (c) and
                (2) If one of your covered restaurant                       described premises, we will not
                     premises is closed by the Board of                     pay for loss or damage until the
                     Health or any other governmental                       amount of loss or damage
                     authority having jurisdiction as a                     exceeds the Deductible shown in
                     result of the discovery or suspicion                   the Schedule of this endorsement.
                     of "food contamination", for that                      We will then pay the amount of
                     described premises, we will:                           loss or damage in excess of each
                     (a) Restoration Expenses                               Deductible up to the Limit of
                                                                            Insurance shown in the Schedule
                          (i) Pay your expense to clean
                                                                            of this endorsement.
                                your equipment as required
                                by the Board of Health or any      (3) We will not pay any fines or penalties
                                other governmental authority;          levied against you by the Board of
                                                                       Health or any other governmental
                          (ii) Pay your cost to replace the            authority having jurisdiction as a
                                food which is, or is
                                                                       result of the discovery or suspicion of
                                suspected to be,                       "food contamination" at a described
                                contam inated ;
                                                                       premises.
                          (iii) Pay your expense to provide        (4) Additional Definitions. As used in
                                necessary medical tests for            this endorsement:
                                your exposed employees
                                (including temporary or leased         (a) "Announcement" means a
                                employees) and inoculations                 declaration by a Board of Health
                                for your infected employees                 or any other governmental
                                (also including temporary or                authority having jurisdiction, or a
                                leased employees) who are                   publication or broadcast by the
                                potentially infected by the                 media, of the discovery or
                                "food contamination".                       suspicion of "food
                                However, we will not pay for                contamination" at a described
                                                                            premises or at a location of the
                                any expense that is otherwise
                                                                            same type, trade name and
                                covered under your Workers'
                                                                            operation. Any and all
                                Compensation Policy;
                                                                            "announcements" concerning
                      (b) Additional Advertising                            the same event or a series of
                           Expenses. Pay your additional                    related events, regardless of the
                          advertising expenses you incur                    number of locations or
                          to restore your reputation.                       individuals affected, shall be
                      (c) Inoculation Expense                               considered one
                           Reimbursement. Reimburse                         "announcement". Any such
                           your reasonable expenses                          "announcement" must occur
                           incurred for inoculation of your                  during the policy period.
                           restaurant patrons by a licensed            (b) "Food contamination" means
                           medical professional because of                   an outbreak of food poisoning or
                           "food contamination" alleged by                   food related illness of one or
                           such patrons to have been                         more persons arising out of:
                           transmitted or caused by
                                                                            (i) Tainted food you distributed
                           ingestion of your food.
                                                                                 or purchased;

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                           (ii) Food which has been                           (i) Maintained under controlled
                                 improperly processed,                             temperature or humidity
                                 stored, handled or prepared                        conditions for preservation;
                                 in the course of your                              and
                                 business operations; or                      (ii) Susceptible to loss or
                           (iii) Food which has been                                damage if the controlled
                                 contaminated by virus or                           temperature or humidity
                                 bacteria transmitted through                       conditions change.
                                 one or more employees,                   (b) "Power Outage" means
                                 including temporary or                 change in the temperature or
                                 leased employees.                      humidity resulting from complete or
            e.    Spoilage from Power Outage                            partial interruption of electrical
                  (1) We will pay for loss of or damage to              power, either on or off the premises
                      "perishable stock" at a premises                  described, due to conditions beyond
                      described in the Declarations,                    your control.
                      caused by "power outage" if the                         HOWEVER, "power outage"
                      "perishable stock" is:                                  does not include interruption of
                      (a) Owned by you and used in your                       electrical power caused by or
                           business; or                                       resulting from an "accident" to
                                                                              "covered equipment" under the
                      (b) Owned by others and in your                         Equipment Breakdown
                           care, custody or control,                          Additional Coverage.
                           however, such property is not
                           covered for more than the                (3) The following additional exclusions
                           amount for which you are legally             apply to this Spoilage from Power
                           liable, plus the cost of labor,              Outage Additional Coverage:
                           materials or services furnished or           We will not pay for loss or damage
                           arranged by you on that property.             caused by or resulting from:
                      HOWEVER, "perishable stock" does                  -(a) The disconnection of any
                      not include property located:                           refrigerating, cooling or humidity
                      (i) On buildings; or                                    control system from the source
                                                                              of power.
                      (ii) In the open.
                                                                         (b) The deactivation of electrical
                      We will not pay for loss or damage in
                                                                              power caused by the manipulation
                      any one occurrence until the amount
                                                                              of any switch or other device used
                      of loss or damage exceeds the
                                                                              to control the flow of electrical
                      Deductible shown in the Schedule of
                                                                              power or current.
                      this endorsement. We will then pay
                      the amount of loss or damage in                    (c) The inability of an electrical
                      excess of the Deductible up to the                      utility company or other power
                      applicable Limit of Insurance shown                     source to provide sufficient
                      in the Schedule of this endorsement.                    power due to:
                      HOWEVER, if a limit of insurance is                     (i) Lack of fuef; or
                      shown at a premises described in the                  (ii) Governmental order.
                      Property Declarations for Spoilage                (d) The inability of a power source
                      From Power Outage, that limit                         at the described premises to
                      replaces the Spoilage From Power                      provide sufficient power due to
                      Outage limit of insurance shown in                    lack of generating capacity to
                      the Schedule of this endorsement.                     meet demand.
                  (2) As used in this Spoilage from Power           (4) The coverage provided by this
                      Outage Additional Coverage:                       Spoilage from Power Outage
                      (a) "Perishable Stock" means                       Additional Coverage is excess over
                          property:                                     any other valid and collectible
                                                                        insurance.

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                                                                                                                    BUSINESSOWNERS
                                                                                                                        PB 20 99 0411

          THIS ENDORSEMENTCHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           BUSINESSOWNERS ADVANTAGE
    This endorsement modifies insurance provided under the following:

        PREMIER BUSINESSOWNERS PROPERTY COVERAGE FORM
        PREMIER BUSINESSOWNERS LIABILITY COVERAGE FORM


    A. AMENDMENTS TO THE PROPERTY                                               2. Utility Services Additional Coverage
        COVERAGE FORM                                                              (including Business Income)
        1. In Section A. COVERAGES, 6. COVERAGE                                    a. We will pay for loss of or damage to the
           EXTENSIONS, under paragraph c., Personal                                    Buildings and Business Personal
           Property OfF Premises, the following is added:                              Property shown in the Declarations,
           Additional Limits of Insurance - Business                                   including loss of "business income" or
           Personal Property Away From Premises                                        "extra expense", caused by the
                                                                                       interruption of utility service to the
           In addition to and excess over the limits of
                                                                                        described premises. The interruption
           insurance provided for Personal Property Off
                                                                                        must result from direct physical loss or
           Premises, whether provided in the
                                                                                        damage by a Covered Cause of Loss to
           PROPERTY COVERAGE FORM or under
                                                                                        the property described in Paragraph
           the optional endorsement PB5301, Increased
                                                                                       b.(1) that follows, if such property is
           Limits - Business Personal Property Away
                                                                                       located outside of a covered building
           From Premises, the most we will pay as
                                                                                        described in the Declarations.
           additional insurance for loss or damage
           under this Personal Property Off Premises                                    Loss of Business Income or Extra
           Coverage Extension is:                                                       Expense must arise from the necessary
                                                                                        suspension of your "operations" during
           (1) $50,000 for Business Personal Property
                                                                                        the "period of restoration".
                Away From Premises; and
                                                                                     b. Additional Definitions
           (2) $25,000 for Business Personal Property
                Away From Premises in Transit.                                          For the purpose of this endorsement,
           HOWEVER, for Business Personal Property                                      (1) Utility Services include:
           Away From Premises in Transit, the                                               (a) Water Supply Services,
           following additional exclusions apply:                                                 meaning the following types or
           We will not pay for loss or damage caused                                             property supplying water to the
           by or arising out of:                                                                 described premises:
           (1) Unattended Vehicle. Theft from an                                                 (i) Pumping stations; and
                unattended vehicle, except when it is                                              (ii) Water mains.
                securely locked, its windows are fully                                         (b) Communication Supply Services,
                closed and there is visible evidence that                                          meaning property supplying
                entry into the vehicle was forced. This                                            communication services,
                exclusion does not apply to Covered                                                including telephone, radio,
                Property in the custody of a carrier for                                           microwave, or television services.
                hire.                                                                              to the described premises, such
           (2) Partial Contents. Theft of part of the                                              as:
                contents of any shipping package.                                                  (i) Communication transmission
           (3) Employee. Theft by an employee of                                                        lines, including optic fiber
                yours, whether such employee is acting                                                  transmission lines;
                alone or in collusion with others.                                                 (ii) Coaxial cables; and


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                          (iii) Microwave radio relays                                     (3) Back Up Of Sewer Or Drain Water
                                 except satellites.                                            Damage, paragraph r. (3); and
                          It does include overhead                                      b. In Section A. COVERAGES, 6.
                          transmission lines.                                              COVERAGE EXTENSIONS, for:
                      (c) Power Supply Services, meaning                                   (1) Valuable Papers and Records, the
                          the following types of property                                      first paragraph of g. (3);
                          supplying electricity, steam or                                    (2) Accounts Receivable, the first
                           gas to the described premises:                                          paragraph of h. (2); and
                          (i) Utility generating plants;                                c. If a Utility Services Limit of Insurance' is
                          (ii) Switching stations;                                           shown at a described premises in the
                          (.u..)                                                             Declarations, for Utility Services —
                             l Substations;
                                                                                             Additional Coverage (Including
                            (iv) Transformers; and                                           Business Income);
                            (v) Transmission lines.                                     the most we will pay per building as
                            It does include overhead                                    additional insurance in any one occurrence
                            transmission lines.                                         for the sum of all loss or damage covered by
                  (2) "Period of restoration" shall mean                                these Additional Coverages and Coverage
                       the period of time that:                                         Extensions, is the ADVANTAGE Blanket
                       (a) Begins twelve hours after the                                Additional Limit of Insurance shown in the
                            interruption of service to the                              Declarations.
                            described premises forces you to                            HOWEVER:
                            suspend your "operations"; and                              a. If no Utility Services Limit of Insurance is
                       (b) Ends when the utility service to                                  shown at a described premises in the
                            the described premises is                                        Declarations, the ADVANTAGE Blanket
                            restored.                                                        Additional Limit of Insurance applies to
                       "Period of restoration" does not                                      the Utility Services — Additional
                       include any increased period                                          Coverage provided in paragraph B.2. of
                       required due to the enforcement of                                    this endorsement; and
                       any ordinance or law that:                                       b. For the Back Up Of Sewer Or Drain
                       (i) Regulates the construction, use                                   Water Damage Additional Coverage, the
                            or repair, or requires the tearing                               policy aggregate limit shown for Back
                            down of any property; or                                         Up Of Sewer Or Drain in the
                                                                                             Declarations is also increased by adding
                       (ii) Requires any insured or others
                                                                                             to it the dollar amount of the
                            to test for, monitor, clean up,
                                                                                             ADVANTAGE Blanket Additional Limit of
                            remove, contain, treat, detoxify
                                                                                             Insurance shown in the Declarations.
                            or neutralize, or in any way
                            respond to or assess the effects                       4. Deductibles .
                            of "pollutants".                                          For coverage in this endorsementthat is
                       The expiration date of this policy will                        excess over coverage provided elsewhere in
                       not cut short the "period of                                   the policy, the underlying deductible
                       restoration".                                                  continues to apply.
        3. ADVANTAGE Blanket Additional Limit of                                      HOWEVER, if no Utility Services Limit of
           Insurance                                                                  Insurance is shown at a described premises
                                                                                      in the Declarations, underthe Utility
           In addition to and excess overthe limits of
                                                                                      Services Additional Coverage provided in
           insurance provided:
                                                                                      this endorsement, a $1,000 deductible
            a. In Section A, COVERAGES, 5.                                            applies to the direct loss or damage portion
               ADDITIONAL COVERAGES, for:                                             of a loss.
               (1) Debris Removal, paragraph a. (4);
               (2) Forgery And Alteration,
                   paragraph I. (3);


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    B. AMENDMENTS TO THE LIABILITY                                                  d. AII reasonable expenses incurred by the
        COVERAGE FORM.                                                                  insured at our request to assist us in the
                                                                                        investigation or defense of the claim or
        1. Under Section I. COVERAGES, A.                                               "suit", including actual Ioss of earnings
           COVERAGE A— BODILY INJURY AND                                                up to $500 a day because of time off
           PROPERTY DAMAGE LIABILITY, 2.                                                from work.
           EXCLUSIONS, exclusion g. Aircraft, Auto Or
           Watercraft, paragraph 2) a) is deleted and                           23. In SECTION II. WHO IS AN INSURED,
           replaced by:                                                             paragraph 4. a. is deleted and replaced by:
           a) Less than 51 feet long; and                                           a. Coverage underthis provision is
                                                                                        afforded only until the 180th day after
        2. Under SECTION I. COVERAGES, D.                                               you acquire or form the organization or
           SUPPLEMENTARY PAYMENTS —                                                     the end of the policy period, whichever
           COVERAGES A AND B, paragraphs 1., b.                                         is earlier;
           and d. are deleted and replaced by:
                                                                                24. Under SECTION V. DEFINITIONS,
           b. Up to $2,500 for cost of bail bonds                                   definition 3. "Bodily injury" is deleted and
               required because of accidents or traffic                             replaced by:
               law violations arising out of the use of
               any vehicle to which the Bodily Injury                               "Bodily injury" means bodily injury,
               Liability Coverage applies. We do not                                sickness or disease sustained by a person,
               have to furnish these bonds.                                         including mental anguish, mental injury,
                                                                                    shock, fright or death resulting from any of
                                                                                    these at any time.


                 AII terms and conditions of this policy apply unless modified by this endorsement.




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                                                                                                                     BUSINESSOWNERS
                                                                                                                         PB 29 98 09 08

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           EXCLUSION - VIOLATION OF
                        CONSUMER PROTECTION STATUTES
    This endorsement modifies insurance provided under the following:

        PREMIER BUSINESSOWNERS LIABILITY COVERAGE FORM


    A. In Section 1. COVERAGES, COVERAGE A— BODILY INJURY AND PROPERTY DAMAGE LIABILITY under
         of Paragraph 2. EXCLUSIONS, the following exclusion is added:
         This insurance, including any duty we have to defend "suits", does not apply to:
        VIOLATION OF CONSUMER PROTECTION STATUTES
        "Bodily injury" or "property damage" arising directly or indirectly out of any action or omission that violates or
         is alleged to violate:
        1. The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
        2. The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
        3. The Fair Credit Reporting Act (FCRA) and any amendment of or addition to such law including the Fair
              and Accurate Credit Transaction Act (FACTA); or
        4. Any statute, ordinance or regulation, other than the TCPA or CAN-SPAM Act of 2003 or FCRA, that
              addresses, prohibits or limits the electronic printing, dissemination, disposal, sending, transmitting,
              communicating or distribution of material or information.
    B. In Section 1. COVERAGES, COVERAGE B — PERSONAL AND ADVERTISING INJURY LIABILITY, under
        Paragraph 2. EXCLUSIONS, the following exclusion is added:
        This insurance, including any duty we have to defend "suits", does not apply to:
        VIOLATION OF CONSUMER PROTECTION STATUTES
        "Personal and advertising injury" arising directly or indirectly out of any action or omission that violates or is
        alleged to violate:
        1. The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
        2. The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
        3. The Fair Credit Reporting Act (FCRA) and any amendment of or addition to such law including the Fair.
           and Accurate Credit Transaction Act (FACTA); or
        4. Any statute, ordinance or regulation, other than the TCPA or CAN-SPAM Act of 2003 or FCRA, that
           addresses, prohibits or limits the electronic printing, dissemination, disposal, sending, transmitting,
           communicating or distribution of material or information. ,


                 AII terms and conditions of this policy appty unless modified by this endorsement.




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                                                                                                       BUSINESSOWNERS
                                                                                                           PB 58 05 11 14

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                              DATA COMPROMISE COVERAGE
                           RESPONSE EXPENSES AND DEFENSE AND LIABILITY

    This endorsement modifies insurance provided under the following:


    PREMIER BUSINESSOWNERS PROPERTY COVERAGE FORM



    Under Section A. COVERAGES, 5. ADDITIONAL                              individuals".
    COVERAGES, the following Additional Coverage is                        This does not include costs to analyze, research
    added:                                                                 or determine any of the following:
    SECTION 1- RESPONSE EXPENSES                                           a. Vulnerabilities in systems, procedures or
                                                                                physical security;
    DATA COMPROMISE COVERED CAUSE OF                                       b. Compliance with Payment Card Industry or
    LOSS                                                                        other industry security standards; or
    Coverage under this Data Compromise Coverage                           c. The nature or extent of loss or damage to
    endorsement applies only if all of the following                            data that is not "personally identifying
    conditions are met:                                                         information"     or    "personally    sensitive
    1. There has been a"personal data compromise";                              information".
         and                                                               if there is reasonable cause to suspect that a
    2. Such "personal data compromise" is first                            covered "personal data compromise" may have
         discovered by you during the policy period for                    occurred, we will pay for costs covered under
         which this Data Compromise Coverage                               Forensic IT Review, even if it is eventually
         endorsement is applicable; and                                    determined that there was no covered "personal
    3. Such "personal data compromise" is reported to                      data compromise". However, once it is
         us within 60 days after the date it is first                      determined that there was no covered "personal
         discovered by you.                                                data compromise", we will not pay for any further
    AII incidents of "personal data compromise" that are                   costs.
    discovered at the same time or arise from the same                 2. Legal Review
    cause will be considered one "personal data                            Professional legal counsel review of the
    compromise".                                                           "personal data compromise" and how you should
                                                                           best respond to it.
    COVERAGE — SECTION 1                                                   If there is reasonable cause to suspect that a
    If the three conditions listed above in DATA                           covered "personal data compromise" may have
    COMPROMISE — COVERED CAUSE OF LOSS                                     occurred, we will pay for costs covered under
    have been met, then we will provide coverage for the                   Legal Review, even if it is eventually determined
    following expenses when they arise directly from the                   that there was no covered "personal data
    covered cause of loss and are necessary and                            compromise". However, once it is determined
    reasonable. Coverages 4 and 5 apply only if there                      that there was no covered "personal data
    has been a notification of the "personal data                          compromise", we will not pay for any further
    compromise" to "affected individuals" as covered                       costs.
    under coverage 3.                                                  3. Notification to Affected Individuals
    1. Forensic IT Review                                                  We will pay your necessary and reasonable
         Professional information technologies review if                   costs to provide notification of the "personal data
         needed to determine, within the constraints of                    compromise" to "affected individuals".
         what is possible and reasonable, the nature and               4.  Services to AfPected Individuals
         extent of the "personal data compromise" and                      We will pay your necessaryand reasonable
         the number and identities of the "affected                        costs to provide the following services to
                                                                           "affected individuals".
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        a. The following services apply to any "personal                 The Data Compromise Response Expenses Limit is
            data compromise".                                            an annual aggregate limit. This amount is the most
            1) Informational Materials                                   we will pay for the total of all loss covered under
                 A packet of loss prevention and                         Section 1 arising out of all "personal data
                 customer support information.                           compromise" events which are first discovered by
            2) Help Line                                                 you during the present annual policy period. This
                 A toll-free telephone line for "affected                limit applies regardless of the number of "personal
                 individuals" with questions about the                   data compromise" events discovered by you during
                 "personal data compromise". Where                       that period.
                 applicable, the line can also be used to                A"personal data compromise" may be first
                 request additional services as listed in b.             discovered by you in one policy period but cause
                 1) and 2).                                              covered costs in one or more subsequent policy
        b. The following additional services apply to                    periods. If so, all covered costs arising from such
            "personal data compromise" events involving                  "personal data compromise" will be subject to the
            "personally identifying information".                        Data Compromise Response Expenses Limit
            1) Credit Report and Monitoring                              applicable to the policy period when the "personal
                 A credit report and an electronic service               data compromise" was flrst discovered by you.
                 automatically monitoring for activities                 The most we will pay under Response Expenses
                 affecting an individual's credit records.               coverage for loss arising from any "ma lwa re -related
                 This service is subject to the "affected                compromise" is the Named Malware (Sec. 1)
                 individual" enrolling for this service with             sublimit for this endorsement as indicated on the
                 the designated service provider.                        Declarations. For the purpose of the Named
            2) Identity Restoration Case Management                      Malware (Sec. 1) sublimit, all "ma lwa re -related
                 As respects any "affected individual"                   compromises" that are caused, enabled or abetted
                 who is or appears to be a victim of                     by the same virus or other malicious code are
                 "identity theft" that may reasonably have               considered to be a single "personal data
                 arisen from the "personal data                          compromise".
                 compromise", the services of an identity                The most we will pay under Forensic IT Review,
                 restoration professional who will assist                Legal Review and PR Services coverages for loss
                 that "affected individual" through the                  arising from any one "personal data compromise" is
                 process of correcting credit and other                  the applicable sublimit for each of those coverages
                 records and, within the constraints of                  as indicated on the Declarations. These sublimits are
                 what is possible and reasonable,                        part of, and not in addition to, the Data Compromise
                 restoring control over his or her personal              Response Expenses Limit. PR Services coverage is
                 identity.                                               also subject to a limit per "affected individual" as
    S. PR Services                                                       described in 5. PR Services.
        Professional public relations firm review of and                 Coverage for Services to "affected individuals" is
        responseto the potential impact of the "personal                 limited to costs to provide such services for a period
        data compromise" on your business                                of up to one year from the date of the notification to
        relationships.                                                   the "affected individuals". Notwithstanding, coverage
        This includes costs to implement public relations                for ldentity Restoration Case Management services
        recommendations of such firm. This may include                   initiated within such one year period may continue for
        advertising and special promotions designed to                   a period of up to one yearfrom the date such Identity
        retain your relationship with "affected                          Restoration Case Management services are initiated.
        individuals". However, we will not pay for                       DEDUCTIBLE — SECTION 1
        promotions:                                                      Response Expenses coverage is subject to the
        a. Provided to any of your directors or                            Response Expenses Deductible for this
             employees; or;                                                endorsement as indicated on the Declarations. You
        b. Costing more than $25 per "affected                             shall be responsible for such deductible amount as
             individuar.                                                  respects each "personal data compromise" covered
    LIMITS — SECTION 1                                                    underthis endorsement.
    The most we will pay under Response Expenses
    coverage is the Data Compromise Response
    Expenses Limit for this endorsement as indicated on
    the Declarations.
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                                                                                                     BUSINESSOWNERS
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    SECTION 2— DEFENSE AND LIABILITY                                compromise" is the Named Malware (Sec. 2)
                                                                    sublimit for this endorsement as indicated on the
    DEFENSE AND LIABILITY COVERED CAUSE OF                          Declarations. For the purpose of the Named
    LOSS                                                            Malware (Sec. 2) sublimit, all "malware-related
    Coverage under this Data Compromise Coverage                    compromises" that are caused, enabled or abetted
    endorsement applies only if all three of the                    by the same virus or other malicious code are
    conditions in DATA COMPROMISE — COVERED                         consideredto be a single "personal data
    CAUSE OF LOSS are met.                                          compromise". This sublimit is part of, and not in I
    Only with regard to Section 2— Defense and Liability            addition to, the Defense and Liability Limit.     ~
    coverage, the following conditions must also be met:            DEDUCTIBLE — SECTION 2
    1. You have provided notifications and services to              Defense and Liability coverage is subject to !the
        "affected individuals" in consultation with us              Defense and         Liability Deductible for this
        pursuant to Response Expenses coverage; and                 endorsement as indicated on the Declarations. You
    2. You receive notice of a"data compromise suit"                shall be responsible for such deductible amount as
        brought by one or more "affected individuals" or            respects each "data compromise suit" covered under
        by a governmental entity on behalf of one or                this endorsement.
        more "affected individuals"; and
    3. Notice of such "data compromise suit" is                     EXCLUSIONS, ADDITIONAL
       received by you within two years of the date that            CONDITIONS AND DEFINITIONS
       the "affected individuals" are notified ofthe
         "personal data compromise"; and                            APPLICABLE TO BOTH SECTION 1 AND
    4.   Such "data compromise suit" is reported to us as           SECTION 2
         soon as practicable, but in no event more than
         60 days after the date it is first received by you.        EXCLUSIONS
    COVERAGE — SECTION 2                                            The following additional exclusions apply to this
    If all of the conditions listed above in DEFENSE AND            coverage:
    LIABILITY — COVERED CAUSE OF LOSS have                          We will not pay for costs arising from tlie following:
    been met, then we will provide coverage for "data               1. Your intentional or willful complicity in a"personal
    compromise defense costs" and "data compromise                        data compromise".
    liability" directly arising from the covered cause of             2. Any criminal, fraudulent or dishonest act, error or
    loss.                                                                 omission, or any intentional or knowing violation
    LIMITS — SECTION 2                                                    of the law by you.
    The most we will pay under Defense and Liability                  3. Any "personal data compromise" occurring prior
    coverage (other than post judgment interest) is the                   to the first inception of this Data Compromise
    Data Compromise Defense and Liability Limit for this                  Coverage endorsement or any coverage
    endorsement as indicated on the Declarations.                         substantially similar to that described in this
    The Data Compromise Defense and Liability Limit is                    endorsement.
    an annual aggregate limit. This amount is the most                4. Costs to research or correct any deficiency. This
    we will pay for all loss covered under Section 2                      includes, but is not limited to, any deficiency in
    (other than post-judgment interest) arising out of all                your  systems, procedures or physical security
    "personal data compromise" events which are first                     that may have contributed to a"personal data
    discovered by you during the present annual policy                    compromise".
    period. This limit applies regardless of the number of             5. Any fines or penalties. This includes, but is not
    "personal data compromise" events discovered by                       limited to, fees or surcharges from affected
    you during that period.                                               financial institutions.
    A"personal data compromise" may be first                          6. Any criminal investigations or proceedings.
    discovered by you in one policy period but cause                   7. Any extortion or blackmail. This includes, but is
    covered costs in one or more subsequent policy                         not limited to, ransom payments and private
    periods. If so, all covered costs arising from such                   security assistance.
    "personal data compromise" (other than post-                      8. Any "personal data compromise" involving data
    judgment interest) will be subject to the Data                        that is being transmitted electronically, unless
    Compromise Defense and Liability Limit applicableto                    such data is encrypted to protect the security of
    the policy period when the "personal data                             the transmission.
    compromise" was first discovered by you.                           9. Your reckless disregard for the security of
    The most we will pay under Defense and Liability                      "personally identifying information" or "personally
    coverage for loss arising from any "malware-related                   sensitive information" in your care, custody or
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     control.                                                                       as practicable, but in no event more than
    10.That part of any "data compromise suiY' seeking                              60 days after the date the "data
       any non-monetary relief.                                                     compromise suit" is first received by you_
                                                                                c. Immediately send us copies of any
    ADDITIONAL CONDITIONS                                                           demands, notices, summonses or legal
    The following Additional Conditions apply to all                                papers received in connection with the
    coverages under this endorsement.                                               "data compromise suit";
    A. Data Compromise Liability Defense                                        d. Authorize us to obtain records and other
       1. We shall have the right and the duty to                                   information;
           assume the defense of any applicable "data                           e.  Cooperate with us in the investigation,
           compromise suit" against you. You shall give                             settlement or defense of the "data
           us such information and cooperation as we                                compromise suit";
           may reasonablyrequire.                                               f. Assist us, upon our request, in the
       2. You shall not admit liability for or settle any                           enforcement of any right against any
          "data compromise suit" or incur any defense                               person or organization which may be
           costs without our prior written consent.                                 liable to you because of loss to which
       3. If you refuse to consent to any settlement                                this insurance may also apply; and
           recommended by us and acceptable to the                              g. Not take any action, or fail to take any
           claimant, we may then withdraw from your                                 required action, that prejudices your
           defense by tendering control of the defense to                           rights or our rights with respect to such
           you. From that point forward, you shall, at                              "data  compromise suit".
           your own expense, negotiate or defend such                      2. You may not, except at your own cost,
           "data compromise suiY' independently of us.                          voluntarily make a payment, assume any
           Our liability shall not exceed the amount for                        obligation, or incur any expense without our
           which the claim or suit could have been                              prior written consent.
           settled if such recommendation was                               3. If you become aware of a claim or complaint
           consented to, plus defense costs incurred by                         that may become a"data compromise suit",
           us, and defense costs incurred by you with                           you shall promptly inform us of such claim or
           our written consent, prior to the date of such                       complaint.
           refusal.                                                    C. Due Diligence
       4. We shall not be obligated to pay any damages                    You agree to use due diligence to prevent and
           or defense costs, or to defend or continue to                  mitigate   costs covered under this endorsement.
           defend any "data compromise suit", after the                   This   includes,  but is not limited to, complying
           Data Compromise Defense and Liability Limit                    with, and requiring your vendors to comply with,
           has been exhausted.                                            reasonable and industry-accepted protocols for:
        5. We shall pay all interest on that amount of                    1. Providing and maintaining appropriate
            any judgment within the Data Compromise                           physical security for your premises, computer
            Defense and Liability Limit which accrues:                        systems and hard copy files;
            a. after entry of judgment; and                               2. Providing and maintaining appropriate
            b. before we pay, offer to pay or deposit in                      computerand Internetsecurity;
                court that part of the judgment within the                3.  Maintaining     and updating at appropriate
                Data Compromise Defense and Liability                         intervals backups of computer data;
                Limit or, in any case, before we pay or                    4. Protecting transactions, such as processing
                offer to pay the entire Data Compromise                        credit card, debit card and check payments;
                Defense and Liability Limit.                                  and
            These interest payments shall be in addition                  5. Appropriate disposal of files containing
            to and not part of the Data Compromise                            "personally identifying information" or
            Defense and Liability Limit.                                      "personally sensitive information", including
    B. Duties in the Event of a"Data Compromise                               shredding hard copy files and destroying
       Suit"                                                                  physical media used to store electronic data.
        1. If a"data compromise suit" is brought                       D. Legal Advice
             against you, you must:                                        We are not your legal advisor. Our determination
             a. Immediately record the specifics of the                    of what is or is not covered under this Data
                 "data compromise suit" and the date                       Compromise Coverage endorsement does not
                 received; and                                             represent advice or counsel from us about what
             b. Provide us with written notice, as soon                    you      should       or     should      not     do.
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                                                                                                          BUSINESSOWNERS
                                                                                                                   PB 58 05 11 14
    E. Pre-Notification Consultation                                        individuaP' by us, our designees or any service
       You agree to consult with us prior to the issuance                   firm paid for in whole or in part under this Data
       of notification to "affected individuals~'. We                       Compromise coverage:
       assume no responsibility under this Data                             1. The effectiveness of such services depends
       Compromise Coverage for any services                                      on your cooperation and assistance.
       promised to "affected individuals" without our                       2. AII services may not be available or applicable
       prior agreement. If possible, this pre-notification                      to all individuals. For example, "affected
       consultation will also include the designated                             individuals" who are minors or foreign
       service provider(s) as agreed to under Additional                         nationals may not have credit records that can
       Condition F. Service Providers. You must provide                          be provided or monitored. Service in Canada
       the following at our pre-notification consultation                        will be different from service in the United
       with you:                                                                 States and Puerto Rico in accordance with
       1. The exact list of "affected individuals" to be                         local conditions.
           notified, including contact information.                         3. We do not warrant or guarantee that the
       2. Information about the "personal data                                   services will end or eliminate all problems
           compromise" that may appropriately be                                 associated with the covered events.
           communicated with "affected individuals".                        4. You will have a direct relationship with the
       3. The scope of services that you desire for the                          professional service firms paid for in whole or
           "affected individuals". For example, coverage                         in part under this coverage. Those firms work
           may be structured to provide fewer services in                       for you.
           order to make those services available to                    DEFINITIONS
           more "aPPected individuals" without exceeding                With respect to the provisions of this endorsement
           the available Response Expenses Limit.                       only, the following definitions are added:
    F.       Service Providers                                          1. "Affected Individual" means any person who is
       1. We will only pay under this Data Compromise                        your current, former or prospective customer,
           Coverage for services that are provided by                        client, member, owner, director or employee and
           service providers approved by us. You must                        whose "personally identifying information" or
           obtain our prior approval for any service                         "personally sensitive information" is lost, stolen,
           provider whose expenses you want covered                          accidentally released or accidentally published
           under this Data Compromise Coverage. We                           by a"personal data compromise" covered under
           will not unreasonablywithhold such approval.                      this endorsement. This definition is subject to the
       2. Prior to the Pre-Notification Consultation                         following provisions:
           described in Additional Condition E. above,                       a. "Affected individual" does not include any
           you must come to agreement with us                                      business or organization. Only an individual
           regarding the service provider(s) to be used                            person may be an "affected individual".
           for the Notification to Affected Individuals and                  b. An "affected individual" must have a direct
           Services to Affected Individuals. We will                               relationship with your interests as insured
           suggest a service provider. If you prefer to                            under this policy. The following are
           use an alternate service provider, our                                  examples of individuals who would not meet
           coverage is subject to the following                                    this requirement: .
           limitations:                                                            1) If you aggregate or sell information
           a. Such alternate service provider must be                                  about individuals as part of your
               approved by us;                                                         business, the individuals about whom
           b. Such alternate service provider must                                      you keep such information do not qualify
               provide services that are reasonably                                    as "affected individuals". However,
               equivalent or superior in both kind and                                 specific individuals may qualify as
               quality to the services that would have                                 "affected individuals" for another reason,
               been provided by the service providerwe                                 such as being an employeeof yours.
               had suggested; and                                                  2) If you store, process, transmit or
           c. Our paymentfor services provided by any                                  transport records, the individuals whose
               alternate service provider will not exceed                              "personally identifying information" or
               the amount that we would have paid using                                 "personally sensitive information" you
               the service providerwe had suggested.                                    are storing, processing, transmitting or
    G. Services                                                                         transporting for another entity do not
       The following conditions apply as respects any                                   qualify   as     "affected    individuals".
       services provided to you or any "affected                                        However, specific individuals may qualify
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              3) as "affected individuals" for another                           the United States of America, Puerto Rico or
                   reason, such as being an employee of                          Canada. "Data compromise suit" includes:
                   yours.                                                        1) An arbitration proceeding in which such
              4) You may have operations, interests or                                 damages are claimed and to which you
                   properties that are not insured underthis                           must submit or do submit with our
                   policy. Individuals who have a                                      consent;
                   relationship with you through such other                      2) Any other alternative dispute resolution
                   operations, interests or properties do not                          proceeding in which such damages are
                   qualify     as   "affected    individuals".                         claimed and to which you submit with our
                   However, specific individuals may qualify                           consent; or
                   as "affected individuals" for another                         3) A written demand for money, when such
                   reason, such as being an employee of                                demand could reasonably result in a civil
                   the operation insured underthis policy.                             proceeding as described in this definition.
         c. An "affected individual" may reside anywhere                     b. "Data compromise suit" does not mean any
              in the world.                                                      demand or action brought by or on behalf of
    2. "Data Compromise Defense Costs" means                                     someonewho is:
        expenses resulting solely from the investigation,                        1) Your director or officer;
        defense and appeal of any "data compromise                               2) Your owneror part-owner; or
        suit" against you. Such expenses must be                                 3) A holderof yoursecurities;
        reasonable and necessary. They will be incurred                          in their capacity as such, whether directly,
        by us. They do not include your salaries or your                         derivatively, or by class action. "Data
        loss of earnings. They do include premiums for                           compromise suit" will include proceedings
        any appeal bond, attachment bond or similar                              brought by such individuals in their capacity
        bond, but without any obligation to apply for or                         as "affected individuals", but only to the
        furnish any such bond.                                                   extent that the damages claimed are the
    3. "Data Compromise Liability"                                               same as would apply to any other "affected
        a. "Data compromise liability" means the                                 individual".
             following, when they arise from a"data                          c. "Data compromise suit" does not mean any
             compromise suit":                                                   demand or action brought by or on behalf of
             1) Damages, judgments or settlements to                             an organization, business, institution or any
                  "affected individuals";                                        other party that is not an "affected individuaP'
             2) Defense costs added to that part of any                          or governmental entity.
                  judgment paid by us, when such defense                 5. "Identity Theft" means the fraudulent use of
                  costs are awarded by law or court order;                  "personally identifying information". This includes
                  and                                                       fraudulently using such information to establish
             3) Pre judgment interest on that part of any                   credit accounts, secure loans, enter into
                  judgment paid by us.                                      contracts or commit crimes.
        b. "Data compromise liability" does not mean:                       "Identity theft" does not include the fraudulent use
             1) Damages, judgments or settlements to                        of a business name, d/b/a or any other method of
                  anyone who is not an "affected                            identifying a business activity.
                  individual";                                           6.  "Malware-Related Compromise" means a
             2) Civil or criminal fines or penalties                         "personal data compromise" that is caused,
                  imposed by law;                                            enabled or abetted by a virus or other malicious
             3) Punitive or exemplary damages;                                code that, at the time of the "personal data
             4) The multiplied portion of multiplied                          compromise", is named and recognized by the
                  damages;                                                    CERTO          Coordination     Center,    McAfeeO,
             5) Taxes; or                                                     Secunia, Symantec or other comparable third
             6) Matters which may be deemed                                   party monitors of malicious code activity.
                  uninsurable under the applicable law.                  7. "Personal Data Compromise" means the loss,
    4. "Data Compromise Suit"                                                 theft, accidental release or accidental publication
        a. "Data Compromise Suit" means a civil                               of    "personally identifying information" or
             proceeding in which damages to one or more                      "personally     sensitive information" as respects
             "affected individuals" arising from a"personal                  one or more "affected individuals". If the loss,
             data compromise" or the violation of a                           theft, accidental release or accidental publication
             governmental statute or regulation are                           involves     "personally identifying information",
             alleged. Such proceeding must be brought in                      such   loss,  theft, accidental release or accidental
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    publication must result in or have the reasonable                         2) Such disposal or abandonment must
       possibility of resulting in the fraudulent use of                           take place during the time period for
       such information. This definition is subject to the                         which this Data Compromise Coverage
       following provisions:                                                       endorsement is effective.
       a. At the time of the loss, theft, accidental                    c. "Personal data compromise" includes
            release or accidental publication, the                            situations where there is a reasonable cause
            "personally identifying information" or                           to suspect that such "personally identifying
            "personally sensitive information" need not                       information" or "personally sensitive
            be at the insured premises but must be in                         information" has been lost, stolen,
            the direct care, custody or control of:                           accidentally released or accidentally
            1) You; or                                                        published, even if there is no firm proof.
            2) A professional entity with which you                  8. "Personally Identifying Information" means
                have a direct relationship and to which                 information, including health information, that
                you (or an "affected individuaP' at your                 could be used to commit fraud or other illegal
                direction) have turned over (directly or                 activity involving the credit, access to health care
                via a professional transmission or                       or identity of an "affected individuaP'. This
                transportation provider) such information                includes, but is not limited to, Social Security
                for storage, processing, transmission or                 numbers or account numbers.
                transportation of such information.                      "Personally identifying information" does not
       b. "Personal data compromise" includes                            mean or include information that is otherwise
            disposal or abandonment of "personally                       availableto the public.
            identifying information" or "personally                 9. "Personally Sensitive Information" means private
            sensitive information" without appropriate                   information specific to an individual the release
            safeguards such as shredding or                              of which requires notification of "affected
            destruction, subject to the following                        individuals" under any applicable law.
            provisions:                                                  "Personally sensitive information" does not mean
            1) The failure to use appropriate                            or include "personally identifying information".
                safeguards must be accidental and not               10. "You" means the named insured.
                reckless or deliberate; and                         AII other provisions of this policy apply.


                 AII terms and conditions of this policy apply unless modified by this endorsement.




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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                        CYBERONE COVERAGE
                      COMPUTER ATTACK AND NETWORK SECURITY LIABILITY




    This endorsement modifies insurance provided under the following:

        PREMIER BUSINESSOWNERS PROPERTY COVERAGE FORM


    Under Section A. COVERAGES, 5. ADDITIONAL                                   If you suffer covered "business income loss", we
    COVERAGES, the following Additional Coverage is                             will pay for the services of a professional public
    added:                                                                      relations firm to assist you in communicating
    SECTION 1- COMPUTER ATTACK                                                  your response to the "computer attack" to the
                                                                                media, the public and your customers, clients or
                                                                                members.
    SECTION 1— COVERED CAUSE OF LOSS                                       SECTION 1 - LIMITS
    This Computer Attack coverage applies only if all of                   The most we will pay under Computer Attack
    the following conditions are met:                                      coverage is the Computer Attack Limit indicated for
    1. There has been a"computer attack"; and                              this endorsement. If no limit is shown or is shown as
     2. Such "computer attack" is first discovered by you                  Excluded in the Declarations, then the Computer
        during the policy period for which this                            Attack coverage will be considered to have a limit of
        endorsement is applicable; and                                     $0.
    3. Such "computer attack" is reported to us as soon                    The most we will pay under Data Re-creation
       as practicable, but in no event more than 60                        coverage for loss (including "business income loss"
       days after the date it is first discovered by you.                  and "extra expense" related to data re-creation
                                                                           activities) arising from any one "computer attack" is
                                                                           the Data Re-creation Sublimit indicated for this
    SECTION 1 — COVERAGES PROVIDED                                         endorsement. This sublimit is part of, and not in
    If all three of the conditions listed above in SECTION                 addition to, the Computer Attack Limit. If no sublimit
    1— COVERED CAUSE OF LOSS have been met,                                is shown or is shown as Excluded in the
    then we will provide you the following coverages for                   Declarations, then the Data Re-creation coverage
    loss directly arising from such "computer attack".                     will be considered to have a sublimit of $0.
    1. Data Restoration                                                    The most we will pay under Loss of Business
       We will pay your necessary and reasonable                           coverage for loss arising from any one "computer
       "data restoration costs".                                           attack" is the Loss of Business Sublimit indicated for
                                                                           this endorsement. This sublimit is part of, and not in
    2. Data Re-creation                                                     addition to, the Computer Attack Limit. If no sublimit
       We will pay your necessary and reasonable                            is shown or is shown as Excluded in the
       "data re-creation costs".                                           Declarations, then the Loss of Business coverage
                                                                           will be considered to have a sublimit of $0.
    3. System Restoration
       We will pay your necessary and reasonable                           The most we will pay under Public Relations
                                                                           coverage for loss arising from any one "computer
       "system restoration costs".                                         attack" is the Public Relations Sublimit indicated for
    4. Loss of Business                                                    this endorsement. This sublimit is part of, and not in
       We will pay your actual "business income loss"                      addition to, the Computer Attack Limit. If no sublimit
       and your necessary and reasonable "extra                            is shown or is shown as Excluded in the
       expenses".                                                          Declarations, then the Public Relations coverage will
                                                                           be considered to have a sublimit of $0.
    5. Public Relations
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    The Computer Attack Limit is an annual aggregate                              "network security liability settlement costs".
    limit. This amount is the most we will pay for the total
    of all loss covered under Section 1 arising out of all
    "computer attack" events which are first discovered                      SECTION 2 - LIMITS
    by you during the present annual policy period. This                    Except for post-judgment interest, the most we will
    limit applies regardless of the number of "computer                     pay under Network Security Liability coverage is the
    attack" events occurring during that period.                            Network Security Liability Limit indicated for this
                                                                            endorsement. If no limit is shown or is shown, as
    A"computer attack" may be first discovered by you
                                                                            Excluded in the Declarations, then the Network
    in one policy period but it may cause covered costs
                                                                            Security Liability coverage will be considered to
    in one or more subsequent policy periods. If so, all
    covered costs arising frbm such "computer attack"                       have a limit of $0.
    will be subject to the Computer Attack Limit                            The Network Security Liability Limit is an annual
    applicable to the policy period when the "computer                      aggregate limit. This amount is the most we will pay
    attack" was first discovered by you.                                    for the total of all loss covered under Section 2
                                                                            (other than post-judgment interest) arising out of all
                                                                            "network security liability suits" of which you first
    SECTION 1 - DEDUCTIBLE
                                                                            receive notice during the present annual policy
    The Computer Attack coverage is subject to the                          period or any Extended Reporting Periods. This limit
    Computer Attack Deductible indicated in the                             applies regardless of the number of "network
    Declarations. You shall be responsible for the                          security liability suits" of which you first receive
    applicable deductible amount as respects loss                           notice during that period.
    arising from each "computer attack" covered under
                                                                            You may first receive notice of a"network security
    this endorsement.
                                                                            liability suit" in one policy period but it may cause
                                                                            covered costs in one or more subsequent policy
                                                                            periods. If so, all covered costs arising from such
    SECTION 2 - NETWORK SECURITY                                            "network security liability suit" (other than post-
    LIABILITY                                                               judgment interest) will be subject to the Network
                                                                            Security Liability Limit applicable to the policy period
    SECTION 2— COVERED CAUSE OF LOSS                                        when notice of the "network security liability suit"
                                                                            was first received by you.
    This Network Security Liability coverage applies only
    if all of the following conditions are met:                             The Network Security Liability Limit for the Extended
                                                                            Reporting Periods (if applicable) shall be part of, and
    1. You first receive notice of a"network security                       not in addition to, the Network Security Liability Limit
       liability suit" during the policy period for which                   for the immediately preceding policy period.
       this endorsement is applicable or any Extended
       Reporting Periods; and
                                                                             SECTION 2 - DEDUCTIBLE
    2. Such "network security liability suit" is reported
       to us as soon as practicable, but in no event                         The Network Security Liability coverage is subject to
       more than 60 days after the date it is first                          the Network Security Liability Deductible indicated in
       received by you.                                                      the Declarations. You shall be responsible for the
                                                                             applicable deductible amount as respects loss
                                                                             arising from each "network security liability suit"
    SECTION 2 — COVERAGES PROVIDED                                           covered under this endorsement.
    If both of the conditions listed above in SECTION 2
    — COVERED CAUSE OF LOSS have been met,
    then we will provide you the following coverages for
                                                                             EXCLUSIONS, ADDITIONAL
    loss directly arising from such "network security
    liability suit".                                                         CONDITIONS AND DEFINITIONS
    1. Defense
                                                                             APPLICABLE TO ALL SECTIONS
        We will pay your necessary and reasonable
        "network security liability defense costs".                          EXCLUSIONS
    2. Settlement Costs                                                      The following additional exclusions apply to this
                                                                             coverage:
        We will pay your necessary and reasonable
                                                                             We will not pay for costs or loss arising from the

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    following:                                                                    1. If a"network security liability suit" is brought
    1. Loss to the internet, an internet service provider,                             against you, you must:
      or any computer or computer system that is not                                   a. Immediately record the specifics of the
      owned or leased by you and operated under your                                       "network security liability suit" and the
      control.                                                                             date received; and
    2. Costs to research or correct any deficiency.                                    b. Provide us with written notice, as soon
                                                                                           as practicable, but in no event more
    3. Any fines or penalties.                                                             than 60 days after the date the "network
    4. Any criminal investigations or proceedings.                                         security liability suit" is first receivecJ by
    5. Any threat, extortion or blackmail. This includes,                                  you.
      but is not limited to, ransom payments and                                       c. Immediately send us copies of any
       private security assistance.                                                        demands, notices, summonses or legal
                                                                                           papers received in connection with the
    F>. Your intentional or willful complicity in a covered                                "network security liability suit";
        loss event or your reckless disregard for the
                                                                                       d. Authorize us to obtain records and other
        security of your computer system or data.
                                                                                           information;
     7. Any criminal, fraudulent or dishonest act, error or                            e. Cooperate with us in the investigation,
        omission, or any intentional or knowing violation                                  settlement or defense of the "network
        of the law by you.                                                                 security liability suit";
    8. Any "computer attack" occurring prior to the first                              f. Assist us, upon our request, in the
       inception of this CyberOne coverage                                                 enforcement of any right against any
       endorsement or any coverage substantially                                           person or organization which may be
       similar to that described in this endorsement.                                      liable to you because of loss to which
    9. That part of any "network security liability suit"                                  this insurance may also apply; and
       seeking any non-monetary relief.                                                g. Not take any action, or fail to take any
    10.Any "network security liability suit" arising from a                                 required action, that prejudices your
      propagation of malware, denial of service attack,                                    rights or our rights with respect to such
       or loss, release or disclosure of business data                                     "network security liability suit".
      that occurred prior to the first inception of this                     C. Extended Reporting Periods
      CyberOne coverage endorsement or any                                        1. You shall have the right to the Extended
      coverage substantially similar to that described in                             Reporting Periods described in this section,
      this endorsement.                                                               in the event that:
     11.The propagation or forwarding of malware,                                       a. You or we cancel this CyberOne
       including viruses, worms, Trojans, spyware and                                      coverage;
       keyloggers in connection with hardware or                                        b. You or we refuse to renew this
       software created, produced or modified by you                                       CyberOne coverage; or
       for sale, lease or license to third parties.
                                                                                        c. We renew this CyberOne coverage on
    ADDITIONAL CONDITIONS                                                                  an other than a claims-made basis or
    The following additional conditions apply to all                                       with a retroactive date later than the
    coverages under this endorsement.                                                      date of the first inception of this
                                                                                           CyberOne coverage endorsement or
    A. Due Diligence                                                                       any coverage substantially similar to
       You agree to use due diligence to prevent and                                       that described in this endorsement;
       mitigate costs covered under this endorsement.                              2. If an event as specified in Paragraph 1. has
       This includes, but is not limited to, complying with                             occurred, you shall have the right to the
       reasonable and in d ustry- accepted protocols for:                               following:
       1. Providing and maintaining appropriate                                         a. An Automatic Extended Reporting
          computer and internet security; and                                               Period of 30 days after the effective date
       2. Maintaining and updating at appropriate                                           of cancellation or nonrenewal at no
          intervals backups of computer data.                                               additional premium in which to give to
                                                                                            us written notice of a"network security
    B. Duties in the Event of a"Network Security                                            liability suit" of which you first receive
       Liability Suit"                                                                      notice during said Automatic Extended

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                Reporting Period for any propagation of                         3. If you refuse to consent to any settlement
                malware, denial of service attack, or                              recommended by us and acceptable to the
                loss, release or disclosure of business                            claimant, we may then withdraw from your
                data occurring before the end of the                               defense by tendering control of the defense to
                coverage period for this CyberOne                                  you. From that point forward, you shall, at
                coverage and which is otherwise                                    your own expense, negotiate or defend such
                covered by this CyberOne coverage;                                 "network security liability suit" independently
                and                                                                of us. Our liability shall not exceed the
            b. Upon payment of an additional premium                               amount for which the claim or suit could have
                of 100% of the full annual premium                                 been settled if such recommendation was
                applicable to this CyberOne coverage, a                            consented to, plus defense costs incurred by
                Supplemental Extended Reporting                                    us, and defense costs incurred by you with
                Period of 1 year immediately following                             our written consent, prior to the date of such
                the effective date of cancellation or                              refusal.
                nonrenewal in which to give to us written
                notice of a"network security liability suit"                    4. We shall not be obligated to pay any
                of which you first receive notice during                           damages or defense costs, or to defend or
                said Supplemental Extended Reporting                               continue to defend any "network security
                Period for any propagation of malware,                             liability suit", after the Network Security
                denial of service attack, or loss, release                         Liability Limit has been exhausted.
                or disclosure of business data occurring                        5. We shall pay all interest on that amount of
                before the end of the coverage period                              any judgment within the Network Security
                for this CyberOne coverage and which                               Liability Limit which accrues:
                is otherwise covered by this CyberOne
                coverage.                                                            a. After entry of judgment; and
                To obtain the Supplemental Extended                                  b. Before we pay, offer to pay or deposit in
                Reporting Period, you must request it in                                court that part of the judgment within the
                writing and pay the additional premium                                  Network Security Liability Limit or, in any
                due, within 30 days of the effective date                               case, before we pay or offer to pay the
                of cancellation or nonrenewal. The                                      entire Network Security Liability Limit.
                additional premium for the Supplemental                              These interest payments shall be in addition
                Extended Reporting Period shall be fully                             to and not part of the Network Security
                earned at the inception of the                                       Liability Limit.
                Supplemental Extended Reporting
                                                                            E. Other Data Coverage in This Policy
                Period. If we do not receive the written
                request as required, you may not                                Some elements of this CyberOne coverage may
                exercise this right at a later date.                            also be covered under the policy to which this
                This insurance, provided during the                             endorsement is attached. If so, this CyberOne
                Supplemental Extended Reporting                                 coverage will apply as excess, additional
                Period, is excess over any other valid                          coverage. If loss payment has been made under
                and collectible insurance that begins or                        the policy for the same event, the amount of such
                continues in effect after the                                   payment will count towards the deductible that
                Supplemental Extended Reporting                                 applies to this CyberOne coverage.
                Period becomes effective, whether the                       F. Services
                other insurance applies on a primary;
                excess, contingent, or any other basis.                         The following conditions apply as respects any
                                                                                services provided to you by any service firm
    D. Network Security Liability Defense                                       provided or paid for in whole or in part under this
           We shall have the right and the duty to                              endorsement:
           assume the defense of any applicable                                 1. The effectiveness of such services depends
           "network security liability suit" against you.                          on your cooperation and assistance.
           You shall give us such information and
           cooperation as we may reasonably require.                            2. We do not warrant or guarantee that the
                                                                                   services will end or eliminate all problems
       2. You shall not admit liability for or settle any                          associated with the covered events.
          "network security liability suit" or incur any
          defense costs without our prior written                           DEFINITIONS
          consent.
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    With respect to the provisions of this endorsement                                     available; or
    only, the following definitions are added:                                        2) Data that is obsolete, unnecessary or
    1.   "Business Income Loss" means the sum of the:                                    useless to you.
         a. Net income (net profit or loss before income                   4.   "Data Restoration Costs"
            taxes) that would have been earned or                               a, "Data restoration costs" means the costs of
            incurred; and                                                          an outside professional firm hired by you to
         b. Continuing normal and necessary operating                               replace electronic data that has been lost or
            expenses incurred, including employee                                  corrupted. In order to be considered "data
            payroll,                                                                restoration costs," such replacement must
         actually lost by you during the "period of                                 be from one or more electronic sources with
         restoration".                                                             the same or similar functionality to the data
                                                                                   that has been lost or corrupted.
     2. "Computer Attack" means one of the following
        involving a computer or other electronic                                 b.    "Data restoration costs" does not mean
        hardware that is owned or leased by you and                                   costs to research, restore or replace:
        operated under your control:                                                  1) Software      programs or operating
         a. Unauthorized Access - meaning the gaining                                    systems that are not commercially
            of access to your computer system by an                                      available; or
            unauthorized person or persons; or                                        2) Data that is obsolete, unnecessary or
         b. Malware Attack — meaning damage to your                                      useless to you.
             computer system or data arising from                          5. "Extra Expense" means the additional cost you
             malicious code, including viruses, worms,                        incur to operate your business during the "period
             Trojans, spyware and keyloggers. This does                       of restoration" over and above the cost that you
             not mean damage from shortcomings or                             normally would have incurred to operate your
             mistakes in legitimate electronic code or                        business during the same period had no
             damage from code installed on your                               "computer attack" occurred.
             computer system during the manufacturing                      6. "Network Security Liability Defense Costs"
             process.
                                                                                 a. "Network security liability defense costs"
          c. Denial of Service Attack — meaning a                                   means reasonable and necessary expenses
             deliberate act to prevent third parties from                           resulting solely from the investigation,
             gaining access to your computer system                                 defense and appeal of any "network security
             through the internet in a manner in which                              liability suit" against you. Such expenses
             they are legally entitled.                                             may be incurred by us. Such expenses may
    3.   "Data Re-creation Costs"                                                   include premiums for any appeal bond,
         a. "Data re-creation costs" means the costs of                             attachment bond or similar bond. However,
            an outside professional firm hired by you to                            we have no obligation to apply for or furnish
            research, re-create and replace data that                               such bond.
            has been lost or corrupted and for which                             b.   "Network security liability defense costs"
            there is no electronic source available or                                does not mean your salaries or your loss of
            where the electronic source does not have                                 earnings.
            the same or similar functionality to the data                  7, °Network Security Liability Settlement Costs"
            that has been lost or corrupted.
                                                                              a. "Network security liability settlement costs"
         b. "Data re-creation costs" also means your                                  means the following, when they arise from a
            actual "business income loss" and your                                    "network security liability suit":
            necessary and reasonable "extra expenses"                                 1) Damages, judgments or settlements;
            arising from the lack of the lost or corrupted                                and
            data during the time required to research,
                                                                                       2) Defense costs added to that part of any
            re-create and replace such data.
                                                                                          judgment paid by us, when such
         c.   "Data re-creation costs" does not mean                                     defense costs are awarded by law or
              costs to research, re-create or replace:                                   court order; and
              1) Software  programs  or  operating                                    3) Pre-judgment interest on that part of any
                 systems that are not commercially                                       judgment paid by us.

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        b. "Network security liability settlement costs"                          c.   "Network security liability suit" does not
           does not mean:                                                              mean any demand or action alleging or
           1) Civil or criminal fines or penalties                                     arising from property damage or bodily
              imposed by law;                                                          injury.
           2) Punitive or exemplary damages;                                      d. "Network security liability suit" does not
           3) The multiplied portion of.- multiplied                                 mean any demand or action brought by or
              damages;                                                               on behalf of someone who is:
           4) Taxes; or                                                                1) Your director or officer;
           5) Matters which may be deemed                                              2) Your owner or part-owner; or
              uninsurable under the applicable law.
                                                                                       3) A holder of your securities;
    8. "Network Security Liability Suit"
                                                                                       in their capacity as such, whether directly,
        a. "Network security liability suit" means a civil                             derivatively, or by class action.
           proceeding against you in which damages                           9.    ®Period of Restoration" means the period of time
           are alleged. Such proceeding must be
                                                                                  that begins at the time that the "computer attack"
           brought in the United States of America,
                                                                                  is discovered by you and continues until the
           Puerto Rico or Canada. Such proceeding
                                                                                  earlier of
           must be based on an allegation that a
           negligent security failure or weakness with                            a. The date that all data restoration, data re-
           respect to a computer or other electronic                                 creation and system restoration directly
           hardware that is owned or leased by you                                   related to the "computer attack" has been
           and operated under your control allowed                                   completed; or
           one or more of the following to happen:                                b. The date on which such data restoration,
            1) The     unintended   propagation     or                               data re-creation and system restoration
               forwarding    of malware, including                                   could have been completed with the
               viruses, worms, Trojans, spyware and                                  exercise of due diligence and dispatch.
               keyloggers. Malware does not include                         10. "System Restoration Costs"
               shortcomings or mistakes in legitimate
                                                                                  a. "System restoration costs" means the costs
               electronic code.
                                                                                     of an outside professional firm hired by you
             2) The unintended abetting of a denial of                               to do any of the following in order to restore
                service attack against one or more other                             your computer system to its pre- "computer
                systems.                                                             attack" level of functionality:
             3) The loss, release or disclosure of                                     1) Replace or reinstall computer software
                business data that is owned by or                                         programs;
                proprietary to a third party. This does
                not include personally identifying                                     2) Remove any malicious code; and
                information or other information that is                               3) Configure or correct the configuration of
                sensitive or personal to individuals.                                     your computer system.
        b. "Network security liability suit" includes the                         b.   "System restoration costs" does not mean:
           following:                                                                  1) Costs to increase the speed, capacity or
             1) An arbitration or alternative dispute                                     utility of your computer system;
                resolution proceeding that you are                                     2) Labor of your employees;
                required to submit to or which we agree
                                                                                       3) Any costs in excess of the actual cash
                you should submit to; or
                                                                                          value of your computer system; or
             2) A written demand for money, when such
                                                                                       4) Costs to repair or replace hardware.
                demand could reasonably result in a
                civil proceeding as described in this                       AII other provisions of this policy apply.
                definition.




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                                                                                                      BUSINESSOWNERS
                                                                                                          PB 58 09 11 14

              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               IDENTITY RECOVERY COVERAGE
       IDENTITY THEFT CASE MANAGEMENT SERVICE AND EXPENSE REIMBURSEMENT

    This endorsement modifies insurance provided underthe following:
            PREMIER BUSINESSOWNERS PROPERTY COVERAGE FORM



    Under Section A. COVERAGES, 5. ADDITIONAL                         abetting an "identity recovery insured", or by any
    COVERAGES, the following Additional Coverage is                   authorized representative of an "identity recovery
    added:                                                            insured", whether acting alone or in collusion with
                                                                      others. However, this exclusion shall not apply to
    IDENTITY RECOVERY COVERAGE                                        the interests of an "identity recovery insured" who
    We will provide the Case Management Service and                   has no knowledge of or involvement in such fraud,
    Expense Reimbursement Coverage indicated below if                 dishonesty or criminal act.
    all of the following requirements are met:                     3. An "identity theft" that is not reported in writing to
                                                                      the police.
        1. There has been • an "identity theft" involving
           the personal identity of an "identity recovery          LIMITS
           insured" under this policy; and                         Case Management Service is available as needed for
                                                                   any one "identity theft" for up to 12 consecutive
        2. Such "identity theft" is first discovered by the
                                                                   months from the inception of the service. Expenses
           "identity recovery insured" during the policy
                                                                   we incur to provide Case Management Service do not
           period for which this Identity Recovery                 reduce the amount of limit available for Expense
           Coverage is applicable; and                             Reimbursement Coverage.
        3. Such "identity theft" is reported to us within 60       Expense Reimbursement Coverage is subject to an
           days after it is first discovered by the "identity      Expense Reimbursement Limit of $25,000 annual
           recovery insured."                                      aggregate per "identity recovery insured." The
                                                                   Expense Reimbursement Limit shall apply separately
    If all three of the requirements listed above have been
                                                                   to each 12 month period within the policy period. For
    met, then we will provide the following to the "identity       policy periods greater than 12 months, this coverage
    recovery insured":                                             will be subject to a new and separate Expense
        1. Case Management Service                                 Reimbursement Limit upon each 12 month
                                                                   anniversary of the beginning of the policy period.
            Services of an "identity recovery case man-            Regardless of the number of claims, the Expense
            ager" as needed to respond to the "identity            Reimbursement Limit is the most we will pay for the
            theft"; and                                            total of all Ioss or expense arising out of all "identity
        2. Expense Reimbursement                                   thefts" to any one "identity recovery insured" which
                                                                   are first discovered by the "identity recovery insured"
            Reimbursement of necessary and reasonable              during the applicable 12 month period. If an "identity
            "identity recovery expenses" incurred as a             theft" is first discovered in one 12 month period and
            direct result of the "identity theft."                 continues into other 12 month periods, all loss and
                                                                   expense arising from such "identity theft" will be
    This coverage is additional insurance.
                                                                   subject to the aggregate Expense Reimbursement
    EXCLUSIONS                                                     Limit applicable to the 12 month period when the
    The following additional exclusions apply to this              "identity theft" was first discovered.
    coverage:                                                      Legal costs as provided under item d. of the definition
    We do not cover loss or expense arising from any of            of "identity recovery expenses" are part of, and not in
    the following.                                                 addition to, the Expense Reimbursement Coverage
                                                                   limit.
    1. The theft of a professional or business identity.
     2. Any fraudulent, dishonest or criminal act by an
        "identity recovery insured" or any person aiding or
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    Item e. (Lost Wages) and item f. (Child and Elder                  The following conditions apply as respects any
    Care Expenses) of the definition of "identity recovery             services provided by us or our designees to any
    expenses" are jointly subject to a sublimit of $5,000.             "identity recovery insured" under this
    This sublimit is part of, and not in addition to, the              endorsement:
    Expense Reimbursement Coverage limit. Coverage is                  1. Our ability to provide helpful services in the
    limited to wages lost and expenses incurred within 12                 event of an "identity theft" depends on the
    months after the first discovery of the "identity theft"              cooperation, permission and assistance of the
    by the "identity recovery insured."                                   "identity recovery insured."
    Item g. (Mental Health Counseling) of the definition of            2. .AII services may not be available or applicable
    "identity recovery expenses" is subject to a sublimit of               to all individuals. For example, "identity
    $1,000. This sublimit is part of, and not in addition to,              recovery insureds" who are minors or foreign
    the Expense Reimbursement Coverage limit.                              nationals may not have credit records that can
    Coverage is limited to counseling that takes place                     be provided or monitored. Service in Canada
    within 12 months after the first discovery of the                      will be different from service in the United
    "identity theft" by the "identity recovery insured."                   States and Puerto Rico in accordance with
    Item h. (Miscellaneous Unnamed Costs) of the                           local conditions.
    definition of "identity recovery expenses" is subject to           3. We do not warrant or guarantee that our
    a sublimit of $1,000. This sublimit is part of, and not in              services will end or eliminate all problems
    addition to, the Expenses Reimbursement Coverage                       associated with an "identity theft" or prevent
    limit. Coverage is limited to costs incurred within 12                 future "identity thefts."
    months after the first discovery of the "identity theft"
    by the "identity recovery insured:'                             DEFINITIONS
    DEDUCTIBLE                                                      With respect to the provisions of this endorsement
                                                                    only, the following definitions are added:
    Case Management Service and Expense
    Reimbursement Coverage are not subject to a                     1. "Identity Recovery Case Manager" means one
                                                                       or more individuals assigned by us to assist an
    deductible.
                                                                       "identity recovery insured" with communications
    CONDITIONS                                                         we deem necessary for re-establishing the
    The following additional conditions apply to this                  integrity of the personal identity of the "identity
    coverage:                                                          recovery insured." This includes, with the
                                                                       permission and cooperation of the "identity
    A. Help Line                                                       recovery insured," written and telephone
       For assistance, the "identity recover.y insured"                communications with law enforcement authorities,
       should call the Identity Recovery Help Line.at 1-               governmental agencies, credit agencies and
       877-800-5028.                                                   individual creditors and businesses.
       The Identity Recovery Help Line can provide the              2, "Identity Recovery Expenses" means the
       "identity recovery insured" with:                               following when they are reasonable and necessary
       1. Information and advice for how to respond to a               expenses that are incurred as a direct result of an
           possible "identity theft"; and                             "identity theft":
       2. Instructions for how to submit a service request              a. Costs for re-filing applications for loans, grants
           for Case Management Service and/or a claim                     or other credit instruments that are rejected
           form for Expense Reimbursement Coverage.                       solely as a result of an "identity theft."
           In some cases, we may provide Case                          b. Costs for notarizing affidavits or other similar
           Management services at our expense to an                       documents, long distance telephone calls and
           "identity recovery insured" prior to a                         postage solely as a result of your efforts to
           determination that a covered "identity theft" has              report an "identity theft" or amend or rectify
           occurred. Our provision of such services is not                records as to your true name or identity as a
           an admission of liability under the policy. We                 result of an "identity theft."
           reserve the right to deny further coverage or               c. Costs for credit reports from established credit
           service if, after investigation, we determine that             bureaus.
           a covered "identity theft" has not occurred.
                                                                       d. Fees and expenses for an attorney approved
           As respects Expense Reimbursement                              by us for the following:
           Coverage, the "identity recovery insured" must
           send to us, within 60 days after our request,                 (1) The defense of any civil suit brought
           receipts, bills or other records that support his                 against an "identity recovery insured."
           or her claim for "identity recovery expenses."
    B. Services
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          (2) The removal of any civil judgment                               (C) Costs that are restricted or excluded
              wrongfully entered against an "identity                             elsewhere in this endorsement or
              recovery insured."                                                  policy.
          (3) Legal assistance for an "identity recovery           3. "Identity Recovery Insured" means the
              insured" at an audit or hearing by a                    following:
              governmental agency.                                    a. When the entity insured under this policy is a
          (4) Legal assistance in challenging the                         sole proprietorship, the "Identity recovery
              accuracy of the "identity recovery insured's"                insured" is the individual person who is the sole
              consumer credit report.                                      proprietor of the insured entity.
          (5) The defense of any criminal charges                     b. When the entity insured under this policy is a
              brought against an "identity recovery                      partnership, the "identity recovery insureds" are
              insured" arising from the actions of a third               the current partners.
              party using the personal identity of the                c. When the entity insured under this policy is a
              "identity recovery insured."                               corporation or other organization, the "identity
                                                                         recovery insureds" are all individuals having an
       e Actual lost wages of the "identity recovery
                                                                         ownership position of 20% or more of the
          insured" for time reasonably and necessarily                   insured entity. However, if and only if there is
          taken away from work and away from the work                    no one who has such an ownership position,
          premises. Time away from work includes                         then the "identity recovery insured" shall be:
          partial or whole work days. Actual lost wages
          may include payment for vacation days,                         (1)    The chief executive of the insured entity;
          discretionary days, floating holidays and paid                        or
          personal days. Actual lost wages does not                      (2)    As respects a religious institution, the
          include sick days or any loss arising from time                       senior ministerial employee.
          taken away from self employment. Necessary                  d. The employees of the entity insured.
          time off does not include time off to do tasks
                                                                      e. The resident family members of any of the
          that could reasonably have been done during                    above.
          non-working hours.
                                                                       An "identity recovery insured" must always be an
        f, Actual costs for supervision of children or
                                                                       individual person. The entity insured under this
           elderly or infirm relatives or dependants of the            policy is not an "identity recovery insured."
           "identity recovery insured" during time
           reasonably and necessarily taken away from              4. "Identity Theft" means the fraudulent use of the
           such supervision. Such care must be provided               social security number or other method of
           by a professional care provider who is not a              identifying an "identity recovery insured." This
           relative of the "identity recovery insured."              includes fraudulently using the personal identity of
                                                                     an "identity recovery insured" to establish credit
       E' Actual costs for counseling from a licensed                accounts, secure loans, enter into contracts or
           mental health professional. Such care must be             commit crimes.
           provided by a professional care provider who is
                                                                      "Identity theft" does not include the fraudulent use
           not a relative of the "identity recovery insured."         of a business name, d/b/a or any other method of
       h. Any other reasonable costs necessarily                      identifying a business activity.
          incurred by an "identity recovery insured" as a          AII other provisions of this policy apply
          direct result of the "identity theft."
           (1) Such costs include:
               (A) Costs by the "identity recovery
                   insured" to recover control over his or
                   her personal identity.
               (B) Deductibles or service fees from
                   financial institutions.
           (2) Such costs do not include:
               (A) Costs to avoid, prevent or detect
                   "identity theft" or other loss.
               (B) Money lost or stolen.



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                                                                                                                    BUSIN ESSOWNERS
                                                                                                                         PB59101213

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      GEORGIA CHANGES - DIMINISHED VALUE EXCLUSION
                    ENDORSEMENT                   I
    This endorsement modifies insurance provided underthe following:

        PREMIER BUSINESSOWNERS PROPERTY COVERAGE FORM


    A. In Section B. EXCLUSIONS, under paragraph 2., the following exclusion is added:
        Diminution of Values
        We will not pay for loss or damage caused by or resulting from diminution in value.


                 AII terms and conditions of this policy apply unless modified by this endorsement.




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                                                                                                                      ~
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      EFFECTIVE DATE: 12:01 AM Standard Time,                                                       BUSINESSOWNERS
           (at your principal place of business)                                                       PB 63 03 (01-01)

               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     LIQUOR LIABILITY COVERAGE

      This endorsement modifies insurance provided under the following:

          PREMIER BUSINESSOWNERS LIABILITY COVERAGE

     In Section I. COVERAGES, A. COVERAGE A- BODILY INJURY AND PROPERTY DAMAGE LIABILITY, under 2.
     EXCLUSIONS, exclusion c. is deleted.

      HOWEVER, under no circumstances does this insurance apply to "bodily injury" which arises out of or is a result
      of any alcoholic beverage being sold, served or furnished while any required license is suspended, or after such
      license expires, is canceled or revoked.


                     AII terms and conditions of this policy apply unless modified by this endorsement.

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                                                                                                              BUSINESSOWNERS
                                                                                                                  PB90100517

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     GEORGIA AMENDATORY ENDORSEMENT
    This endorsement modifies insurance provided under the following:

        PREMIER BUSINESSOWNERS COMMON POLICY CONDITIONS
        PREMIER BUSINESSOWNERS PROPERTY COVERAGE FORM


    A. CANCELLATION                                                          5. Premium Refund
       In the COMMON POLICY CONDITIONS, under                                     a. If this policy is cancelled, we will send
       Condition A. CANCELLATION paragraphs 1.                                         the first Named Insured any premium
       and 5. are replaced by the following:                                           refund due.
       1. The first Named Insured shown in the                                    b. If we cancel, the refund will be pro rata,
            Declarations may cancel this policy by                                     except as provided in c. below.
            mailing or delivering to us advance written                           c. If the cancellation results from failure of
            notice of cancellation stating a future date                               the first Named Insured to pay, when
            on which the policy is to be cancelled,                                    due, any premium to us or any amount,
            subject to the following:                                                  when due, under a premium finance
            a. If only the interest of the first Named                                 agreement, then the refund may be less
                Insured is affected, the effective date of                             than pro rata. Calculation of the return
                cancellation will be either the date we                                premium at less than pro rata represents
                receive notice from the first Named                                    a penalty charged on unearned premium.
                Insured or the date specified in the                              d. If the first Named Insured cancels, the
                notice, whichever is later. However,                                   refund may be less than pro rata.
                upon receiving a written notice of
                                                                                  e. The cancellation will be effective even if
                cancellation from the first Named
                                                                                       we have not made or offered a refund.
                Insured, we may waive the requirement
                that the notice state the future date of                 B. In the COMMON POLICY CONDITIONS, under
                cancellation, by confirming the date and                     Condition A. CANCELLATION, the following is
                time of cancellation in writing to the first                 added and supersedes any other provisions to
                Named Insured.                                               the contrary:
            b. If by statute, regulation or contract this                    If we decide to:
                policy may not be cancelled unless                           1. Cancel or nonrenew this policy; or
                notice is given to a governmental                            2. Increase current policy premium by more
                agency, mortgagee or other third party,                           than 15% (other than any increase due to
                we will mail or deliver at least 10 days                          change in risk, exposure or experience
                notice to the first Named Insured and                             modification or resulting from an audit of
                the third party as soon as practicable                            auditable coverages); or
                after receiving the first Named Insured's                    3. Change any policy provision which would
                request for cancellation.                                         limit or restrict coverage;
                 Our notice will state the effective date of                 Then we will mail or deliver notice of our action
                 cancellation, which will be the later of                    (including the dollar amount of any increase in
                 the following:                                              renewal premium of more than 15%) to the first
                (1) 10 days from the date of mailing or                      Named Insured and lienholder, if any, at the last
                     delivering our notice, or                               mailing address known to us.
                (2) The effective date of cancellation                        Except as applicable as described in Paragraph
                     stated in the first Named Insured's                      C. or D. below, we will mail or deliver notice at
                     notice to us.                                            least:
                                                                              1. 10 days before the effective date of
                                                                                  cancellation if this policy has been in effect
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           less than 60 days or if we cancel for                            If you fail to submit to or allow an audit for
           nonpayment of premium; or                                        the current or most recently expired term,
        2. 45 days before the effective date of                             we may cancel this policy subject to the
           cancellation if this policy has been in effect                   following:
           60 or more days and we cancel for a reason                       1. We will make two documented efforts to
           other than nonpayment of premium; or                                  send you and your agent notification of
        3. 45 days before the expiration date of this                            potential cancellation. After the second
             policy if we decide to nonrenew, increase                           notice has been sent, we have the right
             the premium or limit or restrict coverage.                          to cancel this policy by mailing or delivering
                                                                                 a written notice of cancellation to
    C. The following provisions apply to insurance
                                                                                 the first Named Insured at least 10 days
        covering residential real property only if the
                                                                                  before the effective date of cancellation,
        Named Insured is a natural person.                                        but not within 20 days of the first
        In the COMMON POLICY CONDITIONS, under                                    documented effort.
        Condition A. CANCELLATION, the following is
                                                                            2. If we cancel this policy based on your failure
        added and supersedes any other provisions to
                                                                                 to submit to or allow an audit, we
        the contrary except as applicable as described
                                                                                 will send the written notice of cancellation
        in Paragraph D.:
                                                                                 to the first Named Insured at the last known
        1. When this policy has been in effect for 60                            mailing address by certified mail or statutory
             days or less and is not a renewal with us, we                       overnight deiivery with return receipt
             may cancel for any reason by notifying the                          requested.
             first Named Insured at least 10 days before                E. In the COMMON POLICY CONDITIONS, under
             the date cancellation takes effect.                            Condition C. CONCEALMENT,
        2. When this policy has been in effect for more                     MISREPRESENTATION OR FRAUD
             than 60 days, or at any time if it is a renewal                paragraphs 1. through 3. are replaced by the
             with us, we may cancel only for one or more                    following:
             of the following reasons:                                      1. This policy is canceled in its entirety in any
             a. Nonpayment of premium, whether                                   case of fraud, at any time, by you or your
                   payable to us or to our agent;                                representative as it relates to this policy.
             b. Upon discovery of fraud, concealment of                     2. This policy is also canceled if you, your
                   a material fact, or material                                  authorized representative or any other
                   misrepresentation made by or with the                          insured, at any time, conceal or
                   knowledge of any person insured under                          misrepresent any material fact, or violate
                   this policy in obtaining this policy,                          any material warranty, concerning:
                   continuing this policy or presenting a
                                                                                 a. This policy, including your application for
                   claim under this policy;
                                                                                      this policy;
             c. Upon the occurrence of a change in the
                                                                                 b. The Covered Property;
                   risk which substantially increases any
                   hazard insured against; or                                    c. Your interest in the Covered Property; or
             d. Upon the violation of any of the material                        d. A claim under this policy.
                   terms or conditions of this policy by any                3. We also have the right to rescind this policy
                   person insured underthis policy.                               based upon any other grounds provided by
             We may cancel by providing notice to the                             law.
             first Named Insured at least:                              F. AMENDMENTS TO THE PREMIER BUSINESS-
             (1) 10 days before the effective date of                       OWNERS PROPERTY COVERAGE FORM
                   cancellation if we cancel for                             Under Section B. EXCLUSIONS, the following
                   nonpayment of premium; or                                 exclusion is added to paragraph 2.:
             (2) 45 days before the effective date of                        We will also not pay for loss or damage arising
                   cancellation if we cancel for any of the                  out of any act committed:
                   reasons listed in b., c. or d. above.                     1. By or at the direction of any insured; and
    D. In the COMMON POLICY CONDITIONS, under
                                                                             2. With the intent to cause a loss.
         Condition A. CANCELLATION, with respect to a
        policy that is written to permit an audit, the                       HOWEVER, this exclusion will not apply to deny
        following is added:                                                  coverage to an innocent co-insured, provided
                                                                             the loss:

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                                                                                       8 AII unit-owners and other persons
                                                                                       entitled to occupy any unit or other
         a. Is otherwise covered under this Policy; and                                portion of the condominium but oniy with
         b. Arose out of an act of family violence by an                               respect to liability arising out of, or in
             insured, against whom a family violence                                   connection with, the use, ownership,
             complaint is brought for such act.                                        maintenance or repair of the common
        If we pay a claim to such innocent co-insured, our                             efements or other portion of the
        payment is limited to that insured's legal interest                            condominium which the association has
        in the property less any payments we first made                                the responsibifity to maintain.
        to a mortgageholder or other party with a legal
                                                                          I. AMENDMENTS TO THE DIRECTORS AND
        secured interest in the property. In no event will                   OFFICERS LIABILITY (COOPERATIVES OR
        we pay more than the Limit of Insurance.
                                                                             CONDOMINIUMS ENDORSEMENTS
    G. In the PROPERTY LOSS CONDITIONS,
                                                                              1. If the Directors and Officers Liability
         paragraph 4. Legal Action Against Us, is                                (Cooperatives or Condominiums)
         repiaced with:                                                          Endorsement, form PB4100, is a part of this
         4. Legal Action Against Us                                              poficy, paragraph A.4.i. is removed.
              No one may bring a legal action against us                      2. If the Directors and Officers Liability
             under this insurance uniess:                                        (Cooperatives or Condominiums) With Non-
             a. There has been full compliance with all                          Monetary Relief Endorsement, form PB4151
                 of the terms of this insurance; and                             is a part of this poficy, paragraph A.4.h. is
              b. The action is brought within two years                          removed.
                 after the date on which the direct
                  physical loss or damage occurred.
    CONDOMINIUM OR TOWNHOUSE ASSOCIATION
    AM ENDMENTS
    If you are a Condominium or Townhouse Association,
    the following amendments aiso apply to you:
    H. Under the CONDOMINIUM ASSOCIATION
         COVERAGE endorsement, form P131701,
         paragraph C. is replaced by the following:
         C. Underthe PREMIER BUSINESSOWNERS
         LIABILITY COVERAGE FORM, the following is
         added to Section II. Who Is An Insured:
             7. AII agents of the condominium
                 association.

                 AII terms and conditions of this poficy appiy uniess modified by this endorsement.




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